     Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 1 of 437 Page ID
                                       #:157



 1    R. Rex Parris (SBN 96567)
         rrparris@parrislawyers.com
 2    Kitty K. Szeto (SBN 258136)
         kszeto@ parrislawyers.com
 3    John M. Bickford (SBN 280929)
         jbickford@parrislawyers.com
 4    Eric N. Wilson (SBN 291815)
         ewilson@parrislawyers.com
 5    PARRIS LAW FIRM
      43364 10th Street West
 6    Lancaster, California 93534
      Telephone:(661) 949-2595
 7    Facsimile: (661) 949-7524
 8    Attorneys for Plaintiff and the Putative Class
 9
10                            UNITED STATES DISTRICT COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12
      MICHELE DEL VALLE; an individual, )               Case No.: 8:16-cv-02149
13    for herself and all members of the putative)
      class,                                     )      CLASS ACTION
14                                               )
                    Plaintiff,                   )      PLAINTIFF’S APPENDIX OF
15                                               )      EVIDENCE
             v.                                  )
16                                               )      Date:            January 9, 2017
      GLOBAL EXCHANGE VACATION                   )      Time:            8:30 a.m.
17    CLUB, a California corporation;            )      Courtroom:       9C
      RESORT VACATIONS, INC., a Nevada )
18    corporation; GLOBAL VACATIONS              )      Judge:           David O. Carter
      MARKETING CORP., a Nevada                  )
19    corporation, GLOBAL EXCHANGE               )
      DEVELOPMENT, CORP., a Nevada               )
20    corporation, and DOES 1 through 100,       )
      inclusive,                                 )
21                                               )
                    Defendants.                  )
22                                               )
                                                 )
23
24
25
26
27
28


      _____________________________________________________________________________
                                      PLAINTIFF’S APPENDIX OF EVIDENCE
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 2 of 437 Page ID
                                  #:158



                   PLAINTIFF’S APPENDIX OF EVIDENCE


 1. Declaration of John M. Bickford (Depositions)               PA - 00002
     A. Deposition Transcript of Richard D. Sargent             PA - 00006
     B.    Deposition Transcript of Myles Bryson                PA - 00062
     C.    Deposition Transcript of Michele Del Valle           PA - 00119
 2. Declaration of John M. Bickford (Documents)                 PA - 00135
     A. Touch Screen Interface 1                                PA - 00139
     B.    Touch Screen Interface 2                             PA - 00150
     C.    Two Lead Slips                                       PA - 00159
     D. MSI Vendor Agreement                                    PA - 00161
     E.    Defendant’s Responses to Plaintiff’s Special         PA - 00169
           Interrogatories, Set One.
     F.    Phone Records                                        PA - 00187
     G. Defendant’s Responses to Plaintiff’s Special            PA - 00192
        Interrogatories, Set Two
     H. Rule 7-3 M&C                                            PA - 00204
      I.   Rule 7-3 Confirmation                                PA - 00206
 3. Declaration of Michele Del Valle                            PA - 00208
 4. Declaration of R. Rex Parris                                PA - 00213
 5. Declaration of Jeffrey A. Hansen in Support of Motion for   PA - 00220
    Class Certification
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 3 of 437 Page ID
                                  #:159




                                EXHIBIT “1”
                                                                      PA - 00001
     Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 4 of 437 Page ID
                                       #:160



 1    R. Rex Parris (SBN 96567)
         rrparris@parrislawyers.com
 2    Kitty K. Szeto (SBN 258136)
         kszeto@ parrislawyers.com
 3    John M. Bickford (SBN 280929)
         jbickford@parrislawyers.com
 4    Eric N. Wilson (SBN 291815)
         ewilson@parrislawyers.com
 5    PARRIS LAW FIRM
      43364 10th Street West
 6    Lancaster, California 93534
      Telephone:(661) 949-2595
 7    Facsimile: (661) 949-7524
 8    Attorneys for Plaintiff and the Putative Class
 9
10                            UNITED STATES DISTRICT COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12
      MICHELE DEL VALLE; an individual, )                Case No.: 8:16-cv-02149
13    for herself and all members of the putative)
      class,                                     )       CLASS ACTION
14                                               )
                    Plaintiff,                   )       DECLARATION OF JOHN M.
15                                               )       BICKFORD (DEPOSITIONS)
             v.                                  )
16                                               )       Date:          January 9, 2017
      GLOBAL EXCHANGE VACATION                   )       Time:          8:30 a.m.
17    CLUB, a California corporation;            )       Courtroom:     9C
      RESORT VACATIONS, INC., a Nevada )
18    corporation; GLOBAL VACATIONS              )       Judge:         David O. Carter
      MARKETING CORP., a Nevada                  )
19    corporation, GLOBAL EXCHANGE               )
      DEVELOPMENT, CORP., a Nevada               )
20    corporation, and DOES 1 through 100,       )
      inclusive,                                 )
21                                               )
                    Defendants.                  )
22                                               )
                                                 )
23
24
25
26
27
28


      _____________________________________________________________________________
                                DECLARATION OF JOHN M. BICKFORD (DEPOSITIONS)

                                                                                          PA - 00002
     Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 5 of 437 Page ID
                                       #:161



 1                         DECLARATION OF JOHN M. BICKFORD
 2           I, John M. Bickford, declare as follows:
 3
 4           1.     I am an attorney duly licensed to practice before all courts of the State of
 5    California and an associate at the Parris Law Firm, attorneys of record for Plaintiff
 6    Michele Del Valle (“Plaintiff”) and the putative class.             The facts set forth in this
 7    declaration are within my personal knowledge and, if called as a witness, I could and
 8    would competently testify as follows:
 9
10           2.     On April 12, 2016, Plaintiff began the Person(s) Most Knowledge
11    Deposition of GEVC and RVI. Richard D. Sargent testified on behalf of GEVC and
12    RVI. Attached hereto as Exhibit “A” are true and correct copies of excerpts of Mr.
13    Sargent’s deposition.
14
15           3.     On April 13, 2016, Plaintiff continued the Person(s) Most Knowledge
16    Deposition of GEVC and RVI. Myles Bryson testified on behalf of GEVC and RVI.
17    Attached hereto as Exhibit “B” are true and correct copies of excerpts of Mr. Bryson’s
18    deposition.
19
20           4.     On April 14, 2016, Defendant GEVC took the deposition of Plaintiff.
21    Attached hereto as Exhibit “C” are true and correct copies of excerpts of Plaintiff’s
22    deposition.
23    ////
24    ////
25    ////
26    ////
27    ////
28    ////
                                                      1
      _____________________________________________________________________________
                                 DECLARATION OF JOHN M. BICKFORD (DEPOSITIONS)

                                                                                         PA - 00003
     Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 6 of 437 Page ID
                                       #:162



 1          I declare under penalty of perjury under the laws of the United States of America
 2    that the foregoing is true and correct.
 3          Executed on this 7th day of December 2016 at Lancaster, California.
 4
 5                                              _____________________________________
 6                                                          John M. Bickford
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      2
      _____________________________________________________________________________
                                 DECLARATION OF JOHN M. BICKFORD (DEPOSITIONS)

                                                                                  PA - 00004
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 7 of 437 Page ID
                                  #:163




                                EXHIBIT “A”
                                                                      PA - 00005
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 8 of 437 Page ID
                                  #:164
                                      DEPOSITION OF RICHARD D. SARGENT


                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

                            FOR THE COUNTY OF ORANGE



          MICHELE DEL VALLE, ON BEHALF   )
          OF HERSELF AND ALL OTHERS      )
          SIMILARLY SITUATED,            )
                                         )
                          PLAINTIFFS,    )
                                         )
                VS.                      ) NO.
                                         ) 30-2014-00745279-CU-MC-CXC
          GLOBAL EXCHANGE VACATION CLUB, )
          A CALIFORNIA CORPORATION; AND )
          DOES 1 THROUGH 100, INCLUSIVE, )
                                         )
                          DEFENDANTS.    )
          _______________________________)




                  VIDEOTAPED DEPOSITION OF RICHARD D. SARGENT

                             TUESDAY, APRIL 12, 2016

                                    9:59 A.M.




          REPORTED BY:

          VICTORIA K. DAVIS

          C.S.R. NO. 4192




                  DALENE COURT REPORTING        661.341.3929

                                                                      PA - 00006
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 9 of 437 Page ID
                                  #:165
                                        DEPOSITION OF RICHARD D. SARGENT


      1               SO, FOR EXAMPLE, IF I WERE TO ASK YOU HOW LONG

      2    THIS TABLE IS, YOU COULD PROBABLY GIVE ME AN ESTIMATION

      3    BASED ON YOUR KNOWLEDGE AND THAT WOULD BE PROPER FOR YOU

      4    TO GIVE ME THAT ESTIMATION.

      5               IF I WERE TO ASK YOU HOW BIG IS THE TABLE IN THE

      6    OTHER ROOM, YOU PROBABLY COULDN'T ANSWER THAT QUESTION

      7    UNLESS YOU'VE BEEN THERE.

      8               DO YOU UNDERSTAND?

      9        A      THANK YOU.

     10        Q      GOING BACK TO THAT ORIGINAL QUESTION, DO YOU

     11    KNOW WHAT THEY ALLEGE THEY SHOULD HAVE BEEN CLASSIFIED AS

     12    EXEMPT OR NONEXEMPT EMPLOYEES?

     13        A      I DO NOT.

     14        Q      DID THAT CASE RESOLVE?

     15        A      IT WAS SETTLED.

     16        Q      WERE THEY CURRENT EMPLOYEES WHEN THEY FILED THE

     17    LAWSUIT?

     18        A      YES.

     19        Q      ALL THREE OF THEM?

     20        A      YES.

     21        Q      AND YOU MENTIONED THIS WAS IN REGARDS TO ONE OF

     22    YOUR COMPANIES, GLOBAL VACATIONS MARKETING CORP.?

     23        A      CORRECT.

     24        Q      WHAT IS GLOBAL VACATIONS MARKETING CORP.?

     25        A      IT IS A MARKETING CORPORATION.
                                                                           9

                   DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00007
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 10 of 437 Page ID
                                  #:166
                                       DEPOSITION OF RICHARD D. SARGENT


       1        Q     FOR WHAT?

       2        A     THE SALES AND MARKETING OF VACATION OWNERSHIP.

       3        Q     WHAT DO YOU MEAN WHEN YOU SAY VACATION

       4   OWNERSHIP?

       5        A     TIMESHARE SALES.

       6        Q     DOES IT STILL EXIST TODAY?

       7        A     YES.

       8        Q     DOES IT MARKET FOR SOME OTHER COMPANY?

       9        A     IT CURRENTLY DOES NOT MARKET FOR ANYBODY.

     10         Q     SO IS IT AN INACTIVE CORPORATION?

     11         A     IT IS.

     12         Q     HOW LONG HAS IT BEEN INACTIVE?

     13         A     MY BEST ESTIMATION IS FOUR YEARS.

     14         Q     WHAT DID IT MARKET FOR BEFORE THAT?

     15         A     TIMESHARE.

     16         Q     THE QUESTION'S A LITTLE DIFFERENT.        I'M ASKING

     17    DID IT MARKET FOR ANOTHER COMPANY?        DID IT MARKET FOR A

     18    GROUP OF CLIENTS?      WHO WAS IT CONTRACTING WITH TO MARKET

     19    FOR?

     20               MR. EHRLICH:    OBJECTION, ASKED AND ANSWERED,

     21    COMPOUND.

     22               YOU CAN ANSWER.

     23               THE WITNESS:    I DON'T QUITE UNDERSTAND.       I SOLD

     24    TIMESHARES.    WE SOLD GLOBAL EXCHANGE VACATION CLUB

     25    TIMESHARES.
                                                                          10

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00008
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 11 of 437 Page ID
                                  #:167
                                       DEPOSITION OF RICHARD D. SARGENT


      1         Q    BY MR. BICKFORD:     I SEE.   SO GLOBAL EXCHANGE

      2    VACATION CLUB IS A SEPARATE COMPANY FROM GLOBAL VACATIONS

      3    MARKETING CORP.?

      4         A    YES.

      5         Q    AND GLOBAL VACATIONS MARKETING CORP. WHEN IT WAS

      6    ACTIVE FOUR YEARS AGO SOLD TIMESHARES IN GLOBAL EXCHANGE

      7    VACATION CLUB?

      8         A    SOLD MEMBERSHIPS, YES, TIMESHARE MEMBERSHIPS.

      9         Q    YOU CORRECTED ME WITH THE TERM MEMBERSHIP.         IS

     10    THERE SOMETHING I'M SAYING THAT WOULDN'T ACTUALLY BE

     11    CORRECT IN THE WAY I PHRASED THAT LAST QUESTION?

     12         A    NO.    I THINK I WAS JUST BEING MORE SPECIFIC.       WE

     13    DON'T SELL WEEKS, THEY DON'T GET A DEED.        IT'S A

     14    MEMBERSHIP.     IT'S STILL CLASSIFIED AS A TIMESHARE SALE.

     15         Q    AND I MAY BE ASKING YOU QUESTIONS THAT TO YOU

     16    ARE SOMEWHAT --

     17         A    I UNDERSTAND.

     18         Q    -- SOMEWHAT SIMILAR OR EASY TO UNDERSTAND BUT

     19    FOR ME WHO DOESN'T OWN A TIMESHARE, HAS VERY LIMITED

     20    EXPERIENCE WITH TIMESHARES, WOULD SEEM LIKE A SILLY

     21    QUESTION COMING FROM, SO, THANK YOU FOR THAT.

     22              SO THIS GLOBAL EXCHANGE VACATION CLUB, IS THIS

     23    THE CURRENT DEFENDANT IN THIS LAWSUIT HERE TODAY?

     24         A    YES.

     25         Q    AND GLOBAL VACATIONS MARKETING CORP. SOLD THE
                                                                             11

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00009
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 12 of 437 Page ID
                                  #:168
                                       DEPOSITION OF RICHARD D. SARGENT


      1    WE DIDN'T MAKE IT GO AWAY, WE DIDN'T HIDE IT, WE JUST

      2    SHUT IT DOWN, OPENED A NEW ENTITY, AND AFTER A PERIOD OF

      3    TIME, GLOBAL VACATIONS WOULDN'T BE AROUND ANYMORE.

      4         Q    WHAT DID THE REAL ESTATE AGENTS DO FOR GLOBAL

      5    VACATIONS MARKETING CORP.?

      6         A    THEY SOLD TIMESHARES.

      7         Q    HOW DID THEY DO THAT?     WAS IT DOOR TO DOOR?     WAS

      8    IT A GROUP MEETING?

      9         A    YES.   WE, THE MARKETING COMPANY GENERATES TOURS

     10    FOR PROSPECTIVE CLIENTS TO A SALES PRESENTATION AT AN

     11    OFF-SITE SCALES GALLERY.

     12         Q    HOW WOULD THEY GENERATE THOSE TOURS?

     13         A    THERE'S A MULTIPLE OF WAYS BUT BASICALLY WE

     14    GENERATE LEADS.    THE BIGGEST WAY TO GET THEM IS WE WOULD

     15    GENERATE A LEAD AT A CONCERT, A VENUE, A SHOW, A BOAT

     16    SHOW, A FAIR AND WE'D GENERATE A LEAD AND THEN WE'D CALL

     17    THAT LEAD FROM OUR TELEMARKETING CENTER AND INVITE THEM

     18    TO A PRESENTATION.

     19         Q    SO WERE THE REAL ESTATE AGENTS THE TELEMARKETERS?

     20         A    NO.

     21         Q    THEY WERE THE ONES PRESENTING AT THE

     22    PRESENTATION TOURS?

     23         A    THEY WERE AT THE SHOW, YES.      TELEMARKETERS WERE

     24    AT THE TELEMARKETING ROOM.

     25         Q    YOU SAID ROUGHLY FOUR OR FIVE YEARS AGO, THE

                                                                           14

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00010
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 13 of 437 Page ID
                                  #:169
                                       DEPOSITION OF RICHARD D. SARGENT


       1        A     EMPLOYEES.

       2        Q     WERE THEY ENTITLED TO A BONUS BASED UPON THE

       3   SALE?

       4        A     ABSOLUTELY.

       5        Q     BOTH?

       6        A     BOTH.

       7        Q     WHAT ABOUT THE PROMOTERS?      ARE THEY ENTITLED TO

       8   BONUSES BASED UPON THE NUMBER OF LEADS THAT THEY

       9   GENERATE?

     10         A     YES.

     11         Q     SO ABOUT FOUR YEARS AGO, GLOBAL VACATIONS

     12    MARKETING CORP. CLOSED OR WENT INACTIVE, CORRECT?

     13         A     YES.

     14         Q     AND THAT WAS WHAT YOU MENTIONED, A POSSIBLE

     15    LIABILITY RESULTING FROM THAT KIND OF SALES.

     16         A     THAT'S CORRECT.

     17         Q     SO DID SOMEONE TAKE OVER EXCLUSIVE MARKETING OF

     18    TIMESHARES IN GEVC?

     19         A     YES.    I FORMED A NEW CORPORATION.

     20         Q     WHAT CORPORATION IS THAT?

     21         A     RESORT VACATIONS, INC.

     22         Q     CAN WE CALL THEM RVI?

     23         A     YES.

     24         Q     IS THAT WHAT YOU CALL IT?

     25         A     THAT IS WHAT WE CALL IT.
                                                                          22

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00011
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 14 of 437 Page ID
                                  #:170
                                       DEPOSITION OF RICHARD D. SARGENT


      1         Q    I DON'T WANT TO BE MAKING STUFF UP.

      2              SO I'M A LITTLE CONFUSED IN THE SENSE OF THE

      3    REASON WHY YOU CLOSED GLOBAL VACATIONS MARKETING CORP.

      4    WAS BECAUSE OF THE POTENTIAL LIABILITY AND EXPOSURE BUT

      5    THEN YOU FORMED A NEW COMPANY?

      6         A    CORRECT.

      7         Q    WAS IT INCORPORATED DIFFERENTLY TO CHANGE

      8    POSSIBLE EXPOSURE?

      9         A    NO.   THE CONCEPT WAS THAT, YOU KNOW, WE'RE NOT

     10    GOING TO CLOSE IT, IT'S STILL ALIVE, BUT WE'RE NOT GOING

     11    TO MAKE IT EASY FOR ANYBODY, FOR OLD EMPLOYEES TO COME

     12    BACK.

     13              SO IF SOMEBODY WORKED FOR US THREE YEARS AGO AND

     14    THEY'RE HEARING WHAT'S GOING ON AT MARRIOTT AND THEY GET

     15    TWO OR THREE GUYS, THEY MIGHT GO TO AN ATTORNEY AND THEY

     16    LOOK UP GLOBAL VACATIONS AND IT'S NOT DOING BUSINESS.

     17              IF THEY LOOKED A LITTLE FURTHER, THEY WOULD FIND

     18    US AS RVI BUT THEY'VE GOT TO GO THE EXTRA STEP AND THAT'S

     19    WHY WE DID IT.

     20         Q    SO IT MAKES IT HARDER TO FIND.

     21         A    THAT IS CORRECT.

     22         Q    NOW FROM THE SWITCH FROM GLOBAL VACATIONS

     23    MARKETING CORP. TO RVI, DID THE EMPLOYEES GENERALLY STAY

     24    THE SAME?

     25         A    ABSOLUTELY.
                                                                          23

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00012
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 15 of 437 Page ID
                                  #:171
                                       DEPOSITION OF RICHARD D. SARGENT


      1         Q    SO IT WAS ESSENTIALLY A NAME CHANGE.

      2         A    CORRECT.

      3         Q    SO WE HAVE THE SAME PRESIDENT, YOU?

      4         A    YES.

      5         Q    AND THE SAME VICE PRESIDENT CHRIS ROCCO?

      6         A    ROCCO, YES.

      7         Q    HE CURRENTLY IS?

      8         A    YES.

      9         Q    AND THE VICE PRESIDENT OF SALES IS?

     10         A    THE SALES IS ROCCO, VP OF MARKETING IS MICHALEC,

     11    M-I-C-H-A-L-E-C.

     12         Q    VICE PRESIDENT OF OPERATIONS IS BJ?

     13         A    KELLY, K-E-L-L-Y.

     14         Q    THIS IS ME TRYING TO READ MY SCRIBBLY WRITING.

     15    WE STILL HAVE APPROXIMATELY 10 CORPORATE STAFF?

     16         A    MAYBE 12 NOW.

     17         Q    AND THE SAME DIVISION OF LABOR WHEN IT COMES TO

     18    MARKETING EMPLOYEES AND SALE EMPLOYEES?

     19         A    YES.   EVERYTHING'S THE SAME.      THERE'S A FEW MORE

     20    IN EACH DIVISION.     THERE'S MORE PEOPLE IN PROMOTIONS,

     21    THERE'S MORE PEOPLE IN TELEMARKETING TODAY THAN THERE WAS

     22    FOUR YEAR AS.

     23         Q    WE'RE GOING TO GET ON TO THIS A LITTLE MORE IN

     24    DEPTH ABOUT RVI BUT FIRST I'D LIKE TO GO OVER SOME

     25    HOUSEKEEPING HERE.
                                                                          24

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00013
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 16 of 437 Page ID
                                  #:172
                                       DEPOSITION OF RICHARD D. SARGENT


      1    COMPANIES?

      2         A    IT NEGOTIATES LEASES, ABSOLUTELY.

      3         Q    AND WHICH ONES ARE THOSE?

      4         A    RVI.    I'M TRYING TO THINK IF I'VE DONE ANY OTHER

      5    LEASES.   IT'S JUST RVI RIGHT NOW.

      6         Q    I THINK I NEED A LITTLE BIT OF EDUCATING ON

      7    ESSENTIALLY HOW TIMESHARES WORK.

      8         A    OKAY.

      9         Q    HOW THE PRODUCT IS SOLD, HOW DOES ONE PURCHASE,

     10    WHAT EXACTLY ARE YOU PURCHASING, WHAT SORT OF INTEREST.

     11    LET'S BEGIN.

     12              CAN YOU EXPLAIN TO ME HOW A TIMESHARE GOES

     13    THROUGH THE PROCESS OF ACQUIRING IT TO IT BEING SOLD TO A

     14    CONSUMER.

     15              MR. EHRLICH:    I'M GOING TO JUST OBJECT FOR THE

     16    RECORD THAT IT CALLS FOR A NARRATIVE BUT YOU WANT THE

     17    WHOLE, EXPLAIN HOW HE ACQUIRES FROM A TO Z.

     18              MR. BICKFORD:     I NEED SOME EDUCATING IN ORDER TO

     19    ASK MORE INTELLIGENT QUESTIONS.

     20              MR. EHRLICH:    YOU'VE GOT AN EXPERT RIGHT HERE.

     21              THE WITNESS:    I WOULD LIKE YOU TO CLARIFY THE

     22    QUESTION FOR ME.     DO YOU WANT TO KNOW HOW MY PRODUCT

     23    WORKS OR HOW A TIMESHARE IN GENERAL WORKS?

     24         Q    BY MR. BICKFORD:     SINCE THIS IS A CASE ABOUT

     25    GLOBAL EXCHANGE VACATION CLUB AND ITS RELATED COMPANY
                                                                          33

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00014
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 17 of 437 Page ID
                                  #:173
                                       DEPOSITION OF RICHARD D. SARGENT


      1    RVI, WHY DON'T YOU GIVE ME THE LAYMAN'S TERMS OF HOW

      2    EITHER GEVC ACQUIRES A PROPERTY OR RVI SELLS IT.         WHY

      3    DON'T YOU TELL ME HOW THAT WORKS.       I'M PROBABLY SAYING IT

      4    WRONG, SO WHY DON'T YOU TELL ME HOW IT WORKS.

      5              MR. EHRLICH:    I'M JUST GOING TO OBJECT TO THE

      6    QUESTION TO THE EXTENT THAT HE TALKED ABOUT GEVC AND

      7    OTHER RELATED COMPANIES LIKE RVI.       GO AHEAD.

      8              THE WITNESS:    AS A REAL ESTATE BROKER, I'VE BEEN

      9    IN THE TIMESHARE INDUSTRY FOR 35 YEARS, I'VE WORKED FOR

     10    MANY DEVELOPERS, MANY TIMESHARE PROJECTS.

     11              A TIMESHARE PROJECT YEARS AND YEARS AGO WOULD BE

     12    25 UNITS IN PALM SPRINGS AND WE SELL 52 WEEKS 25 TIMES.

     13    ONCE THAT PROJECT IS SOLD OUT, IT BECOMES JUST A

     14    HOMEOWNERS ASSOCIATION OWNED BY THE MEMBERS THAT BOUGHT

     15    IT AND CONTROLLED AND RUN BY ELECTED MEMBERS OF THOSE

     16    OWNERS.

     17              AND AS A REAL ESTATE AGENT BACK THEN, YOU WOULD

     18    BE UNEMPLOYED AND YOU'D HAVE TO GO FIND ANOTHER JOB.           SO

     19    I'VE HAD MANY JOBS IN THE INDUSTRY.

     20              THE PRODUCT OF VACATION OWNERSHIP OR TIMESHARE

     21    HAS EVOLVED OVER THE YEARS.      TODAY -- LET ME REGRESS FOR

     22    JUST A MINUTE.

     23              30 YEARS AGO THE AVERAGE TIMESHARE OWNER WAS 52

     24    YEARS OLD, COLLEGE EDUCATED, MEDIUM INCOME, MARRIED.

     25    TODAY THE AVERAGE TIMESHARE OWNER IS 52 YEARS OLD,
                                                                           34

                   DALENE COURT REPORTING        661.341.3929

                                                                      PA - 00015
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 18 of 437 Page ID
                                  #:174
                                       DEPOSITION OF RICHARD D. SARGENT


      1    COLLEGE EDUCATED, MEDIUM INCOME SO THAT PERSON HASN'T

      2    CHANGED WHO'S BUYING THE PRODUCT.

      3              WHAT'S HAPPENING IS THE OLDER PEOPLE THAT BOUGHT

      4    30 YEARS AGO, THEIR KIDS DON'T WANT THE PRODUCT, THEY

      5    DON'T WANT THE MAINTENANCE FEE, THEY DON'T WANT A

      6    MAINTENANCE FEE OF $900 HANGING AROUND THEIR NECK AND

      7    IT'S HURTING THE RESORTS.

      8              SO MANY WEEKS ARE BEING FORECLOSED ON OR NOT

      9    FORECLOSED ON AND MANY TIMESHARE RESORTS ARE IN TROUBLE,

     10    THEY DON'T HAVE ENOUGH MONEY TO OPERATE THE RESORTS.

     11              I SAW AN OPPORTUNITY TO ACQUIRE THESE INTERVALS

     12    AND CREATE A CLUB CONCEPT.      SO I WENT TO THE DEPARTMENT

     13    OF REAL ESTATE, I REGISTERED GLOBAL EXCHANGE VACATION

     14    CLUB AS A TIMESHARE ENTITY.      IT'S CONSIDERED A MULTI-

     15    DESTINATION VACATION TIMESHARE CLUB.

     16              AND THEN I PURCHASED INVENTORY AND BOUGHT THE

     17    300 WEEKS AT VISTA MIRAGE, 200 WEEKS AT HAVASU DUNES AND

     18    NOW WE HAVE 12 PROPERTIES IN THE CLUB.        WE TAKE THAT

     19    INVENTORY AND WE DROP IT INTO THE CLUB, AND THEN THE CLUB

     20    SELLS POINT MEMBERSHIPS INSTEAD OF WEEKS.

     21              SO, AGAIN, I DON'T MEAN TO CONFUSE YOU BUT IT'S

     22    GONE FROM BUYING THE THIRD WEEK OF THE YEAR IN UNIT

     23    NUMBER FOUR AT VISTA MIRAGE TO NOW IT'S A POINTS BASED

     24    SYSTEM, YOU BUY 50,000 POINTS AND YOU GO PLAY IN THE

     25    SYSTEM WITH POINTS.
                                                                          35

                   DALENE COURT REPORTING        661.341.3929

                                                                      PA - 00016
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 19 of 437 Page ID
                                  #:175
                                       DEPOSITION OF RICHARD D. SARGENT


      1               50,000 MIGHT GET YOU ONE WEEK IN HAWAII IN A ONE

      2    BEDROOM PRIME TIME OR THREE WEEKS IN A STUDIO OFF SEASON

      3    IN CANCUN.    EVERY WEEK HAS A POINT VALUE AND THAT'S WHAT

      4    GEVC IS, A POINTS-BASED VACATION CLUB.        SO THAT'S THE

      5    LAYMAN'S TERMS OF HOW IT WORKS.

      6          Q    BY MR. BICKFORD:    SO WHO DO YOU BUY THE WEEKS

      7    FROM?     YOU SAID THERE WAS FORECLOSURES.     IS THAT MAINLY

      8    IT?

      9          A    WELL, I BUY THE WEEKS FROM THE ASSOCIATIONS.

     10          Q    SO LIKE AN EXISTING TIMESHARE PROPERTY --

     11          A    ABSOLUTELY.

     12          Q    -- HAS EMPTY WEEKS.     THEY'RE LOOKING TO HAVE

     13    THAT SOLD AND YOU PURCHASE THEM OR YOU SELL ON BEHALF?

     14    HOW DOES IT WORK?

     15          A    NO.   WHEN WE STARTED, WE SOLD ON A NET LISTING

     16    AGREEMENT WITH VISTA MIRAGE AND HAVASU DUNES.         ONCE WE

     17    PUT THEM IN THE CLUB, OBVIOUSLY WE HAD TO GET REGISTERED

     18    WITH THE DEPARTMENT OF REAL ESTATE.        SO, NO, WE ACQUIRE

     19    THE INVENTORY FROM SOLD OUT RESORTS AND IT'S THEIR WHAT

     20    WE WOULD CALL DEAD INVENTORY.

     21               UNFORTUNATELY FOR THE HOMEOWNERS OF THESE OLDER

     22    RESORTS, THEY HAVE NO WAY TO FORECLOSE ON A PROPERTY,

     23    THEY HAVE NO MONEY TO MARKET AND SELL IT NOR DO THEY KNOW

     24    HOW AND FOR ANY ENTREPRENEURIAL GUY LIKE ME, THERE'S NO

     25    FINANCING AVAILABLE TO SELL THE TIMESHARES ON AN
                                                                           36

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00017
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 20 of 437 Page ID
                                  #:176
                                       DEPOSITION OF RICHARD D. SARGENT


      1    INDIVIDUAL BASIS TO AN INDIVIDUAL RESORT.

      2              SO WE WERE ABLE TO PUT THIS WHOLE THING TOGETHER

      3    AND LOOK LIKE A REGULAR TIMESHARE COMPANY AND GET REGULAR

      4    FINANCING AND IT TOOK YEARS BUT THAT'S WHAT WE DO.

      5              MR. EHRLICH:    YOU WANT TO GO OFF THE RECORD FOR

      6    A SECOND?

      7              MR. BICKFORD:     NO, I'VE GOT THIS.

      8         Q    BY MR. BICKFORD:     I JUST WANT TO MAKE SURE

      9    BECAUSE WHEN WE DEAL WITH COMPANIES, IT'S ALWAYS

     10    DIFFICULT TO PINPOINT WHAT COMPANY'S DOING WHAT.

     11         A    OKAY.

     12         Q    WHAT COMPANY IS PURCHASING THE INTEREST IN THE

     13    TIMESHARES?

     14         A    GLOBAL EXCHANGE DEVELOPMENT CORP.

     15         Q    ALL RIGHT.    SO GLOBAL EXCHANGE DEVELOPMENT CORP.

     16    IS SITTING THERE WITH X AMOUNT OF WEEKS IT HAS AND IT

     17    WANTS TO SELL THAT AND HOW DO THOSE WEEKS END UP BECOMING

     18    PART OF GEVC?

     19         A    GEVC OWNS NO WEEKS.      TO HAVE A TIMESHARE

     20    DEVELOPMENT, YOU HAVE TO BE A DEVELOPER.        YOU CAN'T BE A

     21    SALES AND MARKETING COMPANY.       I CAN'T BE RVI AND GO TO

     22    THE DEPARTMENT OF REAL ESTATE AND SAY I WANT TO BUILD

     23    THIS TIMESHARE, ONLY DEVELOPERS CAN DO THAT.

     24              SO YOU FORM A DEVELOPMENT COMPANY AND IT'S MORE

     25    LIKE A SHELL.     SO THE DEVELOPMENT COMPANY GOT THE
                                                                          37

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00018
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 21 of 437 Page ID
                                  #:177
                                       DEPOSITION OF RICHARD D. SARGENT


      1    CALIFORNIA PUBLIC REPORT THAT ALLOWS US TO SELL THE

      2    PRODUCT.    IT NEVER CONTROLS ANYTHING.      IT DEDICATES THE

      3    UNITS OVER AS WE BUY THEM, SO IT'S A ONE-TWO THING.          SO I

      4    BUY 300 WEEKS AT GRAND DESTINATIONS --

      5         Q     YOU SAY I, BUT I WANT KNOW WHICH COMPANY.

      6         A     GLOBAL EXCHANGE DEVELOPMENT CORP. ACQUIRES

      7    INTERVALS FROM A RESORT, X RESORT.       SOMETIMES WE HAVE TO

      8    CLEAN UP THE INVENTORY, SO RVI WOULD PAY TO CLEAN UP THE

      9    INVENTORY.

     10         Q     WHAT DOES IT MEAN TO CLEAN UP THE INVENTORY?

     11         A     WELL, YOU'VE GOT DEAD WEEKS OUT THERE THAT

     12    PEOPLE HAVE WALKED AWAY, YOU CAN'T FIND THEM, THEY

     13    HAVEN'T PAID MAINTENANCE FEES IN YEARS.        I HAVE TO HAVE

     14    CLEAN TITLE.    THE DEPARTMENT OF REAL ESTATE WON'T LET ME

     15    PUT THE INVENTORY AND SELL IT TO A CONSUMER UNLESS I HAVE

     16    TITLE INSURANCE, UNLESS -- YOU HAVE TO HAVE CLEAN TITLE.

     17               SO WE GO IN AND FORECLOSE --

     18         Q     IS THAT RVI?

     19         A     RVI GOES IN, FORECLOSES, WE DO THE JUDICIAL

     20    FORECLOSES, WE GET THIS INVENTORY CLEANED UP.

     21               SO NOW WE HAVE --

     22         Q     THE TITLE CLEAN.

     23         A     MIGHT HAVE STARTED WITH 500, WE END UP WITH 380.

     24    SO WE HAVE CLEANED AND PRESSED 380 INTERVALS.         SO GLOBAL

     25    EXCHANGE DEVELOPMENT CORPORATION ACQUIRES THAT INVENTORY
                                                                           38

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00019
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 22 of 437 Page ID
                                  #:178
                                       DEPOSITION OF RICHARD D. SARGENT


      1    AND HOLDS IT FOR ABOUT 13 SECONDS, THEN IT DEDICATES

      2    THOSE UNITS OVER TO GEVC.

      3         Q    WHAT DOES IT MEAN TO DEDICATE?

      4         A    WE GIVE THEM THE WEEKS.      WE DEDICATE IT TO THE

      5    CLUB.    THEY NO LONGER OWN IT, WE HAVE NO CONTROL OVER IT,

      6    IT'S GONE.

      7         Q    THEN WHAT HAPPENS?

      8         A    THEN GEDC HAS THE EXCLUSIVE RIGHT TO SELL THE

      9    MEMBERSHIPS.

     10         Q    GEVC?

     11         A    GEDC, THE DEVELOPER.

     12         Q    WHERE DOES RVI COME INTO PLAY?

     13         A    RVI DOES THE SALES AND MARKETING.        THE

     14    DEVELOPMENT COMPANY JUST DOES THAT.

     15         Q    SO IS RVI SELLING THE WEEKS ON BEHALF OF GEDC?

     16         A    YES.    IT IS THE BROKERAGE.

     17         Q    AND GEDC IS TECHNICALLY THE ONE WHO SELLS THE

     18    MEMBERSHIPS IN GEVC?

     19         A    CORRECT.    THAT MAY NOT BE TRUE BECAUSE THE SALES

     20    ACTUALLY TAKE PLACE IN THE REAL ESTATE BROKERAGE COMPANY

     21    WHICH IS RVI.     SO I GUESS THE BEST WAY WOULD BE THAT RVI

     22    HAS A CONTRACT TO SELL GEDC'S RIGHTS OR INTERESTS.

     23         Q    AND GEDC HAS RIGHTS AND INTERESTS IN GLOBAL

     24    EXCHANGE VACATION CLUB?

     25         A    GEDC HAS RIGHTS OR INTEREST IN THE MEMBERSHIPS
                                                                          39

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00020
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 23 of 437 Page ID
                                  #:179
                                       DEPOSITION OF RICHARD D. SARGENT


      1    CREATED.    IT HAS NO RIGHTS OR INTEREST IN THE CLUB.

      2         Q     THAT'S WHAT I MEANT.     SO THE MEMBERSHIPS, THE

      3    EMPTY WEEKS.

      4         A     THE UNSOLD MEMBERSHIPS OR POINTS.

      5               (A DISCUSSION WAS HELD BETWEEN THE WITNESS

      6               AND HIS COUNSEL.)

      7               MR. BICKFORD:    NO.   NO.

      8               MR. EHRLICH:    THE QUESTION'S ANSWERED ALREADY.

      9               MR. BICKFORD:    NO, NO, I KNOW BUT YOU CAN GO OFF

     10    THE RECORD.

     11               MR. EHRLICH:    I ABSOLUTELY CAN.

     12               MR. BICKFORD:    NO, NO, YOU CANNOT.

     13               MR. EHRLICH:    THERE'S NO QUESTION PENDING.

     14    WE'LL TAKE A BREAK.

     15               MR. BICKFORD:    THIS IS COACHING THE RECORD.

     16    HOLD ON.    HOLD ON.

     17               MR. EHRLICH:    IT'S NOT COACHING ANYTHING.      LET'S

     18    TAKE A BREAK.    I HAVE A RIGHT TO CLARIFY.

     19               MR. BICKFORD:    WE CAN TAKE A BREAK BUT WHAT YOU

     20    CAN'T DO IS START COACHING.

     21               ALL RIGHT, WE'RE NOT GOING OFF THE RECORD.

     22               MR. EHRLICH:    THERE'S NO QUESTION PENDING.

     23               MR. BICKFORD:    THEY'RE LEAVING.    WE'RE STAYING

     24    ON THE RECORD.

     25               FOR THE RECORD, COUNSEL AND THE DEPONENT ARE
                                                                           40

                    DALENE COURT REPORTING         661.341.3929

                                                                      PA - 00021
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 24 of 437 Page ID
                                  #:180
                                       DEPOSITION OF RICHARD D. SARGENT


      1         Q    I SEE.

      2         A    I'VE BOUGHT MULTIPLE PRODUCTS FROM CASABLANCA.

      3         Q    WHAT I THOUGHT YOU MEANT WAS THAT YOU ONLY

      4    PURCHASED ONE TRIP.

      5         A    NO.

      6         Q    I SEE.    DO YOU KNOW WHAT SUNSET GETAWAYS IS?

      7         A    YES.

      8         Q    WHAT'S THAT?

      9         A    IT IS A DBA OF RESORT VACATIONS, INC., I THINK.

     10    THAT MIGHT BE BETTER ANSWERED BY MILES.

     11         Q    OKAY.    WHAT ARE THE DBA'S OF RESORT VACATIONS,

     12    INC.?

     13         A    WE HAVE TRAVEL MEDIA, WE HAVE SUNSET GETAWAYS,

     14    WE HAVE -- I'M SORRY, I CAN'T REMEMBER THE OTHER ONES.

     15    MILES CAN ANSWER THOSE QUESTIONS FOR YOU.

     16         Q    DO YOU KNOW APPROXIMATELY HOW MANY DBA'S, TO

     17    YOUR KNOWLEDGE?     SOUNDS LIKE YOU THINK THERE'S MORE THAN

     18    JUST THE TWO YOU MENTIONED.

     19         A    OH, THERE IS, THERE'S PROBABLY A COUPLE MORE.

     20         Q    TO YOUR KNOWLEDGE, ARE THERE ANY DBA'S FOR GEVC?

     21         A    NO.

     22         Q    TO YOUR KNOWLEDGE, ARE THERE ANY DBA'S FOR GEDC?

     23         A    YES.

     24         Q    WHAT'S THAT?

     25         A    GEVC.
                                                                          60

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00022
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 25 of 437 Page ID
                                  #:181
                                       DEPOSITION OF RICHARD D. SARGENT


      1         A    CORRECT.

      2         Q    SO SOMEONE WHO HAS A MEMBERSHIP IN GEVC HAS

      3    POINTS IN GEVC, IF THEY DON'T WANT TO VACATION AT ONE OF

      4    THESE LISTED, THEY CAN USE THEIR POINTS SOMEWHERE ELSE.

      5         A    CORRECT.

      6         Q    AND THAT COULD BE QUITE AN EXHAUSTIVE LIST

      7    BECAUSE IT'S THE LARGEST?

      8         A    4,000 RESORTS IN OVER 100 COUNTRIES.

      9         Q    I FIGURED.    YOU MAY HAVE ANSWERED THIS BUT JUST

     10    TO BE CLEAR, RVI DOES MARKETING FOR NO OTHER COMPANY; IS

     11    THAT CORRECT?

     12         A    THAT IS CORRECT.

     13         Q    THEY JUST MARKET FOR, ONE SECOND, GEDC.

     14         A    THAT IS CORRECT.

     15         Q    DOES GEDC HAVE A WEBSITE?

     16         A    YES.

     17         Q    WHAT IS THAT WEBSITE?

     18         A    GLOBAL VACATIONS -- GLOBALEXCHANGEVACATIONS.COM,

     19    VACATIONS WITH AN S.

     20         Q    WHAT'S THE PURPOSE OF THAT WEBSITE?        MIGHT HAVE

     21    MULTIPLE PURPOSES.     IF YOU CAN LIST THEM OFF.

     22         A    CERTAINLY.    WE LIST OUR FINANCIALS FOR THE

     23    MEMBERS, WE LIST THE BOARD MINUTES, WE LIST AVAILABLE

     24    INVENTORY, SPECIALS THAT WE RUN INTO.        THERE'S COMMENT

     25    SECTIONS FOR PEOPLE TO SAY THEIR FAVORITE RESORTS AND
                                                                          76

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00023
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 26 of 437 Page ID
                                  #:182
                                       DEPOSITION OF RICHARD D. SARGENT


      1        Q     SO THE WEBSITE IS MORE FOR, I'M TRYING TO THINK

      2    OF THE RIGHT WORD, SHOWING LEGITIMACY OF THE COMPANY WHEN

      3    DEVELOPING, WHEN NEGOTIATING CONTRACTS AT VENUES?

      4        A     AS OPPOSED TO FOR MEMBERS OR ANYTHING LIKE THAT,

      5    YES.    THAT'S WHAT IT'S TOTALLY USED FOR.

      6        Q     SO THERE'S NO OTHER PURPOSE FOR

      7    RESORTVACATIONSINC.NET?

      8        A     NO.

      9        Q     DOES RESORT VACATIONS, INC., HAVE ANY OTHER

     10    WEBSITES, FOR EXAMPLE, UNDER ANY OF ITS DBA NAMES?

     11        A     YES.

     12        Q     WHAT ARE THOSE?

     13        A     WELL, I DON'T KNOW THE NAMES OF THEM BUT THEY'RE

     14    ALL THE NAMES OF THE DBA'S.     TRAVELMEDIA.NET OR .COM.

     15    I'M TRYING TO THINK OF THE NAMES OF THE DBA'S.

     16    SUNSETGETAWAYS.COM OR .NET.     WHATEVER THE DBA'S ARE ARE

     17    THE NAMES OF THE WEBSITES.

     18        Q     WHY ALL THE DBA'S?

     19        A     WHY ALL THE DBA'S?

     20        Q     WHY ARE THEIR MULTIPLE DBA'S FOR RESORT VACATIONS,

     21    INC.?

     22        A     THEY'RE USED FOR DIFFERENT PURPOSES.

     23        Q     SO WHAT WOULD THE PURPOSE OF THE NAME OF TRAVEL

     24    MEDIA BE USED FOR?

     25        A     SO TRAVEL MEDIA IS THE NAME THAT WE BOOK OUR

                                                                          78

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00024
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 27 of 437 Page ID
                                  #:183
                                       DEPOSITION OF RICHARD D. SARGENT


      1    TOURS UNDER AT THE TELEMARKETING CENTER.        SO IT'S TRAVEL

      2    MEDIA THAT GOES OUT, WE CALL AS TRAVEL MEDIA BECAUSE

      3    THAT'S WHO WE CALL AS, AND THEN WE INVITE YOU TO A

      4    TIMESHARE PRESENTATION AND THAT TIMESHARE PRESENTATION IS

      5    OF GLOBAL EXCHANGE VACATION CLUB.

      6         Q    WHAT ABOUT SUNSET GETAWAYS?

      7         A    SAME THING.

      8         Q    SO THERE WILL BE TELEMARKETERS WILL CALL AS

      9    SUNSET GETAWAYS?

     10         A    CORRECT.

     11         Q    IS THAT A DIFFERENT TELEMARKETING LOCATION?

     12         A    YES.

     13         Q    OKAY.   AND YOU UNDERSTAND, I WANT TO MAKE SURE

     14    WE'RE ON THE SAME PAGE AND I THINK WE ARE ABOUT

     15    TELEMARKETING LOCATION, I MEAN LIKE A BUILDING AND A

     16    ROOM.

     17         A    EXACTLY.    WE HAVE MULTIPLE PHONES.

     18         Q    I'LL PROBABLY GET TO ALL THAT LATER.

     19         A    SURE.

     20         Q    RIGHT NOW WE HAVE THE DBA FOR RVI, ONE OF THEM

     21    IS TRAVEL MEDIA AND ONE OF THEM IS SUNSET GETAWAYS.          IS

     22    THERE ANYTHING ELSE?

     23         A    THERE ARE MORE.     I THINK MILES WOULD BE THE ONE,

     24    HE'LL KNOW WHAT ALL THOSE ARE.

     25         Q    OKAY.   SO I THINK NOW IS A GOOD TIME TO GO ON A
                                                                             79

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00025
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 28 of 437 Page ID
                                  #:184
                                        DEPOSITION OF RICHARD D. SARGENT


      1    BREAK.    IF NOT, WE'LL OPEN ANOTHER SUBJECT THAT WILL TAKE

      2    ANOTHER HOUR.

      3               MR. EHRLICH:   THAT'S FINE.

      4               THE VIDEOGRAPHER:    WE ARE NOW GOING OFF THE

      5    RECORD, THE TIME IS 11:57 A.M.

      6               (LUNCH RECESS.)

      7               THE VIDEOGRAPHER:    WE ARE NOW BACK ON THE

      8    RECORD, THE TIME IS 12:47 P.M.

      9         Q     BY MR. BICKFORD:    WHERE ARE THE SALES CENTERS

     10    FOR RVI?    PHYSICAL LOCATION.

     11         A     CURRENTLY?

     12         Q     CURRENTLY.

     13         A     ENCINO, NEWPORT BEACH AND ONTARIO.

     14         Q     DO YOU HAVE THE ADDRESSES?

     15         A     NO.

     16         Q     ARE THERE ADDITIONAL SALES CENTERS OPERATING

     17    UNDER THE NAME TRAVEL MEDIA?

     18         A     NO.

     19         Q     ANY ADDITIONAL SALES CENTERS OPERATING UNDER THE

     20    NAME SUNSET GETAWAYS?

     21         A     NO.

     22         Q     WHERE IS THE LOCATION OF RVI'S TELEMARKETING

     23    CENTERS?

     24         A     WE HAVE A TELEMARKETING CENTER IN SANTA ANA,

     25    IRVINE AND ARIZONA.     PHOENIX, I BELIEVE.
                                                                          80

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00026
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 29 of 437 Page ID
                                  #:185
                                       DEPOSITION OF RICHARD D. SARGENT


      1         Q    APPROXIMATELY HOW MANY TELEMARKETERS WORK AT THE

      2    SANTA ANA CENTER?

      3         A    THERE ARE 30 STATIONS AND IT VARIES.

      4         Q    WHAT DO YOU MEAN BY STATIONS?

      5         A    TELEMARKETING STATIONS, THE LITTLE BOOTHS.        AND

      6    WE WOULD LOVE IT TO BE FULL BUT IT'S NEVER FULL.

      7         Q    WHY IS IT NEVER FULL?

      8         A    JUST TALENT.

      9         Q    MEANING PEOPLE WHO ARE QUALIFIED TO HANDLE THE

     10    POSITION?

     11         A    WELL, LIKE ANY SALES ORGANIZATION, WHETHER

     12    YOU'RE SELLING ON THE PHONE TRYING TO SET AN APPOINTMENT

     13    OR YOU'RE TRYING TO SELL A TIMESHARE IN THE SALES ROOM,

     14    SOME PEOPLE ARE GOOD AT IT, SOME PEOPLE AREN'T.

     15              SO IF YOU HAVE A BASE OF 20 DECENT PEOPLE, YOU

     16    KNOW, PEOPLE ARE TURNING OVER, IT'S A PART-TIME JOB.

     17    IT'S JUST NEVER FULL.

     18         Q    WHAT'S THE SANTA ANA CENTER'S HOURS OF OPERATION?

     19         A    WE BASICALLY WORK, AND MILES CAN VERIFY, I

     20    OBVIOUSLY DON'T SET THE SCHEDULES, BUT IT'S MONDAY -- OR

     21    SUNDAY THROUGH THURSDAY 5:00 TO 9:00, 4:30 TO 9:00,

     22    SOMETHING LIKE THAT.

     23         Q    HOW MANY TELEMARKETERS ARE AT THE IRVINE

     24    LOCATION?

     25         A    WE HAVE 30 OUTBOUND PHONES AND WE HAVE, I

                                                                             81

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00027
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 30 of 437 Page ID
                                  #:186
                                       DEPOSITION OF RICHARD D. SARGENT


      1    BELIEVE IT'S 12 INBOUND PHONES.

      2         Q     SO --

      3         A     SO, AGAIN, IT'S, YOU KNOW, IT'S 20 PEOPLE THERE

      4    ALWAYS, THEY JUST ROTATE OUT.       PEOPLE DON'T SHOW UP.

      5         Q     WHY DON'T THEY HAVE TO SHOW UP IF THEY DON'T

      6    WANT TO?    IS IT INDEPENDENT CONTRACTOR WORK?

      7         A     NO, PEOPLE DON'T SHOW UP FOR WORK.       IF YOU'VE

      8    GOT EMPLOYEES, ESPECIALLY, YOU KNOW, TELEMARKETERS,

      9    THEY'RE GOING TO MISS A DAY HERE AND THERE.         WHEN YOU GET

     10    30 PEOPLE OR 30 SEATS, FIVE PEOPLE A DAY DON'T SHOW UP.

     11         Q     AND WHY DON'T THEY SHOW UP, FIVE PEOPLE A DAY?

     12    THE REASON WHY I'M ASKING IS BASED ON MY EXPERIENCE, A

     13    TYPICAL ORGANIZATION OF 30 PEOPLE, YOU CAN EXPECT MOST TO

     14    SHOW UP A DAY, IF NOT, MAYBE ONE OR TWO PEOPLE NOT THERE.

     15    SO WHY IS IT HIGHER?

     16               MR. EHRLICH:   I'M GOING TO OBJECT, IT CALLS FOR

     17    SPECULATION, BUT YOU CAN GO AHEAD AND ANSWER.

     18         Q     BY MR. BICKFORD:    TO THE EXTENT YOU KNOW.

     19         A     I WOULD ASSUME THAT IT'S BECAUSE IT'S A

     20    PART-TIME JOB.     THEY'VE ALL GOT OTHER JOBS, THEY'VE GOT

     21    TO COME FROM OTHER WORK, IT'S NOT THEIR MAIN JOB, AND

     22    THAT'S AN ASSUMPTION.

     23         Q     BASED ON YOUR UNDERSTANDING OF THE POSITION?

     24         A     ABSOLUTELY.    RUNNING PHONE ROOMS FOR 35 YEARS.

     25         Q     SURE.   SO AT THE IRVINE LOCATION, THERE'S 30
                                                                           82

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00028
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 31 of 437 Page ID
                                  #:187
                                       DEPOSITION OF RICHARD D. SARGENT


       1   OUTBOUND STATIONS?

       2        A     CORRECT.

       3        Q     AND YOU SAID 12 INBOUND STATIONS?

       4        A     I BELIEVE SO.

       5        Q     ROUGHLY.

       6        A     ROUGHLY, YES.

       7        Q     AND ABOUT 20 EMPLOYEES THERE ON ANY GIVEN TIME

       8   WHILE IT'S OPEN.

       9        A     YES.

     10         Q     AND THE HOURS OF OPERATION FOR THAT ARE?

     11         A     SAME.   ALTHOUGH THE INBOUND IS DAYTIME.        IN

     12    OTHER WORDS, PEOPLE DON'T CALL IN AT NIGHT.          THE INBOUND

     13    CALLS ARE DURING THE DAY.

     14         Q     WHAT'S THE PURPOSE OF INBOUND CALLS?

     15         A     EVERYTHING IS THE SAME PURPOSE, TO BOOK A TOUR.

     16         Q     SO WHY ARE PEOPLE CALLING THE INBOUND?         LET ME

     17    CHANGE THE WAY I PHRASED THAT.

     18               WHERE DO PEOPLE GET THE NUMBER TO CALL THE

     19    INBOUND?

     20         A     WE USE VARIOUS MARKETING TECHNIQUES.        SIGN

     21    SPINNERS, BILLBOARDS, ADS IN NEWSPAPERS, THAT KIND OF

     22    STUFF.

     23         Q     THOSE PEOPLE WOULD CALL?

     24         A     CALL AN 800 NUMBER.

     25         Q     AND THAT IS ROUTED TO THE IRVINE CENTER.         AND
                                                                             83

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00029
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 32 of 437 Page ID
                                  #:188
                                       DEPOSITION OF RICHARD D. SARGENT


      1    THE OTHER STATIONS ARE DEVOTED TO OUTBOUND TELEMARKETING.

      2         A     YES, SIR.

      3         Q     AND THE ARIZONA, PHOENIX LOCATION, SAME

      4    QUESTION, HOW MANY PEOPLE, HOW MANY STATIONS?

      5         A     WE HAVE 16 STATIONS.     IT'S A BRAND NEW CENTER

      6    AND WE'RE TESTING THAT ABILITY TO GET OUT FROM UNDERNEATH

      7    CALIFORNIA AND THE REQUIREMENTS OF CALIFORNIA.         $10 AN

      8    HOUR IS KILLING US.

      9         Q     IT'S GOING TO 15.

     10         A     THERE'S NO DOUBT ABOUT IT AND WE MIGHT BE IN

     11    ARIZONA.

     12         Q     YOU SAID THOSE ARE THE CURRENT LOCATIONS.

     13    LOCATIONS IN THE PAST, LIST SOME OF THOSE.

     14         A     IN THE PAST, FOR THE FIRST SIX OR SEVEN YEARS OF

     15    THE OPERATION, WE WERE LOCATED IN COSTA MESA, THE

     16    MARKETING CENTER, AND FROM THERE WE MOVED TO A LOCATION

     17    IN SANTA ANA.    YOU'RE ASKING ABOUT TELEMARKETING.

     18         Q     THE TELEMARKETING LOCATIONS.

     19         A     SO WE ONLY HAD ONE BIG CENTER UNTIL WE'VE JUST

     20    RECENTLY BROKE THEM UP BECAUSE OF WHAT WE BELIEVE IS A

     21    TALENT POOL.    YOU CAN'T GET 70 GOOD PEOPLE ON THE PHONES.

     22    ONCE YOU GET PAST 40, IT'S JUST A ROLLING, YOU NEVER CAN

     23    BUILD IT UP.

     24         Q     SO GENERALLY WITH THE EXCEPTION OF THE PHOENIX

     25    LOCATION, SOUTHERN CALIFORNIA?
                                                                           84

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00030
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 33 of 437 Page ID
                                  #:189
                                       DEPOSITION OF RICHARD D. SARGENT


      1         A    UM-HUM.

      2         Q    WHERE DID YOU SAY RVI'S HEADQUARTERS WERE?

      3         A    WE'RE CURRENTLY LOCATED IN SAN JUAN CAPISTRANO.

      4         Q    SO THE, WHAT WOULD YOU DESCRIBE, THE MAIN OFFICE?

      5         A    YEAH, OUR CORPORATE OFFICES.

      6         Q    THE CORPORATE OFFICE IS NOT AT THE SAME PLACE AS

      7    THE TELEMARKETING.

      8         A    NO.

      9         Q    OKAY.   ANY OTHER LOCATIONS, TELEMARKETING

     10    LOCATIONS?

     11         A    NO.

     12         Q    SO IF I CAN JUST RECAP, STARTED ALL AT COSTA

     13    MESA, MOVED TO SANTA ANA AND FROM THERE YOU EXPANDED OUT

     14    TO IRVINE AND NOW PHOENIX?

     15         A    CORRECT.   WELL, IT'S A DIFFERENT LOCATION IN

     16    SANTA ANA.

     17         Q    BUT THE REASON FOR THAT IS YOU CAN GET MORE

     18    QUALIFIED PEOPLE ON A LARGE GEOGRAPHICAL SPREAD?

     19         A    YES.

     20         Q    IS THERE A SUPERVISING EMPLOYEE AT THE SANTA ANA

     21    LOCATION?

     22         A    THERE IS A TELEMARKETING SUPERVISOR AT ALL

     23    LOCATIONS.

     24         Q    I WAS GOING TO GO THROUGH EACH ONE.

     25         A    OKAY.

                                                                          85

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00031
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 34 of 437 Page ID
                                  #:190
                                       DEPOSITION OF RICHARD D. SARGENT


       1   RECORD, THE TIME IS 1:08 P.M.

       2        Q     BY MR. BICKFORD:     WE'RE LOOKING AT EXHIBIT 5

       3   WHICH IS THE TOUCHSCREEN INTERFACE OF WHAT YOU DESCRIBED

       4   AS FORTITUDE MEDIA, CORRECT?

       5        A     YES.

       6        Q     HOW DID YOU KNOW BY LOOKING AT THIS IT WAS

       7   FORTITUDE MEDIA?

       8        A     THE GROVE.

       9        Q     WHY IS THAT?

     10         A     BECAUSE HE DOES THE GROVE.

     11         Q     GOT IT.   ANYTHING ABOUT THE BACKGROUND OR THE

     12    QUESTIONS BEING ASKED?

     13         A     NO.

     14         Q     WOULD THE QUESTIONS BEING ASKED BE THE SAME?

     15         A     MILES WOULD BE THE GUY TO ANSWER THAT.

     16         Q     SURE.   IF YOU KNOW OR IF YOU DON'T KNOW, THAT'S

     17    FINE, YOU CAN SAY I DON'T KNOW.

     18         A     I DON'T KNOW.

     19         Q     WHAT IN HERE CONSTITUTES PRIOR EXPRESS CONSENT

     20    TO CALL A CELL PHONE?

     21         A     THE DETAILS OF PARTICIPATION.

     22         Q     SURE.   WHAT SENTENCE IN THERE?

     23         A     "BY CHECKING THE AND PRESSING THE NEXT ARROW

     24    BOX, THIS WILL SERVE AS MY ELECTRONIC SIGNATURE.           I

     25    VERIFY THAT THE ABOVE INFORMATION IS TRUE AT THE ABOVE
                                                                          94

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00032
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 35 of 437 Page ID
                                  #:191
                                       DEPOSITION OF RICHARD D. SARGENT


      1    ADDRESS OR TEXT IS -- THE INFORMATION IS TRUE AT THE

      2    ABOVE ADDRESS OR BY TEXT OR VOICE CONTACT TO MY CELLULAR

      3    PHONE OR HOME ADDRESS NUMBERS PROVIDED BY ME IN OR ON

      4    THIS ELECTRONIC ENTRY OR MY EMAIL ADDRESS PROVIDED

      5    REGARDING THIS AND FUTURE PROMOTIONAL OFFERS REGARDLESS

      6    OF ANY PRIOR ELECTION TO THE CONTRARY."

      7              UP ABOVE THAT IT STATES, "I VERIFY THAT THE

      8    INFORMATION PROVIDED IS TRUE AND AGREE TO BE CONTACTED BY

      9    RESORT VACATIONS, INC., FORTITUDE MEDIA, INC., AND ITS

     10    PARTNERS FOR RESORT STAY" -- EXCUSE ME, "FORTITUDE MEDIA,

     11    INC., AND ITS PARTNER PARTNERS OR RESORT STAY

     12    INTERNATIONAL, LLC, AT THE ABOVE ADDRESS, BY TEXT OR

     13    VOICE CONTACT TO MY CELLULAR OR HOME TELEPHONE NUMBERS

     14    PROVIDED BY ME IN OR ON THIS ELECTRONIC ENTRY OR MY EMAIL

     15    ADDRESS PROVIDED REGARDING THE TRUE PROMOTIONAL --

     16    REGARDING THIS AND FUTURE PROMOTIONAL OFFERS REGARDLESS

     17    OF ANY PRIOR ELECTION TO THE CONTRARY."

     18         Q    AND YOU READ THE LAST SENTENCE IN THAT BIG

     19    PARAGRAPH, CORRECT?

     20         A    YES.

     21         Q    DOES IT STATE ANYWHERE THERE, DOES IT MENTION

     22    GLOBAL EXCHANGE VACATION CLUB?

     23         A    NO.

     24         Q    AND THIS IS HOW RVI, THAT LANGUAGE IS HOW RVI

     25    CLAIMS IT GETS PRIOR EXPRESS CONSENT TO CALL CELL PHONES,
                                                                          95

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00033
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 36 of 437 Page ID
                                  #:192
                                       DEPOSITION OF RICHARD D. SARGENT


      1    CORRECT?

      2               MR. EHRLICH:    I OBJECT TO THE EXTENT IT CALLS

      3    FOR A LEGAL CONCLUSION.

      4               YOU CAN ANSWER GIVING YOUR UNDERSTANDING.

      5               THE WITNESS:    WE LIST GLOBAL EXCHANGE

      6    DEVELOPMENT, THE DEVELOPER OF THE CLUB, AND RVI, WHO IS

      7    THE MARKETER, YES, THAT IS HOW WE GET PERMISSION TO CALL.

      8         Q     BY MR. BICKFORD:    OKAY.    AND IF YOU FLIP

      9    THROUGH, TO THE EXTENT YOU KNOW, IS THIS THE ORDER IT

     10    APPEARS ON THE TOUCHSCREEN?

     11         A     I BELIEVE SO.

     12         Q     I'M GOING TO ASK THIS OF MILES SINCE HE WOULD

     13    KNOW BETTER.

     14         A     SURE.

     15         Q     SO THEN AFTER CLICKING NEXT, THEY WOULD THEN

     16    ENTER THEIR NAME, THEIR LAST NAME, THEIR PHONE NUMBER AND

     17    SEVERAL QUESTIONS.

     18         A     CORRECT.

     19         Q     SUCH AS THEIR AGE GROUP, WHETHER THEY'RE MARRIED

     20    AND APPROXIMATE INCOME ABOVE 40 OR LESS THAN 40.

     21         A     OKAY.

     22         Q     AND THEIR ZIP CODE.

     23         A     I WOULD TELL YOU OURS IS A LITTLE DIFFERENT.

     24         Q     HOW IS IT DIFFERENT?

     25         A     WE ACTUALLY DO SURVEYS FOR THE VENUES.       SO AT
                                                                           96

                    DALENE COURT REPORTING        661.341.3929

                                                                      PA - 00034
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 37 of 437 Page ID
                                  #:193
                                       DEPOSITION OF RICHARD D. SARGENT


      1    STAPLES CENTER, THEY WANT TO KNOW COKE VERSUS PEPSI, DO

      2    WE PUT -- WHATEVER QUESTIONS THAT THEY WANT, WE PROVIDE

      3    THAT DATA TO THE VENUE.

      4         Q     OKAY.   SURE.   BUT THE QUESTIONS THAT ARE HERE

      5    WOULD BE THE SAME ON YOURS, RIGHT?

      6         A     YES.

      7         Q     BECAUSE ESPECIALLY ON RVI 11, THOSE QUESTIONS

      8    THERE WOULD BE PERTINENT IN DETERMINING WHETHER

      9    SOMETHING'S A QUALIFIED LEAD, CORRECT?

     10         A     YES.

     11         Q     I'VE DEALT WITH OTHER TIMESHARE COMPANIES AND

     12    THESE SAME QUESTIONS COME UP OVER AND OVER AGAIN.          THESE

     13    ARE FAIRLY STANDARD INFORMATION QUESTIONS.

     14         A     VERY BASIC.

     15         Q     WHAT IS IT YOU'RE LOOKING FOR HERE FOR A

     16    QUALIFIED LEAD WITH THESE QUESTIONS?

     17         A     THE LEAD THAT I WOULD BUY FROM FORTITUDE MEDIA

     18    WOULD NEED TO BE AGE GROUP OF BETWEEN 25 AND 73, IN THIS

     19    CASE, MARRIED OR CO-HAB, WE WOULD TAKE 20 PERCENT, WE'LL

     20    BUY 20 PERCENT OF THE SINGLE WOMEN.        WE DON'T TAKE SINGLE

     21    MEN.     AND AN INCOME OF ABOVE $40,000.

     22         Q     AND THAT LANGUAGE, THAT LAST SENTENCE, IS THAT

     23    THE SAME LANGUAGE THAT'S USED TO OBTAIN PRIOR EXPRESS

     24    CONSENT FROM YOUR TOUCHSCREEN?

     25         A     YOU'RE GOING TO HAVE TO -- I'M GOING TO SAY YES
                                                                          97

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00035
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 38 of 437 Page ID
                                  #:194
                                       DEPOSITION OF RICHARD D. SARGENT


      1    BUT I DON'T KNOW FOR SURE BUT MILES WOULD KNOW.

      2         Q     OKAY.    SO IN THIS CASE, IT WAS FORTITUDE MEDIA

      3    AND FORTITUDE MEDIA RAN THIS AT THE GROVE, RIGHT?

      4         A     RIGHT.

      5         Q     AND WHAT HAPPENS WITH THE LEADS THEN?       LET'S SAY

      6    THEY -- HOW MANY DO YOU THINK THEY GOT HERE, IF YOU CAN

      7    GIVE ME A NUMBER TO WORK WITH?

      8         A     IT DEPENDS ON THE EVENT.     IF IT'S A KIDS' EVENT,

      9    LOTS OF PARENTS COME AND YOU GET LOTS OF QUALIFIED LEADS.

     10    IF IT'S A CONCERT, DEPENDING ON THE CONCERT, BECAUSE

     11    WE'VE GOT TO ATTEND ALL OF THEM, THAT'S KIND OF THE DEAL.

     12               SO IF IT'S A HIP HOP THING, YOU'RE NOT GOING TO

     13    DO SO WELL.    IF IT'S FLEETWOOD MAC, THOSE ARE OUR PEOPLE.

     14         Q     SURE.

     15         A     SO IT JUST DEPENDS ON THE VENUE.

     16         Q     CAN YOU GIVE ME A RANGE?

     17         A     I'M GOING TO SAY MAYBE FOUR PERCENT OF THE

     18    PEOPLE THAT ATTEND I THINK WOULD BE A FAIR NUMBER.          SO IF

     19    5,000 PEOPLE WENT TO THE CONCERT, WE'D GET 200 QUALIFIED

     20    LEADS.

     21         Q     OKAY.    IN THIS CASE, SINCE THIS WAS A FORTITUDE

     22    MEDIA, YOU WOULD BUY THOSE QUALIFIED LEADS FROM FORTITUDE

     23    MEDIA --

     24         A     CORRECT.

     25         Q     -- AT AN GREED UPON RATE.
                                                                          98

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00036
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 39 of 437 Page ID
                                  #:195
                                       DEPOSITION OF RICHARD D. SARGENT


      1         A     YES.

      2         Q     WHAT HAPPENS TO THOSE LEADS THEN?

      3         A     THE LEADS GET SCRUBBED AGAINST -- WELL, FIRST WE

      4    SCRUB THEM BEFORE WE BUY THEM AGAINST OUR INTERNAL DO NOT

      5    CALL AND THEN WE LOAD THEM INTO OUR SYSTEM.

      6         Q     FIRST I'M HEARING OF AN INTERNAL DO NOT CALL.

      7    WHAT IS YOUR INTERNAL DO NOT CALL?

      8         A     THAT'S NOT THE FIRST YOU'VE HEARD OF IT.        YOU

      9    ACTUALLY GOT A LIST OF 111,000 OF THEM.

     10         Q     I SEE.   SO YOUR INTERNAL DO NOT CALL IS PEOPLE

     11    WHO HAVE SAID AHEAD OF TIME I DON'T WANT TO BE CALLED.

     12         A     YES.   DO NOT CONTACT ME.

     13         Q     BUT YOUR INTERNAL DO NOT CALL LIST IS NOT

     14    SCRUBBING AGAINST THE NATIONAL DO NOT CALL LIST?

     15         A     IT'S IN ADDITION TO.     THEY MAY OR MAY NOT BE ON

     16    THE DNC.    WE'RE REQUIRED TO CARRY AN INTERNAL DO NOT

     17    CALL.

     18         Q     BUT WHAT ABOUT SCRUBBING THOSE LEADS AGAINST THE

     19    NATIONAL DO NOT CALL LIST?

     20         A     WE DO NOT DO THAT.

     21         Q     WHY IS THAT?

     22         A     BECAUSE WE HAVE PERMISSION TO CALL THEM.

     23         Q     SO THEN ONCE THOSE ARE SCRUBBED AGAINST YOUR

     24    INTERNAL DO NOT CALL LIST, WHAT HAPPENS TO THOSE LEADS

     25    THEN?
                                                                            99

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00037
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 40 of 437 Page ID
                                  #:196
                                       DEPOSITION OF RICHARD D. SARGENT


      1         A    THEY GET LOADED INTO THE SYSTEM.

      2         Q    DO YOU PROVIDE THOSE LEADS TO ANY THIRD PARTY?

      3         A    NO.

      4         Q    DO YOU PROVIDE THOSE LEADS TO ANY THIRD PARTY

      5    MAKING CALLS ON YOUR BEHALF TO GENERATE QUALIFIED TOURS?

      6         A    NO.

      7         Q    JUST TO BUILD SOME FOUNDATION, DOES RVI CONTRACT

      8    WITH OTHER COMPANIES TO TELEMARKET AND GENERATE QUALIFIED

      9    LEADS?

     10         A    YES.

     11         Q    WHO ARE THOSE COMPANIES?      AND THIS IS THROUGHOUT

     12    THE ENTIRE HISTORY.

     13         A    OH, GOD.

     14              MR. EHRLICH:    IT MIGHT HELP IF WE DO IT BY YEAR.

     15         Q    BY MR. BICKFORD:     LET'S DO WHO IT IS NOW?

     16         A    WE USE TWO COMPANIES IN THE PHILIPPINES, IVT,

     17    WHICH IS INTERVOICE TECHNOLOGIES, I BELIEVE THE NAME IS,

     18    AND THERE'S ANOTHER ONE, I CAN'T THINK OF THE NAME.

     19         Q    MARKETING SOLUTIONS?

     20         A    MARKETING SOLUTIONS AND KALEO DOES SOME

     21    TELEMARKETING.

     22         Q    THOSE ARE THE CURRENT?

     23         A    YES.

     24         Q    CAN YOU THINK OF ANY OTHER CURRENT?

     25         A    NO.
                                                                         100

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00038
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 41 of 437 Page ID
                                  #:197
                                       DEPOSITION OF RICHARD D. SARGENT


      1         Q    THERE MIGHT NOT BE ANOTHER.

      2         A    NO.

      3         Q    WHAT ABOUT PRIOR TO THESE THREE?       ANY OTHERS?

      4    I'LL MAKE THIS A LITTLE EASIER ON YOU.

      5              WHEN WAS THIS COMPLAINT FILED?       2004.   LET'S DO

      6    ANYTHING FROM 2009 ONWARD.

      7         A    THE COMPLAINT WAS FILED IN 2004?

      8         Q    I'M SORRY, 2014.

      9         A    I'M SORRY, WOULD YOU ASK THE QUESTION AGAIN.

     10         Q    SO WE DON'T WASTE OUR TIME, LET'S GO FROM --

     11    WHAT ARE THE VENDORS FROM 2009 ONWARDS?

     12         A    YOU'LL HAVE TO ASK MILES.

     13         Q    DO YOU KNOW ANY?

     14         A    THAT DID TELEMARKETING?

     15         Q    UM-HUM.

     16         A    NO.

     17         Q    OKAY.   MILES WOULD KNOW?

     18         A    YES.

     19              MR. BICKFORD:     JOE, HE WAS DESIGNATED FOR NUMBER

     20    THREE WHICH IS RVI'S RELATIONSHIP WITH ALL THIRD-PARTY

     21    VENDORS THAT WERE HIRED TO MAKE TELEMARKETING CALLS ON

     22    ITS BEHALF DURING THE CLASS PERIOD.

     23              SO WOULD MILES ACTUALLY BE THE PROPER PMK ON

     24    THAT?

     25              MR. EHRLICH:    MILES WOULD PROBABLY BE THE PMK.
                                                                          101

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00039
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 42 of 437 Page ID
                                  #:198
                                       DEPOSITION OF RICHARD D. SARGENT


      1    I THINK RICK'S GIVEN YOU THE PERTINENT INFORMATION.

      2              MR. BICKFORD:     IT SOUNDS LIKE --

      3              MR. EHRLICH:    I THINK YOU HAD THE CLASS PERIOD

      4    FROM 2010 TO THE PRESENT.

      5              MR. BICKFORD:     I SAID 2009 BECAUSE I DIDN'T KNOW

      6    WHAT TIME IN 2010.

      7              MR. EHRLICH:    GOT YOU.    BUT FOR 2010, MILES

      8    WOULD DEFINITELY KNOW.

      9              MR. BICKFORD:     HE'LL BE ABLE TO ANSWER THAT

     10    QUESTION TOMORROW.

     11              MR. EHRLICH:    RIGHT.    MORE THAN LIKELY.    IF NOT,

     12    WE'LL FIND THE INFORMATION FOR YOU.

     13         Q    BY MR. BICKFORD:     YOU CAN STACK THEM UP.      I

     14    BELIEVE YOU ANSWERED THIS BUT RVI DOES NOT PROVIDE ITS

     15    LEADS TO INTERVOICE TECHNOLOGIES?

     16         A    NO.

     17         Q    RVI DOES NOT PROVIDE IT'S LEADS TO MARKETING

     18    SOLUTIONS?

     19         A    NO.

     20         Q    RVI DOES NOT PROVIDE ITS LEADS TO KALEO

     21    TELEMARKETING?

     22         A    NO.

     23         Q    WHY IS THAT?

     24         A    BECAUSE WE DON'T PROVIDE OUR LEADS TO ANYBODY.

     25    IF THEY WANT ME TO BUY A TOUR OR THEY WANT TO PROVIDE A
                                                                          102

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00040
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 43 of 437 Page ID
                                  #:199
                                       DEPOSITION OF RICHARD D. SARGENT


      1    LEAD, WE BUY IT FROM THEM OR AT LEAST FORTITUDE.         THEY

      2    DON'T DO LEADS, THEY DO TOURS.        WE PAY FOR THE CONSUMER,

      3    NOT FOR A LEAD OR A BOOKING OR ANYTHING.         THE GUY'S GOT

      4    TO SHOW UP, HE'S GOT TO BE QUALIFIED, WE PAY THEM.

      5               MR. BICKFORD:    6.

      6               (THE DOCUMENT REFERRED TO WAS MARKED

      7               BY THE CSR AS PLAINTIFF'S EXHIBIT 6

      8               FOR IDENTIFICATION, AND ATTACHED TO

      9               AND MADE A PART OF THIS DEPOSITION.)

     10               MR. EHRLICH:    6, DID YOU SAY?

     11               MR. BICKFORD:    UM-HUM.

     12          Q    BY MR. BICKFORD:      DO YOU KNOW WHAT THIS IS?

     13          A    I BELIEVE THAT IT'S A LIST OF NAMES.       IN LOOKING

     14    AT IT, I WOULD SAY, BECAUSE IT'S FROM STEVE HAMENKA WHO

     15    IS WITH -- I THINK IT'S THE NAMES WE BOUGHT FROM THIS

     16    CONCERT THAT WE'RE ALL TALKING ABOUT HERE BECAUSE I SAW

     17    DEL VALLE'S NAME ON IT.

     18          Q    WHO IS STEVE HAMENKA?

     19          A    HE'S THE OWNER OF FORTITUDE MEDIA.

     20          Q    WHO IS CARL GEVC 2013 TOLEDO?

     21          A    CARL TOLEDO IS AN IT GUY WHO USED TO WORK FOR

     22    RVI.

     23          Q    WHAT WAS HIS ROLE?     YOU SAID IT.   WHAT DID HE

     24    DO?

     25          A    THAT'S A GOOD QUESTION.     I'LL LET MILES ANSWER
                                                                           103

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00041
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 44 of 437 Page ID
                                  #:200
                                       DEPOSITION OF RICHARD D. SARGENT


       1         A     NOW IT IS.

       2         Q     BEFORE THAT, IT WAS THESE POLYCOM PHONES.

       3         A     RIGHT.

       4         Q     AND BEFORE THAT?

       5         A     IT WAS JUST REGULAR PHONE LINES.

       6         Q     SO, TO YOUR KNOWLEDGE, WHEN WERE THE POLYCOM

       7   PHONES USED?

       8         A     ABOUT A YEAR BEFORE THE MYTEL.

       9         Q     HOW DID THEY WORK?

     10          A     YOU PICKED UP THE PHONE AND DIALED THE LEADS.

     11    WE PRINTED THE LEADS AND THEY PICKED UP THE PHONE.           THE

     12    DIFFERENCE BETWEEN THIS AND A REGULAR PHONE IS THE COST

     13    OF THE PHONE CALL.       THIS IS WHERE YOU GET INTO VOICEOVER

     14    IP.   SO THESE ARE INTERNET PHONES, THEY'RE NOT HARD LINE

     15    PHONES WITH THE PHONE COMPANY.

     16          Q     SO IT'S CHEAPER?

     17          A     IT'S CHEAPER THAN THE LINES.

     18          Q     SO THE PROCESS WAS STILL THE SAME, THE ONLY

     19    THING DIFFERENT BETWEEN THE PHONES BEFORE THE POLYCOM

     20    PHONES AND THE POLYCOM PHONES WAS JUST THE COST BECAUSE

     21    IT WAS OVER THE INTERNET?

     22          A     CORRECT.

     23                MR. EHRLICH:    I'M SORRY, I DIDN'T HEAR THAT.

     24                MR. BICKFORD:   DO YOU WANT TO READ SOMETHING

     25    BACK?
                                                                         112

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00042
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 45 of 437 Page ID
                                  #:201
                                       DEPOSITION OF RICHARD D. SARGENT


      1         A     I DON'T.

      2         Q     OKAY.

      3               MR. BICKFORD:    EXHIBIT 10 WHICH IS RVI 18.

      4               (THE DOCUMENT REFERRED TO WAS MARKED

      5               BY THE CSR AS PLAINTIFF'S EXHIBIT 10

      6               FOR IDENTIFICATION, AND ATTACHED TO

      7               AND MADE A PART OF THIS DEPOSITION.)

      8         Q     BY MR. BICKFORD:    WE'RE LOOKING AT SOMETHING

      9    VERY SIMILAR TO RVI 17, EXHIBIT 9.       WHAT IS THIS?

     10         A     OKAY, TO MY KNOWLEDGE, WE ENTERED IN THE PHONE

     11    NUMBERS INTO THE DATABASE FROM YOUR COMPLAINT, THIS ONE

     12    CAME UP WITH MISS DEL VALLE.       THERE'S NO RECORD OF THIS

     13    IN OUR SYSTEM SO WHEN WE PUT IN THAT PHONE NUMBER, WE

     14    DON'T HAVE THAT LEAD.

     15         Q     OKAY.   EARLIER YOU STATED THAT SOME EMPLOYEES

     16    WILL CALL AND SAY THEY'RE CALLING FROM TRAVEL MEDIA,

     17    CORRECT?

     18         A     YES.

     19         Q     AND SOME TELEMARKETERS WILL CALL AND SAY THEY'RE

     20    FROM, CALLING FROM SUNSET GETAWAYS?

     21         A     NO.

     22         Q     SUNSET VACATIONS, IS THAT IT?

     23         A     NO EMPLOYEES CALL AND SAY THAT THEY ARE SUNSET

     24    GETAWAYS.

     25         Q     SO WHEN IS THE NAME SUNSET GETAWAYS USED?
                                                                         119

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00043
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 46 of 437 Page ID
                                  #:202
                                       DEPOSITION OF RICHARD D. SARGENT


      1         A     WE USE SUNSET GETAWAYS FOR ONE OF THE

      2    TELEMARKETERS IN THE PHILIPPINES.

      3         Q     I SEE.   WHICH TELEMARKETER IS THAT?

      4         A     I BELIEVE -- IT'S ONE OF THE TWO.       THERE'S TWO

      5    DBA'S.    ONE GOES TO IVT, ONE GOES TO THE OTHER MARKETING

      6    COMPANY.    MILES COULD TELL YOU WHICH IS WHICH.       I DO NOT

      7    KNOW.

      8         Q     DO YOU KNOW WHY -- DID YOU ASK THEM TO CALL AND

      9    SAY THEY'RE SUNSET GETAWAYS?

     10         A     YES.

     11         Q     AND WHY IS THAT?

     12         A     BECAUSE WE WANT TO IDENTIFY, IF THERE'S A

     13    PROBLEM, SOMEBODY CALLED A SITUATION, WE WANT TO IDENTIFY

     14    WHO MADE THAT PHONE CALL.

     15         Q     AND THE OTHER COMPANY IN THE PHILIPPINES, WHAT

     16    DO THEY SAY THEY'RE CALLING FROM?

     17         A     AGAIN, THERE'S ONLY TWO AND ONE CALLS -- I DON'T

     18    KNOW THE NAME OF THE OTHER DBA BUT MILES CAN PROVIDE YOU

     19    THAT INFORMATION.

     20         Q     OKAY.    SO TO YOUR KNOWLEDGE, INTERVOICE

     21    TECHNOLOGIES DOESN'T CALL AND SAY HI, THIS IS JOHN FROM

     22    INTERVOICE TECHNOLOGIES, CAN I SPEAK TO SOMEONE, RIGHT?

     23         A     THAT IS CORRECT.

     24         Q     THEY SAY THAT THEIR NAME IS SOMETHING.

     25         A     IF THEY'RE CALLING FOR US, THEY'RE GOING TO SAY
                                                                         120

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00044
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 47 of 437 Page ID
                                  #:203
                                       DEPOSITION OF RICHARD D. SARGENT


      1    THEIR NAME IS SUNSET GETAWAYS, ONE OF THE TWO DBA'S WE

      2    HAVE FOR THAT PURPOSE.

      3         Q    WOULD ANYONE CALL AND SAY THIS IS GLOBAL

      4    EXCHANGE VACATION CLUB?

      5         A    NO.   THEY'RE NOT SUPPOSED TO.

      6         Q    WHY ARE THEY NOT SUPPOSED TO?

      7         A    BECAUSE WE WANT THEM TO USE SUNSET GETAWAYS.

      8         Q    OR WHATEVER THE OTHER NAME IS.

      9         A    OR WHATEVER THE OTHER NAME IS.

     10         Q    AND THE REASON FOR THAT IS YOU CAN KEEP TRACK OF

     11    WHERE THE PROBLEMS ARE COMING FROM?

     12         A    IF THERE'S A PROBLEM, WE KNOW PHONE ROOM,

     13    BECAUSE SOMETHING WOULD COME UP AND THEY'D DO THIS AND WE

     14    HAVE NO WAY OF KNOWING.

     15         Q    WHAT ABOUT KALEO?

     16         A    IT'S KALEO, IT'S HAWAIIAN.

     17         Q    KALEO.

     18         A    SO KALEO MARKETING IS AN OPC ORGANIZATION.

     19    THEIR MAIN BUSINESS IS OUTSIDE PUBLIC CONTACT.         SO

     20    THEY'LL GO TO THE SAME VENUES WE ALL GO TO ONLY THEY DO

     21    DIRECT BOOKINGS WITH THE CONSUMERS.        THEY ALSO COLLECT

     22    LEADS.    MOST OF THEIR TELEMARKETING IS VERIFYING AND

     23    CONFIRMING BOOKINGS THEY'VE ALREADY SET OR NO SHOWS, BUT

     24    THEY DO CALL LEADS AS WELL THAT THEY COLLECT ON THEIR

     25    OWN.
                                                                          121

                    DALENE COURT REPORTING       661.341.3929

                                                                       PA - 00045
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 48 of 437 Page ID
                                  #:204
                                       DEPOSITION OF RICHARD D. SARGENT


      1    NEED IT AND I'LL TALK TO MILES ABOUT THAT BECAUSE I'M

      2    SURE HE WOULD KNOW.     WELL, I'M NOT SURE BUT I HOPE.

      3         A    HE'LL KNOW IF IT'S THERE OR NOT.

      4         Q    SO IF YOU MAKE A CALL, TALKING ABOUT RVI RIGHT

      5    NOW, IF YOU MAKE A CALL AND SOMEONE DOES NOT WANT TO BE

      6    CONTACTED IN THE FUTURE, HOW DO YOU ENSURE THAT DOESN'T

      7    HAPPEN?

      8         A    WE MARKET A -- IT IS -- WHAT IS THE WORD I'M

      9    LOOKING FOR, NOT DISPOSED, WE MARKET IT AS A TOL.

     10         Q    WHAT DOES THAT MEAN?

     11         A    TAKE OFF LIST.

     12         Q    ARE THEY PUT ON A SEPARATE LIST, AN INTERNAL DO

     13    NOT CALL LIST?

     14         A    AN INTERNAL DO NOT CALL LIST.       SO THEY'RE PUT

     15    INTO THE DATABASE AS A TOL AS MISS DEL VALLE WAS.

     16         Q    HOW DO YOU KNOW -- YOU'RE POINTING AT ONE OF THE

     17    EXHIBITS.

     18         A    YES.   I'M POINTING AT THE EXHIBIT THAT YOU

     19    SHOWED ME.

     20         Q    EXHIBIT 9.

     21         A    YES, EXHIBIT 9.     YOU CAN SEE THE STATUS OF HER

     22    LEAD IS TOL.

     23         Q    I SEE.

     24         A    SO WE TOOK HER OFF THE LIST.

     25         Q    WAS SHE TAKEN OFF BECAUSE SHE SUED OR WAS SHE
                                                                          133

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00046
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 49 of 437 Page ID
                                  #:205
                                       DEPOSITION OF RICHARD D. SARGENT


       1        Q     THE NATIONAL DNC?

       2        A     YES, THE NATIONAL DNC.

       3        Q     WHAT ABOUT YOUR INTERNAL DNC?

       4        A     HE HAS A COPY OF THAT THAT'S UPDATED I BELIEVE

       5   WEEKLY AND THEY SCRUB THEIR LEADS AGAINST THAT.           AS FAR

       6   AS IVT, YOU KNOW, SHE SCRUBS AGAINST THE DNC, SHE BEING

       7   GRACE, AND THAT'S HOW WE DO IT.

       8        Q     AND IS THAT, YOU SAID THE DNC.       IS THAT THE

       9   NATIONAL DNC?

     10         A     YES, AND THE INTERNAL THAT WE PROVIDE.

     11         Q     TO YOUR KNOWLEDGE, HAS MARKETING SOLUTIONS --

     12    WELL, WHERE DOES MARKETING SOLUTIONS GET THE NUMBERS TO

     13    TELEMARKET FROM?

     14         A     I HAVE NO IDEA.

     15         Q     HAVE YOU EVER ASKED?

     16         A     I HAVE NEVER ASKED, NO.

     17         Q     WHY IS THAT?

     18         A     THAT'S A MARKETING THING.      I THINK MILES CAN

     19    ANSWER THAT FOR YOU.

     20         Q     WHEN WAS THE LAST TIME YOU SPOKE TO MR. DAIGLE?

     21         A     NINE OR 10 MONTHS AGO.

     22         Q     OKAY.

     23               MR. BICKFORD:    WHAT WERE TWO QUESTIONS AGO?

     24    WHAT DID I ASK TWO QUESTIONS AGO?        CAN YOU READ IT BACK.

     25               (RECORD READ.)
                                                                         136

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00047
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 50 of 437 Page ID
                                  #:206
                                       DEPOSITION OF RICHARD D. SARGENT


      1         Q     BY MR. BICKFORD:    WHERE DID IVT GET THE NUMBERS

      2    TO TELEMARKET TO?

      3         A     I DON'T KNOW.

      4         Q     HAVE YOU EVER ASKED?

      5         A     WE USED -- I USED TO PROVIDE NUMBERS FROM A

      6    PHONE, YOU KNOW, FROM A MARKETING HOUSE.        WE WOULD BUY

      7    THREE CENT NUMBERS AND PROVIDE THEM TO HER.

      8         Q     WHEN WAS THIS?

      9         A     THAT WAS BACK IN THE BEGINNING, 2006, 2007.

     10         Q     UNTIL WHEN?

     11         A     WE DID IT FOR THREE OR FOUR YEARS.

     12         Q     2006, STARTING SOMETIME IN 2006 TO 2007 FOR

     13    ABOUT THREE YEARS, YOU PURCHASED LEAD LISTS?

     14         A     CORRECT.

     15         Q     AND YOU'D GIVE THOSE LEAD LISTS OR SELL THE LEAD

     16    LISTS?

     17         A     I WOULD GIVE THE LEAD LIST TO IVT.

     18         Q     AND WOULD YOU SCRUB THOSE LEAD LISTS AGAINST THE

     19    NATIONAL DO NOT CALL?

     20         A     YES.   WE HANDLED THOSE LEADS IN-HOUSE, SO WE

     21    WOULD SCRUB THEM AND SEND HER LIKE 20,000 LEADS A WEEK

     22    AND WE WOULD SCRUB THEM AGAINST THE INTERNAL, THE

     23    OUTSIDE.

     24         Q     WOULD YOU SCRUB AGAINST A CELL PHONE?

     25         A     NO.
                                                                          137

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00048
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 51 of 437 Page ID
                                  #:207
                                       DEPOSITION OF RICHARD D. SARGENT


       1        A     THAT IS CORRECT.

       2        Q     HOW OFTEN DOES SHE COME TO TOWN, TO YOUR

       3   KNOWLEDGE?

       4        A     MAYBE EVERY OTHER YEAR.

       5        Q     WHERE DOES HER FAMILY LIVE, DO YOU KNOW?

       6        A     LA.

       7        Q     DO YOU KNOW WHERE?

       8        A     I HAVE NO IDEA.

       9        Q     WHERE DID YOU SEE HER THE LAST TIME YOU WERE

     10    HERE?    WHERE DID YOU GUYS MEET UP?

     11         A     AT THE OFFICE, CORPORATE OFFICE OF RVI.

     12         Q     DOWN IN MISSION VIEJO?

     13         A     MISSION VIEJO.

     14         Q     WHAT STEPS DOES RVI TAKE TO ENSURE THAT

     15    MARKETING SOLUTIONS ISN'T CALLING CELL PHONES WITH AN

     16    AUTOMATIC DIALING SYSTEM --

     17         A     I HAVE NO IDEA.

     18         Q     -- WITHOUT PRIOR CONSENT?

     19               MR. EHRLICH:    IF YOU DON'T KNOW, SAY YOU DON'T

     20    KNOW.

     21               THE WITNESS:    I SAID I HAVE NO IDEA.      OH, I

     22    DON'T KNOW, OKAY.

     23         Q     BY MR. BICKFORD:     WHAT STEPS DOES RVI TAKE TO

     24    ENSURE THAT IVT DOES NOT CALL CELL PHONES USING AN

     25    AUTOMATIC TELEPHONE DIALING SYSTEM WITHOUT PRIOR EXPRESS
                                                                          139

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00049
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 52 of 437 Page ID
                                  #:208
                                       DEPOSITION OF RICHARD D. SARGENT


       1   CONSENT?

       2        A     I DON'T KNOW.

       3              MR. EHRLICH:    I THINK MILES BRYSON WOULD BE THE

       4   PMK ON THAT.

       5              MR. BICKFORD:    OKAY.

       6        Q     BY MR. BICKFORD:     HOW OFTEN DO YOU RECEIVE

       7   QUALIFIED TOURS FROM MARKETING SOLUTIONS AND IVT?           IS IT

       8   WEEKLY?

       9        A     WELL, EVERY DAY THAT WE'RE OPEN, SO THURSDAY,

     10    FRIDAY, SATURDAY, SUNDAY WE GET SOME.

     11         Q     OKAY.   IF YOU WERE TO ASK MARKETING SOLUTIONS

     12    FOR THE OUTBOUND CALL NUMBERS IT USED TO TELEMARKET,

     13    WOULD MARK PROVIDE THAT TO YOU?

     14         A     I DON'T KNOW.

     15         Q     YOU UNDERSTAND THE QUESTION, THOUGH?

     16         A     I THINK SO.

     17         Q     JUST TO MAKE SURE WE'RE CLEAR, WHEN YOU CALL,

     18    THERE'S AN -- YOU RECEIVE A CALL ON THE CALLER ID

     19    INCLUDING THE CALLS FROM OVERSEAS.        WAS THAT YOUR

     20    UNDERSTANDING OF THE QUESTION?

     21         A     YES.    WELL, ACTUALLY WHAT I WAS THINKING YOU

     22    WERE SAYING WAS WOULD HE PROVIDE ME A LIST OF WHO HE

     23    CALLED.

     24         Q     NO, I'M SAYING THE TELEPHONES HE USES ARE

     25    TYPICALLY, UNLESS THEY'RE SPOOFED, ASSIGNED TO A NUMBER
                                                                         140

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00050
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 53 of 437 Page ID
                                  #:209
                                       DEPOSITION OF RICHARD D. SARGENT


      1         Q    AGAIN, YOU'VE NEVER ASKED HER WHERE SHE GETS HER

      2    LEADS FROM?

      3         A    I HAVE NOT.

      4         Q    AND THE MARKETING SOLUTIONS INTERNATIONAL, THE

      5    ONE IN THE PHILIPPINES, ABOUT HOW MANY TELEMARKETERS DO

      6    THEY HAVE?

      7         A    I HAVE NO IDEA.

      8         Q    YOU THINK IT'S BIGGER OR SMALLER THAN IVT?

      9         A    I THINK IT'S MUCH BIGGER.

     10         Q    EVEN THOUGH IT'S A NEWER COMPANY, IT'S MUCH

     11    LARGER?

     12         A    I DON'T KNOW THAT IT'S NEWER.       I HAVE NO IDEA

     13    HOW LONG MARK DAIGLE HAS OWNED THAT COMPANY.

     14         Q    SO YOU CAME WHEN HE ALREADY HAD A PREEXISTING

     15    BUSINESS?

     16         A    NO.   MARK WORKED FOR ANOTHER COMPANY, HE

     17    INTRODUCED ME TO GRACE, I'VE BEEN DOING BUSINESS WITH

     18    GRACE.    I'D LOST TRACK OF MARK DAIGLE AND WHAT HE WAS

     19    DOING.    I MEAN, I HEAR.    WHEN I WENT OUT THERE, I HAD

     20    DINNER WITH HIM THAT YEAR.

     21              HE COMES BACK TO THE UNITED STATES, I PROBABLY

     22    SAW HIM IN 2012, BUT I HAVEN'T DONE ANY BUSINESS WITH HIM

     23    UNTIL A COUPLE OF YEARS AGO, MAYBE 18 MONTHS AGO.

     24         Q    DOES RVI TAKE ANY STEPS -- STRIKE THAT.

     25              TO YOUR KNOWLEDGE, DOES RVI TAKE ANY STEPS TO
                                                                          158

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00051
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 54 of 437 Page ID
                                  #:210
                                       DEPOSITION OF RICHARD D. SARGENT


      1    ENSURE THAT MARKETING SOLUTIONS INTERNATIONAL, THE

      2    PHILIPPINES COMPANY, DOESN'T USE AUTOMATIC TELEPHONE

      3    DIALING SYSTEMS?

      4              MR. EHRLICH:    I'M GOING TO JUST OBJECT THAT IT'S

      5    PROBABLY A BETTER QUESTION FOR MILES BRYSON, BUT YOU CAN

      6    GO AHEAD AND GIVE YOUR KNOWLEDGE.

      7              THE WITNESS:    I DON'T KNOW.

      8         Q    BY MR. BICKFORD:     TO YOUR KNOWLEDGE, DOES RVI

      9    TAKE ANY STEPS TO ENSURE THAT IVT DOESN'T MAKE CALLS

     10    USING AN AUTOMATIC TELEPHONE DIALING SYSTEM?

     11              MR. EHRLICH:    SAME OBJECTION.     GO AHEAD, YOU CAN

     12    ANSWER.

     13              THE WITNESS:    I DON'T KNOW.

     14              MR. BICKFORD:     LET'S TAKE A BREAK.

     15              THE VIDEOGRAPHER:     WE'RE NOW GOING OFF THE

     16    RECORD, THE TIME IS 2:41 P.M.

     17              (RECESS.)

     18              THE VIDEOGRAPHER:     WE ARE NOW BACK ON THE

     19    RECORD, THE TIME IS 3:27 P.M.

     20         Q    BY MR. BICKFORD:     SO DURING THE BREAK,

     21    MR. SARGENT, YOU CALLED YOUR ASSOCIATES AT RVI, CORRECT?

     22         A    YES.

     23         Q    THEY SAID THEY'LL BE ABLE TO PRODUCE THE

     24    AGREEMENTS, THE VENDOR AGREEMENTS?

     25         A    YES.
                                                                         159

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00052
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 55 of 437 Page ID
                                  #:211
                                       DEPOSITION OF RICHARD D. SARGENT


      1    EXHIBIT 18 WHICH IS BATES STAMPED DEL VALLE 712 THROUGH

      2    726.     IT IS THE PHONE RECORDS OF THE PLAINTIFF, MICHELE

      3    DEL VALLE, FROM THE DATE OF SEPTEMBER 21ST, 2014 TO

      4    OCTOBER 20TH, 2014.

      5               THE WITNESS:   OKAY.

      6         Q     BY MR. BICKFORD:    EARLIER YOU TESTIFIED THAT RVI

      7    DOES NOT PROVIDE ITS LEADS TO MARKETING SOLUTIONS

      8    INTERNATIONAL; IS THAT CORRECT?

      9         A     ABSOLUTELY.

     10         Q     YOU ALSO TESTIFIED THAT RVI DOES NOT PROVIDE ITS

     11    LEADS TO INTERVOICE TECHNOLOGIES; IS THAT CORRECT?

     12         A     THAT IS CORRECT.

     13         Q     ON PAGE 718.

     14         A     OKAY.

     15         Q     YOU'LL SEE I'VE HIGHLIGHTED IT TO MAKE IT CLEAR.

     16         A     RIGHT.

     17         Q     7:02, A CALL CAME IN, ACTUALLY ON CALL WAITING,

     18    APPEARS TO BE, IF I'M READING THIS CORRECTLY, FROM A

     19    NUMBER 949-200-5342.

     20         A     OKAY.

     21         Q     DOES THAT NUMBER APPEAR ON THE NUMBERS LISTED IN

     22    DISCOVERY RESPONSE NINE FOR THOSE ASSOCIATED WITH

     23    MARKETING SOLUTIONS INTERNATIONAL?

     24         A     THAT'S THESE SIX NUMBERS, YES, LINE 27.

     25         Q     THAT WOULD INDICATE THAT MARKETING SOLUTIONS
                                                                         164

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00053
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 56 of 437 Page ID
                                  #:212
                                       DEPOSITION OF RICHARD D. SARGENT


      1    INTERNATIONAL CALLED HER NUMBER; IS THAT CORRECT?

      2         A    THAT WOULD BE CORRECT.

      3         Q    AND I'LL ALSO NOTE THAT BASED UPON THIS NUMBER,

      4    THIS IS THE 949-439-8867 NUMBER.

      5         A    OKAY.

      6         Q    DO YOU AGREE THAT I'M READING THIS CORRECTLY TO

      7    YOUR KNOWLEDGE OF READING PHONE RECORDS?

      8         A    YES, IT APPEARS THAT THAT'S THE PHONE NUMBER.

      9         Q    SO MARKETING SOLUTIONS, BASED ON YOUR

     10    UNDERSTANDING READING THIS, MARKETING SOLUTIONS

     11    INTERNATIONAL DID CALL HER; IS THAT CORRECT?

     12         A    YES.

     13         Q    DO YOU HAVE ANY IDEA HOW MARKETING SOLUTIONS

     14    INTERNATIONAL OBTAINED THAT PHONE NUMBER?

     15         A    I HAVE NO IDEA.

     16              MR. EHRLICH:    I JUST WANT TO OBJECT, I BELIEVE

     17    THAT'S ANOTHER TOPIC THAT MILES IS PROBABLY BETTER AT

     18    ANSWERING.

     19              MR. BICKFORD:     I KNOW, AND PROBABLY REPEAT THE

     20    SAME QUESTIONS WITH HIM TOMORROW.

     21         Q    BY MR. BICKFORD:     TO YOUR KNOWLEDGE, DO YOU HAVE

     22    ANY IDEA IF MARKETING SOLUTIONS INTERNATIONAL GOT PRIOR

     23    EXPRESS CONSENT TO CALL THAT NUMBER?

     24         A    I HAVE NO IDEA.     I DON'T KNOW.

     25         Q    WHAT IS IT YOU'RE LOOKING FOR?
                                                                         165

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00054
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 57 of 437 Page ID
                                  #:213
                                       DEPOSITION OF RICHARD D. SARGENT


      1         A    I WAS LOOKING FOR THE LEAD LIST TO SEE IF THAT'S

      2    THE NUMBER THAT WE RECEIVED.

      3         Q    IT IS, BUT I'LL HELP YOU OUT WITH THAT.

      4         A    THAT WAS PRETTY EARLY ON.

      5         Q    IT'S GOING TO BE EXHIBIT 9, I BELIEVE.

      6         A    THERE IT IS.    OKAY.

      7         Q    SO YOU'VE COMPARED THE NUMBER THAT SHE WAS

      8    CALLED ON TO MARKETING SOLUTIONS INTERNATIONAL TO YOUR

      9    LEAD SLIP WHICH IS EXHIBIT NUMBER 9 AND YOU WOULD AGREE

     10    THAT'S THE SAME PHONE NUMBER; IS THAT CORRECT?

     11         A    IT IS.

     12         Q    BUT, AGAIN, YOU TESTIFIED EARLIER THAT RVI DOES

     13    NOT PROVIDE ITS LEADS TO MSI, CORRECT?

     14              MR. EHRLICH:    OBJECTION, ASKED AND ANSWERED.

     15         Q    BY MR. BICKFORD:     YOU CAN ANSWER.

     16         A    YES.

     17         Q    SO YOU CERTAINLY -- TO YOUR KNOWLEDGE, RVI

     18    CERTAINLY DID NOT PROVIDE THAT NUMBER TO MSI, CORRECT?

     19         A    THAT IS CORRECT.

     20         Q    WHAT ARE WE AT, 19?

     21         A    YES.

     22              (THE DOCUMENT REFERRED TO WAS MARKED

     23              BY THE CSR AS PLAINTIFF'S EXHIBIT 19

     24              FOR IDENTIFICATION, AND ATTACHED TO

     25              AND MADE A PART OF THIS DEPOSITION.)
                                                                         166

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00055
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 58 of 437 Page ID
                                  #:214
                                       DEPOSITION OF RICHARD D. SARGENT


      1         Q    BY MR. BICKFORD:     I'VE HANDED YOU EXHIBIT

      2    NUMBER 19 WHICH IS DEL VALLE 762 THROUGH 779 WHICH IS

      3    PLAINTIFF'S PHONE RECORDS FOR THE MONTHS OF

      4    NOVEMBER 21ST, 2014 TO DECEMBER 20TH, 2014.         IF YOU'LL

      5    TURN TO PAGE 764.

      6         A    OKAY.

      7         Q    I'VE HIGHLIGHTED IT FOR YOU.       IT APPEARS THAT ON

      8    DECEMBER 4TH AT 7:22 P.M., AN INCOMING CALL WAS RECEIVED

      9    FROM THE NUMBER 909-243-1174?

     10         A    47.

     11         Q    THANK YOU, 1147.     IF YOU GO AND COMPARE THAT TO

     12    THE LIST OF NUMBERS IN EXHIBIT 17, DO YOU SEE THAT NUMBER

     13    LISTED UNDER IVT?

     14         A    IT APPEARS TO BE NUMBER 16 ON THE IVT LIST.

     15         Q    LINE 16?

     16         A    LINE 16, YES.

     17         Q    DOES IT APPEAR, BASED ON THIS, THAT PLAINTIFF

     18    MICHELLE DEL VALLE RECEIVED A CALL TO WHAT IS A DIFFERENT

     19    NUMBER THIS TIME, 949-287-2405, ON DECEMBER 4TH AT 7:22

     20    P.M. FROM YOUR CONTRACTOR IVT?

     21         A    YES.

     22         Q    IF YOU GO TO PAGE 766, TWO PAGES OVER.

     23         A    OKAY.

     24         Q    YOU'LL SEE THAT ON SUNDAY, DECEMBER 14TH, THE

     25    FIRST OF TWO HIGHLIGHTED AT 7:58 P.M., AN INCOMING CALL
                                                                           167

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00056
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 59 of 437 Page ID
                                  #:215
                                       DEPOSITION OF RICHARD D. SARGENT


      1    WAS RECEIVED FROM THE NUMBER 714-912-6964.

      2         A    OKAY.

      3         Q    DO YOU SEE THAT NUMBER LISTED IN DEFENDANT'S

      4    DISCOVERY RESPONSES UNDER NUMBERS USED BY MSI?

      5         A    YES, NUMBER 26, LINE 26.

      6         Q    SO IT APPEARS AS THOUGH YOUR CONTRACTOR MSI

      7    CALLED PLAINTIFF MICHELLE DEL VALLE AT HER 949-287-2405

      8    NUMBER ON SUNDAY, DECEMBER 14TH AT 7:58 P.M.?

      9         A    YES.

     10         Q    DO YOU HAVE ANY IDEA HOW MSI GOT THAT NUMBER?

     11         A    I HAVE NO IDEA.     DO WE HAVE THAT NUMBER?

     12         Q    NO.

     13         A    I MEANT DOES RVI HAVE THAT NUMBER?        I DON'T

     14    BELIEVE WE DO.

     15         Q    I'M JUST ASKING THE QUESTION.       DO YOU HAVE ANY

     16    IDEA HOW MSI GOT THAT NUMBER?

     17         A    I'M SORRY, NO, I DO NOT.

     18         Q    DO YOU KNOW IF MSI GOT PRIOR EXPRESS CONSENT TO

     19    CALL THAT NUMBER?

     20         A    I DO NOT.

     21         Q    DO YOU KNOW IF MSI USED AN AUTOMATIC DIALING

     22    SYSTEM TO CALL THAT NUMBER?

     23         A    I DO NOT.

     24         Q    JUST A FEW QUESTIONS.      IF YOU CAN GO BACK TO THE

     25    IVT NUMBER TWO PAGES EARLIER.
                                                                         168

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00057
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 60 of 437 Page ID
                                  #:216
                                       DEPOSITION OF RICHARD D. SARGENT


       1        A     OKAY.

       2        Q     I'M LOOKING AT THE 7:22 CALL ON DECEMBER 4TH.

       3   DO YOU KNOW HOW IVT GOT THAT NUMBER?

       4        A     I DO NOT.

       5        Q     DO YOU KNOW IF IVT GOT PRIOR EXPRESS CONSENT TO

       6   CALL THAT NUMBER?

       7        A     I DO NOT.

       8        Q     DO YOU KNOW IF IVT USED AN AUTOMATIC DIALING

       9   SYSTEM TO CALL THAT NUMBER?

     10         A     I DO NOT.

     11         Q     YOU CAN PUT THOSE BOTH ASIDE.

     12         A     OKAY.

     13         Q     SO EARLIER YOU STATED THAT IVT AND MSI WOULD

     14    SEND YOU PERIODICALLY, WOULD IT BE THROUGH EMAIL, THE

     15    NUMBERS THEY USE FOR THEIR OUTBOUND CALLS?

     16         A     YES.

     17         Q     HOW OFTEN DID THAT HAPPEN?

     18         A     THAT WOULD BE A MILES QUESTION.

     19         Q     OKAY.   I THINK WE'LL HAVE A LONG CONVERSATION

     20    WITH MILES ABOUT THIS BECAUSE I DO THINK WE ARE MISSING

     21    SOME NUMBERS THAT WERE CALLED BUT I'LL TALK ABOUT THAT

     22    WITH MILES TOMORROW.

     23         A     OKAY.

     24         Q     BUT THESE WOULD BE MEMORIALIZED IN AN EMAIL

     25    PROBABLY?
                                                                         169

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00058
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 61 of 437 Page ID
                                  #:217




                                                                      PA - 00059
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 62 of 437 Page ID
                                  #:218




                                                                      PA - 00060
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 63 of 437 Page ID
                                  #:219




                                EXHIBIT “B”
                                                                      PA - 00061
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 64 of 437 Page ID
                                  #:220
                                              DEPOSITION OF MYLES BRYSON


                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                   COUNTY OF ORANGE


            MICHELE DEL VALLE, an          )
            individual, for herself and    )
            all members of the putative    )
            class,                         )
                                           )
                     Plaintiff,            )
                                           )
                 vs.                       )          CASE NO.30-2014-
                                           )          00745279-CU-MC-CXC
            GLOBAL EXCHANGE VACATION CLUB, )
            a California Corporation, and )
            DOES 1 THROUGH 100, inclusive, )
                                           )
                     Defendants.           )
            _______________________________)




                              DEPOSITION OF MYLES BRYSON
                              Wednesday, April 13, 2016
                                Los Angeles, California




            REPORTED BY:
            JULIA A. DOUVILLE
            CSR 9446 (Pages 1-133)

            -and-

            LEESA DURRANT
            CSR 11899 (Pages 134-252)
                                                                            1

                    DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00062
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 65 of 437 Page ID
                                  #:221
                                              DEPOSITION OF MYLES BRYSON


       1   different call center locations?

       2         A      Yes.

       3         Q      Okay.   What are the three center -- call

       4   center locations?

       5         A      There was one in Irvine.     Do you want specific

       6   addresses?

       7         Q      Yes.    That would be great.    Let's get them

       8   listed out with the addresses, and then we'll see what

       9   we need to do from there.

     10          A      And I don't have all the addresses on the top

     11    of my head.

     12          Q      To the best of you knowledge.

     13          A      So there's 17682 Mitchell North, Suite 100,

     14    Irvine, 92614.       There's one in Santa Ana that I don't

     15    know the address off the top of my head.         And then I

     16    really don't know the answer of the call center in

     17    Phoenix.

     18          Q      Are there sales presentations that occur at

     19    these three addresses as well?

     20          A      No.

     21          Q      So the only thing that occurs at these three

     22    addresses are telemarketing?

     23          A      Correct.

     24          Q      Any other offices there for any other type of

     25    function within the company other than marketing?
                                                                          71

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00063
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 66 of 437 Page ID
                                  #:222
                                              DEPOSITION OF MYLES BRYSON


       1         A      Correct.

       2         Q      Don't worry.    You're not getting sued for

       3   that.

       4                Okay.    So we were talking about corporate

       5   structure.     We were talking about the call center

       6   managers.     Who were under the call center managers?

       7         A      They have some verifiers.

       8         Q      What's a verifier do?

       9         A      Verify the appointment.

     10          Q      How do they verify appointments?

     11          A      I'm sorry?

     12          Q      How do they do that?

     13          A      Over the phone.

     14          Q      So they call individuals who express interest

     15    in coming to a tour?

     16          A      No.   So the -- the telemarketers would set

     17    appointments.      And then once an appointment was set,

     18    they would transfer it to a verifier.          And the verifier

     19    would verify the appointment.

     20          Q      I see.   So once someone's expressed interest,

     21    the call is transferred to a verifier?

     22          A      No.

     23          Q      Okay.    So explain so I understand.

     24          A      So the telemarketer sets an appointment.

     25          Q      Okay.
                                                                          80

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00064
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 67 of 437 Page ID
                                  #:223
                                              DEPOSITION OF MYLES BRYSON


       1         A      So it's past the interest.      They've said an

       2   appointment.     Once that appointment's been set, then

       3   that client then gets verified that that's what they'd

       4   like to do.     They verify that they'd like the --

       5   whatever the -- the gift is that's being offered.

       6         Q      Okay.   So what does verifying entail then?

       7   I'm just a little confused because I see that the

       8   telemarketer will actually set the appointment and then

       9   send it over to the verifier.        What does the verifier

     10    add that the telemarket doesn't add?

     11          A      Hopefully nothing.

     12          Q      Okay.   So it's verifying?

     13          A      That's exactly correct.

     14          Q      Verifying that the appointment has been set

     15    and that the gift that they're requesting is the one

     16    that they're requesting?

     17          A      Correct.

     18          Q      Okay.

     19          A      And that the details have been provided to

     20    them.

     21          Q      How many -- well, we'll get to that.

     22                 Are there verifiers at each location?

     23          A      Yes.

     24          Q      Okay.   And is there someone else underneath

     25    the call center managers?
                                                                          81

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00065
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 68 of 437 Page ID
                                  #:224
                                              DEPOSITION OF MYLES BRYSON


       1         Q      Okay.   And briefly -- because we'll get into

       2   the more in-depth -- what does a telemarketer do?

       3         A      Makes phone calls.

       4         Q      Outbound?

       5         A      Yes.

       6         Q      So how many verifiers -- well, let me phrase

       7   it differently.

       8                Is there one verifier for each location?

       9         A      There's two for the -- for the full rooms --

     10    excuse me -- and one in Phoenix right now.

     11          Q      So there's two verifiers in Irvine?

     12          A      Yes.

     13          Q      Two verifiers in Santa Ana?

     14          A      Yes.

     15          Q      And one verifier in Phoenix?

     16          A      Yes.

     17          Q      Okay.   And how many production assistant

     18    managers are there?

     19          A      How many production assistants are there?

     20          Q      Assistants.    I'm sorry.    I added "manager" on

     21    there.     Production assistant, yes.

     22          A      There's one in each --

     23          Q      One in each.

     24          A      -- location.

     25          Q      And how many telemarketers are there?
                                                                          84

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00066
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 69 of 437 Page ID
                                  #:225
                                               DEPOSITION OF MYLES BRYSON


       1         A      Different.   So there's 30 chairs in Irvine,

       2   there's 30 chairs in Santa Ana, and there's 16 chairs in

       3   Arizona.

       4         Q      And are those chairs filled every day?

       5         A      Depends.

       6         Q      Ideally it would be?

       7         A      Would be great.

       8         Q      So do you know approximately how many

       9   telemarketers are at Irvine right now?

     10          A      Employed or coming to work?

     11          Q      Yeah, employed.

     12          A      I honestly don't know.

     13          Q      Okay.   Is it around 20?

     14          A      Probably.

     15          Q      And what about the Santa Ana location?

     16          A      Probably fairly similar.

     17          Q      And the Phoenix?

     18          A      Probably around ten.

     19          Q      Okay.   What's the purpose of the Phoenix

     20    location?     Are they -- are they telemarketing to

     21    California?

     22          A      Uh-huh.

     23          Q      And why is -- why Phoenix?

     24          A      We had an opportunity to get a talented

     25    manager, and there was a physical location that was able
                                                                          85

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00067
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 70 of 437 Page ID
                                  #:226
                                               DEPOSITION OF MYLES BRYSON


       1   to be acquired.

       2         Q      So these individuals are -- these

       3   telemarketers in Phoenix are still calling into Southern

       4   California?

       5         A      Correct.

       6         Q      Does RVI telemarket -- well, where do they

       7   telemarket to?

       8         A      Southern California.

       9         Q      Okay.   All -- well, let's define "Southern

     10    California.     What does that mean?

     11          A      Well, I'm only here three years.       So I'm not

     12    the most knowledgeable but --

     13          Q      Well, so based on your experience in the past

     14    three years, where --

     15          A      Greater Los Angeles.

     16          Q      San Diego?

     17          A      No.

     18          Q      Ventura County?

     19          A      Very lightly.    But we're trying to get there.

     20          Q      Los Angeles County?

     21          A      Yes.

     22          Q      Orange County?

     23          A      Yes.

     24          Q      Inland Empire?

     25          A      To some degree.
                                                                            86

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00068
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 71 of 437 Page ID
                                  #:227
                                               DEPOSITION OF MYLES BRYSON


       1         Q      Well, we can break that apart.      Riverside

       2   County?

       3         A      Yes.    Again, some of it.

       4         Q      And San Bernardino County?

       5         A      Some of it.

       6         Q      Any other counties that there's been some or a

       7   little?

       8         A      Don't believe so.

       9         Q      Okay.   I can't even think of any other county

     10    besides --

     11          A      I can't either.

     12          Q      -- San Diego and maybe Imperial Valley, but I

     13    doubt you'd telemarket there.

     14          A      Never heard of that.

     15          Q      Who does RVI provide marketing to?

     16          A      I'm sorry?

     17          Q      Who does RVI provide marketing to?

     18          A      We -- we -- exclusively for Rick's.       We

     19    deliver tours to RVI showrooms exclusively.

     20          Q      And do you know what's being sold in those

     21    showrooms?

     22          A      I believe the Global Exchange Vacation Club

     23    homeowners association or product or -- again, I'm not

     24    involved with the sales.

     25          Q      I understand.   Have you ever attended a sales
                                                                          87

                     DALENE COURT REPORTING      661.341.3929

                                                                       PA - 00069
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 72 of 437 Page ID
                                  #:228
                                              DEPOSITION OF MYLES BRYSON


       1   functionality.

       2         Q      And so who would be responsible for creating

       3   these websites?

       4         A      We would contract out.

       5         Q      Okay.   Do you know who the contractor was?

       6         A      No.   In fact, I think the RVI one and

       7   Travelmedia ones, we actually built in-house.

       8         Q      So, to your knowledge or to your

       9   understanding, Travelmedia and RVI, you believe, was

     10    built in-house?

     11          A      I think so.

     12          Q      And you're just unsure about Sunset Getaways

     13    and Celebrate Vacations?

     14          A      Yes, I'm not sure.

     15          Q      Okay.

     16          A      They're very basic.     So I would -- they could

     17    well have been built in-house.

     18          Q      Okay.   What's Travelmedia?

     19          A      Travelmedia is the calling d.b.a. for RVI.

     20          Q      And why does RVI have a calling d.b.a.?

     21          A      It just makes more sense.

     22          Q      In what way?

     23          A      Just clearer to the client.

     24          Q      Which client?

     25          A      The prospects that we call.
                                                                          89

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00070
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 73 of 437 Page ID
                                  #:229
                                              DEPOSITION OF MYLES BRYSON


       1         Q      I see.   And what's more clear about it?

       2         A      It's -- I -- it was in place when I got there.

       3   So, I guess, maybe I'll just answer it that way.

       4         Q      That's fine.   That's fine.

       5         A      It's easier that way, so --

       6         Q      I just -- I guess I'm just confused about

       7   what's easier about it.      I can understand that it was in

       8   place when you got there.       But based on your knowledge

       9   and experience, what's easier about having a calling

     10    d.b.a.?

     11          A      You just -- it's -- it's about what's

     12    happening.     So they were -- my understanding is they

     13    were doing a lot of car promotions and Travelmedia was

     14    the -- the entity that called on behalf of the car

     15    promotions.

     16          Q      I see.   So we talked about sales present -- or

     17    not sales presentations, I'm sorry -- attending events

     18    at venues and getting information via touch screen?

     19          A      Yes.

     20          Q      That would be more RVI --

     21          A      Yes.

     22          Q      -- in name?

     23          A      Yes.

     24          Q      But when there is calling, it's Travelmedia?

     25          A      Correct.
                                                                          90

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00071
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 74 of 437 Page ID
                                  #:230
                                               DEPOSITION OF MYLES BRYSON


       1         Q      And I guess I can understand what you mean by

       2   "easier" now in the sense that it's easier to just call

       3   the people who go out to venues RVI and the people who

       4   make the calls Travelmedia.        Is that correct?

       5         A      I don't know.   That's -- could be getting into

       6   speculation.       I don't know.

       7         Q      Okay.   Well, you said it was easier.      I'm just

       8   trying to figure out why you think it's easier.

       9         A      Probably bad choice of words.

     10          Q      Okay.   So do you know who came up with the

     11    name Travelmedia?

     12          A      No.

     13          Q      What's Sunset Getaways?

     14          A      That is the entity for the -- one of the

     15    Filipino call centers.

     16          Q      Which one?   Well, strike that.

     17                 Who are the two Filipino call centers?

     18          A      IVT and MSI.

     19          Q      Okay.   So Sunset Getaways, well, you said it's

     20    the entity for one of the Philippine call centers.           I

     21    guess I'm confused.       What do you mean by that?

     22          A      It's, again, just -- it's the d.b.a. for them

     23    to call on behalf of.       It allows us to identify the call

     24    center.

     25          Q      Okay.   So let's build some foundation.       RVI
                                                                            91

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00072
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 75 of 437 Page ID
                                  #:231
                                              DEPOSITION OF MYLES BRYSON


       1   has contracted with two Filipino call center companies;

       2   correct?

       3         A      I believe so, yes.

       4         Q      And one of those is IVT?

       5         A      Yes.

       6         Q      And one of those is MSI?

       7         A      Yes.

       8         Q      And I know, but let's make the record clear.

       9   What does "IVT" stand for?

     10          A      I don't know.

     11          Q      Intervoice Technologies?

     12          A      That could be it.

     13          Q      Okay.   And to your knowledge, what does "MSI"

     14    stand for?

     15          A      Marketing Solutions International.

     16          Q      Okay.   And Sunset Getaways is what you have

     17    asked one of these Filipino call companies to identify

     18    as when they place outbound telemarketing calls?

     19          A      Correct.

     20          Q      Okay.   And so which one is that?

     21          A      Again, I don't know which one's which.         I

     22    think -- I don't know.

     23          Q      Can you find out?

     24          A      Yes.

     25          Q      Okay.   Because Rick said you would know.
                                                                           92

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00073
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 76 of 437 Page ID
                                  #:232
                                              DEPOSITION OF MYLES BRYSON


       1         A      Okay.   I just don't know off the top of my

       2   head.     I could give you a wrong answer.       That's --

       3         Q      Yeah.

       4         A      -- what I'm trying to avoid.

       5         Q      We need to find this out.

       6         A      I mean, I could guess, and I think I'm right

       7   but --

       8         Q      Don't guess.

       9         MR. EHRLICH:     We'll make a call.

     10          Q      BY MR. BICKFORD:     Don't guess.    I'd rather --

     11          MR. EHRLICH:     We'll make a call on a break --

     12          MR. BICKFORD:     I'd rather like --

     13          MR. EHRLICH:     -- and we'll come back.

     14          Q      BY MR. BICKFORD:     -- when we take lunch, you

     15    can call --

     16          A      Okay.

     17          Q      -- and find out because Rick -- Rick threw

     18    that one on you.

     19          A      I'm 90 percent sure.     But, again, you're

     20    asking me something --

     21          Q      Okay.

     22          MR. EHRLICH:     We'll make the call.      We'll fill it

     23    in.

     24          THE WITNESS:     Okay.

     25          MR. BICKFORD:     Well, why not -- yesterday I had
                                                                          93

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00074
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 77 of 437 Page ID
                                  #:233
                                              DEPOSITION OF MYLES BRYSON


       1   some trouble getting my lunch and back in time.           Why

       2   don't we take an early lunch because I'm in a good place

       3   to stop.

       4         MR. EHRLICH:    Okay.

       5         MR. BICKFORD:     We will go on break 'til 12:30.

       6         MR. EHRLICH:    Okay.

       7         MR. BICKFORD:     You can make a call.     We can find

       8   out that information just so we can be clear.

       9         THE WITNESS:    Okay.

     10          MR. BICKFORD:     And we'll go, and we'll talk about

     11    the rest.     Okay?

     12          THE WITNESS:    Okay.

     13          MR. EHRLICH:    All right.     Thanks.

     14          VIDEOGRAPHER:     We are now going off the record, and

     15    the time is approximately 11:43 A.M.

     16                 (Lunch recess.)

     17          VIDEOGRAPHER:     We're now going back on the record,

     18    and the time is approximately 12:39 P.M.

     19          Q      BY MR. BICKFORD:    Okay.   Before lunch we were

     20    talking about Sunset Getaways and Celebrate Vacation.

     21    Do you recall that?

     22          A      Yes.

     23          Q      And you testified that those were the calling

     24    names for the two Filipino call centers which we're

     25    calling IBT and MSI; correct?
                                                                           94

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00075
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 78 of 437 Page ID
                                  #:234
                                              DEPOSITION OF MYLES BRYSON


       1         A      Correct.

       2         Q      And you said that you are like 90 percent sure

       3   which name was -- that corresponded with which Filipino

       4   company, but you weren't sure.        So you made a phone

       5   call; correct?

       6         A      Correct.

       7         Q      And who did you call?

       8         A      Tim Michaelec.

       9         Q      Okay.   And what did you ask him?

     10          A      He didn't answer.    I sent him a text, and he

     11    responded.     I said, "Is Sunset Getaways with IVT?"

     12                 And he said, "Yes."

     13          Q      Okay.   So Sunset Getaways is the name that IVT

     14    uses when it makes calls; correct?

     15          A      Correct.

     16          Q      And Sunset Getaways is just a d.b.a. for RVI;

     17    correct?

     18          A      A -- it's a d.b.a.

     19          Q      For RVI?

     20          A      I believe so, yes.

     21          Q      Okay.   And so that would mean Celebration

     22    Vacation --

     23                 Is it "Vacation" or "Vacations"?

     24          A      I believe it's plural.

     25          Q      Okay.   So Celebration Vacations would be the
                                                                          95

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00076
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 79 of 437 Page ID
                                  #:235
                                              DEPOSITION OF MYLES BRYSON


       1   calling name that MSI uses --

       2         A      Correct.

       3         Q      -- when it calls to book tours for RVI;

       4   correct?

       5         A      I believe so, yes.

       6         Q      And Celebration Vacations is really a d.b.a.

       7   for RVI?

       8         A      Yes.

       9         Q      Okay.   And what's the purpose of having these

     10    two different names for these two different Filipino

     11    companies?

     12          A      Identifiers.

     13          Q      Can you elaborate.     What does "identifiers"

     14    mean?

     15          A      Just so we can keep all of the -- the calls

     16    and the communications straight so we'd know which was

     17    which group.

     18          Q      And what's the purpose of doing that?

     19          A      So that we can keep track.

     20          Q      And why would you want to keep track?

     21          A      We have to pay them.

     22          Q      Any other reasons?

     23          A      Just to keep track.     I mean, there would

     24    probably be a variety of reasons; but, I mean, that's

     25    first thing I can think of is -- is for payment.            If
                                                                            96

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00077
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 80 of 437 Page ID
                                  #:236
                                              DEPOSITION OF MYLES BRYSON


       1   there was ever a challenge, we'd also be able to

       2   identify the challenge.

       3         Q      Like, what's a challenge?      What do you mean by

       4   that?

       5         A      Well, if there was a complaint about

       6   something.

       7         Q      What kind of complaint?

       8         A      Could be various.    They could have felt

       9   somebody was rude.      They could have felt somebody didn't

     10    speak to them properly, didn't get the right

     11    information.

     12          Q      Have you ever received a complaint like that?

     13          A      Yeah.

     14          Q      And -- and how does one complain about the

     15    calls from Sunset Getaways and/or Celebration Vacations?

     16          A      The place that we -- I got it from was on --

     17    it's a website that you know of that they would go to

     18    the "Contact Us" page and let us know.

     19          Q      The website for these d.b.a.'s?

     20          A      Yes.

     21          Q      Okay.   So if someone was complaining either

     22    about -- well, for any reason, they could go on to those

     23    two websites and make a complaint; correct?

     24          A      Yes.

     25          Q      And then because -- based on which website
                                                                          97

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00078
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 81 of 437 Page ID
                                  #:237
                                                 DEPOSITION OF MYLES BRYSON


       1   they make the complaint on, you could determine which

       2   Filipino company, whether MSI or IVT, is the one that

       3   made the call?

       4         A      They would define that, yes.

       5         Q      Okay.    Do you know who came up with the name

       6   Sunset Getaways?

       7         A      No.    I don't recall.

       8         Q      Do you know who came up with the name

       9   Celebration Vacations?

     10          A      I don't recall.

     11          Q      Okay.    Since September, 2010, has RVI

     12    contracted with any other third party, other than IVT or

     13    MSI, to make telemarketing calls to book qualified

     14    tours?

     15          A      Yes.

     16          Q      Who is that?

     17          A      They're in the -- the list -- or in the pile

     18    of agreements.       I'd have to probably go back through to

     19    give you the exact names.

     20          Q      Okay.    What I'd like to exclude from that is

     21    OPC's.

     22          A      Okay.

     23          Q      So these are -- these are entities that were

     24    hired exclusively to make telemarketing outbound calls.

     25          A      Right.
                                                                          98

                     DALENE COURT REPORTING       661.341.3929

                                                                      PA - 00079
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 82 of 437 Page ID
                                  #:238
                                               DEPOSITION OF MYLES BRYSON


       1         A      No. 5 --

       2         Q      Okay.

       3         A      -- yes.    And No. 4 is RVI's.

       4         Q      Okay.   And how long has this touch screen

       5   interface, RVI's touch screen interface, Exhibit No. 4,

       6   been in use?

       7         A      Since approximately March of 2014.

       8         Q      And what was in use by RVI prior to March,

       9   2014?

     10          A      The Fortitude.

     11          Q      Okay.   So prior to March, 2014, the only touch

     12    screen interface that was being used was the touch

     13    screen interface that was used by Fortitude Media, which

     14    is Exhibit No. 5?

     15          A      To the best of my knowledge.

     16          Q      Okay.

     17          A      I'm not certain prior to that.

     18          Q      Prior to when?

     19          A      Prior to my arrival.

     20          Q      Okay.   So prior to March, 2014, to when you

     21    started the company, did RVI have its own touch screen

     22    interface?

     23          A      No.

     24          Q      Okay.   What's going on?

     25          MR. EHRLICH:      I'm just look -- I'm just comparing
                                                                         112

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00080
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 83 of 437 Page ID
                                  #:239
                                               DEPOSITION OF MYLES BRYSON


       1   the two; that's all.

       2         MR. BICKFORD:     Okay.

       3         THE WITNESS:      They're basically the same questions,

       4   just a different graphic.

       5         MR. EHRLICH:      Right.

       6         Q      BY MR. BICKFORD:    So, to your knowledge, RVI

       7   began using its own touch screen interface in March of

       8   2014?

       9         A      Correct.

     10          Q      Have you seen the equipment, the touch screen

     11    interfaces?

     12          A      Yes.

     13          Q      And where are they stored?

     14          A      Various locations.

     15          Q      RVI offices?

     16          A      Some of them, yeah.     Some of them stay at the

     17    Staples Center.

     18          Q      I see.   Okay.   So some of them --

     19          A      Remain in the venue.

     20          Q      Okay.

     21          A      Yeah.

     22          Q      And can you give me a brief -- I went over

     23    this a little bit with -- with Mr. Sargent yesterday,

     24    but can you give me a brief location of the venues RVI

     25    uses.     Not Fortitude Media.    RVI.
                                                                         113

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00081
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 84 of 437 Page ID
                                  #:240
                                               DEPOSITION OF MYLES BRYSON


       1         A      Yeah.   So we use the Staples Center, the

       2   StubHub Center, the Wiltern Theater, Rabobank Arena,

       3   Riverside Municipal Amphitheater, the Fox Theater,

       4   Irvine Amphitheater, The Forum, and without writing them

       5   down, I -- I think that's it.

       6         Q      Okay.

       7         A      And then various -- you know, we may do some

       8   one-off shows here and there.

       9         Q      Like bridal showers sometimes?

     10          A      A bridal show or a car show or something along

     11    those lines.

     12          Q      Okay.

     13          A      NASCAR.    Sorry.   We do the NASCAR event out in

     14    Fontana.

     15          Q      And does RVI display these touchscreens at

     16    every event at these locations?

     17          A      Most.

     18          Q      Okay.   And there's contracts with RVI and all

     19    these venues?

     20          A      Or the management group.

     21          Q      Oh, I see.   The management group, that would

     22    be more than one of these venues; right?

     23          A      Correct.

     24          Q      Okay.   Now, in addition to the documents

     25    produced -- or the documents in Exhibit 4, there would
                                                                         114

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00082
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 85 of 437 Page ID
                                  #:241
                                              DEPOSITION OF MYLES BRYSON


       1   actually be other screenshots of surveys that the venues

       2   have asked you to perform?

       3         A      Very rarely.

       4         Q      Okay.   So it's not always the case?

       5         A      Yeah.

       6         Q      Okay.   So with that exception, the way you've

       7   produced Exhibit 4 to me is the order and how it would

       8   appear when someone interacts with the touch screen

       9   interface?

     10          A      Correct.

     11          Q      Okay.   And you just -- just so I know you're

     12    clear, can you go through and make sure that it's in the

     13    correct order.

     14          A      Now, once I get into here and you get into

     15    just these questions, I -- I can only make an assumption

     16    they stayed in the right order.        I -- I honestly don't

     17    know.

     18          Q      Okay.

     19          A      But I believe so.    But there's no relevance to

     20    the order.     It's just a series of nine or ten questions.

     21    But I believe this is the correct order.

     22          Q      Okay.   No reason to believe it's not the

     23    correct order?

     24          A      Correct.

     25          Q      Okay.   And do you have any reason to believe
                                                                         115

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00083
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 86 of 437 Page ID
                                  #:242
                                              DEPOSITION OF MYLES BRYSON


       1   that any screenshot is missing, other than those surveys

       2   that the venues will sometimes ask you to perform?

       3         A      No.

       4         Q      Okay.   Now, where within here does RVI obtain

       5   prior express consent to call cellphones?

       6         A      Page 3.

       7         Q      Can you read to me what RVI contends is prior

       8   express consent to call a cellphone.

       9         A      "By clicking on the 'I agree' box, this will

     10          serve as my electronic signature.        I verify the

     11          following information is true and agree to be

     12          contacted by Resort Vacations Inc., Solar Savings

     13          America, and/or Take2/GI at the address entered,

     14          by text or voice contact to my cellular or home

     15          telephone numbers provided by me in or on this

     16          electronic entry, or to my e-mail address by way

     17          of manual or automated telephone dialing system

     18          regarding this and future promotional offers,

     19          regardless of any prior election to the contrary.

     20          I consent that any contact by phone may be

     21          recorded.      I understand that I'm not required to

     22          sign this agreement directly or indirectly or agree

     23          to enter into such an agreement as a condition of

     24          purchasing any property, goods, or services."

     25          Q      Do you know who wrote that language?
                                                                         116

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00084
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 87 of 437 Page ID
                                  #:243
                                              DEPOSITION OF MYLES BRYSON


       1         A      I would -- I -- I would assume I probably had

       2   something to do with writing it, and then we would have

       3   had it reviewed by an attorney.

       4         Q      Okay.   Do you know when approximately you

       5   wrote that?

       6         A      It would have been somewhere around March of

       7   2014.     But it's been amended since.

       8         Q      Okay.   Who is Solar Savings of -- Solar

       9   Savings America?

     10          A      It was a group that we were going to work with

     11    with data but we chose not to.

     12          Q      Okay.   And what -- what did they do?      When you

     13    say "work with data," what sort of things would they do?

     14          A      They sell solar.

     15          Q      Like solar panels?

     16          A      I just know that they sell solar services.

     17    What they sell, I have no idea.

     18          Q      So how would you work with them to provide

     19    data?

     20          A      They -- they were asking if they could acquire

     21    leads from us.

     22          Q      Okay.   Did that ever occur?

     23          A      No.

     24          Q      Okay.   So at some point in time, Solar Savings

     25    of America asked you to include their name in there in
                                                                         117

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00085
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 88 of 437 Page ID
                                  #:244
                                              DEPOSITION OF MYLES BRYSON


       1   someone enters the -- their input, their data, into this

       2   touch screen interface.

       3                So I'm just going to ask:      If someone comes

       4   up, they enter their information into the touch screen

       5   interface, what happens then?

       6         A      They go to the event.

       7         Q      What happens to their data?

       8         A      Oh, it's stored inside the machine until the

       9   end of the event.

     10          Q      And then what happens?

     11          A      It's removed from the machine and brought into

     12    the -- the I.T. department.

     13          Q      How is it removed?

     14          A      Through a thumb drive.

     15          Q      Okay.   And then it's brought into the data

     16    department?     What's the data department?      What are you

     17    referring to?

     18          A      I.T. department.

     19          Q      I.T. department.    Where is the I.T.

     20    department?

     21          A      At 17682 Mitchell.

     22          Q      Irvine?

     23          A      Yes.

     24          Q      And then what happens to it?

     25          A      It's decrypted, and then it's put into our
                                                                         120

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00086
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 89 of 437 Page ID
                                  #:245
                                              DEPOSITION OF MYLES BRYSON


       1   system and ran against our files to ensure that any of

       2   the people that are on that list that have asked us not

       3   to call them again is removed.        And they take out all of

       4   the information that does not meet the qualifications

       5   that we discussed prior.

       6         Q      You're referring to the internal do-not-call

       7   list?

       8         A      The internal do-not-call list, the owners,

       9   other areas, the people we wouldn't want to call.

     10          Q      Yeah, so you scrub against your internal

     11    do-not-call list; correct?

     12          A      Correct.

     13          Q      And then you take out individuals who would

     14    not fit the criteria that we discussed earlier?

     15          A      Don't meet the promotion, correct.

     16          Q      Sure.   You know, more than 40- or now $50,000?

     17          A      Correct.

     18          Q      Not in the right age group?

     19          A      Correct.

     20          Q      Are those individuals who are removed eligible

     21    to win the prize?

     22          A      Absolutely.

     23          Q      Okay.   And then what happens?

     24          A      The information, once it's -- it's scrubbed

     25    and prepared and is sure that it's clean, it will go
                                                                         121

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00087
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 90 of 437 Page ID
                                  #:246
                                              DEPOSITION OF MYLES BRYSON


       1   into a campaign and be submitted out to the call

       2   centers.

       3         Q      And then they're called?

       4         A      Yes.

       5         Q      Okay.   How do the call centers work?

       6         A      I don't understand the question.

       7         Q      Sure.   It's a little confusing.      Well, you

       8   said there's been two systems.        One was the old

       9   database, the time -- what was it called? --

     10          A      Trackmaster.

     11          Q      -- Trackmaster, and the new one, which was

     12    custom.

     13                 Let's talk about the new one.

     14          A      Okay.

     15          Q      And, again, what are the dates for this again

     16    approximately?

     17          A      I think somewhere in 2013.

     18          Q      Okay.   So how does a telemarketer make calls

     19    since -- when -- when the new database came into effect?

     20          A      So the new -- again, you're -- you're asking a

     21    mixed question.      So you're asking me about a database,

     22    and then you're asking me about telemarketers.          I don't

     23    understand your question.

     24          Q      Okay.   So -- so, well, let's talk about today.

     25    How does a telemarketer make calls today?
                                                                          122

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00088
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 91 of 437 Page ID
                                  #:247
                                               DEPOSITION OF MYLES BRYSON


       1         A      A telemarketer sits down at their station,

       2   they log into a phone, and then they will then ask for a

       3   lead.

       4         Q      How do they do that?

       5         A      They push "Get Next."

       6         Q      "Get Next"?

       7         A      Yes.

       8         Q      What do they push that on?

       9         A      On a telephone.

     10          Q      What kind of telephone?

     11          A      A Mitel.

     12          Q      So they push a button called "Get Next," and

     13    what happens?

     14          A      A name pops up with a phone number.

     15          Q      Where does it pop up?

     16          A      On the screen.

     17          Q      On the telephone screen?

     18          A      Yes.

     19          Q      And then what happens?

     20          A      They push "Dial."

     21          Q      And then it connects them through?

     22          A      Then it dials the phone.     It doesn't connect

     23    anything.     Just dials the phone.

     24          Q      It dials the number?

     25          A      Yeah.
                                                                         123

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00089
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 92 of 437 Page ID
                                  #:248
                                              DEPOSITION OF MYLES BRYSON


       1         Q      Okay.   And let's say someone doesn't pick up.

       2   What happens next?

       3         A      They disposition the call.

       4         Q      Hang up?

       5         A      Well, whatever it was.     So if no one answered

       6   the phone, they would disposition it as a no -- no

       7   answer.

       8         Q      I guess I'm confused as to what "disposition"

       9   means.     What does that mean?

     10          A      An outcome of a call.

     11          Q      Okay.   And how do they do that?

     12          A      On the screen, they push a button, says "Show

     13    Dispositions."

     14          Q      How big is the screen on these phones?

     15          A      3 inches by five inches, 2 1/2 inches by 5

     16    inches.

     17          Q      So larger probably than a typical phone but

     18    not huge?

     19          A      Yeah.   It's just a normal desk phone like you

     20    see all over today.

     21          Q      Okay.   I'm looking at that phone over there.

     22          A      That was the old ones.

     23          Q      Okay.   Okay.   And yesterday Mr. Sargent said

     24    that there's some sort of algorithm to determine when to

     25    call people back.       Is -- is that correct?
                                                                         124

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00090
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 93 of 437 Page ID
                                  #:249
                                              DEPOSITION OF MYLES BRYSON


       1         A      I don't know anything.     There's no algorithms

       2   in our system.

       3         Q      So what would prevent someone from getting

       4   called -- you know, say they didn't pick up.          What would

       5   prevent them from getting called repeatedly over and

       6   over and over again?

       7         A      Yeah, we -- just our procedures.

       8         Q      Okay.   So how does the -- how does the

       9   telephone retrieve the number to call when you press

     10    next -- "Get Next"?

     11          A      I don't understand the question.

     12          Q      Okay.   So you've -- you said that these

     13    telemarketers sit down.

     14          A      Yeah.

     15          Q      Do they have a headset?

     16          A      Yes.

     17          Q      Okay.   So they choose, and they may put on

     18    their headset.       And then they press a button saying "Get

     19    Next"?

     20          A      They log in first.

     21          Q      They log into their phone, and then they press

     22    a button called "Get Next"?

     23          A      Yes.

     24          Q      And then a name and number will pop up on the

     25    phone screen?
                                                                         125

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00091
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 94 of 437 Page ID
                                  #:250
                                              DEPOSITION OF MYLES BRYSON


       1         A      Correct.

       2         Q      And how does that happen?      How does that

       3   number end up on their screen simply by pressing "Get

       4   Next"?

       5         A      Yeah, so our I.T. department selects data that

       6   we want to call that day.       And they will create a list,

       7   and that list will be put into the system that the

       8   production assistant will then apply to specific

       9   telemarketers.

     10          Q      Okay.   And what happens when --

     11                 Or does it ever happen where the telemarketers

     12    call everybody on the list for that day?

     13          A      No.

     14          Q      Okay.   So what happens when someone doesn't

     15    pick up and the disposition is "Didn't Pick Up."           Are

     16    they put back into that list for the day and possibly

     17    re-called that day?

     18          A      No.

     19          Q      And how does that happen?      How do we -- that

     20    not happen, I mean?

     21          A      Okay.   So the -- the system can only call a

     22    number once until it's put back into the system as a new

     23    record.

     24          Q      Okay.   So if someone is -- does not pick up --

     25          A      Yeah.
                                                                         126

                     DALENE COURT REPORTING      661.341.3929

                                                                       PA - 00092
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 95 of 437 Page ID
                                  #:251
                                              DEPOSITION OF MYLES BRYSON


       1         Q      -- what happens to that person then?

       2         A      That -- filed away as a "no answer," and

       3   depending on -- it will be used in a future day.

       4         Q      But someone has to manually put it back into

       5   the system?

       6         A      Correct.

       7         Q      Probably not manually, but you know what I

       8   mean.     Via computer or electronic?

       9         A      Yes.

     10          Q      Okay.   And is there a procedure for

     11    determining when to put numbers back into the system?

     12          A      Yes.

     13          Q      And what's that procedure?

     14          A      You let a client receive five phone calls to a

     15    no-answer over a period of about six to seven days, and

     16    then you'll put the number away.

     17          Q      What does "putting it away" mean?

     18          A      We just store it away until a future time and

     19    give it some time to possibly get the people back from

     20    vacation or wherever they may be.

     21          Q      And is this policy written down?

     22          A      No.

     23          Q      Okay.   Who developed it?

     24          A      Myself and the I.T. manager.

     25          Q      Who's the I.T. manager again?
                                                                         127

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00093
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 96 of 437 Page ID
                                  #:252
                                              DEPOSITION OF MYLES BRYSON


       1         A      Jeff Brown.

       2         Q      Okay.   Okay.   So the leads that are generated

       3   from the touch screen interface, RVI's touch screen

       4   interface, are they ever run against the National

       5   D.N.C.?

       6         A      No.

       7         Q      Are the leads that are generated from RVI's

       8   touch screen interface ever subject to a cellphone

       9   scrub?

     10          A      No.

     11          Q      Are the leads that are generated from RVI's

     12    touch screen interface provided to IVT?

     13          A      No.

     14          Q      Are the leads generated from RVI's touch

     15    screen interface provided to Celebration Vacations?

     16          A      No.

     17          Q      Okay.   Let's look at Exhibit 5, which you

     18    testified was the touch screen interface for Fortitude

     19    Media; correct?

     20          A      Yes.

     21          Q      What's Fortitude Media?

     22          A      A vendor.

     23          Q      What do they do?

     24          A      They collect data and OPC at events.

     25          Q      What's "OPC" stand for?
                                                                         128

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00094
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 97 of 437 Page ID
                                  #:253
                                              DEPOSITION OF MYLES BRYSON


       1         A      I have a GVEC.net e-mail address and I have a

       2   Resort Vacations e-mail address.

       3         Q      What was the other one?

       4         A      Resort Vacations, Inc.

       5         Q      So that's your e-mail there, Myles Bryson?

       6         A      I use the Resort Vacations one primarily, yes,

       7   but that's the one Steve sends it to.

       8         Q      Who's Jeff Brown?

       9         A      IT manager.

     10          Q      Do you know what VPT, Inc. stands for?

     11          A      No, have no idea.

     12          Q      All right.    Earlier we discussed how the

     13    telemarketers function now with the Mitel phones; right?

     14          A      Okay.

     15          Q      How long have the Mitel phones been in use?

     16          A      I don't have an exact date.

     17          Q      That's fine.

     18          A      Probably sometime in 2014, I believe.

     19          Q      And they're in current use today; right?

     20          A      Yes.

     21          Q      What was used before the Mitel phones?

     22          A      Polycom's.

     23          Q      So how did the telemarketers work with the

     24    Polycom phones?      What was the difference?

     25          A      The leads were handed to them on paper.
                                                                         135

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00095
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 98 of 437 Page ID
                                  #:254
                                               DEPOSITION OF MYLES BRYSON


       1          Q      Then what would happen?

       2          A      They would dial the phone number.

       3          Q      Did they have a computer at their desks?

       4          A      No, they still don't.

       5          Q      How would they mark the disposition of the

       6   call?

       7          A      If you want to show me one of the -- that lead

       8   form there, I can show you.

       9          Q      You're pointing to something in my stack here.

     10           A      Right under your phone.

     11           Q      This?

     12           A      Your phone.

     13           MR. EHRLICH:    He's talking about the little lead

     14    slips.

     15           THE WITNESS:    The little white ones there.       That's

     16    a lead slip.     That's how they would be handed out.

     17    BY MR. BICKFORD:

     18           Q      I'll give them to you.    Let's talk about them

     19    now.

     20           MR. EHRLICH:    Don't write on them.

     21    BY MR. BICKFORD:

     22           Q      You can write on this one.

     23           MR. EHRLICH:    Do you want to make a copy of it and

     24    then write on it?

     25           MR. BICKFORD:    No.   No.   I don't think anyone needs
                                                                         136

                      DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00096
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 99 of 437 Page ID
                                  #:255
                                                DEPOSITION OF MYLES BRYSON


       1   to write on anything actually come to think of it

       2   because you have a copy of it already.         So this will be

       3   Exhibit 7.

       4                (Whereupon Plaintiffs' Exhibit 7 was marked

       5         for identification by the Court Reporter.)

       6   BY MR. BICKFORD:

       7         Q      This is what the witness was just pointing to?

       8         A      Correct.

       9         Q      I think I have an extra one.      Here you go.

     10          MR. EHRLICH:      Thank you.

     11    BY MR. BICKFORD:

     12          Q      So what are we looking at here?

     13          A      This would be a lead slip.      These would be

     14    produced for each number that we were going to put out

     15    into the call center that day and you would see here

     16    that they would have the ability to put a final outcome

     17    or disposition on the lead following a call.

     18          Q      Okay.   So this is -- looks like it was cut.

     19    It was probably part of a larger sheet of paper.

     20          A      Correct.

     21          Q      Would it have been precut by the time that it

     22    was given to them?

     23          A      Absolutely.

     24          Q      Okay.   So they would receive a stack of these

     25    smaller pieces of paper; correct?
                                                                         137

                     DALENE COURT REPORTING      661.341.3929

                                                                      PA - 00097
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 100 of 437 Page ID
                                   #:256
                                                DEPOSITION OF MYLES BRYSON


       1          A      Twenty in a pile.

       2          Q      Twenty in a pile.    They would call the number

       3    located up in the upper right-hand corner?

       4          A      Correct.

       5          Q      So in this case we have Michelle Del Valle;

       6    correct?

       7          A      Correct.

       8          Q      And attached Brian Delaware?

       9          A      Correct.

      10          Q      Separate number for both; right?

      11          A      Correct.

      12          Q      Okay.   And so the telemarketers would receive

      13    this slip of paper, along with others?

      14          A      Correct.

      15          Q      They would call the number.     And where do they

      16    put the disposition?     Can you point me to where that

      17    would be?

      18          A      Right beside where it says, "circle status"

      19    and "Q status."

      20          Q      So let's go over what all of these mean.

      21    Circle status is "TOL," what does that mean?

      22          A      Take off list.

      23          Q      What does that mean?

      24          A      It's a request by a client to not receive

      25    further phone calls.
                                                                          138

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00098
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 101 of 437 Page ID
                                   #:257
                                               DEPOSITION OF MYLES BRYSON


       1          Q      Okay.   Do you know why they moved or closed

       2    down?

       3          A      Just the showroom -- I think the lease was

       4    expiring and it was time to get to a new location.           They

       5    had been there a long time.

       6          Q      What about Long Beach, do you know

       7    approximately when?

       8          A      It was a temporary location.      It had bad

       9    internet service and things.       We just couldn't function

      10    properly.

      11          Q      Let's go back to talking about the

      12    telemarketers under the old Polycom phones.

      13          A      Okay.

      14          Q      So they would take these lead lists, Exhibit

      15    7, and they would call them; right?

      16          A      Correct.

      17          Q      When they were done, what would they do?        Go

      18    back for more?

      19          A      Correct.

      20          Q      Okay.   Exhibit 8 which is Bates stamped RVI 14

      21    through 16.

      22                 (Whereupon Plaintiffs' Exhibit 8 was marked

      23          for identification by the Court Reporter.)

      24    BY MR. BICKFORD:

      25          Q      What are we looking at here?
                                                                          143

                      DALENE COURT REPORTING     661.341.3929

                                                                        PA - 00099
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 102 of 437 Page ID
                                   #:258
                                                 DEPOSITION OF MYLES BRYSON


       1          Q      There should be.    Yeah.   That's right.    Okay.

       2    Approximately how many calls does RVI's call centers

       3    make in a day?

       4          A      10,000.

       5          Q      Approximately how many calls does MSI make in

       6    a day for RVI?

       7          A      No idea.

       8          Q      Have you ever asked?

       9          A      No.

      10          Q      Do you know how many telemarketers MSI has?

      11          A      No.

      12          Q      How many tours do the RVI telemarketers on

      13    average provide?

      14          A      Per person or total?

      15          Q      Total.

      16          MR. EHRLICH:      Excuse me.   Vague and ambiguous as to

      17    time.     Do you mean in a day?      Week?   Month?

      18    BY MR. BICKFORD:

      19          Q      How do you do it?

      20          A      We measure it all.

      21          Q      Well, I want to compare it to MSI and IVT.        So

      22    how many qualified tours on average, I understand it's

      23    going to fluctuate, does IVT provide?

      24          A      In what period?

      25          Q      You know it by day, you know it by week or you
                                                                          168

                      DALENE COURT REPORTING       661.341.3929

                                                                       PA - 00100
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 103 of 437 Page ID
                                   #:259
                                               DEPOSITION OF MYLES BRYSON


       1    know it by month?
       2          A      We tend to go by week.
       3          Q      Let's go by week.     So by week, how many does
       4    IVT provide?
       5          A      Around 50.
       6          Q      What about MSI?
       7          A      Fifty to 60.
       8          Q      What about RVI?
       9          A      About 130.
      10          Q      Do you know why RVI has more qualified tours
      11    produced than IVT or MSI?
      12          A      No, I don't know.     Probably allocation of
      13    staff but it would be an assumption.
      14          Q      Do you know how many telemarketers IVT has?
      15          A      No.
      16          Q      Do you know how many telemarketers MSI has?
      17          A      No.
      18          Q      What's the telephone service that RVI uses?
      19          A      Telephone service?
      20          Q      Is it 8x8?
      21          A      No.
      22          Q      What is it?
      23          A      Intelepeer.
      24          Q      Say that again.
      25          A      Intelepeer.
                                                                          169

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00101
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 104 of 437 Page ID
                                   #:260
                                               DEPOSITION OF MYLES BRYSON


       1    those are more of openers, getting people to see if

       2    they're interested?

       3          A      Correct.

       4          Q      Then once someone is interested, they would

       5    use a script like this or this to set the appointment as

       6    it says at the top; right?

       7          A      Correct.

       8          Q      Okay.   Place that one to the side.      Does RVI

       9    provide scripts to MSI?

      10          A      No.

      11          Q      But RVI does require that MSI state that it is

      12    Celebration Vacations; correct?

      13          A      Correct.   Request.

      14          Q      Okay.   Does RVI provide call scripts to Sunset

      15    Getaways?

      16          A      No.

      17          Q      But RVI does request that IVT -- let me

      18    rephrase that.       I'm using the dba's.

      19                 Does RVI provide scripts to IVT?

      20          A      No.

      21          Q      RVI does ask IVT to use the name Sunset

      22    Getaways in its calls; correct?

      23          A      Correct.

      24          Q      Okay.   Are there any documents that reflect

      25    what you want IVT to be saying on these calls?
                                                                          176

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00102
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 105 of 437 Page ID
                                   #:261
                                                DEPOSITION OF MYLES BRYSON


       1          A      No.

       2          Q      Are there any documents that require what RVI

       3    wants MSI to be saying on these calls?

       4          A      No.

       5          Q      There's no e-mail correspondence that would

       6    say what we expect -- RVI expects in these calls?

       7          A      Not that I'm aware of.

       8          Q      Okay.   If you were looking for these

       9    documents, where would you go to try to see if they

      10    existed?

      11          A      I would have assumed they would have been

      12    submitted to me and so I -- I don't know where I would

      13    go from here.

      14          Q      Okay.

      15          MR. EHRLICH:    Just to check up on that, I'll check

      16    to see if it was done but it would be prior to his time.

      17    If anything was used, I will let you know.

      18          MR. BICKFORD:    Very well.    These things -- he's

      19    saying it doesn't exist.       It might not exist.

      20          MR. EHRLICH:    It might not.     I'll check and let you

      21    know.

      22          MR. BICKFORD:    Okay.   We're about to switch to some

      23    different things.     Let's take a break.

      24          VIDEOGRAPHER:    We're now going off the record.        The

      25    time is approximately 2:35 p.m.
                                                                          177

                      DALENE COURT REPORTING      661.341.3929

                                                                       PA - 00103
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 106 of 437 Page ID
                                   #:262
                                               DEPOSITION OF MYLES BRYSON


       1          Q      Do you know if Kaleo Marketing scrubs against

       2    the National Do Not Call List?

       3          A      I don't know.

       4          Q      Do you know if Kaleo Marketing scrubs against

       5    the -- does cell phone scrubs?

       6          A      I don't know.

       7          Q      Why not?

       8          A      They're an independent contractor.

       9          Q      Does that mean you just never asked?

      10          A      I don't get involved in their day-to-day

      11    business.

      12          Q      So, no, never asked?

      13          A      I've never asked.

      14          Q      Has anyone at RVI asked?

      15          A      I don't know.

      16          Q      So Kaleo Marketing will send qualified tours

      17    over to RVI showrooms?

      18          A      Correct.

      19          Q      I believe I asked this.     I just want to be

      20    clear for my mind.      Has RVI given Kaleo Marketing

      21    scripts?

      22          A      No.

      23          Q      Earlier we talked about two Philippine

      24    companies were assigned different names that they would

      25    use on their calls?
                                                                          185

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00104
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 107 of 437 Page ID
                                   #:263
                                                  DEPOSITION OF MYLES BRYSON


       1           A      Correct.

       2           Q      IVT would use Sunset Getaways?

       3           A      Yes.    Sorry.

       4           Q      And MSI would use Celebration Vacations?

       5           A      Correct.

       6           Q      Does Kaleo Marketing have a name that it uses?

       7           A      Kaleo Marketing.

       8           Q      And why is it that you didn't provide them

       9    with a name you would like to make the calls under?

      10           A      Didn't see a need.      Didn't have any complaints

      11    coming from their areas.

      12           Q      Okay.   So the reason why MSI and IVT were

      13    provided names is because complaints tended to come from

      14    those vendors?

      15           A      Correct.   We would hear rumblings and we would

      16    want to make sure we could define between the two.

      17           Q      Okay.   To your knowledge, does Kaleo Marketing

      18    have a website?

      19           A      I don't know.

      20           Q      Okay.   So if a complaint was made about a call

      21    Kaleo Marketing made to generate a qualified tour for

      22    RVI, how would RVI become aware of that?

      23           MR. EHRLICH:      Objection.   Improper hypothetical.

      24    Misstates prior testimony.       You can answer it if you

      25    can.
                                                                          186

                       DALENE COURT REPORTING       661.341.3929

                                                                       PA - 00105
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 108 of 437 Page ID
                                   #:264
                                               DEPOSITION OF MYLES BRYSON


       1          Q      A lawsuit?

       2          A      Us and MSI had a problem?

       3          Q      Yeah.

       4          A      No, not that I'm aware of.

       5          Q      You said earlier RVI does not provide MSI with

       6    lists to call?

       7          A      Correct.

       8          Q      You're not aware of how MSI gets its numbers

       9    to call?

      10          A      Correct.

      11          Q      Why is that?

      12          A      They're their own entity.

      13          Q      Does MSI get prior expressed consent to call

      14    cellular telephones?

      15          A      I don't know.

      16          Q      Does RVI scrub any lists against the National

      17    Do Not Call List?

      18          A      Does RVI?

      19          Q      I beg your pardon.    Does MSI?

      20          A      I don't know.

      21          Q      Just to make the record clear.      Does MSI scrub

      22    against the National Do Not Call List?

      23          A      I don't know.   They're instructed to do so by

      24    us.

      25          Q      Does MSI perform cell phone scrubs?
                                                                          193

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00106
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 109 of 437 Page ID
                                   #:265
                                               DEPOSITION OF MYLES BRYSON


       1          A      I don't know.

       2          Q      Are they instructed by RVI to perform a cell

       3    phone scrub?

       4          A      They're instructed to follow all of the

       5    federal and state --

       6          Q      Where does it say that?

       7          A      On page No. 3, under 6, under warranties, "MSI

       8    shall conduct its business and operations in compliance

       9    with all of the applicable laws where it's qualified and

      10    registered to do business."

      11          Q      So it does state that, but nowhere does it

      12    expressly state that they must scrub against the Do Not

      13    Call List?

      14          A      I don't know.

      15          Q      You can look at the agreement.

      16          A      Okay.   Oh, yep, in Exhibit A.

      17          Q      Okay.   Where are you looking at?

      18          A      "Telemarketing list hygiene" at the bottom.

      19          Q      Where does it require them to scrub against --

      20          A      Okay.   "Federal, state and internal DNC

      21    policies to ensure calls -- that our clients are not

      22    barraged on behalf of RVI."

      23          Q      It says "barraged"?

      24          A      It does.   It says "barraged."

      25          Q      Where are we looking?    I'm looking at the
                                                                          194

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00107
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 110 of 437 Page ID
                                   #:266
                                                DEPOSITION OF MYLES BRYSON


       1          Q      Does it state anywhere in here that MSI must

       2    obtain prior consent to call cell phones?

       3          A      I don't believe so.

       4          Q      Does it state anywhere in here that MSI cannot

       5    use an automatic telephone dialing system to call

       6    cellular telephones without prior expressed consent?

       7          A      Again, other than to follow all Federal, State

       8    guidelines, no.

       9          Q      Does it state anywhere here -- expressly, to

      10    follow the Telephone Consumer Protection Act?

      11          A      No, I don't believe so.

      12          Q      What steps does RVI take to ensure that MSI

      13    complies with the Telephone Consumer Protection Act?

      14          A      They've given us assurances that they do.

      15          Q      Besides that, has RVI taken any steps to

      16    insure that MSI follows the Telephone Consumer

      17    Protection Act?

      18          A      Not to my knowledge.

      19          Q      Okay.   Put that off to the side.     Do you know

      20    what equipment MSI uses to make

      21                 Telephone calls?

      22          A      I believe it's Vista Dial.

      23          Q      You know that how?

      24          A      Just from memory.    I believe that they both

      25    responded that they used the Vista Dial.
                                                                          197

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00108
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 111 of 437 Page ID
                                   #:267
                                                DEPOSITION OF MYLES BRYSON


       1           Q      This request was made in response to --

       2    responding to discovery we asked questions that the

       3    plaintiff asked.

       4           A      Correct.

       5           Q      So you didn't know ahead of time what they

       6    used?

       7           A      Correct.

       8           Q      Okay.   As I said earlier, you know, we have a

       9    lot of vendor agreements here this morning; right?

      10           A      Yes.

      11           Q      And Intervoice Technologies is not in there;

      12    right?

      13           A      Correct.

      14           Q      So to your knowledge, do you know if there is

      15    a written agreement between Intervoice Technologies and

      16    RVI?

      17           A      Not that I'm aware of.

      18           Q      To your knowledge, is there an agreement

      19    between Intervoice Technologies and its predecessor --

      20    do you know what its predecessor was?

      21           A      I don't even know what you're talking about.

      22           Q      Okay.   RVI changed its name.    Global Vacations

      23    Marketing Corp., have you ever heard of that?

      24           A      No.

      25           Q      It's what RVI or its predecessor used to be
                                                                          198

                       DALENE COURT REPORTING      661.341.3929

                                                                       PA - 00109
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 112 of 437 Page ID
                                   #:268
                                               DEPOSITION OF MYLES BRYSON


       1          Q      All right.   Okay.   This is Exhibit 41.

       2                 (Whereupon Plaintiffs' Exhibit 41 was marked

       3          for identification by the Court Reporter.)

       4    BY MR. BICKFORD:

       5          Q      Keep 40 in front of you.

       6          A      Okay.

       7          Q      And Exhibit 41 is Bates stamped Del Valle 712

       8    through 726.    It is the plaintiff's AT&T phone records

       9    for the period of September 21st, 2014 through October

      10    20th, 2014.

      11                 If you will flip to Del Valle 000718.

      12          A      Okay.

      13          Q      Do you see I have highlighted it to make it

      14    easy?

      15          A      Uh-huh.

      16          Q      You'll see that on Tuesday, September 30th,

      17    2014, plaintiff, Michelle Del Valle at 7:02 p.m.

      18    received a call and it went to her call waiting from a

      19    number (949) 200-5342?      Do you see that?

      20          A      Yes.

      21          Q      And is that one of the numbers listed that MSI

      22    uses?

      23          A      Yes.

      24          Q      And where is that?

      25          A      No. 27.
                                                                          227

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00110
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 113 of 437 Page ID
                                   #:269
                                                DEPOSITION OF MYLES BRYSON


       1          Q      Line 27.    So based on this, it appears that
       2    MSI made a call to plaintiff, Michelle Del Valle on
       3    September 30th at 7:02 p.m.?
       4          A      It would appear.
       5          Q      And I will also note that the plaintiff had
       6    multiple cell phones during this time period and this
       7    was to her (949) 439-8867 number.         Do you see that?
       8          A      Yes.
       9          Q      If you'll go into Exhibit 41 that's the same
      10    number that Michelle Del Valle purportedly provided to
      11    RVI at one of the touch screen -- at the Gordon
      12    Lightfoot concert?
      13          A      Correct.
      14          Q      Yet RVI did not provide that number to
      15    Marketing Solutions International?
      16          A      Correct.
      17          Q      Does RVI know why Marketing Solutions
      18    International called Michelle Del Valle on September
      19    30th at 7:02?
      20          A      No.    Done with 41?
      21          Q      Leave the numbers in front of you.
      22          A      Forty-one?
      23          Q      You can put that aside.      Okay.    This is
      24    Exhibit 42 which is Del Valle 762 through 779, the
      25    plaintiff, Michelle Del Valle's AT&T phone records for
                                                                          228

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00111
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 114 of 437 Page ID
                                   #:270
                                                DEPOSITION OF MYLES BRYSON


       1    November 21st, 2014 through December 20th, 2014.

       2                 (Whereupon Plaintiffs' Exhibit 42 was marked

       3          for identification by the Court Reporter.)

       4    BY MR. BICKFORD:

       5          Q      If you go to Del Valle 764, it's the third

       6    page, I have highlighted a number there as well.          Do you

       7    see that?

       8          A      Uh-huh.

       9          Q      This is for a different phone number, (949)

      10    287-2405.

      11          A      Okay.

      12          Q      Do you see that?

      13          A      Yeah.

      14          Q      Okay.   It appears that on December 4th, 7:22

      15    p.m. Michelle Del Valle received an incoming call from

      16    the number (909) 243-1147, do you see that?

      17          A      Uh-huh.

      18          Q      Is that one of the numbers associated with

      19    Intervoice Technologies?

      20          A      Yes.

      21          Q      What line is that?

      22          A      Sixteen.   Yeah, 16.

      23          Q      So it appears that Intervoice Technologies

      24    called the plaintiff, Michelle Del Valle, on December

      25    4th, 2014 at 7:22?
                                                                          229

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00112
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 115 of 437 Page ID
                                   #:271
                                               DEPOSITION OF MYLES BRYSON


       1          A      Okay.   Yes.
       2          Q      This is different than the number that the
       3    plaintiff provided at the Gordon Lightfoot concert?
       4          A      Yes.
       5          Q      Did RVI provide IVT with this number?
       6          A      No.
       7          Q      Does RVI know why IVT called this number?
       8          A      No.
       9          Q      Two more pages to 766?
      10          A      Okay.
      11          Q      You'll see on December 14th at 7:58 p.m.,
      12    plaintiff, Michelle Del Valle, received a called from
      13                 (714) 912-6964.
      14          A      Okay.
      15          Q      Is that number associated with the numbers
      16    listed that are used by MSI?
      17          A      Yes.
      18          Q      What line is that?
      19          A      Twenty-six.
      20          Q      So it appears that MSI called the plaintiff,
      21    Michelle Del Valle, December 14th, 2014 at 7:58 p.m.?
      22          A      Yes.
      23          MR. EHRLICH:     What's the date again?
      24          THE WITNESS:     Are we on the 14th or the 17th?
      25    BY MR. BICKFORD:
                                                                          230

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00113
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 116 of 437 Page ID
                                   #:272
                                               DEPOSITION OF MYLES BRYSON


       1          A      Would have been the same thing, two or three.

       2          Q      Are there any e-mails?

       3          A      I don't believe so.

       4          Q      What about e-mails from them to you?

       5          A      I don't believe so.

       6          Q      You testified earlier that you asked IVT what

       7    equipment they used to place calls?

       8          A      I believe so, yes.

       9          Q      Was that on that same call?

      10          A      I don't know.

      11          Q      What about with MSI, you asked them as well?

      12          A      I believe so, yes.

      13          Q      They both used VICIdial?

      14          A      I believe that's correct.

      15          Q      Okay.   Place both of those off to the side.

      16          A      Forty and 41?

      17          Q      Everything, yeah.    One of them should be 43.

      18    Just checking to make sure I didn't miss anything.            We

      19    might be sitting here for 15 minutes and quiet and that

      20    would be a good thing actually.

      21                 To your knowledge, are there any other

      22    contracts between RVI and Marketing Solutions

      23    International?

      24          A      I don't believe so.

      25          Q      Are there any amendments to that agreement?
                                                                          240

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00114
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 117 of 437 Page ID
                                   #:273




                                                                       PA - 00115
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 118 of 437 Page ID
                                   #:274




                                                                       PA - 00116
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 119 of 437 Page ID
                                   #:275




                                                                       PA - 00117
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 120 of 437 Page ID
                                   #:276




                                 EXHIBIT “C”
                                                                       PA - 00118
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 121 of 437 Page ID
                                   #:277
                                         DEPOSITION OF MICHELE DEL VALLE


                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                     COUNTY OF ORANGE




                                            )
            MICHELE DEL VALLE, ON BEHALF OF )
            HERSELF AND ALL OTHERS SIMILARLY)
            SITUATED,                       )
                                            )
                              PLAINTIFFS,   )           CASE NO.
                                            )           30-2014-00745279-
                VS.                         )           CU-MC-CXC
                                            )
            GLOBAL EXCHANGE VACATION CLUB, A)
            CALIFORNIA CORPORATION; AND DOES)
            1 THROUGH 100, INCLUSIVE,       )
                                            )
                              DEFENDANTS.   )
            ________________________________)




                           DEPOSITION OF MICHELE DEL VALLE
                                THURSDAY, APRIL 14, 2016




            REPORTED BY:
            CLAUDIA BADANO, CSR 8974

                                                                            1

                   DALENE COURT REPORTING        661.341.3929

                                                                       PA - 00119
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 122 of 437 Page ID
                                   #:278
                                          DEPOSITION OF MICHELE DEL VALLE


       1    THERE?

       2         A.     ACCOUNTING.

       3         Q.     APPROXIMATELY HOW LONG WERE YOU AT THE BALBOA

       4    BAY CLUB?     I'M JUST LOOKING FOR GENERAL.

       5         A.     OKAY.    ABOUT TWO, THREE YEARS.

       6         Q.     AND WHAT, IF ANYTHING, DID YOU DO FOR

       7    EMPLOYMENT AFTER THAT?

       8         A.     OH, GOSH.    RETAIL.

       9         Q.     APPROXIMATELY HOW LONG?

      10         A.     PROBABLY ABOUT I WOULD SAY MAYBE FROM FIVE TO

      11    TEN YEARS.

      12         Q.     SO NOW WE'RE RIGHT AROUND 2000, GIVE OR TAKE A

      13    FEW YEARS.

      14         A.     RIGHT.

      15         Q.     DID YOU CHANGE JOBS AFTER THAT?

      16         A.     YES, I DID.   LET'S SEE.    YOU KNOW, I -- I

      17    CAN'T REMEMBER.      I KNOW I --

      18         Q.     IT HAPPENS TO ME ALL THE TIME.

      19         A.     YEAH.    I JUST -- I MEAN, THERE'S A -- YEAH.       I

      20    CAN'T REMEMBER EXACTLY.

      21         Q.     MAYBE IT'S BETTER IF WE WORK BACKWARDS TO THAT

      22    TIME.     ARE YOU PRESENTLY EMPLOYED?

      23         A.     I WORK FOR MYSELF.

      24         Q.     WHAT DO YOU DO?

      25         A.     ANTIQUING.    ANTIQUES AND COLLECTIBLES.
                                                                           12

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00120
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 123 of 437 Page ID
                                   #:279
                                          DEPOSITION OF MICHELE DEL VALLE


       1         Q.     DO YOU HAVE A SHOP?

       2         A.     OUT OF MY HOME.

       3         Q.     ABOUT HOW LONG HAVE YOU BEEN SELF-EMPLOYED?

       4         A.     FOR AT LEAST TEN YEARS.

       5         Q.     OKAY.    HAS IT ALWAYS BEEN --

       6         A.     JUST ANTIQUING?

       7         Q.     -- ANTIQUES AND COLLECTIBLES?

       8         A.     NO.    I WORK FOR LYFT.

       9         Q.     A LYFT DRIVER FOR A WHILE?

      10         A.     YES.

      11         Q.     I TOOK LYFT TWICE YESTERDAY.

      12         A.     OH, VERY GOOD.

      13         Q.     AND SO BETWEEN RETAIL AND ANTIQUES AND

      14    COLLECTIBLES AND LYFT, WERE THERE ANY OTHER JOBS THAT

      15    YOU REMEMBER?

      16         A.     YES.    AS A MATTER OF FACT.    I WORKED ON A

      17    CRUISE SHIP.       YEAH, SO MANY YEARS AND SO MANY DIFFERENT

      18    THINGS, IT'S HARD TO REMEMBER THE CHRONOLOGICAL.

      19         Q.     RIGHT.

      20         A.     I ALSO WORKED AT LOS CABALLEROS SPORTS VILLAGE

      21    IN FOUNTAIN VALLEY.

      22         Q.     LOS CABALLEROS?

      23         A.     SPORTS VILLAGE.

      24         Q.     SPORTS VILLAGE.    IS THAT A RESTAURANT?

      25         A.     NO.    IT'S A BIG -- IT SITS ON 16 ACRES,
                                                                           13

                      DALENE COURT REPORTING      661.341.3929

                                                                       PA - 00121
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 124 of 437 Page ID
                                   #:280
                                         DEPOSITION OF MICHELE DEL VALLE


       1    HAVE MADE CALLS TO THE COMPANY.

       2         Q.     OKAY.    AND THAT'S WHAT I'M GOING TO GET INTO

       3    IN A SECOND.

       4         A.     OKAY.

       5         Q.     AND, AGAIN, YOU WERE NOT CHARGED FOR THAT

       6    CALL?

       7         A.     NO.

       8         Q.     WHEN I SAY "CHARGED," I MEAN ANYTHING EXTRA.

       9         A.     RIGHT.

      10         Q.     SO THE CALLS THAT ARE THE BASIS FOR YOUR

      11    COMPLAINT -- YOUR CLAIM IN THIS CASE -- IN YOUR MIND

      12    WHATEVER YOU CAN RECOLLECT, CAN YOU GIVE ME THE

      13    SEQUENCE OF WHAT OCCURRED?       IN OTHER WORDS, DID SOMEONE

      14    CALL AND LEAVE A MESSAGE?       DID SOMEONE TRY TO CALL YOU?

      15    DID YOU GET A CALL?      DID YOU CALL SOMEONE BACK?       THAT'S

      16    WHAT I'M TRYING TO ASCERTAIN.

      17         A.     OKAY.    SO YOU WANT ME TO DESCRIBE WHAT -- WITH

      18    THIS COMPANY.

      19         Q.     AS BEST YOU CAN RECALL WHAT HAPPENED.

      20         A.     OKAY.    I DID GET A CALL.   I SPOKE WITH

      21    SOMEBODY.     THEN AFTER THE -- I DID GO SEE THE

      22    PRESENTATION.       AND THEN AFTER THE PRESENTATION WAS

      23    FINISHED, WITHIN I THINK A DAY OR TWO DAYS I WAS

      24    GETTING CALLS AGAIN.      THEY ASKED ME TO GIVE THEM

      25    NUMBERS OF FRIENDS OR FAMILY.        I SAID NO.    THEY KEPT
                                                                           38

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00122
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 125 of 437 Page ID
                                   #:281
                                         DEPOSITION OF MICHELE DEL VALLE


       1    CALLING.

       2                AND THEN I DON'T -- THERE CAME A TIME WHERE I

       3    WAS SO FRUSTRATED THAT I DID SOME RESEARCH TO TRY AND

       4    FIND A COMPANY -- WHAT I REMEMBER IS ASKING THE PEOPLE

       5    WHERE ARE YOU CALLING FROM.

       6         Q.     OKAY.

       7         A.     AND THEN THEY WOULD -- I DON'T REMEMBER IF

       8    THEY TOLD ME, BUT SINCE THEY ALL HAD A FILIPINO ACCENT,

       9    I KNEW THEY WERE FROM THE PHILIPPINES, SO I FINALLY

      10    DECIDED THAT I WAS GOING TO DO SOME RESEARCH AND TRY

      11    AND FIND THE COMPANY IN THE UNITED STATES.

      12                I BELIEVE I DID RESEARCH ON THE INTERNET,

      13    FINALLY CAME WITH A NUMBER THAT WAS LOCATED IN IRVINE.

      14    AND I CALLED.       I ASKED FOR A SUPERVISOR.     I SPOKE WITH

      15    A SUPERVISOR AND I TOLD HIM HOW FRUSTRATED I WAS THAT

      16    THEIR COMPANY KEPT CALLING ME.        I ASKED THEM TO STOP

      17    CALLING ME, AND I WANT MY NUMBER TAKEN OFF OF THEIR

      18    CALL LIST.

      19                AND HE ACTUALLY SAID HE WAS VERY SORRY.        HE

      20    WOULD -- THAT HE WOULD GET AHOLD OF WHOEVER IS CALLING

      21    AND HAVE MY PHONE NUMBER TAKEN OFF.

      22         Q.     DID THE CALLS STOP?

      23         A.     NO.

      24         Q.     APPROXIMATELY HOW MANY MORE CALLS DID YOU GET?

      25         A.     I CAN'T TELL YOU HOW MANY MORE, BUT I --
                                                                            39

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00123
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 126 of 437 Page ID
                                   #:282
                                         DEPOSITION OF MICHELE DEL VALLE


       1         Q.     APPROXIMATELY.

       2         A.     I COULDN'T GIVE YOU A NUMBER.

       3         Q.     OKAY.

       4         A.     HONESTLY.   YEAH, I COULDN'T GIVE YOU A NUMBER.

       5    IT JUST -- THE VOLUME OF IT DIDN'T STOP.

       6         Q.     OKAY.

       7         A.     AND THEN I CALLED THE COMPANY AGAIN.

       8         Q.     OKAY.

       9         A.     I CALLED THE IRVINE COMPANY AGAIN.       GOT A

      10    DIFFERENT SUPERVISOR.       ADVISED HIM AGAIN, AND HE ALSO

      11    GAVE ME THE SAME STORY.       AND THE CALLS DIDN'T STOP.

      12         Q.     SO THE CALLS YOU WERE GETTING ARE MORE THAN

      13    THE CALLS YOU'VE SEEN SO FAR RIGHT HERE?

      14         A.     YEAH.   WHAT I REMEMBER, YEAH.     I DO REMEMBER

      15    MORE.

      16         Q.     APPROXIMATELY IN TOTAL, WERE THERE MORE THAN

      17    TEN CALLS?

      18         A.     OVER THE WHOLE COURSE OF TIME?

      19         Q.     YES.

      20         A.     OH, GOSH, YES.

      21         Q.     MORE THAN 20?

      22         A.     I COULDN'T GIVE YOU -- OVER TEN I COULD SAY

      23    YES.    BUT OVER ANOTHER NUMBER I CAN'T TELL YOU.

      24         Q.     ALL ON THE SAME PHONE NUMBER?

      25         A.     YOU KNOW, THAT I COULDN'T REMEMBER.       I
                                                                           40

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00124
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 127 of 437 Page ID
                                   #:283
                                         DEPOSITION OF MICHELE DEL VALLE


       1    HONESTLY COULDN'T REMEMBER.
       2         Q.     DO YOU KNOW THE NAME OF THE COMPANY THAT YOU
       3    WENT TO WHEN YOU ATTENDED THE PRESENTATION?
       4         A.     ISN'T IT GLOBAL -- GLOBAL, SOMETHING,
       5    EXCHANGE.     I KNOW IT WAS A TIMESHARE.
       6         Q.     OKAY.
       7         A.     VACATION TIMESHARE.
       8         Q.     AND WHERE WAS IT?
       9         A.     I WENT TO ONTARIO.
      10         Q.     DO YOU REMEMBER THE DATE YOU WENT?
      11         A.     NO.
      12         Q.     APPROXIMATELY MONTH?
      13         A.     NO.
      14         Q.     DID YOU GET A GIFT FOR ATTENDING?
      15         A.     I DID.
      16         Q.     DO YOU RECALL WHAT YOU RECEIVED?
      17         A.     I RECEIVED A GIFT CERTIFICATE FOR
      18    RESTAURANT.COM AND A VOUCHER FOR A FREE TRAVEL
      19    SOMEWHERE.
      20         Q.     DID YOU USE THE RESTAURANT.COM CERTIFICATE?
      21         A.     I USED SOME OF IT.
      22         Q.     OKAY.    DO YOU RECALL WHAT IT ENTAILED?
      23         A.     I BELIEVE IT WAS GOING ON THE WEBSITE, I
      24    THINK, AND CHOOSING A RESTAURANT AND THAT WAS IT.            AND
      25    THEN JUST GETTING A COUPON TO GO INTO THAT RESTAURANT.
                                                                           41

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00125
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 128 of 437 Page ID
                                   #:284
                                         DEPOSITION OF MICHELE DEL VALLE


       1         A.     I KNOW IT HAD GLOBAL IN IT, THE GLOBAL -- ALL

       2    I CAN REMEMBER IS THE TWO WORDS GLOBAL AND EXCHANGE.

       3         Q.     OKAY.   GLOBAL EXCHANGE?

       4         A.     SOMETHING LIKE THAT.     I ONLY REMEMBER THE TWO

       5    WORDS.

       6         Q.     YOU EARLIER TESTIFIED THAT YOU ATTENDED A

       7    PRESENTATION AND THEN A DAY OR TWO LATER YOU STARTED

       8    GETTING CALLS AGAIN.

       9         A.     YES.

      10         Q.     PRIOR TO ATTENDING THE PRESENTATION, WERE YOU

      11    GETTING REGULAR CALLS?

      12         A.     FROM --

      13         Q.     FROM SOMEONE WITH A FILIPINO ACCENT?

      14         A.     NO.

      15         Q.     PRIOR TO ATTENDING THE PRESENTATION,

      16    APPROXIMATELY HOW MANY CALLS THAT YOU ANSWERED AND

      17    SPOKE TO?     WAS IT ONLY THAT ONE CALL WITH THE GENTLEMAN

      18    WITH THE FILIPINO ACCENT?

      19         A.     NO.

      20         Q.     APPROXIMATELY HOW MANY CALLS?

      21         A.     I DON'T REMEMBER HOW MANY CALLS, BUT WHAT I DO

      22    REMEMBER IS I GAVE IN TO GOING TO THE PRESENTATION SO

      23    HE WOULD STOP CALLING.

      24         Q.     OKAY.   SO HE HAD CALLED YOU -- SOMEONE HAD

      25    CALLED YOU A NUMBER OF TIMES?
                                                                           47

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00126
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 129 of 437 Page ID
                                   #:285
                                         DEPOSITION OF MICHELE DEL VALLE


       1         A.     RIGHT, YES.

       2         Q.     IF YOU RECEIVED ALL THOSE CALLS, THEY SHOULD

       3    BE SOMEWHERE IN YOUR RECORDS; IS THAT CORRECT?

       4         A.     THEY SHOULD BE, YES.

       5         Q.     OKAY.   AND WERE THEY ALL IN THIS SAME TIME

       6    FRAME OF NOVEMBER, DECEMBER 2014?

       7         A.     FROM WHAT I REMEMBER, IT'S IN THE SAME EITHER

       8    24 TO 48 HOURS.

       9         Q.     ALL THE CALLS?

      10         A.     WHEN I FINALLY SAID I WILL GO.       BECAUSE THEY

      11    KEPT -- THEY KEPT CALLING.

      12         Q.     OKAY.   SO I'M JUST GOING TO MAKE SURE I GET

      13    THIS RIGHT.     WITHIN 24, 48 HOURS OF AGREEING OF GOING

      14    TO THE TIMESHARE PRESENTATION, YOU RECEIVED A BARRAGE

      15    OF CALLS?

      16                MR. BICKFORD:    MISSTATES TESTIMONY.

      17                MR. EHRLICH:    THAT'S WHAT I'M TRYING TO

      18    CLARIFY.     ALL THESE CALLS YOU GOT, YOU FINALLY GAVE IN.

      19                THE WITNESS:    RIGHT.

      20    BY MR. EHRLICH:

      21         Q.     ABOUT HOW MUCH TIME PASSED BEFORE YOU GAVE IN,

      22    FROM THE FIRST CALL TO WHEN YOU GAVE IN ABOUT?

      23         A.     I COULDN'T EVEN TELL YOU.

      24         Q.     ARE WE TALKING WEEKS?     DAYS?

      25         A.     OH, GOSH, NO.    WITHIN THOSE 28, 48 HOURS.
                                                                            48

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00127
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 130 of 437 Page ID
                                   #:286
                                         DEPOSITION OF MICHELE DEL VALLE


       1         Q.     OKAY.

       2         A.     YEAH.

       3         Q.     AND ABOUT -- WHETHER IT'S WEEKS OR A MONTH,

       4    AFTER YOU AGREED TO GO, WAS IT WITHIN DAYS THAT YOU

       5    WENT TO THE TIMESHARE OR WAS IT --

       6         A.     FROM WHAT I COULD RECALL, YES.

       7         Q.     SO IT WAS WITHIN A FEW DAYS LATER, GIVE OR

       8    TAKE?

       9         A.     RIGHT.

      10         Q.     AND, AGAIN, IF WE'RE LOOKING AT THE CALLS IN

      11    THIS CASE, THEY SEEM TO BE NOVEMBER, DECEMBER, 2014; IS

      12    THAT CORRECT?       IF I'M WRONG, JUST LET ME KNOW.

      13                MR. BICKFORD:   I'M CONFUSED BY YOUR QUESTION

      14    BECAUSE I THINK --

      15                MR. EHRLICH:    MAYBE I GOT THE WRONG DATES.

      16                MR. BICKFORD:   ARE YOU REFERRING TO THOSE

      17    CALLS?

      18                MR. EHRLICH:    YES.   I AM REFERRING AND I'M

      19    ASKING IF THAT'S THE TIME PERIOD WE'RE TALKING ABOUT

      20    HERE.     THE CALLS THAT ARE THE BASIS OF THIS CASE SEEM

      21    TO BE 12-3, 12-4, I SEE AN INCOMING.         I SEE A CALL

      22    WAITING ON -- OH, I SEE SEPTEMBER 30TH.

      23         Q.     WOULD IT BE THEN THE FALL OF 2014?

      24         A.     I KNOW IT WAS IN 2014.

      25         Q.     OKAY.
                                                                           49

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00128
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 131 of 437 Page ID
                                   #:287
                                         DEPOSITION OF MICHELE DEL VALLE


       1    IN MY MEMORY.
       2         Q.    I'M GOING TO DEVIATE JUST FOR A SECOND SO I
       3    DON'T FORGET.
       4         A.    OKAY.
       5         Q.    DO YOU HAVE AN INTERNET PRESENCE?
       6               MR. BICKFORD:      VAGUE AS TO "INTERNET
       7    PRESENCE."
       8               THE WITNESS:      YEAH, I DON'T KNOW.
       9    BY MR. EHRLICH:
      10         Q.    YOU HAVE AN ANTIQUE COLLECTIBLE BUSINESS?
      11         A.    YES.
      12         Q.    DO YOU HAVE A WEBSITE?
      13         A.    NO.
      14         Q.    DO YOU PUT ADS ON THE INTERNET?
      15         A.    YES.
      16         Q.    DO YOU PUT ANY ADS WITH CRAIGSLIST?
      17         A.    YES.
      18         Q.    HOW OFTEN DO YOU HAVE ADS ON CRAIGSLIST?
      19         A.    ALL THE TIME.
      20         Q.    ALL THE TIME.      AND DO YOU HAVE ANYTHING ON
      21    AMAZON?
      22         A.    YES.
      23         Q.    ANY OTHER SALES WEBSITES, THINGS OF THAT
      24    NATURE, THAT YOU HAVE ADS ON THE INTERNET?
      25         A.    DURING THIS TIME OR CURRENTLY?
                                                                           57

                   DALENE COURT REPORTING        661.341.3929

                                                                       PA - 00129
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 132 of 437 Page ID
                                   #:288
                                         DEPOSITION OF MICHELE DEL VALLE


       1         Q.     DURING THIS TIME.

       2         A.     FROM WHAT I REMEMBER, THAT'S IT.

       3         Q.     AMAZON, CRAIGSLIST?

       4         A.     RIGHT.

       5         Q.     WE'LL GET BACK TO THAT LATER.

       6         A.     OKAY.

       7         Q.     BEFORE AS I WAS GOING THROUGH THIS SUMMARY OF

       8    WHAT YOU TOLD ME HAPPENED, YOU HAD SPOKEN TO THE

       9    SUPERVISOR.     THE CALLS DID NOT STOP.      YOU CALLED IRVINE

      10    AGAIN AND YOU SPOKE TO SOMEONE THERE AGAIN; CORRECT?

      11         A.     YES.

      12         Q.     DO YOU RECALL ABOUT HOW LONG THE SECOND PHONE

      13    CALL WAS?

      14         A.     I HONESTLY COULDN'T TELL YOU.

      15         Q.     A FEW MINUTES?

      16         A.     HOW LONG IT WAS?

      17         Q.     YEAH.

      18         A.     ALL I CAN REMEMBER, IT WAS LESS THAN THE FIRST

      19    ONE.

      20         Q.     OKAY.

      21         A.     YEAH.

      22         Q.     AND YOUR BEST RECOLLECTION IS HE SAID THAT HE

      23    WOULD TAKE YOU OFF THE LIST AND TRY TO STOP THE CALLS?

      24         A.     YES.

      25         Q.     BUT THE CALLS DIDN'T STOP?
                                                                           58

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00130
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 133 of 437 Page ID
                                   #:289
                                         DEPOSITION OF MICHELE DEL VALLE


       1         A.     NO.

       2         Q.     AFTER THE SECOND CALL, I BELIEVE YOU TESTIFIED

       3    YOU HAD MORE THAN TEN CALLS AFTER THAT.

       4         A.     YES.

       5         Q.     SO SPOKE TO THE SUPERVISOR FOR A SECOND TIME,

       6    AT LEAST TEN CALLS?

       7         A.     YES.

       8         Q.     AND, AGAIN, ONLY BECAUSE I'VE MOVED FORWARD A

       9    LITTLE BIT, THE CALLS THAT CAME AFTER THE SECOND TIME,

      10    YOU DON'T SPECIFICALLY REMEMBER ON WHICH PHONE NUMBER?

      11         A.     NO, I CAN'T.

      12         Q.     CAN YOU RECALL WHETHER OR NOT YOU EVER

      13    RECEIVED ANY OF THESE ANNOYING CALLS ON THE

      14    (714) 325-7358 NUMBER?

      15         A.     I CAN'T RECALL, NO.

      16         Q.     AS FAR AS THE 8867 NUMBER OR THE 2405, DO YOU

      17    HAVE ANY RECOLLECTION WHETHER YOU SEEMED TO GET MORE ON

      18    ONE OR THE OTHER?

      19         A.     THERE WAS ONE NUMBER, BUT I CAN'T TELL YOU

      20    WHICH NUMBER IT WAS.

      21         Q.     OKAY.

      22         A.     BECAUSE I ALWAYS HAD THOSE PHONES WITH ME,

      23    SO...

      24         Q.     OKAY.

      25         A.     TO REMEMBER THREE PHONE CALLS -- THREE PHONES
                                                                           59

                      DALENE COURT REPORTING     661.341.3929

                                                                       PA - 00131
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 134 of 437 Page ID
                                   #:290




                                                                       PA - 00132
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 135 of 437 Page ID
                                   #:291




                                                                       PA - 00133
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 136 of 437 Page ID
                                   #:292




                                 EXHIBIT “2”
                                                                       PA - 00134
     Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 137 of 437 Page ID
                                        #:293



 1     R. Rex Parris (SBN 96567)
          rrparris@parrislawyers.com
 2     Kitty K. Szeto (SBN 258136)
          kszeto@ parrislawyers.com
 3     John M. Bickford (SBN 280929)
          jbickford@parrislawyers.com
 4     Eric N. Wilson (SBN 291815)
          ewilson@parrislawyers.com
 5     PARRIS LAW FIRM
       43364 10th Street West
 6     Lancaster, California 93534
       Telephone:(661) 949-2595
 7     Facsimile: (661) 949-7524
 8     Attorneys for Plaintiff and the Putative Class
 9
10                             UNITED STATES DISTRICT COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
12
       MICHELE DEL VALLE; an individual, )               Case No.: 8:16-cv-02149
13     for herself and all members of the putative)
       class,                                     )      CLASS ACTION
14                                                )
                     Plaintiff,                   )      DECLARATION OF JOHN M.
15                                                )      BICKFORD (DOCUMENTS)
              v.                                  )
16                                                )      Date:         January 9, 2017
       GLOBAL EXCHANGE VACATION                   )      Time:         8:30 a.m.
17     CLUB, a California corporation;            )      Courtroom:    9C
       RESORT VACATIONS, INC., a Nevada )
18     corporation; GLOBAL VACATIONS              )      Judge:        David O. Carter
       MARKETING CORP., a Nevada                  )
19     corporation, GLOBAL EXCHANGE               )
       DEVELOPMENT, CORP., a Nevada               )
20     corporation, and DOES 1 through 100,       )
       inclusive,                                 )
21                                                )
                     Defendants.                  )
22                                                )
                                                  )
23
24
25
26
27
28


       _____________________________________________________________________________
                                 DECLARATION OF JOHN M. BICKFORD (DOCUMENTS)

                                                                                         PA - 00135
     Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 138 of 437 Page ID
                                        #:294



 1                           DECLARATION OF JOHN M. BICKFORD
 2            I, John M. Bickford, declare as follows:
 3
 4            1.    I am an attorney duly licensed to practice before all courts of the State of
 5     California and an associate at the Parris Law Firm, attorneys of record for Plaintiff
 6     Michele Del Valle (“Plaintiff”) and the putative class.              The facts set forth in this
 7     declaration are within my personal knowledge and, if called as a witness, I could and
 8     would competently testify as follows:
 9
10            2.    During discovery, Defendant Global Exchange Vacation Club (“GEVC”)
11     produced screenshots from its touchscreen interface used to collect telephone numbers to
12     telemarket. Attached hereto as Exhibits “A” and “B” are screenshots from the two
13     different versions of this interface.
14
15            3.    During discovery, GEVC produced what it calls “lead slips.” Attached
16     hereto as Exhibit “C” is a true and correct copy of two lead slips.
17
18            4.    During discovery, GEVC produced RVI’s vendor agreement with MSI.
19     Attached hereto as Exhibit “D” is a true and correct copy of this agreement.
20
21            5.    On September 30, 2014, Plaintiff served GEVC with Plaintiff’s Special
22     Interrogatories (Set One) to Defendant Global Exchange Vacation Club. On December
23     1, 2014, GEVC served Plaintiff with its initial responses. On May 18, 2015, GEVC
24     served Plaintiff with Defendant Global Exchange Vacation Club’s Further Response to
25     Plaintiff’s Special Interrogatories, Set One. Verifications to these further responses were
26     served April 13, 2016. Attached hereto as Exhibit “E” is a true and correct copy of
27     these further responses.
28     ////
                                                       1
       _____________________________________________________________________________
                                       DECLARATION OF JOHN M. (DOCUMENTS)

                                                                                           PA - 00136
     Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 139 of 437 Page ID
                                        #:295



 1            6.     Attached hereto as Exhibit “F” are true and correct copies of excerpts of
 2     Plaintiff’s cell phone records. Highlights have been added to make it easier to identify
 3     the calls at issue.
 4
 5            7.     On February 2, 2015, Plaintiff served GEVC with Plaintiff’s Special
 6     Interrogatories (Set Two) to Defendant Global Exchange Vacation Club. On March 25,
 7     2014, GEVC served Plaintiff with its initial responses. On May 18, 2015, GEVC served
 8     Plaintiff with Defendant Global Exchange Vacation Club’s Further Response to
 9     Plaintiff’s Special Interrogatories, Set Two. Verifications to these further responses
10     were served April 13, 2016. Attached hereto as Exhibit “G” is a true and correct copy
11     of these further responses.
12
13            8.     Attached hereto as Exhibit “H” is a true and correct copy of Plaintiff’s
14     meet-and-confer letter dated December 5, 2016 attempting to schedule a time to
15     telephonically meet-and-confer with GEVC’s counsel about Plaintiff’s Motion for Class
16     Certification.
17
18            9.     Attached hereto as Exhibit “I” is a true and correct copy of Plaintiff’s
19     meet-and-confer letter dated December 6, 2016 confirming the parties meet-and-
20     conferred and that Plaintiff has satisfied her obligations under Central District Local
21     Rule 7-3.
22
23            I declare under penalty of perjury under the laws of the United States of America
24     that the foregoing is true and correct.
25            Executed on this 7th day of December 2016 at Lancaster, California.
26
27                                               _____________________________________
28                                                           John M. Bickford

                                                      2
       _____________________________________________________________________________
                                      DECLARATION OF JOHN M. (DOCUMENTS)

                                                                                    PA - 00137
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 140 of 437 Page ID
                                   #:296




                                 EXHIBIT “A”
                                                                       PA - 00138
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 141 of 437 Page ID
                                   #:297




                                                                       PA - 00139
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 142 of 437 Page ID
                                   #:298




                                                                       PA - 00140
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 143 of 437 Page ID
                                   #:299




                                                                       PA - 00141
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 144 of 437 Page ID
                                   #:300




                                                                       PA - 00142
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 145 of 437 Page ID
                                   #:301




                                                                       PA - 00143
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 146 of 437 Page ID
                                   #:302




                                                                       PA - 00144
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 147 of 437 Page ID
                                   #:303




                                                                       PA - 00145
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 148 of 437 Page ID
                                   #:304




                                                                       PA - 00146
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 149 of 437 Page ID
                                   #:305




                                                                       PA - 00147
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 150 of 437 Page ID
                                   #:306




                                                                       PA - 00148
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 151 of 437 Page ID
                                   #:307




                                 EXHIBIT “B”
                                                                       PA - 00149
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 152 of 437 Page ID
                                   #:308




                                                                       PA - 00150
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 153 of 437 Page ID
                                   #:309




                                                                       PA - 00151
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 154 of 437 Page ID
                                   #:310




                                                                       PA - 00152
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 155 of 437 Page ID
                                   #:311




                                                                       PA - 00153
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 156 of 437 Page ID
                                   #:312




                                                                       PA - 00154
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 157 of 437 Page ID
                                   #:313




                                                                       PA - 00155
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 158 of 437 Page ID
                                   #:314




                                                                       PA - 00156
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 159 of 437 Page ID
                                   #:315




                                                                       PA - 00157
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 160 of 437 Page ID
                                   #:316




                                 EXHIBIT “C”
                                                                       PA - 00158
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 161 of 437 Page ID
                                   #:317




                                                                       PA - 00159
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 162 of 437 Page ID
                                   #:318




                                 EXHIBIT “D”
                                                                       PA - 00160
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 163 of 437 Page ID
                                   #:319




                                                                       PA - 00161
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 164 of 437 Page ID
                                   #:320




                                                                       PA - 00162
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 165 of 437 Page ID
                                   #:321




                                                                       PA - 00163
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 166 of 437 Page ID
                                   #:322




                                                                       PA - 00164
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 167 of 437 Page ID
                                   #:323




                                                                       PA - 00165
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 168 of 437 Page ID
                                   #:324




                                                                       PA - 00166
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 169 of 437 Page ID
                                   #:325




                                                                       PA - 00167
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 170 of 437 Page ID
                                   #:326




                                 EXHIBIT “E”
                                                                       PA - 00168
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 171 of 437 Page ID
                                   #:327




                                                                       PA - 00169
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 172 of 437 Page ID
                                   #:328




                                                                       PA - 00170
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 173 of 437 Page ID
                                   #:329




                                                                       PA - 00171
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 174 of 437 Page ID
                                   #:330




                                                                       PA - 00172
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 175 of 437 Page ID
                                   #:331




                                                                       PA - 00173
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 176 of 437 Page ID
                                   #:332




                                                                       PA - 00174
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 177 of 437 Page ID
                                   #:333




                                                                       PA - 00175
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 178 of 437 Page ID
                                   #:334




                                                                       PA - 00176
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 179 of 437 Page ID
                                   #:335




                                                                       PA - 00177
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 180 of 437 Page ID
                                   #:336




                                                                       PA - 00178
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 181 of 437 Page ID
                                   #:337




                                                                       PA - 00179
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 182 of 437 Page ID
                                   #:338




                                                                       PA - 00180
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 183 of 437 Page ID
                                   #:339




                                                                       PA - 00181
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 184 of 437 Page ID
                                   #:340




                                                                       PA - 00182
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 185 of 437 Page ID
                                   #:341




                                                                       PA - 00183
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 186 of 437 Page ID
                                   #:342




                                                                       PA - 00184
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 187 of 437 Page ID
                                   #:343




                                                                       PA - 00185
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 188 of 437 Page ID
                                   #:344




                                 EXHIBIT “F”
                                                                       PA - 00186
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 189 of 437 Page ID
                                   #:345

                   7      of 15
                                               MICHELE DEL VALLE                                                     Page:         7 of 15
                                               PO BOX 15884                                                Bill Cycle Date:        09/21/14 - 10/20/1
                                               NEWPORT BEACH, CA 92659-5884                                       Account:         570121752
                                                                                                       Foundation Account:         FAN 00028028




                                                                                                              Visit us online at: www.att.com


                                                                                          Place                     Rate   Feature           Airtime    LD/A
                            949 439-8867                                         Time     Called    Number Called   Code   Code    Min       Charges    Char
                             MICHELE DEL VALLE
                                                                                 Monday, 09/29
                                                                                 11:10a ANAHEI CA   714-404-4333    SDDV              2          0.00
Call Detail - Continued                                                          11:23a BEVERL CA   310-595-4642    SDDV              1          0.00
         Place                     Rate   Feature           Airtime    LD/Addl   12:22p INCOMI CL   310-595-4642    SDDV             11          0.00
Time     Called    Number Called   Code   Code    Min       Charges    Charges   Tuesday, 09/30
Thursday, 09/25                                                                  03:24p INCOMI CL   949-784-2195    SDDV                 2       0.00
06:51p SAN PE CA   310-872-8052    SDDV                 2       0.00      0.00   03:34p INCOMI CL   661-949-2595    SDDV                 4       0.00
08:05p SAN PE CA   310-872-8052    SDDV                 1       0.00      0.00   04:03p INCOMI CL   714-749-2740    SDDV                 4       0.00
08:06p INCOMI CL   310-872-8052    SDDV                 4       0.00      0.00   04:51p ANAHEI CA   714-749-2740    SDDV                 2       0.00
Friday, 09/26                                                                    05:44p INCOMI CL   310-872-8052    SDDV                 4       0.00
07:43a SAN PE CA   310-872-8052    SDDV                 3       0.00      0.00   06:34p HNTNGT CA   714-916-8752    SDDV                 1       0.00
09:33a INCOMI CL   951-204-2059    SDDV                 2       0.00      0.00   06:48p SAN PE CA   310-872-8052    SDDV                 1       0.00
09:35a SAN PE CA   310-872-8052    SDDV                 1       0.00      0.00   06:49p VMAIL CL    949-439-8867    SDDV   VM            1       0.00
12:39p RIVERS CA   951-204-2059    SDDV                 1       0.00      0.00   06:57p INCOMI CL   310-872-8052    SDDV                 9       0.00
01:31p INCOMI CL   714-823-6656    SDDV                 2       0.00      0.00   07:02p CALL WAIT   949-200-5342    SDDV   CW            1       0.00
01:48p INCOMI CL   310-872-8052    SDDV                 8       0.00      0.00   07:13p INCOMI CL   909-996-9927    SDDV                 1       0.00
02:13p GARDEN CA   714-823-6656    SDDV                 1       0.00      0.00   07:16p INCOMI CL   909-996-9927    SDDV                 2       0.00
02:53p INCOMI CL   714-823-6656    SDDV                 1       0.00      0.00   07:39p INCOMI CL   909-996-9927    SDDV                 2       0.00
04:40p NEWPOR CA   949-631-1250    SDDV                 1       0.00      0.00   08:45p INCOMI CL   714-751-2010    SDDV                 1       0.00
04:41p NEWPOR CA   949-631-1250    SDDV                 2       0.00      0.00   09:12p INCOMI CL   714-231-2587    SDDV                 1       0.00
05:23p INCOMI CL   714-591-3523    SDDV                 2       0.00      0.00   Wednesday, 10/01
05:55p INCOMI CL   310-872-8052    SDDV                 1       0.00      0.00   10:04a INCOMI CL   714-235-3655    SDDV              1          0.00
06:12p INCOMI CL   213-220-9794    SDDV                 1       0.00      0.00   11:08a INCOMI CL   714-315-3777    SDDV             17          0.00
06:12p LOSANG CA   213-220-9794    SDDV                 4       0.00      0.00   11:29a INCOMI CL   714-315-3777    SDDV              3          0.00
06:48p INCOMI CL   310-941-8063    SDDV                 2       0.00      0.00   11:36a BEVERL CA   310-595-4642    SDDV              1          0.00
Saturday, 09/27                                                                  12:28p SANTA CA    714-571-5200    SDDV             25          0.00
07:48a CMTN G CA   310-941-8063    SDDV                 3       0.00      0.00   01:23p INCOMI CL   714-571-5200    SDDV             44          0.00
07:51a ANAHEI CA   714-404-4333    SDDV                 1       0.00      0.00   03:22p INCOMI CL   310-595-4642    SDDV              4          0.00
08:52a CMTN G CA   310-941-8063    SDDV                 2       0.00      0.00   03:44p YORBA CA    714-312-1064    SDDV              1          0.00
08:54a ANAHEI CA   714-404-4333    SDDV                 1       0.00      0.00   04:13p INCOMI CL   949-201-6011    SDDV              1          0.00
08:54a CALL WAIT   310-941-8063    SDDV   CW            3       0.00      0.00   05:51p SAN PE CA   310-872-8052    SDDV              1          0.00
08:57a ANAHEI CA   714-404-4333    SDDV                 1       0.00      0.00   05:53p INCOMI CL   310-872-8052    SDDV              1          0.00
09:06a INCOMI CL   310-941-8063    SDDV                 2       0.00      0.00   05:54p SAN PE CA   310-872-8052    SDDV              1          0.00
09:10a SAN PE CA   310-872-8052    SDDV                 1       0.00      0.00   05:55p NEWPOR CA   949-230-1592    SDDV              4          0.00
09:15a ANAHEI CA   714-404-4333    SDDV                 1       0.00      0.00   05:59p ANAHEI CA   714-404-4333    SDDV              2          0.00
09:19a INCOMI CL   310-872-8052    SDDV                 1       0.00      0.00   06:00p CALL WAIT   310-872-8052    SDDV   CW        14          0.00
09:36a INCOMI CL   310-872-8052    SDDV                 1       0.00      0.00   06:32p INCOMI CL   949-784-2195    SDDV              2          0.00
11:48a SAN PE CA   310-872-8052    SDDV                 2       0.00      0.00   07:48p SAN PE CA   310-872-8052    SDDV              1          0.00
12:50p INCOMI CL   949-350-3502    SDDV                 5       0.00      0.00   07:50p INCOMI CL   310-872-8052    SDDV             15          0.00
03:15p RANCHV CA   949-350-3502    SDDV                 2       0.00      0.00   Thursday, 10/02
03:16p SAN PE CA   310-872-8052    SDDV                 1       0.00      0.00   08:16a Toll F CL   800-760-1480    SDDV                 7       0.00
03:20p NEWPOR CA   949-274-1895    SDDV                 2       0.00      0.00   08:31a Toll F CL   800-760-1480    SDDV                 1       0.00
03:52p SAN PE CA   310-872-8052    SDDV                 3       0.00      0.00   08:52a INCOMI CL   562-692-3797    SDDV                 1       0.00
05:41p LOSANG CA   323-817-8964    SDDV                 2       0.00      0.00   09:13a INCOMI CL   626-392-7546    SDDV                 2       0.00
06:02p INCOMI CL   310-872-8052    SDDV                 3       0.00      0.00   09:19a COV-BA CA   626-392-7546    SDDV                 1       0.00
07:17p INCOMI CL   310-872-8052    SDDV                 2       0.00      0.00   09:58a INCOMI CL   416-364-1111    SDDV                 2       0.00
07:21p SAN PE CA   310-872-8052    SDDV                 1       0.00      0.00   10:07a INCOMI CL   714-552-3435    SDDV                 1       0.00
Sunday, 09/28                                                                    10:20a BLOCKED     000-000-0000    SDDV                 4       0.00
05:26a SAN PE CA   310-872-8052    SDDV                 1       0.00      0.00   10:41a COV-BA CA   626-260-6548    SDDV                 3       0.00
06:26a SAN PE CA   310-872-8052    SDDV                 1       0.00      0.00   11:09a NEWPOR CA   949-631-1250    SDDV                 2       0.00
09:00a VMAIL CL    949-439-8867    SDDV   VM            1       0.00      0.00   11:49a COV-BA CA   626-260-6548    SDDV                 1       0.00
09:14a CMTN G CA   310-941-8063    SDDV                 2       0.00      0.00   11:51a INCOMI CL   626-261-3983    SDDV                 3       0.00
09:20a ANAHEI CA   714-404-4333    SDDV                 2       0.00      0.00   12:13p INCOMI CL   626-261-3983    SDDV                 1       0.00
Monday, 09/29                                                                    01:06p NEWPOR CA   949-631-1250    SDDV                 3       0.00
09:50a NEWPOR CA   949-631-1250    SDDV                 2       0.00      0.00   01:31p INCOMI CL   310-872-8052    SDDV                 6       0.00



                                                            CONFIDENTIAL                                                   PA - 00187
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 190 of 437 Page ID
                                   #:346

                     3      of 18
                                                 MICHELE DEL VALLE                                                      Page:        3 of 18
                                                 PO BOX 15884                                                 Bill Cycle Date:       11/21/14 - 12/20/1
                                                 NEWPORT BEACH, CA 92659-5884                                        Account:        570121752
                                                                                                          Foundation Account:        FAN 00028028




                                                                                                                Visit us online at: www.att.com


                                                                                            Place                     Rate   Feature           Airtime    LD/A
                              714 325-7358                                         Time     Called    Number Called   Code   Code    Min       Charges    Char
                               MICHELE DEL VALLE
                                                                                   Tuesday, 11/25
                                                                                   05:05p NEWPOR CA   949-230-1592    SDDV                 6       0.00
Call Detail                                                                        06:58p SAN PE CA   310-872-8052    SDDV                 9       0.00
         Place                       Rate   Feature           Airtime    LD/Addl   Wednesday, 11/26
Time     Called      Number Called   Code   Code    Min       Charges    Charges   09:47a MORENO CA   951-656-1913    SDDV                 4       0.00
Thursday, 11/20                                                                    11:19a MORENO CA   951-656-1913    SDDV                 7       0.00
07:57p SAN PE CA     310-872-8052    SDDV                 1       0.00      0.00   Friday, 11/28
Friday, 11/21                                                                      08:05a SAN PE CA   310-872-8052    SDDV              1          0.00
07:37a SAN PE CA     310-872-8052    SDDV              1          0.00      0.00   08:58a NEWPOR CA   949-515-7624    SDDV              1          0.00
07:48a LOSANG CA     213-738-6105    SDDV              1          0.00      0.00   09:10a IRVINE CA   949-551-9236    SDDV             11          0.00
07:54a INCOMI CL     310-872-8052    SDDV              1          0.00      0.00   09:21a SAN PE CA   310-872-8052    SDDV              2          0.00
08:14a INCOMI CL     213-738-6105    SDDV              4          0.00      0.00   11:04a PLEASA NY   914-984-1383    SDDV              1          0.00
09:24a INCOMI CL     714-343-2895    SDDV              2          0.00      0.00   11:24a SAN PE CA   310-872-8052    SDDV              1          0.00
12:09p VMAIL CL      714-325-7358    SDDV   VM         2          0.00      0.00   02:33p WESTMI CA   714-222-2098    SDDV              2          0.00
12:11p ANAHEI CA     714-320-9562    SDDV              1          0.00      0.00   05:55p INCOMI CL   714-222-2098    SDDV              1          0.00
12:11p HNTNGT CA     714-330-9562    SDDV              2          0.00      0.00   06:33p SAN PE CA   310-872-8052    SDDV              1          0.00
03:49p NEWPOR CA     949-645-6545    SDDV              1          0.00      0.00   06:36p INCOMI CL   310-872-8052    SDDV              3          0.00
03:50p NEWPOR CA     949-646-6545    SDDV              2          0.00      0.00   Saturday, 11/29
06:40p SAN PE CA     310-872-8052    SDDV              1          0.00      0.00   09:59a INCOMI CL   714-222-2098    SDDV              2          0.00
07:58p SAN PE CA     310-872-8052    SDDV              1          0.00      0.00   10:15a INCOMI CL   714-222-2098    SDDV              1          0.00
Subtotal                                              20          0.00      0.00   10:25a NEWPOR CA   949-230-1592    SDDV             14          0.00
                                                                                   01:50p SAN PE CA   310-872-8052    SDDV              1          0.00
Rate Code:                                                                         Sunday, 11/30
SDDV = Mobile Share with Unlimited Talk & Text                                     07:45a SAN PE CA   310-872-8052    SDDV                 1       0.00
                                                                                   08:35a INCOMI CL   310-872-8052    SDDV                 4       0.00
Feature Code:                                                                      05:04p INCOMI CL   949-606-5329    SDDV                 2       0.00
VM    = VOICE MAIL                                                                 08:15p NEWPOR CA   949-230-1592    SDDV                 2       0.00
                                                                                   Monday, 12/01
                                                                                   07:47a INCOMI CL   213-738-6105    SDDV                 2       0.00
                              949 287-2405                                         08:46a SANTA CA    657-622-7000    SDDV                 6       0.00
                               MICHELE DEL VALLE                                   10:51a INCOMI CL   949-606-5329    SDDV                 4       0.00
                                                                                   10:55a Toll F CL   800-281-9799    SDDV                 4       0.00
Call Detail                                                                        11:39a INCOMI CL   949-606-5329    SDDV                 1       0.00
         Place                       Rate   Feature           Airtime    LD/Addl   Tuesday, 12/02
Time     Called      Number Called   Code   Code    Min       Charges    Charges   10:28a LOSANG CA   213-738-6105    SDDV              1          0.00
Saturday, 11/22                                                                    01:41p LOSANG CA   213-738-6105    SDDV              1          0.00
05:08p SAN PE CA     310-872-8052    SDDV                 2       0.00      0.00   01:42p SAN PE CA   310-872-8052    SDDV              1          0.00
05:10p SAN PE CA     310-872-8052    SDDV                 4       0.00      0.00   01:54p LOSANG CA   213-738-6105    SDDV              4          0.00
Sunday, 11/23                                                                      02:06p NEWPOR CA   949-230-1592    SDDV              5          0.00
04:16p SAN PE CA     310-872-8052    SDDV                 1       0.00      0.00   02:25p IRVINE CA   949-233-5513    SDDV             39          0.00
06:58p SAN PE CA     310-872-8052    SDDV                 1       0.00      0.00   03:30p NEWPOR CA   949-230-1592    SDDV              2          0.00
Monday, 11/24                                                                      08:41p SAN PE CA   310-872-8052    SDDV              1          0.00
10:24a SAN PE CA     310-872-8052    SDDV                 1       0.00      0.00   Wednesday, 12/03
11:03a NEWPOR CA     949-646-6545    SDDV                 2       0.00      0.00   08:23a NEWPOR CA   949-645-4898    SDDV              2          0.00
11:16a INCOMI CL     949-355-0010    SDDV                 1       0.00      0.00   08:25a LOSANG CA   213-738-6105    SDDV              1          0.00
Tuesday, 11/25                                                                     01:30p MORENO CA   951-656-1913    SDDV              1          0.00
08:15a LOSANG CA     213-738-6105    SDDV                 1       0.00      0.00   01:32p IRVINE CA   949-233-5513    SDDV              1          0.00
09:37a LOSANG CA     213-738-6105    SDDV                 1       0.00      0.00   08:38p SAN PE CA   310-872-8052    SDDV             16          0.00
09:38a SAN PE CA     310-872-8052    SDDV                 1       0.00      0.00   Thursday, 12/04
12:00p NEWPOR CA     949-646-6545    SDDV                 1       0.00      0.00   10:41a Toll F CL   800-640-2920    SDDV              5          0.00
12:02p NEWPOR CA     949-515-7624    SDDV                 2       0.00      0.00   11:04a INCOMI CL   800-640-2920    SDDV             11          0.00
02:38p SAN PE CA     310-872-8052    SDDV                 1       0.00      0.00   01:21p NEWPOR CA   949-230-1592    SDDV             18          0.00
04:41p NEWPOR CA     949-646-6545    SDDV                 5       0.00      0.00   07:22p INCOMI CL   909-243-1147    SDDV              1          0.00
04:46p NEWPOR CA     949-230-1592    SDDV                 9       0.00      0.00   07:26p NEWPOR CA   949-230-1592    SDDV             19          0.00
05:03p NEWPOR CA     949-515-7624    SDDV                 3       0.00      0.00   09:37p NEWPOR CA   949-230-1592    SDDV              1          0.00



                                                              CONFIDENTIAL                                                   PA - 00188
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 191 of 437 Page ID
                                   #:347

                   5      of 18
                                               MICHELE DEL VALLE                                                        Page:           5 of 18
                                               PO BOX 15884                                                   Bill Cycle Date:          11/21/14 - 12/20/
                                               NEWPORT BEACH, CA 92659-5884                                          Account:           570121752
                                                                                                          Foundation Account:           FAN 00028028




                                                                                                                Visit us online at: www.att.com


                                                                                          Place                        Rate     Feature           Airtime     LD/A
                            949 287-2405                                         Time     Called      Number Called    Code     Code    Min       Charges     Char
                             MICHELE DEL VALLE
                                                                                 Friday, 12/19
                                                                                 06:12p MORENO CA     951-656-1913     SDDV               18          0.00
Call Detail - Continued                                                          Saturday, 12/20
         Place                     Rate   Feature           Airtime    LD/Addl   09:32a NEWPOR CA     949-230-1592     SDDV               13          0.00
Time     Called    Number Called   Code   Code    Min       Charges    Charges   10:11a NEWPOR CA     949-230-1592     SDDV                2          0.00
Saturday, 12/13                                                                  08:35p NEWPOR CA     949-230-1592     SDDV               21          0.00
11:56a SAN PE CA   310-872-8052    SDDV                 1       0.00      0.00   Subtotal                                                775          0.00
12:11p VMAIL CL    949-287-2405    SDDV   VM            1       0.00      0.00
12:17p VMAIL CL    949-287-2405    SDDV   VM            2       0.00      0.00   Rate Code:
12:18p SAN PE CA   310-872-8052    SDDV                 1       0.00      0.00
                                                                                 SDDV = Mobile Share with Unlimited Talk & Text
12:26p SAN PE CA   310-872-8052    SDDV                 3       0.00      0.00
12:28p MILWAU WI   414-232-7958    SDDV                 1       0.00      0.00
                                                                                 Feature Code:
01:33p INCOMI CL   310-938-3561    SDDV                 1       0.00      0.00
                                                                                 VM    = VOICE MAIL
01:34p TORRAN CA   310-938-3561    SDDV                 1       0.00      0.00
04:14p NEWPOR CA   949-230-1592    SDDV                 1       0.00      0.00
Sunday, 12/14                                                                    Data Detail
07:46a INCOMI CL   949-230-1592    SDDV             10          0.00      0.00   Time              To/From            Type/Unit                   Rate Code
07:58p INCOMI CL   714-912-6964    SDDV              1          0.00      0.00   Text Messages
Monday, 12/15                                                                    Friday, 11/28
09:53a LOSANG CA   213-738-6105    SDDV                 4       0.00      0.00   11:03a Rcvd       914-984-1383       Text Message                UNLMSG
10:30a NEWPOR CA   949-720-9422    SDDV                 2       0.00      0.00   11:03a Rcvd       914-984-1383       Text Message                UNLMSG
01:01p ANAHEI CA   714-404-4333    SDDV                 1       0.00      0.00   Wednesday, 12/10
03:19p LOSANG CA   213-738-6105    SDDV                 1       0.00      0.00   10:24a Rcvd       347-391-4862       Text   Message              UNLMSG
Tuesday, 12/16                                                                   10:24a Rcvd       347-391-4862       Text   Message              UNLMSG
08:14a LOSANG CA   213-738-6105    SDDV                 1       0.00      0.00   10:32a Rcvd       347-391-4862       Text   Message              UNLMSG
09:17a LOSANG CA   213-738-6105    SDDV                 1       0.00      0.00   10:32a Rcvd       347-391-4862       Text   Message              UNLMSG
11:29a LOSANG CA   213-738-6105    SDDV                 1       0.00      0.00   10:32a Rcvd       347-391-4862       Text   Message              UNLMSG
12:21p LOSANG CA   213-738-6105    SDDV                 1       0.00      0.00   Thursday, 12/11
12:36p NEWPOR CA   949-230-1592    SDDV                 6       0.00      0.00   04:31p Rcvd       949-254-9099       MTM TEXT MESSAG             UNLMSG
01:19p LOSANG CA   213-738-6105    SDDV                 4       0.00      0.00   04:31p Rcvd       949-254-9099       MTM TEXT MESSAG             UNLMSG
01:23p MORENO CA   951-656-1913    SDDV                 1       0.00      0.00   Friday, 12/12
01:27p IRVINE CA   949-233-5513    SDDV                 1       0.00      0.00   10:06a Rcvd       949-254-9099       MTM TEXT MESSAG             UNLMSG
Wednesday, 12/17                                                                 10:07a Rcvd       949-254-9099       MTM TEXT MESSAG             UNLMSG
08:25a LOSANG CA   213-738-6105    SDDV              1          0.00      0.00   Saturday, 12/13
09:20a LOSANG CA   213-738-6105    SDDV              1          0.00      0.00   09:49a Rcvd       717-835-4549       Text Message                UNLMSG
09:58a LOSANG CA   213-738-6105    SDDV              1          0.00      0.00   Thursday, 12/18
10:27a LOSANG CA   213-738-6105    SDDV              1          0.00      0.00   10:50a Rcvd       231-828-9451       Text Message                UNLMSG
10:54a ORANGE CA   714-912-6964    SDDV              1          0.00      0.00   Saturday, 12/20
11:01a NEWPOR CA   949-230-1592    SDDV             11          0.00      0.00   11:44p Rcvd       719-772-3554       Text Message                UNLMSG
12:33p LOSANG CA   213-738-6105    SDDV              1          0.00      0.00   Subtotal for Text Messages: 14
06:42p NEWPOR CA   949-230-1592    SDDV              2          0.00      0.00   Total Data Detail
Thursday, 12/18
09:35a LOSANG CA   213-738-6105    SDDV              1          0.00      0.00   Rate Code:
09:59a Toll F CL   877-819-9692    SDDV              1          0.00      0.00   UNLMSG = Mobile Share Messaging
10:00a Toll F CL   877-819-9692    SDDV              6          0.00      0.00
10:26a Toll F CL   877-238-0092    SDDV             16          0.00      0.00
10:51a TWIN L MI   231-828-9451    SDDV              1          0.00      0.00                                 949 439-8867
10:57a INCOMI CL   949-230-1592    SDDV             14          0.00      0.00                                  MICHELE DEL VALLE
12:48p Toll F CL   877-929-2637    SDDV             15          0.00      0.00
01:03p Toll F CL   800-640-2920    SDDV              3          0.00      0.00   Call Detail
Friday, 12/19                                                                              Place                       Rate     Feature           Airtime     LD/A
11:52a LOSANG CA   213-738-6105    SDDV              8          0.00      0.00   Time      Called    Number Called     Code     Code    Min       Charges     Char
01:00p MORENO CA   951-656-1913    SDDV              1          0.00      0.00   Friday,   11/21
04:28p NEWPOR CA   949-230-1592    SDDV             14          0.00      0.00   10:24a    INCOMI CL 310-872-8052      SDDV                   1       0.00
06:09p BLOCKED     000-000-0000    SDDV              2          0.00      0.00   10:31a    INCOMI CL 310-872-8052      SDDV                   2       0.00



                                                            CONFIDENTIAL                                                        PA - 00189
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 192 of 437 Page ID
                                   #:348

                   5      of 23
                                               MICHELE DEL VALLE                                                      Page:        5 of 23
                                               PO BOX 15884                                                 Bill Cycle Date:       12/21/14 - 01/20/
                                               NEWPORT BEACH, CA 92659-5884                                        Account:        570121752
                                                                                                        Foundation Account:        FAN 00028028




                                                                                                              Visit us online at: www.att.com


                                                                                          Place                     Rate   Feature           Airtime    LD/A
                            949 287-2405                                         Time     Called    Number Called   Code   Code    Min       Charges    Char
                             MICHELE DEL VALLE
                                                                                 Monday, 01/12
                                                                                 04:40p MORENO CA   951-656-1913    SDDV                 1       0.00
Call Detail - Continued                                                          05:33p IRVINE CA   949-439-1725    SDDV                 1       0.00
         Place                     Rate   Feature           Airtime    LD/Addl   05:42p IRVINE CA   949-439-1725    SDDV                 1       0.00
Time     Called    Number Called   Code   Code    Min       Charges    Charges   06:23p IRVINE CA   949-439-1725    SDDV                 1       0.00
Friday, 01/09                                                                    06:29p INCOMI CL   949-439-1725    SDDV                 3       0.00
03:42p CALL WAIT   949-355-0010    SDDV   CW            1       0.00      0.00   Tuesday, 01/13
06:39p IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   07:19a Toll F CL   888-221-1161    SDDV              5          0.00
06:45p MORENO CA   951-656-1913    SDDV                 8       0.00      0.00   07:24a Toll F CL   800-222-1811    SDDV             27          0.00
06:53p CALL WAIT   949-355-0010    SDDV   CW            1       0.00      0.00   08:21a LOSANG CA   213-738-6105    SDDV             10          0.00
06:59p IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   11:15a NEWPOR CA   949-230-1592    SDDV              2          0.00
07:43p INCOMI CL   949-439-1725    SDDV                 9       0.00      0.00   11:38a INCOMI CL   949-230-1592    SDDV              8          0.00
07:57p LAS VE NV   702-278-6250    SDDV                 1       0.00      0.00   01:53p INCOMI CL   818-397-1593    SDDV              2          0.00
Saturday, 01/10                                                                  02:18p LOSANG CA   213-738-6105    SDDV              1          0.00
07:59a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   04:40p NEWPOR CA   949-230-1592    SDDV              1          0.00
08:26a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   04:41p IRVINE CA   949-439-1725    SDDV              1          0.00
11:22a MORENO CA   951-656-1913    SDDV                 1       0.00      0.00   04:46p UPLAND CA   909-367-8161    SDDV              2          0.00
03:37p VMAIL CL    949-287-2405    SDDV   VM            1       0.00      0.00   04:48p IRVINE CA   949-439-1725    SDDV              1          0.00
04:49p NEWPOR CA   949-230-1592    SDDV                 3       0.00      0.00   04:50p IRVINE CA   949-439-1725    SDDV              1          0.00
Sunday, 01/11                                                                    04:57p INCOMI CL   949-230-1592    SDDV             15          0.00
08:16a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   Wednesday, 01/14
08:23a INCOMI CL   949-439-1725    SDDV                 1       0.00      0.00   12:41p INCOMI CL   714-381-7974    SDDV                 3       0.00
08:39a IRVINE CA   949-439-1725    SDDV                 3       0.00      0.00   01:31p LOSANG CA   213-738-6105    SDDV                 6       0.00
08:45a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   02:33p INCOMI CL   714-381-7974    SDDV                 2       0.00
08:55a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   02:56p INCOMI CL   714-381-7974    SDDV                 2       0.00
09:18a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   03:54p HEMT H CA   951-260-2217    SDDV                 1       0.00
09:22a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   04:57p SANTA CA    714-571-5200    SDDV                 5       0.00
09:39a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   05:32p IRVINE CA   949-439-1725    SDDV                 6       0.00
09:40a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   Thursday, 01/15
09:40a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   08:31a INCOMI CL   213-738-6105    SDDV              8          0.00
09:41a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   09:05a SANTA CA    714-571-5200    SDDV             35          0.00
09:43a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   12:55p NEWPOR CA   949-230-1592    SDDV              2          0.00
09:48a IRVINE CA   949-439-1725    SDDV                 1       0.00      0.00   04:24p NEWPOR CA   949-230-1592    SDDV              5          0.00
09:50a INCOMI CL   949-439-1725    SDDV                 1       0.00      0.00   08:20p MIAMI FL    786-233-7148    SDDV              1          0.00
10:05a INCOMI CL   949-439-1725    SDDV                 1       0.00      0.00   08:21p MIAMI FL    786-233-7148    SDDV              1          0.00
11:57a INCOMI CL   951-296-8752    SDDV                 2       0.00      0.00   Friday, 01/16
11:59a NEWPOR CA   949-230-1592    SDDV                 1       0.00      0.00   08:51a LOSANG CA   213-738-6105    SDDV                 6       0.00
12:12p INCOMI CL   949-230-1592    SDDV                 6       0.00      0.00   10:34a NEWPOR CA   949-355-0010    SDDV                 2       0.00
12:19p TEMECU CA   951-296-8752    SDDV                 5       0.00      0.00   11:10a INCOMI CL   949-720-9422    SDDV                 2       0.00
12:25p TEMECU CA   951-296-8752    SDDV                 1       0.00      0.00   11:32a LOSANG CA   213-738-6105    SDDV                 2       0.00
12:25p INCOMI CL   951-296-8752    SDDV                 3       0.00      0.00   03:00p NEWPOR CA   949-574-4811    SDDV                 1       0.00
03:30p VMAIL CL    949-287-2405    SDDV   VM            1       0.00      0.00   03:37p NEWPOR CA   949-574-4811    SDDV                 5       0.00
Monday, 01/12                                                                    04:36p TEMECU CA   951-296-8752    SDDV                 1       0.00
08:07a LOSANG CA   213-738-6105    SDDV              1          0.00      0.00   04:54p IRVINE CA   949-439-1725    SDDV                 1       0.00
08:09a IRVINE CA   949-439-1725    SDDV              1          0.00      0.00   04:56p IRVINE CA   949-439-1725    SDDV                 1       0.00
08:10a NEWPOR CA   949-230-1592    SDDV             11          0.00      0.00   04:56p NEWPOR CA   949-230-1592    SDDV                 9       0.00
09:19a LOSANG CA   213-738-6105    SDDV              1          0.00      0.00   05:47p NEWPOR CA   949-673-3524    SDDV                 1       0.00
09:19a IRVINE CA   949-439-1725    SDDV              1          0.00      0.00   Saturday, 01/17
10:37a Toll F CL   800-275-8777    SDDV             19          0.00      0.00   08:47a IRVINE CA   949-439-1725    SDDV                 1       0.00
10:56a Toll F CL   800-275-8777    SDDV              5          0.00      0.00   09:11a INCOMI CL   949-439-1725    SDDV                 2       0.00
11:01a Toll F CL   800-275-8777    SDDV             18          0.00      0.00   09:45a INCOMI CL   714-398-7656    SDDV                 4       0.00
11:47a NEWPOR CA   949-640-4663    SDDV              2          0.00      0.00   11:08a INCOMI CL   951-296-8752    SDDV                 2       0.00
11:49a NEWPOR CA   949-640-8721    SDDV              5          0.00      0.00   12:50p INCOMI CL   702-278-6250    SDDV                 1       0.00
12:35p Toll F CL   800-222-1811    SDDV              5          0.00      0.00   02:17p INCOMI CL   949-439-1725    SDDV                 1       0.00
04:39p IRVINE CA   949-439-1725    SDDV              1          0.00      0.00   04:20p INCOMI CL   714-398-7656    SDDV                 3       0.00



                                                            CONFIDENTIAL                                                   PA - 00190
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 193 of 437 Page ID
                                   #:349




                                 EXHIBIT “G”
                                                                       PA - 00191
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 194 of 437 Page ID
                                   #:350




                                                                       PA - 00192
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 195 of 437 Page ID
                                   #:351




                                                                       PA - 00193
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 196 of 437 Page ID
                                   #:352




                                                                       PA - 00194
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 197 of 437 Page ID
                                   #:353




                                                                       PA - 00195
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 198 of 437 Page ID
                                   #:354




                                                                       PA - 00196
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 199 of 437 Page ID
                                   #:355




                                                                       PA - 00197
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 200 of 437 Page ID
                                   #:356




                                                                       PA - 00198
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 201 of 437 Page ID
                                   #:357




                                                                       PA - 00199
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 202 of 437 Page ID
                                   #:358




                                                                       PA - 00200
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 203 of 437 Page ID
                                   #:359




                                                                       PA - 00201
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 204 of 437 Page ID
                                   #:360




                                                                       PA - 00202
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 205 of 437 Page ID
                                   #:361




                                 EXHIBIT “H”
                                                                       PA - 00203
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 206 of 437 Page ID
                                   #:362




                                                                       PA - 00204
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 207 of 437 Page ID
                                   #:363




                                 EXHIBIT “I”
                                                                       PA - 00205
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 208 of 437 Page ID
                                   #:364




                                                                       PA - 00206
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 209 of 437 Page ID
                                   #:365




                                 EXHIBIT “3”
                                                                       PA - 00207
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 210 of 437 Page ID
                                   #:366




                                                                       PA - 00208
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 211 of 437 Page ID
                                   #:367




                                                                       PA - 00209
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 212 of 437 Page ID
                                   #:368




                                                                       PA - 00210
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 213 of 437 Page ID
                                   #:369




                                                                       PA - 00211
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 214 of 437 Page ID
                                   #:370




                                 EXHIBIT “4”
                                                                       PA - 00212
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 215 of 437 Page ID
                                   #:371




                                                                       PA - 00213
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 216 of 437 Page ID
                                   #:372




                                                                       PA - 00214
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 217 of 437 Page ID
                                   #:373




                                                                       PA - 00215
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 218 of 437 Page ID
                                   #:374




                                                                       PA - 00216
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 219 of 437 Page ID
                                   #:375




                                                                       PA - 00217
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 220 of 437 Page ID
                                   #:376




                                                                       PA - 00218
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 221 of 437 Page ID
                                   #:377




                                 EXHIBIT “5”
                                                                       PA - 00219
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 222 of 437 Page ID
                                   #:378




                                                                       PA - 00220
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 223 of 437 Page ID
                                   #:379




                                                                       PA - 00221
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 224 of 437 Page ID
                                   #:380




                                                                       PA - 00222
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 225 of 437 Page ID
                                   #:381




                                                                       PA - 00223
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 226 of 437 Page ID
                                   #:382




                                                                       PA - 00224
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 227 of 437 Page ID
                                   #:383




                                                                       PA - 00225
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 228 of 437 Page ID
                                   #:384




                                                                       PA - 00226
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 229 of 437 Page ID
                                   #:385




                                                                       PA - 00227
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 230 of 437 Page ID
                                   #:386




                                                                       PA - 00228
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 231 of 437 Page ID
                                   #:387




                                                                       PA - 00229
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 232 of 437 Page ID
                                   #:388




                                                                       PA - 00230
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 233 of 437 Page ID
                                   #:389




                                                                       PA - 00231
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 234 of 437 Page ID
                                   #:390




                                                                       PA - 00232
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 235 of 437 Page ID
                                   #:391




                                                                       PA - 00233
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 236 of 437 Page ID
                                   #:392




                                                                       PA - 00234
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 237 of 437 Page ID
                                   #:393




                                                                       PA - 00235
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 238 of 437 Page ID
                                   #:394




                                                                       PA - 00236
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 239 of 437 Page ID
                                   #:395




                                                                       PA - 00237
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 240 of 437 Page ID
                                   #:396




                                                                       PA - 00238
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 241 of 437 Page ID
                                   #:397




                                                                       PA - 00239
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 242 of 437 Page ID
                                   #:398




                                 EXHIBIT “A”
                                                                       PA - 00240
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 243 of 437 Page ID
                                   #:399

                                                           
                                                      
                                                         
                                                  !"#$%&  '(



 )**+,-./)01.1#1-2 !
                          

$+-.      1-203$+12!

# &4 &5((% !

               

             •            !"#$$%#$$$$&!"%#'#'#()'
                 * '   +
             •         ,#-#,.."#/0#1-2)' *  +
             •       !,##$$,!#*3'#02')' *  +
             •     !   "     ,##$$"%#4/5#3**)' *  +
             •   #$   % %  "&&  ,!#$"!"4*) *  +
             •   '  ()&&  ,!##$,,%6)7 * 1  +
             •   #* )&&  ,&#-#$!&%#0/')0(3+)' *  +
             •   +,   #   ,,##$,"&#(48#'98)7 *  +
             •    " )'   ' '  -  
                   ,,!##,$,6#4(9)' * : +
             •    ,.& &&  !,##$%!%)' *  +
             •    # ' &.+   *   ,!##$,!!#4(;)1 * 1  +
             •   %* )* / /+ $ '&&&  ,&##$$6%#4)1 * 
                 1  +
             •    %)         ,##$66,#;8')* /< +
             •   #--   0,    !,!##$$,!,#0/'#4(0)' *  +
             •   &   &()1(   ,,&#-#$$"!"#1(#
                 *9()*  +
             •   .  %'*  -#,!#;;/#$&&#') * / +
             •   * 2  &,!##$$$$!)/1/+)7 * - +
             •   )    ,!##$,,.,#;)*   +
             •   % # 345  34  ,&##$%,&##"!) * (+
             •   +    6     ,##"&6) * (+
             •   % 5 %7    ,&##."$,)/4+);(7+)' * =+
             •    )  ,'*  ,,&##,$,$6) * (+
             •   , )     && " ($  
                   ,!##.#0/'#(')' *  +
             •     8  !,!##,%&#(#0(3)' *  +
             •    .    6,#-#,.$"#8;(#&,9;')3 * :+
             •    & "   ( 9&*  ,##$&.#8*1#>(/?    ,##
                 $!&6&#8*1#>(/) *  +
             •    '* 0:  ,&##$!$$"#74*#5;() * +
             •   8 8    ,,";59@:()* 3+
             •   " )%     ,##$!!$%#333#4>;) * +
             •   )6 34   ,!##$,%%")7 * >+

$  &     .(6 4
              0 #'5 (( 1 '  7(
    •   7       5 (    $,!




                                                                                                       PA - 00241
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 244 of 437 Page ID
                                   #:400

    •   *             
    •   *                          
    •   >   :              
    •   8        
    •   /               
    •   >  3   6       #
    •   /           
    •   /                A 
    •   /              A 
    •   /          
    •   >            3    '4 

        (.(6 4
                408.( ' .&0 644 .0
    •   7       5 B(:   $$"
    •   7          '*  
    •   *             
    •   *                   
    •   >   :              C 
    •   8        
    •   /                        
                   
    •   >  3   6       #
    •   /           
    •   /                A 
    •   /              A 
    •   /          
    •   >    A  
    •   >       
    •   >   7     - /

          -% 
        $ 9        7(
    • >                     D  
                 
    • '   6"             3
           *                
    •      >8' E  F !%,G  >;G

        7(+( ( 6&.( ' 0 :( &(.;1 ( (4'( 6&( ' 0 :
    •   0     ;/*     
    •                
    •   >        D      D       
             

9$  &     &   &
         '    7(<0 &(&&; &( =< $ &  8'
    • >   /3 7       *8* D
    •               

9      7'&((#   <1#7'&(
        0 &(#    (6&(     7(

    •   >                     D  D 
         D    




                                                                                                               PA - 00242
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 245 of 437 Page ID
                                   #:401

    •   >        D   D   &  
        D             
    •   >    D                    
                  
    •   >  2 /                  1  $$$*' 
        7$$$   (  >   0*       D &
                 &$H 
    •   >         D    *    IJ  
                
    •                  K   
    •   >  <            3    '  7
        )& $1$$$3'7$$!3'7+  )/+/LL(L#L'L38I' 1
        >* )53(4  *53(: &: : D !>   +    
            
    •   >           D 3 1   
        1  $$$*      D   )1  ..%37 $$$>   +
         I 7'     
    •   >  <        >@>    
                 :;
    •   >              3'7      
    •   3      A  3'7/(L/L'L  DL
                     

>     '&( '# &#'5 ' 
        '&( 1 &6  &      7(
    •                  
    •       ,$$$$   
    • /          
    •                       

        2&%(?( 6& 4( 6&*( &(#'5 ' <1 &6'&(
        ) &4 & & 2 8 5(1 & 4 &*  &      ''&8&   7(
    •      <      D   ' '*    
    • >    D        #* * D  6$$
              
    • >                   6$$  (/
         I'> :
    •        ,$$         
    •          ,$H .H
    •                
    • ;      A    3   
    • *             3   ; 
          

        '&( ' #'5 ' <( 6&#'5 '
        ) &4 & & 2 8) * 5(  # 4 ..@( : &  & 78 ( 
    • >                     !6     7  
          
    •      5 !$$/@I=9#6)-+# -8' 
    •             !6      
    •                     
    •        M  #  I   D    D
                       
    • /      D

       + 4(#8 ( +#'5 '




                                                                                                             PA - 00243
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 246 of 437 Page ID
                                   #:402

        0;#8 ( =5 &+4-
    •   >           -;   
    •   >       
    •       *     
    •   >            
    •   5            

+#1.1#1-2 !

3>& $/L DL3>$$$3'/3'7(L#L'L1'/ 

  0: >>    / -  7  '    8  
        ;     '   D    
3   /   3        1  7



@) #$$+2 !

    •   : 3   ;   3<' $$"
    •     D"6$9:30'* /
    •     0 90>,&,$/3 985,6$$>  8;
    •   '* > "6$9:30'* /

$);01$- 1#1-2 !

6 $  &         ;( 4* :   (          6 &$     @(6

          7    ' - >2    / $, >    
        '*  *  > ( I >    
0   '           ' -  5.& 3 
             ' -      
   '> ' ;  B  >D B; ( '   *I *
/  ( ; ;#N 

7)#1-2!
$$6    / *:   D
        '* ;   :   (  '* /
$$6    2 ' 7 :  '
        '* ;   :   (  '* /
$$    7#   M1*   M0
        '*  0/  '* /
$$!    '5 3'1  $$$':' 7$$$'
        0'    '* /
,..6    '  3   ; 
        >; '* /
,..6    :    O3@'D    
        '  3/'* /
,..!    /@'>'#' '; 
        ''   '* /
,..!    /  7  '   '   ; ' 
        2(D (
,..    7  
        8 :(
,..$#,..,        ;    -;; 
        18  2  8
,.%.#,..$        7  




                                                                                                               PA - 00244
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 247 of 437 Page ID
                                   #:403

        18  2  8
,..,     ' 5' ( 8

 )+1#,0+2!'

;   A 




                                                                       PA - 00245
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 248 of 437 Page ID
                                   #:404




                                 EXHIBIT “B”
                                                                       PA - 00246
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 249 of 437 Page ID
                                   #:405
                                               Federal Communications Commission                                                 FCC 03-153


                                                        Before the
                                             Federal Communications Commission
                                                   Washington, D.C. 20554


  In the Matter of                                                         )
                                                                           )
  Rules and Regulations Implementing the                                   )         CG Docket No. 02-278
  Telephone Consumer Protection Act of 1991                                )
                                                                           )
                                                                           )
                                                                           )
                                                                           )
                                                                           )


                                                        REPORT AND ORDER

  Adopted: June 26, 2003                                                                   Released: July 3, 2003

  By the Commission: Chairman Powell, Commissioners Abernathy, Copps and Adelstein issuing
  separate statements.

                                                       TABLE OF CONTENTS

                                                                                                                       Paragraph Number

  I.          INTRODUCTION ...............................................................................................................1

  II.         BACKGROUND .................................................................................................................4
         A.   Telephone Consumer Protection Act of 1991......................................................................4
         B.   TCPA Rules .........................................................................................................................6
         C.   Marketplace Changes Since 1992........................................................................................8
         D.   FTC National Do-Not-Call Registry and Telemarketing Rules ..........................................9
         E.   State Do-Not-Call Lists .....................................................................................................12
         F.   Notice of Proposed Rulemaking ........................................................................................14
         G.   Do-Not-Call Implementation Act ......................................................................................15

  III.      NATIONAL DO-NOT-CALL LIST .................................................................................16
         A. Background ........................................................................................................................16
         B. Discussion ..........................................................................................................................25
            1. National Do-Not-Call Registry....................................................................................28
            2. Exemptions ..................................................................................................................42
            3. Section 227(c)(3) Requirements ..................................................................................55
            4. Constitutionality...........................................................................................................63
            5. Consistency with State and FTC Do-Not-Call Rules ..................................................74


                                                                          1


                                                                                                                                        PA - 00247
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 250 of 437 Page ID
                                   #:406
                                              Federal Communications Commission                                                 FCC 03-153



  IV.      COMPANY SPECIFIC DO-NOT-CALL LISTS..............................................................86
        A. Background ........................................................................................................................86
        B. Discussion ..........................................................................................................................90
           1. Efficacy of the Company-Specific Rules.....................................................................90
           2. Amendments to the Company-Specific Rules .............................................................92

  V.       INTERPLAY OF SECTIONS 222 AND 227....................................................................97
        A. Background ........................................................................................................................97
        B. Discussion ........................................................................................................................100

  VI.      ESTABLISHED BUSINESS RELATIONSHIP .............................................................109
        A. Background ......................................................................................................................109
        B. Discussion ........................................................................................................................112
           1. Definition of Established Business Relationship.......................................................113
           2. Telecommunications Common Carriers ....................................................................119
           3. Interplay Between Established Business Relationship and Do-Not-Call
              Request.......................................................................................................................124

  VII. TAX-EXEMPT NONPROFIT ORGANIZATION EXEMPTION .................................125
     A. Background ......................................................................................................................125
     B. Discussion ........................................................................................................................128

  VIII. AUTOMATED TELEPHONE DIALING EQUIPMENT ..............................................129
     A. Background ......................................................................................................................129
     B. Discussion ........................................................................................................................131
        1. Predictive Dialers.......................................................................................................131
        2. “War Dialing” ............................................................................................................135

  IX.      ARTIFICIAL OR PRERECORDED VOICE MESSAGES............................................136
        A. Background ......................................................................................................................136
        B. Discussion ........................................................................................................................139
           1. Offers for Free Goods or Services; Information-Only Messages ..............................139
           2. Identification Requirements.......................................................................................143
           3. Radio Station and Television Broadcaster Calls........................................................145

  X.       ABANDONED CALLS...................................................................................................146
        A. Background ......................................................................................................................146
        B. Discussion ........................................................................................................................150
           1. Maximum Rate on Abandoned Calls.........................................................................151
           2. Two-Second-Transfer Rule........................................................................................153
           3. Prerecorded Message for Identification.....................................................................155
           4. Established Business Relationship.............................................................................156
           5. Ring Duration ............................................................................................................157

  XI.      WIRELESS TELEPHONE NUMBERS..........................................................................160
        A. Background ......................................................................................................................160
                                                                   2


                                                                                                                                       PA - 00248
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 251 of 437 Page ID
                                   #:407
                                             Federal Communications Commission                                                FCC 03-153


       B. Discussion ........................................................................................................................165
          1. Telemarketing Calls to Wireless Numbers ................................................................165
          2. Wireless Number Portability and Pooling .................................................................168

  XII. CALLER IDENTIFICATION .........................................................................................173
     A. Background ......................................................................................................................173
     B. Discussion ........................................................................................................................179

  XIII. UNSOLICITED FACSIMILE ADVERTISEMENTS ....................................................185
     A. Background ......................................................................................................................185
     B. Discussion ........................................................................................................................187
        1. Prior Express Invitation or Permission ......................................................................187
        2. Fax Broadcasters........................................................................................................194
        3. Fax Servers ................................................................................................................198
        4. Identification Requirements.......................................................................................203

  XIV. PRIVATE RIGHT OF ACTION .....................................................................................204
     A. Background ......................................................................................................................204
     B. Discussion ........................................................................................................................206

  XV.       INFORMAL COMPLAINT RULES...............................................................................207

  XVI. TIME OF DAY RESTRICTIONS...................................................................................208

  XVII. ENFORCEMENT PRIORITIES .....................................................................................211

  XVIII. OTHER ISSUES..............................................................................................................215
    A. Access to TCPA Inquiries and Complaints .....................................................................215
    B. Reports to Congress .........................................................................................................217

  XIX.      PROCEDURAL ISSUES.................................................................................................218
     A.     Regulatory Flexibility Act Analysis ................................................................................218
     B.     Paperwork Reduction Act Analysis .................................................................................219
     C.     Late-Filed Comments.......................................................................................................220
     D.     Materials in Accessible Formats......................................................................................221

  XX.       ORDERING CLAUSES ..................................................................................................222

  Appendix A: Final Rules
  Appendix B: Final Regulatory Flexibility Act Analysis
  Appendix C: Comments Filed




                                                                       3


                                                                                                                                     PA - 00249
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 252 of 437 Page ID
                                   #:408
                                      Federal Communications Commission                                   FCC 03-153


  I.       INTRODUCTION

          1.       In this Order, we revise the current Telephone Consumer Protection Act (TCPA)1
  rules and adopt new rules to provide consumers with several options for avoiding unwanted
  telephone solicitations. Specifically, we establish with the Federal Trade Commission (FTC) a
  national do-not-call registry for consumers who wish to avoid unwanted telemarketing calls.
  The national do-not-call registry will supplement the current company-specific do-not-call rules
  for those consumers who wish to continue requesting that particular companies not call them.
  To address the more prevalent use of predictive dialers, we have determined that a telemarketer
  may abandon no more than three percent of calls answered by a person and must deliver a
  prerecorded identification message when abandoning a call. The new rules will also require all
  companies conducting telemarketing to transmit caller identification (caller ID) information,
  when available, and prohibits them from blocking such information. The Commission has
  revised its earlier determination that an established business relationship constitutes express
  invitation or permission to receive an unsolicited fax, and we have clarified when fax
  broadcasters are liable for the transmission of unlawful facsimile advertisements. We believe the
  rules the Commission adopts here strike an appropriate balance between maximizing consumer
  privacy protections and avoiding imposing undue burdens on telemarketers.

          2.      It has now been over ten years since the Commission adopted a broad set of rules
  that respond to Congress’s directives in the TCPA. Over the last decade, the telemarketing
  industry has undergone significant changes in the technologies and methods used to contact
  consumers. The Commission has carefully reviewed the record developed in this rulemaking
  proceeding. The record confirms that these marketplace changes warrant modifications to our
  existing rules, and adoption of new rules if consumers are to continue to receive the protections
  that Congress intended to provide when it enacted the TCPA. The number of telemarketing calls
  has risen steadily; the use of predictive dialers has proliferated; and consumer frustration with
  unsolicited telemarketing calls continues despite the efforts of the states, the Direct Marketing
  Association (DMA),2 and the company-specific approach to the problem. Consumers often feel
  frightened, threatened, and harassed by telemarketing calls. They are angered by hang-ups and
  “dead air” calls, by do-not-call requests that are not honored, and by unsolicited fax
  advertisements. Many consumers who commented in this proceeding “want something done”
  about unwanted solicitation calls, and the vast majority of them support the establishment of a
  national do-not-call registry. Congress, too, has responded by enacting the Do-Not-Call
  Implementation Act (Do-Not-Call Act),3 authorizing the establishment of a national do-not-call
  registry, and directing this Commission to issue final rules in its second major TCPA proceeding
  that maximize consistency with those of the FTC.


  1
   Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394 (1991), codified at 47 U.S.C.
  § 227. The TCPA amended Title II of the Communications Act of 1934, 47 U.S.C. § 201 et seq.
  2
   The Direct Marketing Association (DMA) is a trade association of businesses that advertise their products and
  services directly to consumers by mail, telephone, magazine, internet, radio or television. See also infra, note 47.
  3
   Do-Not-Call Implementation Act, Pub. L. No. 108-10, 117 Stat. 557 (2003), to be codified at 15 U.S.C. § 6101
  (Do-Not-Call Act).


                                                            4


                                                                                                                PA - 00250
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 253 of 437 Page ID
                                   #:409
                                      Federal Communications Commission                       FCC 03-153


          3.      The Commission recognizes that telemarketing is a legitimate method of selling
  goods and services, and that many consumers value the savings and convenience it provides.
  Thus, the national do-not-call registry that we adopt here will only apply to outbound
  telemarketing calls and will only include the telephone numbers of consumers who indicate that
  they wish to avoid such calls. Consumers who want to receive such calls may instead continue
  to rely on the company-specific do-not-call lists to manage telemarketing calls into their homes.
  Based on Congress’s directives in the TCPA and the Do-Not-Call Act, the substantial record
  developed in this proceeding, and on the Commission’s own enforcement experience, we adopt
  these amended rules, as described in detail below.

  II.        BACKGROUND

        A.           Telephone Consumer Protection Act of 1991

         4.      On December 20, 1991, Congress enacted the TCPA in an effort to address a
  growing number of telephone marketing calls and certain telemarketing practices thought to be
  an invasion of consumer privacy and even a risk to public safety.4 The statute restricts the use of
  automatic telephone dialing systems, artificial and prerecorded messages, and telephone
  facsimile machines to send unsolicited advertisements. Specifically, the TCPA provides that:

             It shall be unlawful for any person within the United States—

             (A) to make any call (other than a call made for emergency purposes or made with the
             prior express consent of the called party) using any automatic telephone dialing system or
             an artificial or prerecorded voice—

             (i) to any emergency telephone line (including any “911” line and any emergency line of
             a hospital, medical physician or service office, health care facility, poison control center,
             or fire protection or law enforcement agency);

             (ii) to the telephone line of any guest room or patient room of a hospital, health care
             facility, elderly home, or similar establishment; or

             (iii) to any telephone number assigned to a paging service, cellular telephone service,
             specialized mobile radio service, or other radio common carrier service, or any service
             for which the called party is charged for the call;

             (B) to initiate any telephone call to any residential telephone line using an artificial or
             prerecorded voice to deliver a message without the prior express consent of the called
             party, unless the call is initiated for emergency purposes or is exempted by rule or order
             by the Commission under paragraph (2)(B);

             (C) to use any telephone facsimile machine, computer, or other device to send an
             unsolicited advertisement to a telephone facsimile machine; or


  4
      See TCPA, Section 2(5), reprinted in 7 FCC Rcd 2736 at 2744.


                                                           5


                                                                                                   PA - 00251
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 254 of 437 Page ID
                                   #:410
                                      Federal Communications Commission                                    FCC 03-153


             (D) to use an automatic telephone dialing system in such a way that two or more
             telephone lines of a multi-line business are engaged simultaneously.5

  Under the TCPA, those sending fax messages or transmitting artificial or prerecorded voice
  messages are subject to certain identification requirements.6 The statute also provides consumers
  with several options to enforce the restrictions on unsolicited telemarketing, including a private
  right of action.7

          5.       The TCPA requires the Commission to prescribe regulations to implement the
  statute’s restrictions on the use of autodialers, artificial or prerecorded messages and unsolicited
  facsimile advertisements.8 The TCPA also requires the Commission to “initiate a rulemaking
  proceeding concerning the need to protect residential telephone subscribers’ privacy rights” and
  to consider several methods to accommodate telephone subscribers who do not wish to receive
  unsolicited advertisements, including live voice solicitations.9 Specifically, section 227(c)(1)
  requires the Commission to “compare and evaluate alternative methods and procedures
  (including the use of electronic databases, telephone network technologies, special directory
  markings, industry-based or company-specific ‘do not call’ systems, and any other alternatives,
  individually or in combination) for their effectiveness in protecting such privacy rights, and in
  terms of their cost and other advantages and disadvantages.”10 The TCPA specifically authorizes
  the Commission to “require the establishment and operation of a single national database to
  compile a list of telephone numbers of residential subscribers who object to receiving telephone


  5
      47 U.S.C. § 227(b)(1).
  6
    47 U.S.C. §§ 227(d)(1)(B) and (d)(3)(A). See also Rules and Regulations Implementing the Telephone
  Consumer Protection Act of 1991, CC Docket No. 92-90, Order on Further Reconsideration, 12 FCC Rcd 4609,
  4613, para. 6 (1997) (1997 TCPA Reconsideration Order), in which the Commission found that “[s]ection
  227(d)(1) of the statute mandates that a facsimile include the identification of the business, other entity, or
  individual creating or originating a facsimile message and not the entity that transmits the message.” (footnotes
  omitted).
  7
    The TCPA permits consumers to file suit in state court if an entity violates the TCPA prohibitions on the use of
  facsimile machines, automatic telephone dialing systems, and artificial or prerecorded voice messages and
  telephone solicitation. 47 U.S.C. §§ 227(b)(3) and (c)(5). Consumers may recover actual damages or receive up to
  $500 in damages for each violation, whichever is greater. If the court finds that the entity willfully or knowingly
  violated the TCPA, consumers may recover an amount equal to not more than three times this amount. 47 U.S.C.
  § 227(b)(3). Consumers may also bring their complaints regarding TCPA violations to the attention of the state
  attorney general or an official designated by the state. This state entity may bring a civil action on behalf of its
  residents to enjoin a person or entity engaged in a pattern of telephone calls or other transmissions in violation of
  the TCPA. 47 U.S.C. § 227(f)(1). Additionally, a consumer may request that the Commission take enforcement
  actions regarding violations of the TCPA and the regulations adopted to enforce it. See 47 C.F.R. § 1.41 on
  informal requests for Commission action and 47 C.F.R. § 1.716 on the Commission’s process for complaints filed
  against common carriers.
  8
      47 U.S.C. § 227(b)(2).
  9
      47 U.S.C. § 227(c)(1)-(4).
  10
       47 U.S.C. § 227(c)(1)(A).

                                                            6


                                                                                                                PA - 00252
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 255 of 437 Page ID
                                   #:411
                                         Federal Communications Commission                              FCC 03-153


  solicitations.”11

         B.            TCPA Rules

           6.       In 1992, the Commission adopted rules implementing the TCPA, including the
  requirement that entities making telephone solicitations institute procedures for maintaining do-
  not-call lists.12 Pursuant to the Commission’s rules, a person or entity engaged in telemarketing
  is required to maintain a record of a called party’s request not to receive future solicitations for a
  period of ten years.13 Telemarketers must develop and maintain written policies for maintaining
  their lists,14 and they are required to inform their employees of the list’s existence and train them
  to use the list.15 Commission rules prohibit telemarketers from calling residential telephone
  subscribers before 8 a.m. or after 9 p.m.16 and require telemarketers to identify themselves to
  called parties.17 As mandated by the TCPA, the Commission’s rules also establish general
  prohibitions against autodialed calls being made without prior express consent to certain
  locations, including emergency lines or health care facilities,18 the use of prerecorded or artificial
  voice message calls to residences,19 line seizure by prerecorded messages,20 and the transmission
  of unsolicited advertisements by facsimile machines.21 The TCPA rules provide that facsimile
  and prerecorded voice transmissions, as well as telephone facsimile machines, must meet
  specific identification requirements.22

         7.      In 1995 and 1997, the Commission released orders addressing petitions for
  reconsideration of the 1992 TCPA Order. In a Memorandum Opinion and Order released on

  11
       47 U.S.C. § 227(c)(3).
  12
    See Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CC Docket No. 92-
  90, Report and Order, 7 FCC Rcd 8752 (1992) (1992 TCPA Order); see also 47 C.F.R. § 64.1200.
  13
     Initially telemarketers were required to honor a do-not-call request indefinitely. The Commission later modified
  its rules to require that the request be honored for a ten-year period. See Rules and Regulations Implementing the
  Telephone Consumer Protection Act of 1991, CC Docket No. 92-90, Memorandum Opinion and Order, 10 FCC
  Rcd 12391, 12397-98, para. 14 (1995) (1995 TCPA Reconsideration Order); 47 C.F.R. § 64.1200(e)(2)(vi).
  14
       47 C.F.R. § 64.1200(e)(2)(i).
  15
       47 C.F.R. § 64.1200(e)(2)(ii).
  16
       47 C.F.R. § 64.1200(e)(1).
  17
       47 C.F.R. § 64.1200(e)(2)(iv).
  18
       47 C.F.R. § 64.1200(a)(1)(i)-(iii).
  19
       47 C.F.R. § 64.1200(a)(2).
  20
       47 C.F.R. §§ 64.1200(a)(4) and 68.318(c).
  21
       47 C.F.R. § 64.1200(a)(3).
  22
       47 C.F.R. §§ 64.1200(d)(1) and (2); 47 C.F.R. § 68.318(d).


                                                            7


                                                                                                              PA - 00253
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 256 of 437 Page ID
                                   #:412
                                      Federal Communications Commission                                 FCC 03-153


  August 7, 1995, the Commission exempted from its TCPA rules calls made on behalf of tax-
  exempt nonprofit organizations, clarified treatment of debt collection calls, and required
  telemarketers to honor a do-not-call request for a period of ten years.23 The Commission also
  extended its TCPA rules to respond to technical advances in computer-based facsimile modems
  that enable solicitors to become “fax broadcasters.”24 On April 10, 1997, the Commission issued
  an Order on Further Reconsideration requiring that all facsimile transmissions contain the
  identifying information of the business, other entity, or individual creating or originating the
  facsimile message, rather than the entity that transmits the message.25

        C.           Marketplace Changes Since 1992

          8.     The marketplace for telemarketing has changed significantly in the last decade.
  When the TCPA was enacted in 1991, Congress determined that 300,000 solicitors were used to
  telemarket goods and services to more than 18 million Americans every day.26 Congress also
  found that in 1990 sales generated through telemarketing amounted to $435 billion dollars.27
  Some estimate that today telemarketers may attempt as many as 104 million calls to consumers
  and businesses every day,28 and that telemarketing calls generate over $600 billion in sales each
  year.29 The telemarketing industry is considered the single largest direct marketing system in the

  23
       1995 TCPA Reconsideration Order, 10 FCC Rcd at 12397-401, paras. 12-19.
  24
       1995 TCPA Reconsideration Order, 10 FCC Rcd at 12404-06, paras. 27-31.
  25
    1997 TCPA Reconsideration Order, 12 FCC Rcd at 4612-13, para. 6. The Commission also “[did] not find
  anything in the TCPA that would prohibit a facsimile broadcast provider from supplying identification of itself
  and the entity originating a message if it arranges with the message sender to do so.” Id. at 4613, para. 6.
  26
       See TCPA, Section 2(3), reprinted in 7 FCC Rcd 2736 at 2744.
  27
       See TCPA, Section 2(4), reprinted in 7 FCC Rcd 2736 at 2744.
  28
     In attempting to estimate the number of outbound marketing calls made each day in the United States,
  representatives of the Direct Marketing Association (DMA) have stated that, with as many as 1 million
  telemarketing representatives making 13 calls an hour, working 8 hours a day, it is possible that 104 million
  outbound calls are made to businesses and consumers every day. They noted that, of these calls, as many as 41%
  of them may be abandoned (because they get busy signals, no answer, hang-ups, or answering machines). See
  transcript from FTC Do-Not-Call Forum, Testimony of Jerry Cerasale, DMA, June 6, 2002 at 68. Another study
  presented to the FTC during its proceeding, estimates that the annual number of outbound calls that are answered
  by a consumer is 16,129,411,765 (i.e., 16 billion calls). This figure does not include those calls that are
  abandoned. James C. Miller, III, Jonathan S. Bowater, Richard S. Higgins, and Robert Budd, “An Economic
  Assessment of Proposed Amendments to the Telemarketing Sales Rule,” June 5, 2002 at 28, Att. 1 (prepared for
  the Consumer Choice Coalition and its members, ACI Telecentrics, Coverdell & Company, Discount
  Development Services, HSN LP d/b/a HSN and Home Shopping Network, Household Credit Services, MBNA
  America Bank, MemberWorks Incorporated, Mortgage Investors Corporation, Optima Direct, TCIM Inc.,
  Trilegiant Corporation and West Corporation). See Telemarketing Sales Rule, Final Rule, Federal Trade
  Commission, 68 Fed. Reg. 4580 at 4629-30, n.591 (Jan. 29, 2003) (FTC Order).
  29
     This figure represents telemarketing sales to consumers and businesses. See Seth Stern, “Will feds tackle
  telemarketers?” (April 15, 2002) <http://www.csmonitor.com/2002/0415/p16s01-wmcn.html> (citing Direct
  Marketing Association statistics).


                                                           8


                                                                                                              PA - 00254
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 257 of 437 Page ID
                                   #:413
                                       Federal Communications Commission                                    FCC 03-153


  country, representing 34.6% of the total U.S. sales attributed to direct marketing.30 The number
  of telemarketing calls, along with the increased use of various technologies to contact
  consumers, has heightened public concern about unwanted telemarketing calls and control over
  the telephone network. Autodialers can deliver prerecorded messages to thousands of potential
  customers every day. Predictive dialers,31 which initiate phone calls while telemarketers are
  talking to other consumers, frequently abandon calls before a telemarketer is free to take the next
  call.32 Using predictive dialers allows telemarketers to devote more time to selling products and
  services rather than dialing phone numbers, but the practice inconveniences and aggravates
  consumers who are hung up on. Despite a general ban on faxing unsolicited advertisements,33
  and aggressive enforcement by the Commission,34 faxed advertisements also have proliferated,
  as facsimile service providers (or “fax broadcasters”) enable sellers to send advertisements to
  multiple destinations at relatively little cost. These unsolicited faxes impose costs on consumers,
  result in substantial inconvenience and disruption, and also may have serious implications for
  public safety.35



  30
    See “The Economic Impact of Direct Marketing by Telephone,” a study presented by Direct Marketing
  Association Telephone Marketing Council, <http://www.third-wave.net/economics.htm> (visited July 3, 2002).
  31
     A predictive dialer is an automated dialing system that uses a complex set of algorithms to automatically dial
  consumers’ telephone numbers in a manner that “predicts” the time when a consumer will answer the phone and a
  telemarketer will be available to take the call. Such software programs are set up in order to minimize the amount
  of downtime for a telemarketer. In some instances, a consumer answers the phone only to hear “dead air” because
  no telemarketer is free to take the call. See Telemarketing Sales Rule, Notice of Proposed Rulemaking, Federal
  Trade Commission, 67 Fed. Reg. 4492 at 4522 (January 30, 2002) (FTC Notice).
  32
     Each telemarketing company can set its predictive dialer software for a predetermined abandonment rate (i.e.,
  the percentage of hang-up calls the system will allow). The higher the abandonment rate, the higher the number
  of hang-up calls. High abandonment rates increase the probability that a customer will be on the line when the
  telemarketer finishes each call. It also, however, increases the likelihood that the telemarketer will still be on a
  previously placed call and not be available when the consumer answers the phone, resulting in “dead air” or a
  hang-up. See FTC Notice, 67 Fed. Reg. at 4523.
  33
       47 U.S.C. § 227(b)(1)(C) and 47 C.F.R. § 64.1200(a)(3).
  34
    The Commission or the Commission’s Enforcement Bureau have issued forfeiture orders totaling $1.56 million
  for violations of the TCPA’s prohibition on unsolicited fax advertisements. The Commission has also proposed a
  $5,379,000 forfeiture against a fax broadcaster. See Fax.com, Inc. Apparent Liability for Forfeiture, Notice of
  Apparent Liability for Forfeiture, 17 FCC Rcd 15927 (2002) (Fax.com NAL), stayed Missouri v. American Blast
  Fax, No. 4:00CV933SNL (E.D. Mo. Aug. 29, 2002). The Enforcement Bureau has also issued 189 citations for
  such prohibited faxes. For a description of the Commission’s enforcements actions involving the TCPA, see
  <http://www.fcc.gov/eb/tcd/working.html>. Under section 503 of the Act, the Commission is required in an
  enforcement action to issue a warning citation to any violator that does not hold a Commission authorization.
  Only if the non-licensee violator subsequently engages in conduct described in the citation may the Commission
  propose a forfeiture, and the forfeiture may only be issued as to the subsequent violations. See 47 U.S.C. §§
  503(b)(5), (b)(2)(C).
  35
    See, e.g., Fax.com NAL, 17 FCC Rcd at 15932-33, para. 9, which describes a medical doctor’s complaint about
  unsolicited fax advertisements he received on a line that is reserved for the receipt of patient medical data.


                                                             9


                                                                                                                 PA - 00255
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 258 of 437 Page ID
                                   #:414
                                       Federal Communications Commission                                     FCC 03-153


       D.           FTC National Do-Not-Call Registry and Telemarketing Rules

           9.     In response to these changes in the marketplace, the FTC recently amended its
  own rules to better protect consumers from deceptive and abusive telemarketing practices,
  including those that may be abusive of consumers’ interest in protecting their privacy. On
  December 18, 2002, the FTC released an order adopting a national do-not-call registry to be
  maintained by the federal government to help consumers avoid unwanted telemarketing calls. In
  that order, the FTC also adopted other changes to its Telemarketing Sales Rule (TSR), which are
  based on its authority under the 1994 Telemarketing Consumer Fraud and Abuse Prevention
  Act.36 The FTC’s amended TSR supplements its current company-specific do-not-call rules with
  a provision allowing consumers to stop unwanted telemarketing calls by registering their
  telephone numbers with a national do-not-call registry at no cost. Telemarketers will be required
  to pay fees to access the database and to “scrub” their calling lists of the telephone numbers in
  the database.37 The FTC’s list will not cover those entities over which it has no jurisdiction,
  including common carriers, banks, credit unions, savings and loans, companies engaged in the
  business of insurance, and airlines.38 It also will not apply to intrastate telemarketing calls. In
  addition, the FTC concluded that nonprofit organizations are not subject to the national do-not-
  call list; however, they must, when using for-profit telemarketers, comply with the company-
  specific do-not-call rules.39

          10.      The FTC indicated in its order that it does not intend the national do-not-call
  registry to preempt state do-not-call laws. Instead, it will allow all states, and the DMA if it so
  desires, to download into the national registry the telephone numbers of consumers on their lists.
  The FTC anticipates a relatively short transition period leading to one harmonized registry, and
  said that it will work with the states to coordinate implementation, minimize duplication, and

  36
    See FTC Order, 68 Fed. Reg. at 4580. The FTC adopted its Telemarketing Sales Rule, 16 C.F.R. Part 310, on
  August 16, 1995, pursuant to the Telemarketing Consumer Fraud and Abuse Prevention Act (Telemarketing Act),
  15 U.S.C. §§ 6101-6108. The Telemarketing Act, which was signed into law on August 16, 1994, directed the
  FTC to issue a rule prohibiting deceptive and abusive telemarketing acts or practices. FTC Notice, 67 Fed. Reg. at
  4492-93.
  37
     “Scrubbing” refers to comparing a do-not-call list to a company’s call list and eliminating from the call list the
  telephone numbers of consumers who have registered a desire not to be called.
  38
     Despite these jurisdictional limitations, the FTC stated that it can reach telemarketing activity conducted by
  non-exempt entities. Therefore, it maintains that when an exempt financial institution, telephone company,
  insurance company, airline, or nonprofit entity conducts its telemarketing campaign using a third-party
  telemarketer not exempt from the amended TSR, then that campaign is subject to the provisions of the TSR. See
  FTC Order, 68 Fed. Reg. 4580 at 4587.
  39
    The FTC’s national do-not-call registry and other amendments to the TSR have been challenged on grounds
  that a national do-not-call registry violates the First Amendment and that the FTC exceeded its statutory authority
  under the Telemarketing Consumer Fraud and Abuse Prevention Act. See Mainstream Marketing Services, Inc. v.
  FTC, No. 03-N-0184 (D. Colo. filed Jan. 29, 2003). See also U.S. Security et al v. FTC, Civ. No. 03-122-W
  (W.D. Okla. filed Jan. 29, 2003). On March 26, 2003, the U.S. District Court for the Western District of
  Oklahoma denied plaintiffs’ Motion for Preliminary Injunction of the FTC’s abandoned call rules, stating that
  plaintiffs “have failed to show a substantial likelihood that they will prevail on the merits of their challenges to the
  Final Rule.” See U.S. Security et al. vs. FTC, No. Case CIV-03-122-W (W.D. Okla. March 26, 2003).


                                                             10


                                                                                                                   PA - 00256
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 259 of 437 Page ID
                                   #:415
                                       Federal Communications Commission                                  FCC 03-153


  maximize efficiency for consumers.40 The FTC has also announced that online registration for
  the do-not-call registry will be available nationwide on or around July 1, 2003. Telephone
  registration will be open on the same date for consumers in states west of the Mississippi River
  and open to the entire country on July 8, 2003. On October 1, 2003, the FTC and the States will
  begin enforcing the national do-not-call provisions of the amended TSR.41

           11.     The FTC also adopted new rules on the use of predictive dialers and the
  transmission of caller ID information. The amended TSR prohibits telemarketers from
  abandoning any outbound telephone call, and provides in a safe harbor provision, that to avoid
  liability, a telemarketer must, among several other requirements, abandon no more than three
  percent of all calls answered by a person.42 Telemarketers will also be required to transmit the
  telephone number, and, when made available by the telemarketer’s carrier, the name of the
  telemarketer, to any caller identification service.43

         E.          State Do-Not-Call Lists

           12.      A growing number of states have also adopted or are considering legislation to
  establish statewide do-not-call lists. To date, 36 states have passed “do-not-call” statutes, 44 and
  numerous others have considered similar bills.45 Consumers remain enthusiastic about do-not-
  call lists, as they continue to register their telephone numbers with state lists.46 State do-not-call
  40
       See FTC Order, 68 Fed. Reg. 4580 at 4641.
  41
       See FTC press materials at <http://www.ftc.gov/opa/2003/06/dncaccelerated.htm> (accessed June 3, 2003).
  42
       See FTC Order, 68 Fed. Reg. 4580 at 4641-45; 16 C.F.R. §§ 310.4(b)(1)(iv) and 310.4(b)(4).
  43
       See FTC Order, 68 Fed. Reg. 4580 at 4623-28; 16 C.F.R. § 310.4(a)(7).
  44
    Alabama, Alaska, Arizona, Arkansas, California, Colorado, Connecticut, Florida, Georgia, Idaho, Illinois,
  Indiana, Kansas, Kentucky, Louisiana, Maine, Massachusetts, Michigan, Minnesota, Mississippi, Missouri,
  Montana, New Jersey, New Mexico, New York, North Dakota, Oklahoma, Oregon, Pennsylvania, South Dakota,
  Tennessee, Texas, Utah, Vermont, Wisconsin and Wyoming have no-call laws. Of these states, Connecticut,
  Maine, Michigan, Pennsylvania, Vermont, and Wyoming require telemarketers to use the DMA’s Telephone
  Preference Service (TPS) list. See infra note 47. Alaska’s statute requires telephone companies to place a black
  dot in the telephone directory by the names of consumers who do not wish to receive telemarketing calls.
  45
    States that are considering laws to create state-run do-not-call lists are Delaware, District of Columbia, Hawaii,
  Iowa, Maryland, Michigan, Nebraska, Nevada, North Carolina, Ohio, Rhode Island, South Carolina, Washington,
  and West Virginia.
  46
     In Indiana, more than 1,000,000 residential telephone numbers have been submitted to the State’s do-not-call
  list. In Missouri, more than 1,000,000 residential telephone numbers are now enrolled in the State’s do-not-call
  database, placing approximately 40% of the State’s households on that State’s do-not-call list. In Tennessee,
  762,000 telephone numbers have been registered, representing an estimated 33% of all households. In New York,
  the number of residential telephone numbers enrolled on that State’s do-not-call list is nearly 2 million.
  Connecticut’s do-not-call list contains nearly 400,000 telephone numbers, and Georgia’s is nearing 360,000.
  Colorado has 977,000 registered phone numbers, almost half of the number of residential phone lines in the state.
  Texas has more than 782,000 registered phone lines. Kentucky has 740,000 registered phone lines, representing
  46% of Kentucky residents. The Kansas list contains more than 367,000 phone lines. Approximately 1,600,000
  residents enrolled in Pennsylvania’s registry in less than six weeks. See NAAG Comments at 6, n.5.


                                                           11


                                                                                                                PA - 00257
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 260 of 437 Page ID
                                   #:416
                                         Federal Communications Commission                             FCC 03-153


  lists vary in the methods used for collecting data, the fees charged, and the types of entities
  required to comply with their restrictions. Some state statutes provide for state-managed do-not-
  call lists, while others require telemarketers to use the Direct Marketing Association’s Telephone
  Preference Service.47 In some states, residents can register for the do-not-call lists at no charge.48
  In others, telephone subscribers must pay a fee. For example, Georgia requires its residents to
  pay $5 to place their phone numbers on the do-not-call list for a period of two years.49 To
  register with the Texas do-not-call list, residents must pay $2.25 for three years.50 In most states,
  telemarketers must pay to access the state do-not-call list if they wish to call residents in that
  state; however, such access fees vary from state to state. In Oregon, telemarketers must pay
  $120 per year to obtain the state do-not-call list;51 in Missouri, the fee is $600 per year, although
  telemarketers can pay less if they want only numbers from certain area codes.52 The state “do-
  not-call” statutes provide varying exceptions to their requirements.

           13.      As state legislatures continue to consider their own do-not-call laws, others have,
  in anticipation of the national do-not-call registry, begun the process of harmonizing their lists
  with the national list. The Illinois legislature, for example, passed a bill to reconcile differences
  between the state and federal no-call laws. The measure would make the FTC’s national no-call
  list the official state list for Illinois and would direct the Illinois Commerce Commission to work
  with local exchange providers on how to inform consumers about the existence of the list.53
  California’s Attorney General’s office is allowing residents to pre-register for the national
  registry on the internet, and says it will deliver the pre-registered California telephone numbers
  to the FTC as soon as it is ready to receive them.54 The FTC indicated in its order that it will
  take some time to harmonize the various state do-not-call registries with the national registry.55
  While some states will be able to transfer their state “do-not-call” registration information by the
  time telemarketers first gain access to the national registry, other states may need from 12 to 18

  47
    See, e.g., Wyoming (Wyo. Stat. Ann. § 40-12-301) and Maine (Me. Rev. Stat. Ann. tit. 32, § 14716 (2003).
  Established in 1985, the DMA’s Telephone Preference Service (TPS) is a list of residential telephone numbers for
  consumers who do not wish to receive telemarketing calls. The DMA requires its members to adhere to the list.
  Telemarketers who are not members of DMA are not required to use the list, but may purchase the TPS for a fee.
  See <http://www.dmaconsumers.org/offtelephonelist.html> (accessed April 8, 2003).
  48
    See, e.g., Connecticut (Conn. Gen. Stat. Ann. § 42-288a); Indiana (H.B. 1222, to be codified at Ind. Code Ann.
  § 24.4.7); Missouri (Mo. Rev. Stat. § 407.1098); and Tennessee (Tenn. Code Ann. § 65-4-404 (2002)); see also
  rules at Tenn. Comp. R & Regs. Chap. 1220-4-11).
  49
       See Ga. Code Ann. § 46-5-27 (2002); see also rules at Ga. Comp. R & Regs. R. 515-14-1.
  50
       See H.B. 472, to be codified at Tex. Bus. & Com. Code Ann. § 43.001.
  51
       See Or. Rev. Stat. § 646.574.
  52
       See Mo. Rev. Stat. § 407.1098.
  53
       See Illinois H.B. 3407.
  54
       See <http://nocall.doj.state.ca.us/> (accessed April 8, 2003).
  55
       See FTC Order, 68 Fed. Reg. 4580 at 4641.


                                                               12


                                                                                                            PA - 00258
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 261 of 437 Page ID
                                   #:417
                                      Federal Communications Commission                        FCC 03-153


  months to achieve those results.56

        F.           Notice of Proposed Rulemaking

           14.     On September 18, 2002, the Commission released a Memorandum Opinion and
  Order and Notice of Proposed Rulemaking seeking comment on whether the Commission’s rules
  need to be revised in order to carry out more effectively Congress’s directives in the TCPA.57
  Specifically, we sought comment on whether to revise or clarify our rules governing unwanted
  telephone solicitations58 and the use of automatic telephone dialing systems,59 prerecorded or
  artificial voice messages,60 and telephone facsimile machines.61 We also sought comment on the
  effectiveness of company-specific do-not-call lists.62 In addition, we sought comment on
  whether to revisit the option of establishing a national do-not-call list63 and, if so, how such
  action might be taken in conjunction with the FTC’s proposal to adopt a national do-not-call list
  and with various state do-not-call lists.64 Lastly, we sought comment on the effect proposed
  policies and rules would have on small business entities, including inter alia those that engage in
  telemarketing activities and those that rely on telemarketing as a method to solicit new
  business.65 Following the FTC’s announcement that it had amended its TSR, the Commission
  extended the reply comment period in this proceeding to ensure that all interested parties had
  ample opportunity to comment on possible Commission action in light of the FTC’s new rules.66

        G.           Do-Not-Call Implementation Act

             15.     On March 11, 2003, the Do-Not-Call Act was signed into law, authorizing the

  56
       See FTC Order, 68 Fed. Reg. 4580 at 4641.
  57
    Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice of Proposed
  Rulemaking (NPRM) and Memorandum Opinion and Order (MO&O), 17 FCC Rcd 17459, CG Docket No. 02-
  278 and CC Docket No. 92-90 (2002) (2002 Notice). In the MO&O, the Commission closed and terminated CC
  Docket No. 92-90 and opened a new docket to address the issues raised in this proceeding.
  58
       2002 Notice, 17 FCC Rcd at 17468-71, paras. 13-17.
  59
       2002 Notice, 17 FCC Rcd at 17473-76, paras. 23-27.
  60
       2002 Notice, 17 FCC Rcd at 17477-81, paras. 30-35.
  61
       2002 Notice, 17 FCC Rcd at 17482-84, paras. 37-40.
  62
       2002 Notice, 17 FCC Rcd at 17468-71, paras. 13-17.
  63
       2002 Notice, 17 FCC Rcd at 17487-96, paras. 49-66.
  64
       See FTC Notice, 67 Fed. Reg. 4492 and FTC Order, 68 Fed. Reg. 4580.
  65
       2002 Notice, 17 FCC Rcd at 17497-501, paras. 70-80.
  66
    On December 20, 2002, the Commission extended its reply comment period until January 31, 2003. See
  Consumer & Governmental Affairs Bureau Announces An Extension of Time To File Reply Comments on the
  Telephone Consumer Protection Act (TCPA) Rules, Public Notice, DA 02-3554 (rel. Dec. 20, 2002).


                                                             13


                                                                                                     PA - 00259
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 262 of 437 Page ID
                                   #:418
                                       Federal Communications Commission                              FCC 03-153


  FTC to collect fees from telemarketers for the implementation and enforcement of a do-not-call
  registry. The Do-Not-Call Act also requires the FCC to issue a final rule in its ongoing TCPA
  proceeding within 180 days of enactment, and to consult and coordinate with the FTC to
  “maximize consistency” with the rule promulgated by the FTC. Congress recognized that
  because the FCC is bound by the TCPA, it would not be possible for the FCC to adopt rules that
  are identical to those of the FTC in every instance.67 In those instances where such
  inconsistencies exist, Congress stated that either the FTC or FCC must address them
  administratively or Congress must address them legislatively.68 The FTC’s recent rule changes
  expand that agency’s regulation of telemarketing activities and require coordination to ensure
  consistent and non-redundant federal enforcement. The FCC’s jurisdiction over telemarketing
  practices, however, is significantly broader than the FTC’s. The FCC staff intends to negotiate a
  Memorandum of Understanding between the respective agencies to achieve an efficient and
  effective enforcement strategy that will promote compliance with federal regulations. The FCC
  is required to report to Congress within 45 days after the issuance of final rules in this
  proceeding, and annually thereafter.69 The Commission released a Further Notice of Proposed
  Rulemaking on March 25, 2003, seeking comment on the Do-Not-Call Act’s requirements.70 By
  this Order, we are complying with Congress’s directives to issue final rules in our TPCA
  proceeding within 180 days of the Do-Not-Call Act’s enactment. Furthermore, we have
  consulted and coordinated with the FTC to adopt a national do-not-call list and other
  telemarketing rules that maximize consistency with the FTC’s amended Telemarketing Sales
  Rule.71 Pursuant to the requirements of the Do-Not-Call Act, the Commission will note the
  remaining inconsistencies between the FCC and FTC rules in the report to Congress. The
  Commission will also continue to work, within the framework of the TCPA, to maximize
  consistency with the FTC’s rules.

  III.        NATIONAL DO-NOT-CALL LIST

         A.          Background

              16.    Section 227. The TCPA requires the Commission to protect residential telephone

  67
       See H.R. REP. No. 108-8 at 4 (2003), reprinted in 2003 U.S.C.C.A.N. 688, 671.
  68
       Id.
  69
    The Do-Not-Call Act provides that the FTC and FCC shall each transmit a report to Congress which shall
  include: “(1) an analysis of the telemarketing rules promulgated by both the Federal Trade Commission and the
  Federal Communications Commission; (2) any inconsistencies between the rules promulgated by each such
  Commission and the effect of any such inconsistencies on consumers, and persons paying for access to the
  registry; and (3) proposals to remedy any such inconsistencies.” See Do-Not-Call Act, Sec. 4(a).
  70
    Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
  Further Notice of Proposed Rulemaking, FCC 03-62 (rel. March 25, 2003) (Further Notice).
  71
    See Comments filed by the FTC in response to the Commission’s Further Notice. See also NARUC Winter
  Committee Meetings, February 23-26, 2003, at which FCC and FTC staff discussed the national do-not-call
  registry and ways to harmonize federal and state programs; Letter from James Bradford Ramsay, NARUC General
  Counsel, to FCC filed March 14, 2003 (NARUC ex parte).


                                                           14


                                                                                                           PA - 00260
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 263 of 437 Page ID
                                   #:419
                                          Federal Communications Commission                                 FCC 03-153


  subscribers’ privacy rights to avoid receiving telephone solicitations to which they object.72 In
  so doing, section 227(c)(1) directs the Commission to “compare and evaluate alternative
  methods and procedures” including the use of electronic databases and other alternatives in
  protecting such privacy rights.73 Pursuant to section 227(c)(3), the Commission “may require the
  establishment and operation of a single national database to compile a list of telephone numbers
  of residential subscribers who object to receiving telephone solicitations, and to make that
  compiled list and parts thereof available for purchase.”74 If the Commission determines that
  adoption of a national database is warranted, section 227(c)(3) enumerates a number of specific
  statutory requirements that must be satisfied.75 Additionally, section 227(c)(4) requires the
  Commission to consider the different needs of telemarketers operating on a local or regional
  basis and small businesses.76 In addition to our general authority over interstate
  communications, section 2(b) of the Communications Act specifically provides the Commission
  with the authority to apply section 227 to intrastate communications.77

          17.     TCPA Order and 2002 Notice. The Commission initially considered the
  possibility of adopting a national do-not-call database in the 1992 TCPA Order. At that time, the
  Commission declined to adopt a national do-not-call registry citing concerns that such a database
  would be costly and difficult to establish and maintain in a reasonably accurate form.78 The
  Commission noted that frequent updates would be required, regional telemarketers would be
  forced to purchase a national database, costs might be passed on to consumers, and the
  information compiled could present problems in protecting consumer privacy. The Commission
  opted instead to implement an alternative approach requiring commercial telemarketers to
  maintain their own company-specific lists of consumers who do not wish to be called.79

         18.   In the 2002 Notice, the Commission sought comment on whether to revisit its
  1992 determination not to adopt a national do-not-call list.80 As evidenced by the persistent
  72
       47 U.S.C. § 227(c)(1).
  73
       47 U.S.C. § 227(c)(1)(A).
  74
       47 U.S.C. § 227(c)(3).
  75
       See 47 U.S.C § 227(c)(3)(A)-(L).
  76
       47 U.S.C. § 227(c)(4).
  77
   47 U.S.C. § 152(b). See also Texas v. American Blast Fax, 121 F. Supp. 2d 1085 at 1087-89 (W.D. Tex. 2000),
  Minnesota v. Sunbelt Communications and Marketing, Civil No. 02-CV-770 (D. Minn. Sept. 4, 2002).
  78
    1992 TCPA Order, 7 FCC Rcd at 8760, para. 14. At that time commenters estimated the start-up and
  operational costs for a national database in the first year could be as high as $80 million. Id. at 8758, para. 11.
  79
       See infra paras. 86-96 for a discussion of the company-specific do-not-call requirements.
  80
    2002 Notice, 17 FCC Rcd at 17487-96, paras. 49-66. On December 20, 2002, the Commission extended its
  reply comment period to allow parties an opportunity to comment on the FTC’s order establishing a national do-
  not-call database for those entities over which it has jurisdiction. See Consumer & Governmental Affairs Bureau
  Announces An Extension of Time To File Reply Comments on the Telephone Consumer Protection Act (TCPA)
  Rules, Public Notice, DA 02-3554 (rel. Dec. 20, 2002).


                                                             15


                                                                                                                  PA - 00261
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 264 of 437 Page ID
                                   #:420
                                      Federal Communications Commission                               FCC 03-153


  consumer complaints regarding unwanted telephone solicitations, the Commission concluded
  that the time was ripe to revisit this issue as part of its overall review of the TCPA rules.81 In so
  doing, the Commission noted that the increasing number of telemarketing calls over the last
  decade, along with the increased use of various technologies, such as predictive dialers, to
  contact consumers, has heightened public concern about unwanted telemarketing calls and
  control over the telephone network.82 The Commission also noted that technological innovations
  may make the creation and maintenance of a national do-not-call database more viable than in
  the past. Therefore, the Commission sought comment on whether a national do-not-call list
  should be adopted and, if so, how such a list could be implemented in the most efficient and
  effective manner for consumers, businesses, and regulators. The Commission noted that a
  national list would provide consumers with a one-step method for preventing unwanted
  telemarketing calls. This option could be less burdensome for consumers than repeating requests
  on a case-by-case basis, particularly in light of the number of entities that conduct telemarketing
  today. In particular, the Commission sought comment on: (1) whether the cost, accuracy, and
  privacy concerns noted in 1992 remain relevant today; (2) the effectiveness of the company-
  specific list in protecting consumer privacy rights; (3) changes in the technology or the
  marketplace that might influence this analysis; (4) the constitutionality of a national database; (5)
  satisfying the statutory requirements of section 227(c); and (6) the potential relationship of a
  national database with the FTC’s proposed rules and various state-adopted do-not-call
  registries.83

          19.     The issues relating to the adoption and implementation of a national do-not-call
  registry generated extensive comment from consumers, businesses, and state governments.
  Individual consumers and consumer interest groups overwhelmingly support the adoption of a
  national do-not-call list.84 In fact, several commenters support more restrictive alternatives such
  as adopting an “opt-in” list for those consumers that wish to receive telephone solicitations.85
  Commenters supporting a national do-not-call list cite the numerous and increasing receipt of
  unwanted telephone solicitation calls; inadequacies of the company-specific approach due to the
  failure of many telemarketers to honor do-not-call requests or, the impossibility of relaying such
  requests in the case of “dead air” or hang-up calls initiated by predictive dialers; the burdens of
  making do-not-call requests for every such call, particularly on the elderly and individuals with
  disabilities; and the costs imposed on consumers in acquiring technologies to reduce the number

  81
     2002 Notice, 17 FCC Rcd at 17487-88, para. 49 (also noting that the FTC had received over 40,000 comments
  in response to its Notice on telemarketing).
  82
   2002 Notice, 17 FCC Rcd at 17464, para. 7, n.34 (citing estimate that as many as 104 million outbound calls are
  made every day).
  83
       See 2002 Notice, 17 FCC Rcd at 17487-96, paras. 49-66.
  84
    See, e.g., Maureen Matthews Comments; Gloria Toso Comments; Shirley A. Weaver Comments. See also
  ACUTA Comments at 2; NACAA Comments at 2; Telecommunications for the Deaf Comments at 4; NJ
  Ratepayer Further Comments at 2.
  85
    See, e.g., EPIC Comments at 2-5; Private Citizens, Inc. Comments at 3; Teresa Wilkie Comments; Benjamin
  Philip Johnson Comments.


                                                          16


                                                                                                           PA - 00262
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 265 of 437 Page ID
                                   #:421
                                      Federal Communications Commission                                  FCC 03-153


  of unwanted calls.86 Many such commenters argue that unwanted telephone solicitations have
  reached the point of harassment that constitutes an invasion of privacy within their homes.87
  Others indicate that consumers are often frightened by dead-air and hang-up calls generated by
  predictive dialers believing they are being stalked.88 Several consumers indicate that they no
  longer answer their telephones or they disconnect the phone during the day to avoid
  telemarketing calls. These commenters support the adoption of a one-step option for those
  consumers that desire to reduce the number of unwanted solicitation calls that they receive each
  day.

           20.     Many consumers indicate that their state lists have reduced the number of
  unwanted calls that they receive and express concern that any federal do-not-call registry not
  undermine the protections afforded by the state do-not-call laws.89 Assuming that a national do-
  not-call database is adopted, commenters encourage the Commission to work closely with the
  FTC to adopt a single national registry that operates as consistently and efficiently as possible
  for all interested parties.90 State regulators generally support a national database provided that it
  does not preempt state do-not-call rules or preclude the states from enforcing these laws.91

         21.      Industry representatives generally oppose the adoption of a national do-not-call
  database, but some support this approach provided the Commission adopts an established
  business relationship exemption and preempts state lists.92 These commenters contend that the
  concerns noted by the Commission in 1992, including the costs, accuracy, and privacy issues
  involved in creating and maintaining such a database remain valid today.93 In addition, industry
  86
    See, e.g., Terry L. Krodel Comments (disabled individual has difficulty answering phone); Brian Lawless
  (contends that consumers should not be forced to pay additional charges to stop telemarketing calls); J. Raymond
  de Varona Comments (telemarketers hang up when he requests to be added to do-not call list); Mandy Burkart
  Comments (elderly grandmother targeted by telemarketers). See also AARP Comments at 1 (noting that elderly
  consumers are often the subject of telemarketing fraud).
  87
    See, e.g., Emily Malek Comments; Lester D. McCurrie Comments; Andrea Sattler Comments; Sandra S. West
  Comments (receives as many as 20 telemarketing calls per day).
  88
       Edwin Bailey Hathaway Comments; Cynthia Stichnoth Comments.
  89
     See, e.g., Brenda J. Donat Comments (cancer patient appreciates reduction in calls due to Indiana Telephone
  Privacy Act); Alice and Bill Frazee Comments; Tammy Puckett Comments (Indiana law provides quiet for
  terminally ill family member).
  90
       See, e.g., Verizon Comments at 2; Bank of America Further Comments at 2.
  91
    See, e.g., NAAG Comments at 8-13; New York State Consumer Protection Board Comments at 7; Ohio PUC
  Comments at 3-7; Texas PUC Comments at 10.
  92
     See, e.g., Bank of America Comments at 2-4 (endorse national list provided it establishes a uniform national
  standard and retains established business relationship); Cox Enterprises Comments at 4-9 (would not oppose
  national list if established business relationship exemption is retained); Sprint Comments at 11-12 (state lists
  should be preempted); Verizon Wireless Comments at 4-6 (support national list if state lists preempted and
  established business relationship retained). See also DMA Further Comments at 3 (should preempt states);
  DirectTV Further Comments at 3 (preempt); Nextel Further Comments at 8.
  93
       See, e.g., MBA Comments at 2; NAII Comments at 2; SBC Comments at 6; WorldCom Comments at 17.

                                                           17


                                                                                                               PA - 00263
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 266 of 437 Page ID
                                   #:422
                                      Federal Communications Commission                              FCC 03-153


  commenters argue that a national do-not-call database is not necessary because the current rules
  are sufficient to protect consumer privacy rights.94 Several note the economic importance of
  telemarketing and indicate that a national registry would have severe economic consequences for
  their industry.95 Several industry representatives request specific exemptions from the national
  do-not-call requirements for newspapers, magazines, insurance companies and small
  businesses.96 These commenters contend that they provide valuable goods or services to the
  public and that telemarketing is the most cost-effective means to promote those services.97
  Representatives of various non-profit organizations oppose any extension of the national do-not-
  call rules to their organizations.98 Several commenters argue that a national registry would
  impose an unconstitutional restriction on commercial speech.99 They urge more stringent
  enforcement of the Commission’s current rules.

          22.     FTC Order. On December 18, 2002, the FTC released an order establishing a
  national do-not call registry.100 The FTC cited an extensive record that revealed that the current
  rules on telemarketing were not sufficient to protect consumer privacy. The FTC’s do-not-call
  rules provide several options for consumers to manage telemarketing calls – one of which is to
  allow consumers who do not want to receive telephone solicitation calls to register their
  telephone number with a national do-not-call database.101 The FTC indicates that consumers
  may do so at no cost by two methods: either through a toll-free call from the phone number that
  they wish to register or over the Internet.102 Consumer registrations will remain valid for a
  period of five years, with the registry purged on a monthly basis of numbers that have been
  disconnected or reassigned. Each seller engaged in telemarketing or on whose behalf
  telemarketing is conducted will be required to pay an annual fee for access to the database based



  94
       See, e.g., ABA Comments at 7; BellSouth Reply Comments at 5.
  95
       See, e.g., Dial America Comments at 15-18; Technion Comments at 3-4; Vector Comments at 14-15.
  96
    See, e.g., MPA Comments at 13-14; NAA Comments at 12-14; Seattle Times Comments at 2; Vector
  Comments at 14-15.
  97
       See, e.g., MPA Comments at 4, 13-14; NAA Comments at 13; PLP Comments at 1.
  98
    See, e.g., March of Dimes Comments at 2; Leukemia and Lymphoma Society Comments; Special Olympics
  Hawaii Comments at 2.
  99
       See, e.g., ATA Comments at 58-91; SBC Comments at 6, 16-17; WorldCom Comments at 19-30.
  100
        See FTC Order, 68 Fed. Reg. at 4628-33.
  101
     The FTC has awarded a contract to AT&T Government Solutions for $3.5 million to create the national
  registry of consumers who do not want to be contacted by telemarketers.
  102
     The FTC indicates that calls will be answered by an Interactive Voice Response (IVR) system. Consumers
  will be directed to enter their telephone numbers. That number will then be checked against an automatic number
  information (ANI) that is transmitted with the call. Consumers will also be able to verify or cancel their
  registration in the same way. See FTC Order, 68 Fed. Reg. at 4638-39.


                                                         18


                                                                                                           PA - 00264
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 267 of 437 Page ID
                                   #:423
                                       Federal Communications Commission                                    FCC 03-153


  on the number of area codes of data that the company wishes to access.103 The only consumer
  information that telemarketers will receive from the national registry is the registrants’ telephone
  numbers. The FTC’s rules prohibit the sale, purchase, rental, lease, or use of the national
  registry for any purpose other than compliance with the do-not-call provision.104

           23.    The FTC’s national do-not-call rules will not apply to those entities over which it
  has no jurisdiction, including common carriers, banks, insurance companies, and airlines. The
  FTC rules also will not apply to intrastate telemarketing calls. In addition, the FTC exempts
  certain types of calls from the national do-not-call provisions. Specifically, the FTC has
  established exemptions for calls made by or on behalf of charitable organizations,105 calls to
  consumers with whom the seller has an “established business relationship”106 (as long as the
  consumer has not asked to be placed on the seller’s company-specific do-not-call list), and calls
  to businesses. The FTC also decided to retain the provision of its rules that allows sellers to
  obtain the express agreement of consumers who wish to receive calls from that seller. The FTC
  requires that such express agreement be evidenced by a signed, written agreement. As a result,
  consumers registered on the national do-not-call list may continue to receive calls from those
  sellers that have acquired their express agreement. The FTC also adopted a “safe harbor” from
  liability under its do-not-call provisions concluding that sellers or telemarketers that have made a
  good faith effort to provide consumers with an opportunity to exercise their do-not-call rights
  should not be liable for violations that result from an error.107 The FTC clarified that because
  wireless subscribers are often charged for the calls they receive, they will be allowed to register
  their wireless telephone numbers on the national do-not-call database.

          24.      The FTC concluded that it does not intend its rules establishing a national do-not-
  call registry to preempt state do-not-call laws. The FTC indicated its desire to work with those
  states that have enacted such laws, as well as this Commission, to articulate requirements and

  103
      As discussed herein, the terms “seller” and “telemarketer” may refer to the same entity or separate entities.
  The “telemarketer” is the entity that actually initiates the telephone call. The “seller” is the entity on whose behalf
  the telephone call is being made. See amended 47 C.F.R. § 64.1200(f)(5) and (6). Sellers may often hire
  telemarketing entities to contact consumers on their behalf. See amended 47 C.F.R. § 64.1200(f)(7) for the
  definition of “telemarketing.” Pursuant to the FTC’s do-not-call program, each seller must pay for access to the
  do-not-call database. Thus, telemarketing entities cannot share do-not-call data among various client sellers.
  104
        See 16 C.F.R. § 310.4(b)(2).
  105
    The FTC has concluded, however, that calls on behalf of charitable organizations will be subject to the
  company specific do-not-call provisions. See FTC Order, 68 Fed. Reg. at 4629.
  106
      The FTC defines an “established business relationship” as a relationship between a seller and consumer based
  on: (1) the consumer’s purchase, rental, or lease of the seller’s goods or services or a financial transaction
  between the consumer and seller, within the eighteen months immediately preceding the date of a telemarketing
  call; or (2) the consumer’s inquiry or application regarding a product or service offered by the seller, within the
  three months immediately preceding the date of a telemarketing call. 16 C.F.R. § 310.2(n). Regarding the
  interplay between the established business relationship and do-not-call rules, the FTC concluded that if the
  consumer continues to do business with the seller after asking not to be called, the consumer cannot be deemed to
  have waived their company-specific do-not-call request. FTC Order, 68 Fed. Reg. at 4634.
  107
        See 16 C.F.R. § 310.4(b)(3).


                                                             19


                                                                                                                  PA - 00265
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 268 of 437 Page ID
                                   #:424
                                        Federal Communications Commission                                FCC 03-153


  procedures during what it anticipates will be a relatively short transition period leading to one
  harmonized registry system. The FTC has articulated a goal whereby consumers, in a single
  transaction, can register their requests not to receive calls to solicit sales of goods or services,
  and sellers and telemarketers can obtain a single list to ensure that they do not contravene
  consumer requests not to be called.108

         B.           Discussion

          25.    As discussed in greater detail below, we conclude that the record compiled in this
  proceeding supports the establishment of a single national database of telephone numbers of
  residential subscribers who object to receiving telephone solicitations. Consistent with the
  mandate of Congress in the Do-Not-Call Act, the national do-not-call rules that we establish in
  this order “maximize consistency” with those of the FTC.109 The record clearly demonstrates
  widespread consumer dissatisfaction with the effectiveness of the current rules and network
  technologies available to protect consumers from unwanted telephone solicitations.110 Indeed,
  many consumers believe that with the advent of such technologies as predictive dialers that the
  vices of telemarketing have become inherent, while its virtues remain accidental. We have
  compared and evaluated alternative methods to a national do-not-call list for protecting
  consumer privacy rights and conclude that these alternatives are costly and/or ineffective for
  both telemarketers and consumers.111

           26.    A national do-not-call registry that is supplemented by the amendments made to
  our existing rules will provide consumers with a variety of options for managing telemarketing
  calls. Consumers may now: (1) place their number on the national do-not-call list; (2) continue
  to make do-not-call requests of individual companies on a case-by-case basis; and/or (3) register
  on the national list, but provide specific companies with express permission to call them.
  Telemarketers may continue to call individuals who do not place their numbers on a do-not-call
  list and consumers with whom they have an established business relationship. We believe this
  result is consistent with Congress’ directive in the TCPA that “[i]ndividuals’ privacy rights,
  public safety interests, and commercial freedoms of speech and trade must be balanced in a way
  that protects the privacy of individuals and permits legitimate telemarketing practices.”112

              27.     We agree with Congress that consistency in the underlying regulations and

  108
        FTC Order, 68 Fed. Reg. at 4638-41.
  109
     See also H.R. REP. NO. 108-8 at 3 (2003), reprinted in 2003 U.S.C.C.A.N. 688, 670 (“[i]t is the strongly held
  view of the Committee that a national do-not-call list is in the best interest of consumers, businesses and consumer
  protection authorities. This legislation is an important step toward a one-stop solution to reducing telemarketing
  abuses.”).
  110
      See, e.g., Joseph A. Durle Comments (forced to turn phone off due to constant telemarketing calls and missed
  call that family member had a stroke); John D. Milhous Comments; Gregory Reichenbach Comments; Christopher
  C. Parks Comments (receives numerous calls every day).
  111
        See 47 U.S.C. § 227(c)(1)(A).
  112
        See TCPA, Section 2(9), reprinted in 7 FCC Rcd at 2744.


                                                           20


                                                                                                               PA - 00266
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 269 of 437 Page ID
                                   #:425
                                       Federal Communications Commission                                   FCC 03-153


  administration of the national do-not-call registry is essential to avoid consumer confusion and
  regulatory uncertainty in the telemarketing industry. In so doing, we emphasize that there will
  be one centralized national do-not-call database of telephone numbers. The FTC has set up and
  will maintain the national database, while both agencies will coordinate enforcement efforts
  pursuant to a forthcoming Memorandum of Understanding.113 The states will also play an
  important role in the enforcement of the do-not-call rules. The FTC has received funding
  approval from Congress to begin implementation of the national do-not-call registry. Because
  the FTC lacks jurisdiction over certain entities, including common carriers, banks, insurance
  companies, and airlines, those entities would be allowed to continue calling individuals on the
  FTC’s list absent FCC action exercising our broad authority given by Congress over
  telemarketers. In addition, the FTC’s jurisdiction does not extend to intrastate activities. Action
  by this Commission to adopt a national do-not-call list, as permitted by the TCPA, requires all
  commercial telemarketers to comply with the national do-not-call requirements, thereby
  providing more comprehensive protections to consumers and consistent treatment of
  telemarketers.

                      1.      National Do-Not-Call Registry

          28.     Pursuant to our authority under section 227(c), we adopt a national do-not-call
  registry that will provide residential consumers with a one-step option to prohibit unwanted
  telephone solicitations. This registry will be maintained by the FTC. Consistent with the FTC’s
  determination, the national registry will become effective on October 1, 2003.114 Subject to the
  exemptions discussed below, telemarketers will be prohibited from contacting those consumers
  that register their telephone numbers on the national list. In reaching this conclusion, we agree
  with the vast majority of consumers in this proceeding and the FTC that a national do-not-call
  registry is necessary to enhance the privacy interests of those consumers that do not wish to
  receive telephone solicitations. In response to the widespread consumer dissatisfaction with
  telemarketing practices, Congress has recently affirmed its support of a national do-not-call
  registry in approving funding for the FTC’s national database.115 In so doing, Congress has
  indicated that this Commission should adopt rules that “maximize consistency” with those of the
  FTC.116 The record in this proceeding is replete with examples of consumers that receive



  113
     In the FTC Order, the FTC outlines in detail how the national registry will be administered, including how
  consumers may register and how sellers may purchase the list. See also infra, Enforcement Priorities section,
  paras. 211-214.
  114
     We decline to extend the effective date for the national do-not-call rules beyond October 1, 2003. See Ex
  Parte Presentations from WorldCom to FCC, filed May 23, 2003 and June 16, 2003 (advocating a 9.5-month
  implementation period for the national do-not-call list requirements).
  115
     See H.R. J. Res. 2, 108th Congress at 96 (2003) (Consolidated Appropriations Resolution). See also H.R. REP.
  NO. 108-8 at 3 (2003), reprinted in 2003 U.S.C.C.A.N. 688, 670 (“[i]t is the strongly held view of the Committee
  that a national do-not-call list is in the best interest of consumers, businesses and consumer protection authorities.
  This legislation is an important step toward a one-stop solution to reducing telemarketing abuses.”).
  116
        See Do-Not-Call Act, Sec. 3.


                                                            21


                                                                                                                 PA - 00267
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 270 of 437 Page ID
                                   #:426
                                     Federal Communications Commission                                  FCC 03-153


  numerous unwanted calls on a daily basis.117 The increase in the number of telemarketing calls
  over the last decade combined with the widespread use of such technologies as predictive dialers
  has encroached significantly on the privacy rights of consumers.118 For example, the
  effectiveness of the protections afforded by the company-specific do-not-call rules have been
  reduced significantly by dead air and hang-up calls that result from predictive dialers. In these
  situations, consumers have no opportunity to invoke their do-not-call rights and the Commission
  cannot pursue enforcement actions. As detailed previously, such intrusions have led many
  consumers to disconnect their phones during portions of the day or avoid answering their
  telephones altogether. The adoption of a national do-call-list will be an important tool for
  consumers that wish to exercise control over the increasing number of unwanted telephone
  solicitation calls.

           29.     Although some industry commenters attempt to characterize unwanted
  solicitation calls as petty annoyances and suggest that consumers purchase certain technologies
  to block unwanted calls, the evidence in this record leads us to believe the cumulative effect of
  these disruptions in the lives of millions of Americans each day is significant. As a result, we
  conclude that adoption of a national do-not-call list is now warranted. We believe that
  consumers should, at a minimum, be given the opportunity to determine for themselves whether
  or not they wish to receive telephone solicitation calls in their homes. The national do-not-call
  list will serve as an option for those consumers who have found the company-specific list and
  other network technologies ineffective. The telephone network is the primary means for many
  consumers to remain in contact with public safety organizations and family members during
  times of illness or emergency. Consumer frustration with telemarketing practices has reached a
  point in which many consumers no longer answer their telephones while others disconnect their
  phones during some hours of the day to maintain their privacy. We agree with consumers that
  incessant telephone solicitations are especially burdensome for the elderly, disabled, and those
  that work non-traditional hours.119 Persons with disabilities are often unable to register do-not-
  call requests on many company-specific lists because many telemarketers lack the equipment
  necessary to receive that request.120 Given the record evidence, along with Congress’s recent
  affirmative support for a national do-not-call registry, we adopt a national do-not-call registry.121
  117
     See, e.g., Sean Herriott Comments (receives numerous telemarketing calls each day); Lester D. McCurrie
  (receives between 8-12 call per day); David K. McClain Comments; Greg Rademacher Comments (receives so
  many calls that he now refuses to answer the phone); John Rinderle Comments; Steven D. Thorton Comments;
  Sandra West Comments (receives 20 calls per day).
  118
        See supra para. 8.
  119
     See, e.g., Karen M. Meyer Comments (86 year-old receives as many as 10 solicitation calls per day); Vivian
  Sinclair Comments (85 year old with cane receives numerous telephone solicitations); Mr. and Mrs. Joseph
  Stephanik Comments (works at night and telemarketing calls interfere with sleep); Mavis Selway Comments
  (husband who works at night must answer telemarketing calls during day).
  120
      See Telecommunications for the Deaf Comments at 2-3 (noting that telemarketers often lack TTY or
  telecommunications relay service).
  121
      See H.R. REP. NO. 108-8 at 3 (2003), reprinted in 2003 U.S.C.C.A.N. 688, 670 (“[i]t is the strongly held view
  of the Committee that a national do-not-call list is in the best interest of consumers, businesses and consumer
  protection authorities.”).

                                                          22


                                                                                                             PA - 00268
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 271 of 437 Page ID
                                   #:427
                                      Federal Communications Commission                                  FCC 03-153


   As discussed more fully below, however, we are mindful of the need to balance the privacy
  concerns of consumers with the interests of legitimate telemarketing practices. Therefore, we
  have provided for certain exemptions to the national do-not-call registry.

           30.      While we agree that concerns regarding the cost, accuracy, and privacy of a
  national do-not-call database remain relevant, we believe that circumstances have changed
  significantly since the Commission first reviewed this issue over a decade ago such that they no
  longer impose a substantial obstacle to the implementation of a national registry. As several
  commenters in this proceeding note, advances in computer technology and software now make
  the compilation and maintenance of a national database a more reasonable proposition.122 In
  addition, considerable experience has been gained through the implementation of many state do-
  not-call lists. In 1992, it was estimated by some commenters that the cost of establishing such a
  list in the first year could be as high as $80 million. As noted above, Congress has recently
  reviewed and approved the FTC’s request for $18.1 million to fund the national do-not-call
  list.123 We believe that the advent of more efficient technologies and the experience acquired in
  dealing with similar databases at the state level is responsible for this substantial reduction in
  cost.

          31.     Similarly, we believe that technology has become more proficient in ensuring the
  accuracy of a national database. The FTC indicates that to guard against the possibility of
  including disconnected or reassigned telephone numbers, technology will be employed on a
  monthly basis to check all registered telephone numbers against national databases, and remove
  those numbers that have been disconnected or reassigned.124 The length of time that registrations
  remain valid also directly affects the accuracy of the registry as telephone numbers change hands
  over time. As discussed more fully below, we conclude that the retention period for both the
  national and company-specific do-not-call requests will be five years.125 This is consistent with
  the FTC’s determination and our own record that reveals that the current ten-year retention
  period for company-specific requests is too long given changes in telephone numbers.
  Consumers must also register their do-not-call requests from either the telephone number of the
  phone that they wish to register or via the Internet. The FTC will confirm the accuracy of such
  registrations through the use of automatic number identification (ANI)126 and other technologies.
  We believe that a five-year registration period coupled with a monthly purging of disconnected

  122
        See, e.g., LSSi Comments at 5-6; NCS Comments at 2-4.
  123
     As noted above, the FTC has awarded a contract to AT&T Government Solutions for $3.5 million to create the
  national registry. The Congressional Budget Office estimates that the FTC will collect and spend a total of about
  $73 million in fees over 2003-2008 to implement the national database. See H.R. REP. NO.108-8 at 6 (2003),
  reprinted in 2003 U.S.C.C.A.N. 688, 673.
  124
        FTC Order, 68 Fed. Reg. at 4640.
  125
     See FTC Order, 68 Fed. Reg. at 4640. Our rules previously required a company-specific do-not-call request to
  be honored for ten years. See 47 C.F.R. § 64.1200(e)(2)(vi).
  126
      The term “ANI” refers to the delivery of the calling party’s billing number by a local exchange carrier to any
  interconnecting carrier for billing or routing purposes, and to the subsequent delivery of such number to end users.
   47 C.F.R. § 64.1600(b).


                                                           23


                                                                                                               PA - 00269
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 272 of 437 Page ID
                                   #:428
                                       Federal Communications Commission                                     FCC 03-153


  telephone numbers adequately balances the need to maintain accuracy in the national registry
  with any burden imposed on consumers to re-register periodically their telephone numbers.

           32.    We conclude that appropriate action has been taken to ensure the privacy of those
  registering on the national list. Specifically, the only consumer information telemarketers and
  sellers will receive from the national registry is the registrant’s telephone number.127 This is the
  minimum amount of information that can be provided to implement the national registry. We
  note that the majority of telephone numbers are publicly available through telephone directories.
   To the extent that consumers have an unlisted number, the consumer will have to make a choice
  as to whether they prefer to register on a national do-not-call list or maintain complete
  anonymity. We reiterate, however, that the only information that will be provided to the
  telemarketer is the telephone number of the consumer.128 No corresponding name or address
  information will be provided. We believe that this approach reduces the privacy concerns of
  such consumers to the greatest extent possible. As an additional safeguard, we find that
  restrictions should be imposed on the use of the national list. Consistent with the FTC’s
  determination and section 227(c)(3)(K), we conclude that no person or entity may sell, rent,
  lease, purchase, or use the national do-not-call database for any purpose except compliance with
  section 227 and any such state or federal law to prevent telephone solicitations to telephone
  numbers on such list.129 We conclude that these safeguards adequately protect the privacy rights
  of those consumers who choose to register on the national do-not-call list.

          33.     We conclude that the national database should allow for the registration of
  wireless telephone numbers, and that such action will better further the objectives of the TCPA
  and the Do-Not-Call Act. In so doing, we agree with the FTC and several commenters that
  wireless subscribers should not be excluded from the protections of the TCPA, particularly the
  option to register on a national-do-not-call list.130 Congress has indicated its intent to provide
  significant protections under the TCPA to wireless users.131 Allowing wireless subscribers to
  register on a national do-not-call list furthers the objectives of the TCPA, including protection
  for wireless subscribers from unwanted telephone solicitations for which they are charged.

       34.     Nextel argues, however, that, because the “TCPA only authorizes the
  Commission to regulate solicitations to ‘residential telephone subscribers,’” wireless subscribers

  127
        FTC Order, 68 Fed. Reg. at 4640.
  128
    As noted above, the “seller” and “telemarketer” may be the same entity or separate entities. Each entity on
  whose behalf the telephone call is being made must purchase access to the do-not-call database.
  129
     See 47 U.S.C. § 227(c)(3)(K). See also 16 C.F.R. § 310.4(b)(2). We also note that telemarketers will be
  prohibited from selling the list to others or dividing the costs of accessing the list among various client sellers.
  Such action would threaten the financial support for maintaining the database.
  130
     See, e.g., AT&T Wireless Reply Comments at 22; Charles Ferguson Comments; City of New Orleans
  Comments at 12; Texas Office of Public Utility Counsel Comments at 7. See also NAAG Comments at 35-36
  contending that public safety implications may arise if wireless consumers receive unsolicited marketing calls
  while operating automobiles.
  131
        47 U.S.C. § 227(b)(1)(iii).


                                                             24


                                                                                                                   PA - 00270
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 273 of 437 Page ID
                                   #:429
                                      Federal Communications Commission                                   FCC 03-153


  may not participate in the do-not-call list.132 Nextel states we should define “residential
  subscribers” to mean “telephone service used primarily for communications in the subscriber’s
  residence.”133 However, Nextel’s application would result in “[a]t most, the Commission [having
  the] authority to regulate solicitations to wireless subscribers in those circumstances where
  wireless service actually has displaced a residential land line, and functions as a consumer’s
  primary residential telephone service.”134

          35.      Nextel’s definition of “residential subscribers” is far too restrictive and
  inconsistent with the intent of section 227. Specifically, there is nothing in section 227 to
  suggest that only a customer’s “primary residential telephone service” was all that Congress
  sought to protect through the TCPA. In addition, had Congress intended to exclude wireless
  subscribers from the benefits of the TCPA, it knew how to address wireless services or
  consumers explicitly. For example, in section 227(b)(1), Congress specifically prohibited calls
  using automatic telephone dialing systems or artificial or prerecorded voice to telephone
  numbers assigned to “paging service [or] cellular telephone service . . . .” Moreover, under
  Nextel’s definition, even consumers who use their wireless telephone service in their homes to
  supplement their residential wireline service, such as by using their wireless telephone service to
  make long distance phone calls to avoid wireline toll charges, would be excluded from the
  protections of the TCPA. Such an interpretation is at odds even with Nextel’s own reasoning for
  its definition – that the TCPA’s goal is “to curb the ‘pervasive’ use of telemarketing ‘to market
  goods and services to the home’.”135 As described, it is well-established that wireless subscribers
  often use their wireless phones in the same manner in which they use their residential wireline
  phones.136 Indeed, as even Nextel recognizes, there is a growing number of consumers who no
  longer maintain wireline phone service, and rely only on their wireless telephone service. Thus,
  we are not persuaded by Nextel’s arguments.

             36.     Moreover, we believe it is more consistent with the overall intent of the TCPA to

  132
      Nextel Comments at 19. We note that section 227(c )(1) uses the phrase “residential telephone subscribers”
  and that section 227(c)(3), which more specifically discusses the do-not-call database, uses the phrase “residential
  subscribers.” Neither of these terms is defined in the TCPA. Thus, we see no basis in the legislative language or
  history for considering them to be materially different. Nor do we see a basis for distinction in common usage.
  Therefore, we will interpret them to be synonymous and will refer to both by using the term “residential
  subscribers.”
  133
        Nextel Comments at 19.
  134
        Nextel Comments at 21.
  135
        Nextel Comments at 20.
  136
     For example, the Commission recently relied on wireless broadband PCS substitution to support “Track A”
  findings in two section 271 proceedings where residential customers in New Mexico and Nevada had replaced
  their landline service with wireless service. See Application by SBC Communications Inc., Nevada Bell
  Telephone Company, and Southwestern Bell Communications Services, Inc., for Authorization to Provide In-
  Region, InterLATA Services in Nevada, WC Docket No. 03-10, Memorandum Opinion and Order, FCC 03-80 at
  paras. 16 - 26 (rel. April 14, 2003); see also Federal Communications Commission, Seventh Annual Report and
  Analysis of Competitive Market Conditions With Respect to Commercial Mobile Services at 32-36 (Seventh
  Annual CMRS Competition Report).


                                                           25


                                                                                                                PA - 00271
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 274 of 437 Page ID
                                   #:430
                                         Federal Communications Commission                                  FCC 03-153


  allow wireless subscribers to benefit from the full range of TCPA protections. As indicated
  above, Congress afforded wireless subscribers particular protections in the context of autodialers
  and prerecorded calls.137 In addition, although Congress expressed concern with residential
  privacy, it also was concerned with the nuisance, expense and burden that telephone solicitations
  place on consumers.138 Therefore, we conclude that wireless subscribers may participate in the
  national do-not-call list. As a practical matter, since determining whether any particular wireless
  subscriber is a “residential subscriber” may be more fact-intensive than making the same
  determination for a wireline subscriber, we will presume wireless subscribers who ask to be put
  on the national do-not-call list to be “residential subscribers.”139 Such a presumption, however,
  may require a complaining wireless subscriber to provide further proof of the validity of that
  presumption should we need to take enforcement action.

          37.     We emphasize that it is not our intent in adopting a national do-not-call list to
  prohibit legitimate telemarketing practices. We believe that industry commenters present a false
  choice between the continued viability of the telemarketing industry and the adoption of a
  national do-not-call list. We are not persuaded that the adoption of a national do-not-call list will
  unduly interfere with the ability of telemarketers to contact consumers. Many consumers will
  undoubtedly take advantage of the opportunity to register on the national list. Several industry
  commenters suggest, however, that consumers derive substantial benefits from telephone
  solicitations. If so, many such consumers will choose not to register on the national do-not-call
  list and will opt instead to make do-not-call requests on a case-by-case basis or give express
  permission to be contacted by specific companies.140 In addition, as discussed further below, we
  have provided for certain exemptions to the do-not-call registry in recognition of legitimate
  telemarketing business practices. For example, sellers of goods or services via telemarketing
  may continue to contact consumers on the national list with whom they have an established
  business relationship. We also note that calls that do not fall within the definition of “telephone
  solicitation” as defined in section 227(a)(3) will not be precluded by the national do-not-call list.
  These may include surveys, market research, political or religious speech calls.141 The national
  do-not-call rules will also not prohibit calls to businesses and persons with whom the marketer
  has a personal relationship. Telemarketers may continue to contact all of these consumers

  137
        47 U.S.C. § 227(b)(1)(A)(iii).
  138
        S. REP. NO. 102-178 at 1 (noting that telephone solicitations are both a nuisance and an invasion of privacy).
  139
     This presumption is only for the purposes of section 227 and is not in any way indicative of any attempt to
  classify or regulate wireless carriers for purposes of other parts of Title II.
  140
      We also note that numerous alternative marketing outlets remain available to sellers, such as newspapers,
  television, radio, and direct mail.
  141
     Such calls may be prohibited if they serve as a pretext to an otherwise prohibited advertisement or a means of
  establishing a business relationship. Moreover, responding to such a “survey” does not constitute express
  permission or establish a business relationship exemption for purposes of a subsequent telephone solicitation. See
  H.R. REP. NO. 102-317 at 13 (“[T]he Committee does not intend the term ‘telephone solicitation’ to include public
  opinion polling, consumer or market surveys, or other survey research conducted by telephone. A call
  encouraging a purchase, rental, or investment would fall within the definition, however, even though the caller
  purports to be taking a poll or conducting a survey.”).


                                                              26


                                                                                                                 PA - 00272
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 275 of 437 Page ID
                                   #:431
                                        Federal Communications Commission                    FCC 03-153


  despite the adoption of a national do-not-call list. Furthermore, we decline to adopt more
  restrictive do-not-call requirements on telemarketers as suggested by several commenters. For
  example, we decline to adopt an “opt-in” approach that would ban telemarketing to any
  consumer who has not expressly agreed to receive telephone solicitations. We believe that
  establishing such an approach would be overly restrictive on the telemarketing industry. As
  discussed more fully below, we also decline to extend the national do-not-call requirements to
  tax-exempt nonprofit organizations or entities that telemarket on behalf of nonprofit
  organizations.

           38.    We agree with the FTC that a safe harbor should be established for telemarketers
  that have made a good faith effort to comply with the national do-not call rules.142 A seller or
  telemarketer acting on behalf of the seller that has made a good faith effort to provide consumers
  with an opportunity to exercise their do-not-call rights should not be liable for violations that
  result from an error. Consistent with the FTC, we conclude that a seller or the entity
  telemarketing on behalf of the seller will not be liable for violating the national do-not-call rules
  if it can demonstrate that, as part of the seller’s or telemarketer’s routine business practice: (i) it
  has established and implemented written procedures to comply with the do-not-call rules; (ii) it
  has trained its personnel, and any entity assisting in its compliance, in the procedures established
  pursuant to the do-not-call rules; (iii) the seller, or telemarketer acting on behalf of the seller, has
  maintained and recorded a list of telephone numbers the seller may not contact; (iv) the seller or
  telemarketer uses a process to prevent telemarketing to any telephone number on any list
  established pursuant to the do-not-call rules employing a version of the do-not-call registry
  obtained from the administrator of the registry no more than three months prior to the date any
  call is made, and maintains records documenting this process; and (v) any subsequent call
  otherwise violating the do-not-call rules is the result of error.143 We acknowledge that the three-
  month safe harbor period for telemarketers may prove to be too long to benefit some consumers.
   The national do-not-call list has the capability to process new registrants virtually
  instantaneously and telemarketers will have the capability to download the list at any time at no
  extra cost. The Commission intends to carefully monitor the impact of this requirement pursuant
  to its annual report to Congress and may consider a shorter time frame in the future.

           39.    As required by section 227(c)(1)(A), we have compared and evaluated the
  advantages and disadvantages of certain alternative methods to protect consumer privacy
  including the use of network technologies, special directory markings, and company-specific
  lists in adopting a national do-not-call database.144 As noted below, the effectiveness of the
  company-specific approach has significantly eroded as a result of hang-up and “dead air” calls
  from predictive dialers. Consumers in these circumstances have no opportunity to assert their
  do-not-call rights. As discussed more fully below, we believe that, as a stand-alone option, the
  company-specific approach no longer provides consumers with sufficient privacy protections.
  We also conclude that the availability of certain network technologies to reduce telephone

  142
        See FTC Order, 68 Fed. Reg. at 4645-46.
  143
        See 16 C.F.R. § 310.4(b)(3).
  144
        See 47 U.S.C. § 227(c)(1)(A).


                                                       27


                                                                                                  PA - 00273
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 276 of 437 Page ID
                                   #:432
                                      Federal Communications Commission                                FCC 03-153


  solicitations is often ineffective and costly for consumers. Although technology has improved to
  assist consumers in blocking unwanted calls, it has also evolved in such a way as to assist
  telemarketers in making greater numbers of calls and even circumventing such blocking
  technologies.145 Millions of consumers continue to register on state do-not-call lists despite the
  availability of such technologies. Several commenters note that they continue to receive
  unwanted calls despite paying for technologies to reduce telephone solicitations.146 Several
  commenters also note that telemarketers routinely block transmission of caller ID. In particular,
  we are concerned that the cost of technologies such as caller ID, call blocking, and other such
  tools in an effort to reduce telemarketing calls fall entirely on the consumer. We believe that
  reliance on a solution that places the cost of reducing the number of unwanted solicitation calls
  entirely on the consumer is inconsistent with Congress’ intent in the TCPA.147 For the reasons
  outlined in the 1992 TCPA Order, we also decline to adopt special area codes or prefixes for
  telemarketers.148 We believe this option is costly for telemarketers that would be required to
  change their telephone numbers and administratively burdensome to implement. We also
  decline to adopt special directory markings of area white page directories because it would
  require telemarketers to purchase and review thousands of local telephone directories, at great
  cost to the telemarketers.149 We also note that telemarketers often compile solicitation lists from
  many sources other than local telephone directories. In addition, such directories do not include
  unlisted or unregistered telephone numbers and are often updated infrequently. We also note
  that the record in this proceeding provides little support for this option.

          40.       We now review the other requirements of section 227(c)(1). As required by
  section 227(c)(1)(B), we have evaluated AT&T Government Solutions, the entity selected by the
  FTC to administer the national database, and conclude that it has the capacity to establish and
  administer the national database.150 Congress has reviewed and approved funding for the
  implementation of that database. We believe that it is unnecessary to evaluate any other such
  entities at this time. As discussed in greater detail below, we have considered whether different
  methods and procedures should apply for local telephone solicitations and small businesses as
  required by section 227(c)(1)(C).151 For the reasons outlined below, we conclude that the
  145
      See “New telemarketer tool trumps TeleZapper,” CNN.com (February 26, 2003)
  <http://edition.cnn.com/2003/TECH/ptech/02/26/telemarket.tool.ap/> (noting development of software that allows
  telemarketers to circumvent the telezapper and other blocking devices).
  146
     See, e.g., Leslie Price Comments (telezapper ineffective); Josephine Presley Comments (call blocking
  ineffective).
  147
     For example, section 227(c) prohibits consumers from being charged to place their number on a national do-
  not-call list. See 47 U.S.C. § 227(c)(3)(E).
  148
        See 1992 TCPA Order, 7 FCC Rcd at 8761-62, paras. 16-17.
  149
      See 47 U.S.C. § 227(c)(4)(C) (requiring the Commission to consider “whether the needs of telemarketers
  operating on a local basis could be met through special markings of area white page directories”). This conclusion
  is consistent with the Commission’s conclusion in 1992.
  150
        See Letter from Michael Del Casino, AT&T, to Marlene Dortch, FCC, dated March 18, 2003.
  151
        See infra para. 54.


                                                          28


                                                                                                             PA - 00274
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 277 of 437 Page ID
                                   #:433
                                      Federal Communications Commission                               FCC 03-153


  national do-not-call database takes into consideration the costs of those conducting telemarketing
  on a local or regional basis, including many small businesses. In particular, we note that the
  national do-not-call database will permit access to five or fewer area codes at no cost to the
  seller. Pursuant to section 227(c)(1)(D), we have considered whether there is a need for
  additional authority to further restrict telephone solicitations. We conclude that no such
  authority is required at this time.152 Pursuant to the Do-Not-Call Act, the Commission must
  report to Congress on an annual basis the effectiveness of the do-not-call registry. Should the
  Commission determine that additional authority is required over telephone solicitations as part of
  that analysis; the Commission will propose specific restrictions pursuant to that report. As
  required by section 227(c)(1)(E), we have developed regulations to implement the national do-
  not-call database in the most effective and efficient manner to protect consumer privacy needs
  while balancing legitimate telemarketing interests.

         41.     As noted above, the FTC’s decision to adopt a national do-not-call list is currently
  under review in federal district court.153 Because Congress has approved funding for the
  administration of the national list only for the FTC, this Commission would be forced to stay
  implementation of any national list should the plaintiffs prevail in one of those proceedings.

                      2.         Exemptions

          42.     Established Business Relationship. We agree with the majority of industry
  commenters that an exemption to the national do-not-call list should be created for calls to
  consumers with whom the seller has an established business relationship.154 We note that section
  227(a)(3) excludes from the definition of telephone solicitation calls made to any person with
  whom the caller has an established business relationship.155 We believe the ability of sellers to
  contact existing customers is an important aspect of their business plan and often provides
  consumers with valuable information regarding products or services that they may have
  purchased from the company. For example, magazines and newspapers may want to contact
  customers whose subscriptions have or soon will expire and offer new subscriptions. This
  conclusion is consistent with that of the FTC and the majority of states that have adopted do-not-
  call requirements and considered this issue. As discussed in further detail below, we revise the
  definition of an established business relationship so that it is limited in duration to eighteen (18)
  months from any purchase or transaction and 3 months from any inquiry or application.156


  152
     This finding is dependent, in large part, on conclusions that we have reached elsewhere in this order. For
  example, our conclusion that the McCarran-Ferguson Act does not necessarily prohibit the application of the
  national registry to insurance companies; rather, the implications of the McCarran-Ferguson Act will need to be
  evaluated on a case-by-case basis. The Commission may seek further clarification or authority from Congress as
  necessary to support these conclusions.
  153
        See supra note 39.
  154
        See, e.g., NCTA Comments at 6; NAA Comments at 14; MBA Further Comments at 4.
  155
        47 U.S.C. § 227(a)(3).
  156
        See amended 47 C.F.R. § 64.1200(f)(3).


                                                         29


                                                                                                            PA - 00275
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 278 of 437 Page ID
                                   #:434
                                      Federal Communications Commission                                   FCC 03-153


          43.     To the extent that some consumers oppose this exemption, we find that once a
  consumer has asked to be placed on the seller’s company-specific do-not-call list, the seller may
  not call the consumer again regardless of whether the consumer continues to do business with
  the seller. We believe this determination constitutes a reasonable balance between the interests
  of consumers that may object to such calls with the interests of sellers in contacting their
  customers. This conclusion is also consistent with that of the FTC.

            44.    Prior Express Permission. In addition to the established business relationship
  exemption, we conclude that sellers may contact consumers registered on a national do-not-call
  list if they have obtained the prior express permission of those consumers. We note that section
  227(a)(3) excludes from the definition of telephone solicitation calls to any person with “that
  person’s prior express invitation or permission.”157 Consistent with the FTC’s determination, we
  conclude that for purposes of the national do-not-call list such express permission must be
  evidenced only by a signed, written agreement between the consumer and the seller which states
  that the consumer agrees to be contacted by this seller, including the telephone number to which
  the calls may be placed.158 Consumers registered on the national list may wish to have the option
  to be contacted by particular entities. Therefore, we conclude that sellers may obtain the express
  written agreement to call such consumers. The express agreement between the parties shall
  remain in effect as long as the consumer has not asked to be placed on the seller’s company-
  specific do-not-call list. If the consumer subsequently requests not to be called, the seller must
  cease calling the consumer regardless of whether the consumer continues to do business with the
  seller. We also note that telemarketers may not call consumers on the national do-not-call list to
  request their written permission to be called unless they fall within some other exemption. We
  believe that to allow such calls would circumvent the purpose of this exemption. Prior express
  permission must be obtained by some other means such as direct mailing.

         45.     Tax-Exempt Nonprofit Organizations. We agree with those commenters that
  contend that the national do-not-call requirements should not be extended to tax-exempt
  nonprofit organizations or calls made by independent telemarketers on behalf of tax-exempt
  nonprofit organizations.159 We note that section 227(a)(3) specifically excludes calls made by
  tax-exempt nonprofit organizations from the definition of telephone solicitation.160 In so doing,
  we believe Congress clearly intended to exclude tax-exempt nonprofit organizations from
  prohibitions on telephone solicitations under the TCPA. The legislative history indicates that

  157
     47 U.S.C. § 227(a)(3). See also H.R. REP. NO. 102-317 at 13 (1991) (suggesting that Congress did not believe
  such prior express permission need be in writing) We believe that in discussing the form in which prior express
  permission must be given, Congress was addressing an exemption to the definition of telephone solicitation.
  Here, we are addressing the type of prior express permission that would allow calls to consumers who already
  have indicated that they do not wish to receive telemarketing calls (by registering on the do-not-call list).
  158
     For purposes of this exemption, the term “signed” shall include an electronic or digital form of signature, to the
  extent that such form of signature is recognized as a valid signature under applicable federal or state contract law.
  159
    See, e.g., Association of Fundraising Professionals Comments at 3-4; Fund for Public Interest Comments at 2;
  March of Dimes Comments at 2; Special Olympics of Hawaii Comments.
  160
        47 U.S.C. § 227(a)(3).


                                                           30


                                                                                                                PA - 00276
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 279 of 437 Page ID
                                   #:435
                                       Federal Communications Commission                                 FCC 03-153


  commercial calls constitute the bulk of all telemarketing calls.161 A number of commenters and
  the FTC agree with Congress’ conclusion as it relates to a national do-not-call list.162 For this
  reason, we decline to extend the national do-not-call requirements to tax-exempt nonprofit
  organizations. A few commenters seek clarification that requests for blood donations will be
  exempt from the national do-not-call list.163 When such requests are made by tax-exempt
  nonprofit organizations, they will fall within the exemption for tax-exempt nonprofit
  organizations.

          46.     Others. We decline to create specific exemptions to the national do-not-call
  requirements for entities such as newspapers, magazines, regional telemarketers, or small
  businesses.164 For the reasons discussed above, we find unpersuasive arguments that application
  of the national do-not-call database adopted herein will result in severe economic consequences
  for these entities. In particular, we note the exemptions adopted for calls made to consumers
  with whom the seller has an established business relationship and those that have provided
  express agreement to be called. As noted, many consumers may also determine not to register
  on the national database. Telemarketers may continue to contact all of these consumers. We
  believe these exemptions provide telemarketers with a reasonable opportunity to conduct their
  business while balancing consumer privacy interests. Although we agree that newspapers and
  other entities may often provide useful information and services to the public, given our
  conclusion that adoption of the national do-not-call list will not unduly interfere with the ability
  of telemarketers to reach consumers, we do not find this to be a compelling basis to exempt these
  entities.

          47.     We find that the national do-not-call rules adopted today do not apply to calls
  made to persons with whom the marketer has a personal relationship. As discussed herein, a
  “personal relationship” refers to an individual personally known to the telemarketer making the
  call. In such cases, we believe that calls to family members, friends and acquaintances of the
  caller will be both expected by the recipient and limited in number.165 Therefore, the two most

  161
        See H.R. REP. NO. 102-317 at 16 (1991).
  162
     See, e.g., Fund for Public Interest Comments at 2; March of Dimes Comments at 2; Non-for-Profit Coalition
  Comments at 11-13; Special Olympics Hawaii Comments. But see Wayne G. Strang Comments at 7-8; Michael
  C. Worsham Comments at 10. Commenters also argue that restrictions imposed on tax-exempt nonprofit
  organizations or organizations acting on their behalf are subject to more stringent scrutiny under the First
  Amendment as noncommercial speech. See NPCC Comments at 15-18.
  163
        See, e.g., American Red Cross Comments at 2; America’s Blood Centers Comments at 1.
  164
     See, e.g., Newspaper Association of America Comments at 12-14 (noting that newspapers are holders of
  second-class mail permits); Personal Legal Plans Comments at 5 (contending that small businesses should be
  exempt); Seattle Times Comments at 2 (proposing exemption for newspapers); Vector Comments at 7 (proposing
  exemption for entities that make a de minimis number of calls); Ameriquest Further Comments at 2 (“face-to-face”
  exemption).
  165
     In determining whether a telemarketer is considered a 'friend' or 'acquaintance' of a consumer, we will look at,
  among other things, whether a reasonable consumer would expect calls from such a person because they have a
  close or, at least, firsthand relationship. If a complaining consumer were to indicate that a relationship is not
  sufficiently personal for the consumer to have expected a call from the marketer, we would be much less likely to
  (continued….)
                                                           31


                                                                                                               PA - 00277
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 280 of 437 Page ID
                                   #:436
                                      Federal Communications Commission                                  FCC 03-153


  common sources of consumer frustration associated with telephone solicitations – high volume
  and unexpected solicitations – are not likely present when such calls are limited to persons with
  whom the marketer has a personal relationship.166 Accordingly, we find that these calls do not
  represent the type of “telephone solicitations to which [telephone subscribers] object” discussed
  in section 227(c)(1). Moreover, we conclude that the Commission also has authority to
  recognize this limited carve-out pursuant to section 227(c)(1)(E). This subsection provides the
  Commission with discretion in implementing rules to protect consumer privacy to “develop
  proposed regulations to implement the methods and procedures that the Commission determines
  are the most effective and efficient to accomplish the purpose of this section.”167 To the extent
  that any consumer objects to such calls, the consumer may request to be placed on the
  telemarketer’s company’s company-specific do-not-call list. We intend to monitor the rules we
  adopt today and caution that any individual or entity relying on personal relationships abusing
  this exemption may be subject to enforcement action.

          48.     In addition, we decline to extend this approach beyond persons that have a
  personal relationship with the marketer. For example, Vector urges the Commission to adopt an
  exemption that covers “face-to-face” appointment calls to anyone known personally to the
  “referring source.”168 We note that such relationships become increasingly tenuous as they
  extend to individuals not personally known to the marketer and thus such calls are more likely to
  be unexpected to the recipient and more voluminous. Accordingly, referrals to persons that do
  not have a personal relationship with the marketer will not fall within the category of calls
  discussed above.

          49.    We also decline to establish an exemption for calls made to set “face-to-face”
  appointments per se.169 We conclude that such calls are made for the purpose of encouraging the
  purchase of goods and services and therefore fall within the statutory definition of telephone
  solicitation. We find no reason to conclude that such calls are somehow less intrusive to
  consumers than other commercial telephone solicitations. The FTC has reviewed this issue and
  reached the same conclusion.170 In addition, we decline to exempt entities that make a “de


  (Continued from previous page)
  find that the personal relationship exemption is applicable. While we do not adopt a specific cap on the number of
  calls that a marketer may make under this exemption, we underscore that the limited nature of the exemption
  creates a strong presumption against those marketers who make more than a limited number of calls per day.
  166
     We note that this conclusion is consistent with Congress’ rationale in exempting tax-exempt nonprofit
  organizations and established business relationships from the definition of telephone solicitation. See H.R. Rep.
  No. 102-317 at 14 and 16 (1991).
  167
        47 U.S.C § 227(c)(1)(E).
  168
    See Vector Further Comments at Att. 2. Vector makes approximately 4 million calls per year. Vector
  Comments at 6.
  169
    See, e.g., Ameriquest Comments at 14; Vector Comments at 6-7. Such calls may, however, be permissible
  when they fall within exemptions for personal or established business relationships as discussed herein.
  170
        FTC Order, 68 Fed. Reg. 4655-56.


                                                           32


                                                                                                              PA - 00278
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 281 of 437 Page ID
                                   #:437
                                      Federal Communications Commission                              FCC 03-153


  minimis” number of commercial telemarketing calls.171 In contrast to Congress’ rationale for
  exempting nonprofit organizations, we believe that such commercial calls continue to be
  unexpected to consumers even if made in low numbers. As defined by one commenter, a de
  minimis number of calls would not be based on the total number of calls originating from one
  organization, but would be based on the number of calls placed by individual employees of the
  company.172 Thus, the telemarketing entity could circumvent the do-not-call regulations by
  hiring any number of individual marketers, so long as they each did not make more than 20 calls
  per day. We believe that such an exemption, extrapolated to the entire direct marketing industry,
  would result in a significant number of unwanted telephone solicitations. This would
  undoubtedly result in consumer confusion and frustration regarding the application of the
  national do-not-call rules. In addition, we believe that it would be difficult, if not impossible, to
  monitor and enforce such a requirement. For the reasons discussed below, we do not believe the
  costs to access the national database is unreasonable for any small business or entity making a
  “de minimis” number of calls.

          50.     In response to the Further Notice, a few commenters contend that any new rules
  the Commission adopts would not apply to entities engaged in the business of insurance, because
  such rules would conflict with the McCarran-Ferguson Act.173 The McCarran-Ferguson Act
  provides that “[t]he business of insurance ... shall be subject to the laws of the ... States which
  relate to the regulation ... of such business.”174 The McCarran-Ferguson Act further provides that
  “[n]o Act of Congress shall be construed to invalidate, impair, or supersede any law enacted by
  any State for the purpose of regulating the business of insurance ... unless such Act specifically
  relates to the business of insurance.”175 American Council of Life Insurers (ACLI) explains that
  insurers’ marketing activities are extensively regulated at the state level. The Commission’s
  proposal, ACLI argues, “intrudes upon the insurance regulatory framework established by the
  states” and, therefore, should not be applicable to insurers under McCarran-Ferguson.176

          51.    The McCarran-Ferguson Act does not operate to exempt insurance companies
  wholesale from liability under the TCPA. It applies only when their activities constitute the
  “business of insurance,” the state has enacted laws “for the purpose of regulating” the business
  of insurance, and the TCPA would “impair, invalidate, or supersede” such state laws.177 In the
  171
      For example, Vector suggests that the Commission exempt individual direct sellers who make no more than 20
  calls per day. Vector Comments at 8-10.
  172
        Vector Further Comments at 4. Vector makes approximately 4 million calls per year. Vector Comments at 6.
  173
      See ACLI Further Comments at 1-3; Stonebridge Further Comments at 5-7; Cendant Further Comments at 3-4;
  NAII Further Comments at 3. We note that many other commenters representing insurance interests did not raise
  this issue before or during the Further Notice comment period.
  174
        15 U.S.C. § 1012(a).
  175
        15 U.S.C. § 1012(b).
  176
        See ACLI Further Comments at 1-2.
  177
     See 15 U.S.C. § 1012(b); see also The Chair King, Inc. v. Houston Cellular Corp., 1995 WL 1760037 (S.D.
  Tex. 1995), vacated for lack of subject matter jurisdiction 131 F.3d 507 (5th Cir. 1997).


                                                          33


                                                                                                           PA - 00279
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 282 of 437 Page ID
                                   #:438
                                       Federal Communications Commission                                  FCC 03-153


  one case cited by commenters as addressing the interplay between McCarran-Ferguson and the
  TCPA, a federal district court dismissed a claim brought against two insurance companies under
  the TCPA for sending unsolicited facsimile advertisements.178 The Chair King court found that
  the TCPA conflicted with a Texas law that prohibited untrue, deceptive, or misleading
  advertising by insurers and their agents. In its analysis, the court determined that insurance
  advertising was part of the “business of insurance,”179 and that the Texas law in question was
  enacted for the purpose of regulating the business of insurance.180 The court then concluded that
  because the TCPA “prohibits unsolicited insurance advertising by facsimile while the Texas
  [laws] permit [such] advertising . . . so long as the advertisements are truthful and not
  misleading,” the TCPA conflicts with the Texas law and is preempted under McCarran-
  Ferguson.181

          52.     To the extent that any state law regulates the “business of insurance”182 and the
  TCPA is found to “invalidate, impair, or supersede” such state law, it is possible that a particular
  activity involving the business of insurance would not fall within the reach of the TCPA. Any
  determination about the applicability of McCarran-Ferguson, however, requires an analysis of
  the particular activity and State law regulating it. In addition, McCarran-Ferguson applies only
  to federal statutes that “invalidate, impair, or supersede” state insurance regulation. Courts have
  held that duplication of state law prohibitions by a federal statute do not “invalidate, impair, or
  supersede” state laws regulating the business of insurance.183 Nor is the mere presence of a
  regulatory scheme enough to show that a state statute is “invalidated, impaired or superseded.”184

          53.     We believe that the TCPA, which was enacted to protect consumer privacy
  interests, is compatible with states’ regulatory interests.185 In fact, the TCPA permits States to
  178
        The Chair King, Inc. v. Houston Cellular Corp., 1995 WL 1760037 (S.D. Tex. 1995).
  179
    See Chair King, 1995 WL 1760037 at 3 (citing SEC v. National Securities Inc., 393 U.S. 453, 460 (1960) and
  FTC v. National Casualty Co., 357 U.S. 560 (1958)).
  180
        See Chair King, 1995 WL 1760037 at 4.
  181
     We note that the TCPA’s prohibition does not specifically reference insurance advertising. The TCPA also
  permits facsimile advertising to persons who have given their prior express invitation or permission. See 47
  U.S.C. §§ 227(b)(1)(C) and (a)(4).
  182
     NAII explains that “[s]tate insurance codes prohibit a variety of unfair trade practices, such as rebating,
  deceptive advertising, inequitable claim settlement and unfair discrimination.” See NAII Further Comments at 2.
  183
      See, e.g., Merchant Home Delivery Serv. Inc. v. Frank B. Hall & Co. Inc., 50 F.3d 1486, 1492 (9th Cir. 1995)
  (holding federal statute prohibiting acts also prohibited under state law not to “invalidate, impair, or supersede”
  state law under McCarran-Ferguson); United Farm Bureau Mut. Ins. Co. v. Metropolitan Human Relations
  Comm’n, 24 F.3d 1008, 1016 (7th Cir. 1994) (holding duplicate prohibition of redlining under Indiana law not to
  preempt Fair Housing Act under McCarran-Ferguson Act).
  184
        See, e.g., Mackey v. Nationwide Ins. Companies, 724 F.2d 419, 421 (4th Cir. 1984).
  185
      See U.S. v. Calvin, 39 F.3d 1299, 1305 (5th Cir. 1994) (noting that government charges of fraud not barred by
  McCarran-Ferguson Act where interest in fraud protection is completely compatible with state's regulatory
  interests).


                                                            34


                                                                                                               PA - 00280
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 283 of 437 Page ID
                                   #:439
                                        Federal Communications Commission                  FCC 03-153


  enforce the provisions of the TCPA on behalf of residents of their State.186 In addition, we
  believe that uniform application of the national do-not-call registry to all entities that use the
  telephone to advertise best serves the goals of the TCPA. To exempt the insurance industry from
  liability under the TCPA would likely confuse consumers and interfere with the protections
  provided by Congress through the TCPA. Therefore, to the extent that the operation of
  McCarran-Ferguson on the TCPA is unclear, we will raise this issue in our Report to Congress
  as required by the Do-Not-Call Act.

           54.     We conclude that the national do-not-call mechanism established by the FTC and
  this Commission adequately takes into consideration the needs of small businesses and entities
  that telemarket on a local or regional basis in gaining access to the national database. As
  required by section 227(c)(1)(C), we have considered whether different procedures should apply
  for local solicitations and small businesses. We decline, however, to exempt such entities from
  the national do-not-call requirements. Given the large number of entities that solicit by
  telephone, and the technological tools that allow even small entities to make a significant
  number of solicitation calls, we believe that to do so would undermine the effectiveness of the
  national do-not-rules in protecting consumer privacy and create consumer confusion and
  frustration. In so doing, we conclude that the approach adopted herein satisfies section
  227(c)(4)’s requirement that the Commission, in developing procedures for gaining access to the
  database, consider the different needs of telemarketers conducting business on a national,
  regional, State, or local level and develop a fee schedule for recouping the cost of such database
  that recognizes such differences.187 The national database will be available for purchase by
  sellers on an area-code-by-area-code basis. The cost to access the database will vary depending
  on the number of area codes requested. Sellers need only purchase those area codes in which the
  seller intends to telemarket. In fact, sellers that request access to five or fewer area codes will be
  granted access to those area codes at no cost. We note that thirty-three states currently have five
  or fewer area codes. Thus, telemarketers or sellers operating on a “local” or “regional” basis
  within one of these thirty-three states will have access to all of that states’ national do-not-call
  registrants at no cost. In addition, the national database will provide a single number lookup
  feature whereby a small number of telephone numbers can be entered on a web page to
  determine whether any of those numbers are included on the national registry. We believe this
  fee structure adequately reflects the needs of regional telemarketers, small business and those
  marketing on a de minimis level. For these reasons, we conclude that this approach will not
  place any unreasonable costs on small businesses.188

                      3.       Section 227(c)(3) Requirements

         55.    We conclude that the national do-not-call database adopted jointly by this
  Commission and the FTC satisfies each of the statutory requirements outlined in section
  227(c)(3)(A)-(L). We now discuss each such requirement. Section 227(c)(3)(A) requires the

  186
        See 47 U.S.C. § 227(f)(1).
  187
        47 U.S.C. § 227(c)(4)(A)-(B) (emphasis added).
  188
        See 47 U.S.C. § 227(c)(4)(B)(iii).


                                                         35


                                                                                                PA - 00281
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 284 of 437 Page ID
                                   #:440
                                      Federal Communications Commission                                FCC 03-153


  Commission to specify the method by which an entity to administer the national database will be
  selected. On August 2, 2002, the FTC issued a Request for Quotes (RFQ) to selected vendors on
  GSA schedules seeking proposals to develop, implement, and operate the national registry.
  After evaluating those proposals, the FTC selected a competitive range of vendors and issued an
  amended RFQ to those vendors on November 25, 2002. After further evaluation, the FTC
  selected AT&T Government Solutions as the successful vendor for the national do-not-call
  database on March 1, 2003.189 As noted above, Congress has approved the necessary funding for
  implementation of the national database.

          56.     Pursuant to sections 227(c)(3)(B)-(C), we require each common carrier providing
  telephone exchange service to inform subscribers for telephone exchange service of the
  opportunity to provide notification that such subscriber objects to receiving telephone
  solicitations. Each telephone subscriber shall be informed, by the common carrier that provides
  local exchange service to that subscriber, of (i) the subscriber’s right to give or revoke a
  notification of an objection to receiving telephone solicitations pursuant to the national database
  and (ii) the methods by which such rights may be exercised by the subscriber. Pursuant to
  section 227(c)(3)(C), we conclude that, beginning on January 1, 2004, such common carriers
  shall provide an annual notice, via an insert in the customer’s bill, to inform their subscribers of
  the opportunity to register or revoke registrations on the national do-not-call database. Although
  we do not specify the exact description or form that such notification should take, such
  notification must be clear and conspicuous. At a minimum, it must include the toll-free
  telephone number and internet address established by the FTC to register or revoke registrations
  on the national do-not-call database.

           57.     Section 227(c)(3)(D) requires the Commission to specify the methods by which
  registrations shall be collected and added to the database. As discussed above, consumers will
  be able to add their telephone numbers to the national do-not-call registry either through a toll-
  free telephone call or over the Internet.190 Consumers who choose to register by phone will have
  to call the registration number from the telephone line that they wish to register. Their calls will
  be answered by an Interactive Voice Response (IVR) system. The consumers will be asked to
  enter on their telephone keypad the telephone number from which the consumer is calling. This
  number will be checked against the ANI that is transmitted with the call. If the number entered
  matches the ANI, then the consumer will be informed that the number has been registered.
  Consumers who choose to register over the Internet will go to a website dedicated to the
  registration process where they will be asked to enter the telephone number they wish to
  register.191 We encourage the FTC to notify consumers in the IVR message that the national
  registry will prevent most, but not all, telemarketing calls. Specifically, we believe consumers
  should be informed that the do-not-call registry does not apply to tax-exempt nonprofit
  organizations and companies with whom consumers have an established business relationship.
  The effectiveness and value of the national registry depends largely on an informed public.
  Therefore, we also intend to emphasize in our educational materials and on our website the

  189
        See also Letter from Michael Del Casino, AT&T, to Marlene Dortch, FCC, dated March 18, 2003.
  190
        FTC Order, 68 Fed. Reg. at 4638-39.
  191
        FTC Order, 68 Fed. Reg. at 4639.


                                                         36


                                                                                                          PA - 00282
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 285 of 437 Page ID
                                   #:441
                                         Federal Communications Commission                             FCC 03-153


  purpose and scope of the new rules.

          58.     Section 227(c)(3)(E) prohibits any residential subscriber from being charged for
  giving or revoking notification to be included on the national do-not-call database. As discussed
  above, consumers may register or revoke do-not-call requests either by a toll-free telephone call
  or over the Internet. No charge will be imposed on the consumer. Section 227(c)(3)(F) prohibits
  any person from making or transmitting a telephone solicitation to the telephone number of any
  subscriber included on the national database. Subject to the exemptions discussed above, we
  adopt rules herein that will prohibit telephone solicitations to those consumers that have
  registered on the national database.192

           59.     Section 227(c)(3)(G) requires the Commission to specify (i) the methods by
  which any person deciding to make telephone solicitations will obtain access to the database, by
  area code or local exchange prefix, and (ii) the costs to be recovered from such persons. Section
  227(c)(3)(H) requires the Commission to specify the methods for recovering, from the persons
  accessing the database, the costs involved in the operations of the database. To comply with the
  national do-not-call rules, telemarketers must gain access to the telephone numbers in the
  national database. Telemarketers will have access to the national database by means of a fully-
  automated, secure website dedicated to providing information to these entities.193 The first time
  a telemarketer accesses the system, the company will be asked to provide certain limited
  identifying information, such as name and address, contact person, and contact person’s
  telephone number and address. If a telemarketer is accessing the registry on behalf of a client
  seller, the telemarketer will also need to identify that client.194 When a telemarketer first submits
  an application to access registry information, the company will be asked to specify the area
  codes they want to access. An annual fee will be assessed based upon the number of area codes
  requested.195 Each entity on whose behalf the telephone solicitation is being made must pay this
  fee via credit card or electronic funds transfer. After payment is processed, the telemarketer will
  be given an account number and permitted to access the appropriate portions of the registry.196
  Telemarketers will be permitted to access the registry as often as they wish for no additional
  cost, once the annual fee is paid.

          60.    Section 227(c)(3)(I) requires the Commission to specify the frequency with which
  the national database will be updated and specify the method by which such updates will take
  effect for purposes of compliance with the do-not-call regulations. Because the registration
  process will be completely automated, updates will occur continuously. Consumer registrations

  192
        See also 16 C.F.R. § 310.4(b)(1)(iii)(B).
  193
        FTC Order, 68 Fed. Reg. at 4640.
  194
        FTC Order, 68 Fed. Reg. at 4640.
  195
     Telemarketing Sales Rule Fees, 68 Fed. Reg. 16238 (April 3, 2003) (FTC Fees Notice). The FTC has
  proposed that sellers be charged $29 per area code with a maximum annual fee of $7,250 for access to the entire
  national database. Sellers may request access to five or less areas codes for free.
  196
        FTC Order, 68 Fed. Reg. at 4640.


                                                          37


                                                                                                            PA - 00283
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 286 of 437 Page ID
                                   #:442
                                       Federal Communications Commission                                   FCC 03-153


  will be added to the registry at the same time they register - or at least within a few hours after
  they register. As discussed above, the safe harbor provision requires telemarketers to employ a
  version of the registry obtained not more than three months before any call is made. Thus,
  telemarketers will be required to update their lists at least quarterly. Instead of making the list
  available on specific dates, the registry will be available for downloading on a constant basis so
  that telemarketers can access the registry at any time.197 As a result, each telemarketer’s three-
  month period may begin on different dates.198 In addition, the administrator will check all
  telephone numbers in the do-not-call registry each month against national databases, and those
  numbers that have been disconnected or reassigned will be removed from the registry.199 We
  encourage parties that may have specific recommendations on ways to improve the overall
  accuracy of the database in removing disconnected and reassigned telephone numbers to submit
  such proposals to our attention and to the FTC directly.

           61.    Section 227(c)(3)(J) requires that the Commission’s regulations be designed to
  enable states to use the database for purposes of administering or enforcing state law.200 Section
  227(c)(3)(K) prohibits the use of the database for any purpose other than compliance with the
  do-not-call rules and any such state law and requires the Commission to specify methods for
  protection of the privacy rights of persons whose numbers are included in such database.
  Consistent with the determination of the FTC, we conclude that any law enforcement agency that
  has responsibility to enforce federal or state do-not-call rules or regulations will be permitted to
  access the appropriate information in the national registry.201 This information will be obtained
  through a secure Internet website. Such law enforcement access to data in the national registry is
  critical to enable state Attorneys General, public utility commissions or an official or agency
  designated by a state, and other appropriate law enforcement officials to gather evidence to
  support enforcement of the do-not-call rules under the state and federal law. In addition, as
  discussed above, we have imposed restrictions on the use of the national list.202 Consistent with
  the FTC’s determination, we have concluded that no person or entity may sell, rent, lease,
  purchase, or use the national do-not-call database for any purpose except compliance with
  section 227 and any such state or federal law to prevent telephone solicitations to telephone
  numbers on such list. We specifically prohibit any entity from purchasing this list from any
  entity other than the national do-not-call administrator or dispensing the list to any entity that has
  not paid the required fee to the administrator. The only information that will be made available
  to telemarketers is the telephone number of consumers registered on the list. Given the
  restrictions imposed on the use of the national database and the limited amount of information

  197
        FTC Order, 68 Fed. Reg. at 4647.
  198
      Appropriate state and federal regulators will be capable of verifying when the telemarketer last accessed the
  list. FTC Order, 68 Fed. Reg. at 4641.
  199
        FTC Order, 68 Fed. Reg. at 4640.
  200
     In fact, section 227(e)(2) prohibits states from using any database that does not include the part of the national
  database that relates to such state. See 47 U.S.C. § 227(e)(2).
  201
        See FTC Order, 68 Fed. Reg. at 4641.
  202
        See supra para. 32.


                                                            38


                                                                                                                 PA - 00284
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 287 of 437 Page ID
                                   #:443
                                      Federal Communications Commission                                  FCC 03-153


  provided, we believe that adequate privacy protections have been established for consumers.

          62.     Section 227(c)(3)(L) requires each common carrier providing services to any
  person for the purpose of making telephone solicitations to notify such person of the
  requirements of the national do-not-call rules and the regulations thereunder. We therefore
  require common carriers, beginning January 1, 2004, to make a one-time notification to any
  person or entity making telephone solicitations that is served by that carrier of the national do-
  not-call requirements. We do not specify the exact description or form that such notification
  should take. At a minimum, it must include a citation to the relevant federal do-not-call rules as
  set forth in 47 C.F.R. § 64.1200 and 16 C.F.R. Part 310, respectively. Although we recognize
  that carriers may not be capable of identifying every person or entity engaged in telephone
  solicitations served by that carrier, we require carriers to make reasonable efforts to comply with
  this requirement. We note that failure to give such notice by the common carrier to a
  telemarketer served by that carrier will not excuse the telemarketer from violations of the
  Commission’s rules.

                    4.       Constitutionality

          63.      We conclude that a national do-not-call registry is consistent with the First
  Amendment. As discussed in more detail below, we believe, like the FTC, that our regulations
  satisfy the criteria set forth in Central Hudson Gas & Elec. v. Pub. Serv. Comm. of N.Y., in
  which the Supreme Court established the applicable analytical framework for determining the
  constitutionality of a regulation of commercial speech.203 Our conclusion is also consistent with
  every Court of Appeals decision that has considered First Amendment challenges to the
  TCPA.204

          64.    Under the framework established in Central Hudson, a regulation of commercial
  speech will be found compatible with the First Amendment if (1) there is a substantial
  government interest; (2) the regulation directly advances the substantial government interest; and
  (3) the proposed regulations are not more extensive than necessary to serve that interest.205

  203
     Central Hudson Gas & Elec. v. Pub. Serv. Comm. of N.Y., 447 U.S. 557 (1980). NAAG argues that Central
  Hudson may not even be the appropriate analytical framework to determine the constitutionality of regulations
  implementing the national do-not-call registry, since “[f]ar from being an impermissible regulation of speech, the
  registry merely works to prevent ‘a form of trespass.’” NAAG Comments at 34. We would note, however, that
  the Supreme Court has analyzed other measures that protected residential privacy as restrictions on commercial
  speech. See Florida Bar v. Went For It, Inc., 515 U.S. 618 (1995) (applied Central Hudson analysis to Florida
  Bar rules that prohibited lawyers from using direct mail to solicit personal injury or wrongful death clients within
  30 days of accident.) See also State of Missouri v. American Blast Fax, 323 F.3d 649 (8th Cir. 2003) (American
  Blast Fax), pet. for rehearing pending and Destination Ventures v. Federal Communications Commission, 46 F.3d
  54 (9th Cir.1995) (Destination Ventures), where both the Eighth and Ninth Circuits applied the Central Hudson
  analysis to the TCPA provisions banning unsolicited fax advertising.
  204
     See Kathryn Moser v. Federal Communications Commission, 46 F.3d 970 (9th Cir. 1995) (Moser) cert. denied,
  515 U.S. 1161 (1995) (upholding ban on prerecorded telephone calls); American Blast Fax (upholding ban on
  unsolicited fax advertising) and Destination Ventures (upholding ban on unsolicited fax advertising).
  205
     Central Hudson, 447 U.S. at 566. Specifically, the Court found that “[f]or commercial speech to come within
  the First Amendment, it at least must concern lawful activity and not be misleading. Next, it must be determined
  (continued….)
                                                           39


                                                                                                               PA - 00285
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 288 of 437 Page ID
                                   #:444
                                       Federal Communications Commission                                   FCC 03-153


  Under the first prong, we find that there is a substantial governmental interest in protecting
  residential privacy. The Supreme Court has “repeatedly held that individuals are not required to
  welcome unwanted speech into their homes and that the government may protect this
  freedom.”206

         65.      In particular, the government has an interest in upholding the right of residents to
  bar unwanted speech from their homes. In Rowan v. United States Post Office, the Supreme
  Court upheld a statute that permitted a person to require that a mailer remove his name from its
  mailing lists and stop all future mailings to the resident:

                      The Court has traditionally respected the right of a householder to
                      bar, by order or notice, solicitors, hawkers, and peddlers from his
                      property. In this case the mailer’s right to communicate is
                      circumscribed only by an affirmative act of the addressee giving
                      notice that he wishes no further mailings from that mailer. . . . In
                      effect, Congress has erected a wall – or more accurately permits a
                      citizen to erect a wall – that no advertiser may penetrate without
                      his acquiescence.207

          66.     Here, the record supports that the government has a substantial interest in
  regulating telemarketing calls. In 1991, Congress held numerous hearings on telemarketing,
  finding, among other things, that “[m]ore than 300,000 solicitors call more than 18,000,000
  Americans every day” and “[u]nrestricted telemarketing can be an intrusive invasion of privacy
  and, when an emergency or medical assistance telephone line is seized, a risk to public safety.208
   Our record, like the FTC’s, demonstrates that telemarketing calls are even more of an invasion
  of privacy than they were in 1991. The number of daily calls has increased five fold (to an
  estimated 104 million), due in part to the use of new technologies, such as predictive dialers.209
  An overwhelming number of consumers in the approximately 6,500 commenters in this
  proceeding support the adoption and implementation of a national do-not-call registry. In
  addition to citing concerns about the numerous and ever-increasing number of calls, they
  (Continued from previous page)
  whether the asserted governmental interest to be served by the restriction on commercial speech is substantial. If
  both inquiries yield positive answers, it must then be decided whether the regulation directly advances the
  governmental interest asserted, and whether it is not more extensive than is necessary to serve that interest.” Id. at
  557.
  206
     Frisby v. Schultz, 487 U.S. 474, 485. See also Federal Communications Commission v. Pacifica Foundation,
  438 U.S. 726, 748 (1978) (“[I]n the privacy of the home, … the individual’s right to be left alone plainly
  outweighs the First Amendment rights of an intruder.”).
  207
     Rowan v. United States Post Office, 397 U.S. 728 at 737-738 (1970); see also Martin v. City of Struthers, 319
  U.S. 141 (1943), in which the Court struck down a ban on door-to-door solicitation because it “substituted the
  judgment of the community for the judgment of the individual householder,” id. at 144, but noted in dicta that a
  regulation “which would make it an offense for any person to ring a bell of a householder who has appropriately
  indicated that he is unwilling to be disturbed” would be constitutional. Id. at 148.
  208
        H.R. REP. NO. 102-317 at 2 (1991).
  209
        See supra para. 8.


                                                            40


                                                                                                                 PA - 00286
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 289 of 437 Page ID
                                   #:445
                                         Federal Communications Commission                               FCC 03-153


  complain about the inadequacies of the company-specific approach, the burdens of such calls on
  the elderly and people with disabilities, and the costs of acquiring technologies to reduce the
  number of unwanted calls.210 Accordingly, we believe that the record demonstrates that
  telemarketing calls are a substantial invasion of residential privacy, and regulations that address
  this problem serve a substantial government interest.

          67.     Under Central Hudson’s second prong, we find that the Commission’s regulations
  directly advance the substantial government interest. Under this prong, the government must
  demonstrate that “the harms it recites are real and that its restriction will in fact alleviate them to
  a material degree.”211 It may justify the restrictions on speech “based solely on history,
  consensus, and ‘simple common sense.’”212 Creating and implementing a national do-not-call
  registry will directly advance the government’s interest in protecting residential privacy from
  unwanted telephone solicitations. Congress, consumers, state governments and the FTC have
  reached the same conclusion. The history of state administered do-not-call lists demonstrates
  that such do-not-call programs have a positive impact on the ability of many consumers to
  protect their privacy by reducing the number of unwanted telephone solicitations that they
  receive each day.213 As noted above, Congress has reviewed the FTC’s decision to establish a
  national do-not-call list and concluded that the do-not-call initiative will provide significant
  benefits to consumers throughout the United States.214 We reject the arguments that because our
  do-not-call registry provisions do not apply to tax-exempt nonprofit organizations, our
  regulations do not directly and materially advance the government interest of protecting
  residential privacy.215 “Government [need not] make progress on every front before it can make
  progress on any front.”216

          68.      We believe that the facts here are easily distinguishable from those in Rubin v.
  Coors Brewing Company, 514 U.S. 476 (1995) and City of Cincinnati v. Discovery Network, 507
  U.S. 410 (1993). In Coors, the Court struck down a prohibition against disclosure of alcoholic
  content on labels or in advertising that applied to beer but not to wine or distilled spirits, finding
  that “the irrationality of this unique and puzzling regulatory framework ensures that the labeling
  ban will fail to achieve [the Government’s interest in combating strength wars.]” In Discovery

  210
        See supra para. 19.
  211
        Florida Bar v. Went For It, Inc., 515 U.S. 618, 626 (1995) (citations omitted).
  212
        Id. at 628 (citation omitted).
  213
        See, e.g., Brenda J. Donat Comments; Alice and Bill Frazee Comments; Tammy Packett Comments.
  214
     See e.g., H.R. REP. NO. 108-8 at 3 (2003), reprinted in 2003 U.S.C.C.A.N. 688, 670 (“[i]t is the strongly held
  view of the Committee that a national do-not-call list is in the best interest of consumers, businesses and consumer
  protection authorities. This legislation is an important step toward a one-stop solution to reducing telemarketing
  abuses.”).
  215
        See, e.g., ATA Comments at 85-88 and WorldCom Comments at 27-33.
  216
     United States v. Edge Broadcasting Company, 509 U.S. 418, 434 (1993). See also Moser v. FCC, 46 F.3d at
  975 (“Congress may reduce the volume of telemarketing calls without completely eliminating the calls.”).


                                                             41


                                                                                                               PA - 00287
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 290 of 437 Page ID
                                   #:446
                                          Federal Communications Commission                               FCC 03-153


  Network, the Court struck down an ordinance which banned 62 newsracks containing
  commercial publications but did not ban 1,500-2,000 newsracks containing newspapers, finding
  that “the distinction bears no relationship whatsoever to the particular [aesthetic] interests that
  the city has asserted.” Here, Congress’ decision to exclude tax-exempt nonprofit organizations
  from the definition of telemarketing in the TCPA was both rational and related to its interest in
  protecting residential privacy. The House Report finds that “the record suggests that most
  unwanted telephone solicitations are commercial in nature. . . .[T]he Committee also reached the
  conclusion, based on the evidence, that … calls [from tax-exempt nonprofit organizations] are
  less intrusive to consumers because they are more expected. Consequently, the two main
  sources of consumer problems – high volume of solicitations and unexpected solicitations – are
  not present in solicitations by nonprofit organizations.”217

         69.     Commenters in our record also express the concern that subjecting tax-exempt
  nonprofit organizations to the national do-not-call requirements may sweep too broadly because
  it would prompt some consumers to accept blocking of non-commercial, charitable calls to
  which they might not otherwise object as an undesired effect of registering on the national
  database to stop unwanted commercial solicitation calls. Both the Eighth and the Ninth Circuits
  found that the provisions of the TCPA, which bans unsolicited commercial faxes but not non-
  commercial faxes, directly advance a substantial government interest,218 and we believe that the
  same distinction may be applied to the national do-not-call registry.219

          70.    We find under the third prong of the Central Hudson test that our proposed
  regulations are not more extensive than necessary to protect residential privacy. The Supreme
  Court has made clear that with respect to this prong, “the differences between commercial
  speech and noncommercial speech are manifest.”220 The Court held that:

                      [T]he least restrictive means test has no role in the commercial
                      speech context. What our decisions require, instead, is a fit
                      between the legislature’s ends and the means chosen to accomplish
                      those ends, a fit that is not necessarily perfect, but reasonable; that

  217
        H.R. REP. NO. 102-317 at 16 (1991).
  218
        See American Blast Fax and Destination Ventures.
  219
      We reject Vector’s argument that because its direct sellers and others make a de minimis number of calls
  relative to the high-volume of calls that telemarketers make, that the national do-not-call registry, as applied to
  companies like Vector’s, “would not directly or materially advance the government’s interest.” Vector Comments
  at 12-13. The Supreme Court has held, in applying Central Hudson’s second prong, that the state does not have to
  demonstrate that the government’s interest is advanced as applied to every case. See Ward v. Rock Against
  Racism, 491 U.S. 781, 801 (1989) (“[T]he validity of the regulation depends on the relation it bears to the overall
  problem the government seeks to correct, not on the extent to which it furthers the government’s interest in an
  individual case.”); Edge Broadcasting, 509 U.S. 418, discussing Ohralik v. Ohio State Bar Assn., 436 U.S. 447
  (1978) (“[T]he State was entitled to protect its interest by applying a prophylactic rule to those circumstances
  generally; we declined to go further and to prove that the state interests supporting the rule actually were advanced
  by applying the rule in … [the] particular case.”).
  220
        Florida Bar, 515 U.S. 618, 632.


                                                           42


                                                                                                                PA - 00288
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 291 of 437 Page ID
                                   #:447
                                       Federal Communications Commission                               FCC 03-153


                      represents not necessarily the single best disposition but one whose
                      scope is in proportion to the interest served …. [T]he existence of
                      numerous and obvious less-burdensome alternatives to the
                      restriction on commercial speech is certainly a relevant
                      consideration in determining whether the fit between the ends and
                      means is reasonable.221

  In Florida Bar, the Supreme Court found that a prohibition against lawyers using direct mail to
  solicit personal injury or wrongful death clients within 30 days of an accident was not more
  extensive than necessary to “protect… the privacy and tranquility of personal injury victims and
  their loved ones against intrusive, unsolicited contact by lawyers.”222 Similarly, the Ninth
  Circuit has found that the TCPA’s ban on prerecorded telemarketing calls constitutes a
  “reasonable fit” with the government’s legitimate interest in protecting residential privacy.223

          71.      Here, we find that our regulations meet the requirements of Central Hudson’s
  third prong. Pursuant to our regulations, we adopt a single, national do-not-call database that we
  will enforce jointly with the FTC. Our rules mandate that common carriers providing telephone
  exchange service shall inform their subscribers of their right to register on the database either
  through a toll-free telephone call or over the Internet. Furthermore, telemarketers and sellers
  must gain access to telephone numbers in the national database and will be able to do so by
  means of a fully automated, secure website dedicated to providing information to these entities.
  In addition, sellers will be assessed an annual fee based upon the number of area codes they want
  to assess, with the maximum annual fee capped at $7,250. Our rules also provide that the
  national database will be updated continuously, and telemarketers must update their lists
  quarterly. We find that our regulations are a reasonable fit between the ends and means and are
  not as restrictive as the bans upheld in the cases cited above. In Florida Bar, the Supreme Court
  upheld an absolute ban against lawyers using direct mail to solicit personal injury or wrongful
  death clients within 30 days of an accident. Similarly, the Ninth Circuit has upheld the TCPA’s
  absolute ban on prerecorded telemarketing calls, and both the Eighth and Ninth Circuit have
  upheld the TCPA’s absolute ban on unsolicited faxes. Here, our regulations do not absolutely
  ban telemarketing calls. Rather, they provide a mechanism by which individual consumers may
  choose not to receive telemarketing calls. We also note that there are many other ways available
  to market products to consumers, such as newspapers, television, radio advertising and direct
  mail.224 In addition, there simply are not “numerous and obvious less-burdensome alternatives”
  to the national do-not-call registry. The record clearly demonstrates widespread consumer

  221
        Id.
  222
        Id. at 624.
  223
     Moser, 46 F.3d at 975; see also American Blast Fax, 323 F.3d at 658-60 (TCPA’s ban on unsolicited faxes was
  not more extensive than necessary to “prevent … unwanted fax advertising from shifting advertising costs to
  unwilling consumers and interfering with their fax machines.”); Destination Ventures (FCC sustained its burden
  of demonstrating reasonable fit between interest in preventing shift of advertising costs to consumers and banning
  unsolicited commercial faxes.).
  224
        See Florida Bar, 515 U.S. at 633-34.


                                                          43


                                                                                                             PA - 00289
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 292 of 437 Page ID
                                   #:448
                                         Federal Communications Commission                                FCC 03-153


  dissatisfaction both with the effectiveness of the current company-specific rules that are
  currently in place225 and the effectiveness and expense of certain technological alternatives to
  reduce telephone solicitations.226 We also note that many of the “burdens” of the national do-
  not-call registry – issues concerning its costs, accuracy, and privacy – have been addressed by
  advances in computer technology and software over the last ten years.227 Thus, we find that our
  regulations implementing the national do-not-call registry are consistent with the First
  Amendment and the framework established in Central Hudson.

           72.     Furthermore, we reject the arguments that the Central Hudson framework is not
  appropriate and that strict scrutiny is required because the regulations implementing the national
  do-not-call list are content-based, due to the TCPA’s exemptions for non-profit organizations
  and established business relationships.228 For support, commenters cite to Discovery Network,
  507 U.S. 410, in which the Court struck down Cincinnati’s ordinance which banned newsracks
  containing commercial publications but did not ban newsracks containing newspapers. The
  Court found that the regulation could neither be justified as a restriction on commercial speech
  under Central Hudson, nor could it be upheld as a valid time, place, or manner restriction on
  protected speech.229 The Court explained that “the government may impose reasonable
  restrictions on the time, place or manner of engaging in protected speech provided that they are
  adequately justified ‘without reference to the content of the regulated speech’.”230 In this case,
  the Court held that the City’s ban which covered commercial publications but not newspapers
  was content-based.231 “It is the absence of a neutral justification for its selective ban on
  newsracks that prevents the city from defending its newsrack policy as content neutral.”232

  225
        See supra para. 19.
  226
        See supra para. 39.
  227
      See supra paras. 30-32. We also reject Vector’s argument that the failure in our rules to provide an exemption
  for direct sellers and others who make a de minimis number of calls means that our regulations do not meet the
  requirement of Central Hudson’s third prong of being “narrowly tailored to ensure that … [they are]… no more
  extensive than necessary to serve the governmental interest.” Vector Comments at 10, quoting Central Hudson,
  447 U.S. at 565-66. As stated above, the Supreme Court requires a “not necessarily perfect but, reasonable” fit,
  Florida Bar, 515 U.S. at 632. In upholding a ban which prohibited lawyers from using direct mail to solicit
  personal injury or wrongful death clients within 30 days of an accident, even in cases where the injuries or grief
  was relatively minor, the Court held that, “We find little deficiency in the ban’s failure to distinguish among
  injured Floridians by the severity of their pain or the intensity of their grief…. The Bar’s rule is reasonably well
  tailored to its stated objective.” Id. at 633. Similarly, we find our regulations implementing the national do-not-
  call registry do not need to provide for an exemption for direct sellers and others who make a de minimis number
  of calls in order to be a “reasonable fit” between the governmental ends and means.
  228
        See ATA Comments at 64-79 and WorldCom Comments at 36-38.
  229
        City of Cincinnati v. Discovery Network Inc. et al, 507 U.S. 410 at 430 (1993).
  230
        Id. at 428 (citation omitted).
  231
        Id. at 429.
  232
        Id. at 429-30.


                                                             44


                                                                                                                PA - 00290
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 293 of 437 Page ID
                                   #:449
                                     Federal Communications Commission                                  FCC 03-153


          73.     Here, however, there was a neutral justification for Congress’ decision to exclude
  non-profit organizations. As we noted supra, Congress found that “the two sources of consumer
  problems – high volume of solicitations and unexpected solicitations – are not present in
  solicitations by nonprofit organizations.”233 Congress also made a similar finding with respect to
  solicitations based on established business relationships.234 Consumers are more likely to
  anticipate contacts from companies with whom they have an existing relationship and the
  volume of such calls will most likely be lower. Furthermore, as the Eighth Circuit noted when it
  distinguished the Discovery Network case in upholding the TCPA’s ban on unsolicited faxes that
  applies to commercial speech but not to noncommercial speech, “the government may regulate
  one aspect of a problem without regulating all others.”235 Thus, we believe it is clear that our do-
  not-call registry regulations may apply to commercial solicitations without applying to tax-
  exempt nonprofit solicitations, and that such regulations are not subject to a higher level of
  scrutiny. Indeed, we agree with the FTC that regulation of non-profit solicitations are subject to
  a higher level of scrutiny than solicitations of commercial speech,236 and “greater care must be

  233
      H.R. REP. NO. 102-317, at 16 (1991). ATA asserts that we cannot give weight to Congress’ findings to
  support our decision to exclude non-profit organizations from our regulations implementing the do-not-call
  registry. ATA Comments at 60-61. ATA argues that we may only consider the record compiled in this
  proceeding and that its market survey of consumer attitudes regarding telemarketing commissioned in November
  2002 calls into question the validity of the Congressional findings distinguishing between non-profit and
  commercial calls. ATA Comments at 73-74. We disagree. As a preliminary matter, it is not clear to us that
  ATA’s data support its assertion that consumers make no distinction between commercial and charitable calls.
  For example, while ATA does not provide exact data, it appears from the bar graph illustrating the data that
  approximately twice as many consumers find charitable calls “more acceptable” than other types of unsolicited
  calls than find commercial calls “more acceptable” than other types of unsolicited calls (approximately 18% v.
  9%). The Congressional findings were supported by a poll undertaken by the National Association of Consumer
  Agency Administrators of its state level members for statistical data describing the extent to which consumer
  complaints about unsolicited telemarketing calls involved commercial, charitable, or political calls. The evidence
  showed that the overwhelming majority of consumer complaints were about commercial calls. H.R. REP. NO.
  102-137 at 16. Both the Eighth and Ninth Circuits have credited Congress’ findings relating to the TCPA. See
  American Blast Fax, 323 F.3d at 655-656 (citing Congress’ evidence in upholding the distinction between
  commercial and non-commercial faxes in the TCPA) and Moser v. FCC, 46 F.3d at 974 (finding that “[t]here was
  significant evidence before Congress of consumer concerns about telephone solicitation” before the passage of the
  TCPA). “When Congress makes findings on essentially factual issues … those findings are entitled to a great deal
  of deference, inasmuch as Congress as an institution is better equipped to amass and evaluate the vast amounts of
  data.” Walters v. National Ass’n of Radiation Survivors, 473 U.S. 305, 331 n.12 (1985). We also note that in its
  1992 TCPA Order, the Commission stated that no evidence had been presented to show that non-commercial calls
  represented as serious a concern for telephone subscribers as unsolicited commercial calls and unsolicited
  commercial calls and concluded, based on the comments and the legislative history of the TCPA, that it would not
  seek additional authority to curb calls by tax-exempt organizations. TCPA Order, 7 FCC Rcd at 8773-8774, para.
  40. Congress recently reaffirmed this judgment by requiring us “to maximize consistency” with the rule
  promulgated by the Federal Trade Commission, which contains an exemption for non-profit organizations.
  234
        Id. at 14.
  235
     Missouri ex rel. v. American Blast Fax, 323 F.3d at 656 n.4 (citing United States v. Edge Broad. Co., 509 U.S.
  418 at 434).
  236
      FTC Order, 68 Fed. Reg. at 4636, n. 675, quoting from Metromedia v. San Diego, 453 U.S. 490, 513 (1981)
  (“[I]nsofar as it regulates commercial speech, the San Diego ordinance meets the constitutional requirements of
  Central Hudson …. It does not follow, however, that San Diego’s ban on signs carrying noncommercial
  (continued….)
                                                          45


                                                                                                             PA - 00291
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 294 of 437 Page ID
                                   #:450
                                          Federal Communications Commission                           FCC 03-153


  given [both] to ensuring that the governmental interest is actually advanced by the regulatory
  remedy, and [to] tailoring the regulation narrowly so as to minimize its impact on First
  Amendment rights.”237

                      5.       Consistency with State and FTC Do-Not-Call Rules

          74.      We conclude that harmonization of the various state and federal do-not-call
  programs to the greatest extent possible will reduce the potential for consumer confusion and
  regulatory burdens on the telemarketing industry.238 An underlying concern expressed by many
  commenters in this proceeding is the potential for duplication of effort and/or inconsistency in
  the rules relating to the state and federal do-not-call programs. Congress has indicated a similar
  concern in requiring the Commission to “maximize consistency” with the FTC’s rules.239 As
  discussed below, we find that the use of a single national database of do-not-call registrants will
  ultimately prove the most efficient and economical means for consumer registrations and access
  for compliance purposes by telemarketing entities and regulators.

          75.      The states have a long history of regulating telemarketing practices, and we
  believe that it is critical to combine the resources and expertise of the state and federal
  governments to ensure compliance with the national do-not-call rules. In fact, the TCPA
  specifically outlines a role for the states in this process.240 In an effort to reconcile the state and
  federal roles, we have conducted several meetings with the states and FTC.241 We expect such
  coordination to be ongoing in an effort to promote the continued effectiveness of the national do-
  not-call program. We clarify below the respective governmental roles in this process under the
  TCPA. As noted above, we intend to develop a Memorandum of Understanding with the FTC in
  the near future outlining the respective federal responsibilities under the national do-not-call
  rules. We note that a few commenters have expressed concern that the FTC and this
  Commission may adopt separate national do-not-call lists.242 We reiterate here that there will be
  only one national database.
  (Continued from previous page)
  advertising is also valid …” Commercial speech cases have consistently accorded noncommercial speech a
  greater a greater degree of protection than commercial speech.”) and citing Watchtower Bible and Tract Soc’y v.
  Village of Stratton, 122 S.Ct. 2080 (summarized by the FTC Order as “the Court invalidated an ordinance that
  required anyone who wanted to engage in door-to-door canvassing or soliciting to obtain a permit before doing so,
  the Court went out of its way to suggest that the ordinance may have been constitutional if it were limited to
  commercial speech.”).
  237
        FTC Order, 68 Fed. Reg. at 4636.
  238
        Thirty-six states have adopted no-call laws.
  239
        See Do-Not-Call Act, Sec. 3.
  240
        See 47 U.S.C. § 227(e) and (f).
  241
     See Letter from James Bradford Ramsay, NARUC General Counsel, to FCC filed March 14, 2003 (NARUC ex
  parte); NARUC Winter Committee Meetings, February 23-26, 2003, at which FCC and FTC staff discussed the
  national do-not-call registry and ways to harmonize federal and state programs. See also FTC Further Comments.
  242
        See, e.g., AARP Comments at 3; Visa Comments at 1-3.


                                                         46


                                                                                                            PA - 00292
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 295 of 437 Page ID
                                   #:451
                                        Federal Communications Commission                               FCC 03-153


          76.     Use of a Single Database. We conclude that the use of a single national do-not-
  call database, administered by the vendor selected by the FTC, will ultimately prove the most
  efficient and economical means for consumer registrations and access by telemarketers and
  regulators. The establishment of a single database of registrants will allow consumers to register
  their requests not to be called in a single transaction with one governmental agency. In addition,
  telemarketers may access consumer registrations for purposes of compliance with the do-not-call
  rules through one visit to a national database. This will substantially alleviate the potential for
  consumer confusion and administrative burden on telemarketers that would exist if required to
  access multiple databases. In addition, we note that section 227(e)(2) prohibits states, in
  regulating telephone solicitations, from using any database, list, or list system that does not
  include the part of such single national database that relates to that state.243 Thus, pursuant to
  this requirement, any individual state do-not-call database must include all of the registrants on
  the national database for that state. We determine that the administrator of the national database
  shall make the numbers in the database available to the states as required by the TCPA.244

           77.     We believe the most efficient way to create a single national database will be to
  download the existing state registrations into the national database. The FTC has indicated that
  the national database is designed to allow the states to download into the national registry – at no
  cost – the telephone numbers of consumers that have registered with their state do-not-call
  lists.245 As noted above, we believe that consumers, telemarketers, and regulators will benefit
  from the efficiencies derived from the creation of a single do-not-call database. We encourage
  states to work diligently toward this goal. We recognize that a reasonable transition period may
  be required to incorporate the state registrations in a few states into the national database.246 We
  therefore adopt an 18-month transition period for states to download their state lists into the
  national database. Having an 18-month transition period will allow states that do not have full-
  time legislatures to complete a legislative cycle and create laws that would authorize the use of a
  national list. In addition, this transition period is consistent with the amount of time that the FTC
  anticipates it would take to incorporate the states’ lists into the national database. Although we
  do not preempt or require states to discontinue the use of their own databases at this time, once
  the national do-not-call registry goes into effect, states may not, in their “regulation of telephone
  solicitations, require the use of any database, list, or listing system that does not include the part
  of [the national do-not-call registry] that relates to [each] State.”247 As noted above, we believe
  that there are significant advantages and efficiencies to be derived from the creation and use of a
  single database for all parties, including states, and we strongly encourage states to assist in this
  effort. The Commission intends to work diligently with the states and FTC in an effort to

  243
        See 47 U.S.C. § 227(e)(2).
  244
        See new rule at 47 C.F.R. § 64.1200(h).
  245
      FTC Order, 68 Fed. Reg. at 4641. Approximately 19.2 million consumers have registered on state do-not-call
  lists.
  246
     The FTC estimates that many states will be able to transfer their do-not-call registrations to the national
  database prior to its implementation on October 1, 2003. For other states it may take from 12 to 18 months to
  achieve this result. FTC Order, 68 Feg. Reg. at 4641.
  247
        See 47 U.S.C. § 227(e)(2).

                                                          47


                                                                                                              PA - 00293
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 296 of 437 Page ID
                                   #:452
                                      Federal Communications Commission                                  FCC 03-153


  establish a single do-not-call database.

           78.     Interplay of State and Federal Do-Not-Call Regulations. In the 2002 Notice, we
  generally raised the issue of the interplay of state and federal do-not-call statutes and
  regulations.248 In response, several parties argued that state regulations must or should be
  preempted in whole,249 or at least in part,250 and several other parties argued that the Commission
  cannot or should not preempt.251 For example, several industry commenters contend that the
  TCPA provides the Commission with the authority to preempt state do-not-call regulations.252
  These commenters contend that Congress intended the TCPA to occupy the field or, at the very
  least, intended to preempt state regulation of interstate telemarketing. Many state and consumer
  commenters note, however, that the TCPA contemplates a role for the states in regulating
  telemarketing and specifically prohibits preemption of state law in certain instances.253 States
  and consumers note that state do-not-call regulations have been a successful initiative in
  protecting consumer privacy rights. In addition, several commenters note the importance of
  federal and state cooperation in enforcing the national do-not-call regulations.254 The record also
  indicates that states have historically enforced their own state statutes within, as well as across
  state lines.255 The statute also contains a savings clause for state proceedings to enforce civil or

  248
        See 2002 Notice, 17 FCC Rcd at 17493-96, paras. 60-66.
  249
     See, e.g., DMA Reply Comments at 5. See also Nextel Comments at 4-6; Visa Comments at 3-4; Wells Fargo
  Comments at 1-2; Xpedite Comments at 14-16 (arguing that the Commission should preempt to create more
  uniform rules). We note that, although Bank One raises its preemption arguments, in part, by referencing the
  Commerce Clause, its analysis clearly focuses on the Commission’s’ authority under the Communications Act to
  preempt. (“Congress’ general power to regulate interstate commerce and its delegation of that authority to the
  FCC in the Communications Act of 1934.” Bank One Further Comments at 5.) Moreover, to the extent Bank
  One suggests that, in the absence of federal statutory preemption, the Commerce Clause operates to preempt states
  from unduly burdening interstate commerce, such a finding would require a more particularized showing with
  regard to the specific statute at issue and the burden on interstate commerce. See e.g., Exxon Corp. v. Governor of
  Md., 437 U.S. 117 (1978) (considering whether state statute that prohibited oil producers and refiners from
  operating retail gas stations impermissibly burdened interstate commerce.).
  250
      See, e.g., WorldCom Reply Comments at 27-30 (arguing that state do-not-call lists are preempted by operation
  of law to the extent they purport to regulate interstate calls).
  251
        See, e.g., NAAG Comments at 12; Attorney General of Indiana Further Reply Comments.
  252
        See, e.g., American Express Comments at 2-3; Nextel Comments at 4-5; Visa Reply Comments 8-9.
  253
    See, e.g., NAAG Comments at 12; NARUC Comments at 3-4; North Dakota PSC Comments at 2; Attorney
  General of Indiana Further Reply Comments.
  254
     See, e.g. NARUC Comments at 3-4; North Dakota PSC Comments at 2; OPCDC Comments at 3; Texas PUC
  Comments. In addition, a large number of consumers filed comments in this proceeding indicating that state do-
  not-call regulations have improved their privacy rights. See, e.g., Brenda J. Donat Comments (cancer patient
  appreciates reduction in calls due to Indiana Telephone Privacy Act); Alice and Bill Frazee Comments; Tammy
  Puckett Comments (Indiana law provides for quiet for terminally ill family member).
  255
     See NAAG Comments at 2. NAAG estimates that approximately 150 state enforcement actions have been
  taken against telemarketing companies call across state lines.


                                                           48


                                                                                                              PA - 00294
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 297 of 437 Page ID
                                   #:453
                                        Federal Communications Commission                                   FCC 03-153


  criminal statutes, 256 and at least one federal court has found that the TCPA does not preempt
  state regulation of autodialers that are not in actual conflict with the TCPA.257

          79.     The main area of difference between the state and federal do-not-call programs
  relates to the exemptions created from the respective do-not-call regulations. Some state
  regulations are less restrictive by adopting exemptions that are not recognized under federal law.
   For example, some states have adopted exemptions for insurance agents, newspapers, or small
  businesses.258 In addition, a few states have enacted laws that are more restrictive than the
  federal regulations by not recognizing federal exemptions such as the established business
  relationship.259 Most states, however, exempt nonprofit organizations and companies with whom
  the consumer has an established business relationship in some manner consistent with federal
  regulations.260

          80.     At the outset, we note that many states have not adopted any do-not-call rules.
  The national do-not-call rules will govern exclusively in these states for both intrastate and
  interstate telephone solicitations.261 Pursuant to section 227(f)(1), all states have the ability to
  enforce violations of the TCPA, including do-not-call violations, in federal district court.262
  Thus, we conclude that there is no basis for conflict regarding the application of do-not-call rules
  in those states that have not adopted do-not-call regulations.

           81.    For those states that have adopted do-not-call regulations, we make the following
  determinations. First, we conclude that, by operation of general conflict preemption law, the
  federal rules constitute a floor, and therefore would supersede all less restrictive state do-not-call
  rules. 263 We believe that any such rules would frustrate Congress’ purposes and objectives in
  promulgating the TCPA. Specifically, application of less restrictive state exemptions directly
  conflicts with the federal objectives in protecting consumer privacy rights under the TCPA.
  Thus, telemarketers must comply with the federal do-not-call rules even if the state in which they

  256
      47 U.S.C. § 227(f)(6)(“Nothing contained in this subsection shall be construed to prohibit an authorized State
  official from proceeding in State court on the basis of an alleged violation of any general civil or criminal statute
  of such State.”).
  257
        Van Bergen v. Minnesota, 59 F.3d 1541, 1547-48 (8th Cir. 1995).
  258
        Ala. Code 1975 § 8-19A-4; Ark. Code Ann. § 4-99-103; Fla. Stat. Ann. § 501.604.
  259
        Ind. Code § 24-4.7-1-1 (no EBR exception); Idaho Code § 48-1003A (nonprofit exception for minors only).
  260
        Alaska Stat. § 45.50.475; Vt. Stat. Ann. tit. 9 § 2464a; Kan. Stat. Ann. § 50-670 and § 50-671.
  261
     Section 2(b) provides the Commission with the authority to apply the TCPA to intrastate communications. See
  47 U.S.C. § 152(b).
  262
        47 U.S.C. § 227(f)(1).
  263
      See, e.g., Geier v. American Honda Motor Co., 529 U.S. 861, 873 (2000) (where state law frustrates the
  purposes and objectives of Congress, conflicting state law is “nullified” by the Supremacy Clause); City of New
  York v. FCC, 486 U.S. 57, 64 (1988) (“The statutorily authorized regulations of an agency will preempt any state
  or local law that conflicts with such regulations or frustrates the purposes thereof.”).


                                                             49


                                                                                                                 PA - 00295
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 298 of 437 Page ID
                                   #:454
                                           Federal Communications Commission                                    FCC 03-153


  are telemarketing has adopted an otherwise applicable exemption. Because the TCPA applies to
  both intrastate and interstate communications, the minimum requirements for compliance are
  therefore uniform throughout the nation. We believe this resolves any potential confusion for
  industry and consumers regarding the application of less restrictive state do-not-call rules.

           82.    Second, pursuant to section 227(e)(1), we recognize that states may adopt more
  restrictive do-not-call laws governing intrastate telemarketing.264 With limited exceptions, the
  TCPA specifically prohibits the preemption of any state law that imposes more restrictive
  intrastate requirements or regulations. Section 227(e)(1) further limits the Commission’s ability
  to preempt any state law that prohibits certain telemarketing activities, including the making of
  telephone solicitations. This provision is ambiguous, however, as to whether this prohibition
  applies both to intrastate and interstate calls,265 and is silent on the issue of whether state law that
  imposes more restrictive regulations on interstate telemarketing calls may be preempted. As set
  forth below, however, we caution that more restrictive state efforts to regulate interstate calling
  would almost certainly conflict with our rules.

          83.     We recognize that states traditionally have had jurisdiction over only intrastate
  calls, while the Commission has had jurisdiction over interstate calls.266 Here, Congress enacted
  section 227 and amended section 2(b) to give the Commission jurisdiction over both interstate
  and intrastate telemarketing calls. Congress did so based upon the concern that states lack
  jurisdiction over interstate calls.267 Although section 227(e) gives states authority to impose
  more restrictive intrastate regulations, we believe that it was the clear intent of Congress
  generally to promote a uniform regulatory scheme under which telemarketers would not be

  264
        47 U.S.C. § 227(e)(1).
  265
        Section 227(e)(1) provides that:

                   (e) Effect on State Law. –

                       (1) State Law Not Preempted. – Except for the standards prescribed under
                   subsection (d) and subject to paragraph (2) of this subsection, nothing in this section or
                   in the regulations prescribed under this section shall preempt any State law that
                   imposes more restrictive intrastate requirements or regulations on, or which prohibits—

                      (A) the use of telephone facsimile machines or other electronic devices to send
                   unsolicited advertisements;
                      (B) the use of automatic telephone dialing systems;
                      (C) the use of artificial or prerecorded voice messages; or
                      (D) the making of telephone solicitations.
  266
     See Louisiana Pub. Serv. Comm’n v. FCC, 476 U.S. 355 (1986); Smith v. Illinois Bell Telephone Co., 282 U.S.
  133 (1930).
  267
      S. REP. NO. 102-178, at 3; see also id. at 5 (“Federal action is necessary because States do not have jurisdiction
  to protect their citizens against those who . . . place interstate telephone calls.”); Cong. Rec. S16205 (Nov. 7,
  1991) (remarks of Sen. Hollings) (“State law does not, and cannot, regulate interstate calls.”); TCPA § 2(7)
  (finding that “[o]ver half the States now have statutes restricting various uses of the telephone for marketing, but
  telemarketers can evade their prohibitions through interstate operation.”).


                                                              50


                                                                                                                   PA - 00296
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 299 of 437 Page ID
                                   #:455
                                      Federal Communications Commission                                   FCC 03-153


  subject to multiple, conflicting regulations. 268 We conclude that inconsistent interstate rules
  frustrate the federal objective of creating uniform national rules, to avoid burdensome
  compliance costs for telemarketers and potential consumer confusion. The record in this
  proceeding supports the finding that application of inconsistent rules for those that telemarket on
  a nationwide or multi-state basis creates a substantial compliance burden for those entities.269

          84.     We therefore believe that any state regulation of interstate telemarketing calls that
  differs from our rules almost certainly would conflict with and frustrate the federal scheme and
  almost certainly would be preempted. We will consider any alleged conflicts between state and
  federal requirements and the need for preemption on a case-by-case basis. Accordingly, any
  party that believes a state law is inconsistent with section 227 or our rules may seek a declaratory
  ruling from the Commission. We reiterate the interest in uniformity – as recognized by
  Congress – and encourage states to avoid subjecting telemarketers to inconsistent rules.

           85.   NAAG contends that states have historically enforced telemarketing laws,
  including do-not-call rules, within, as well as across, state lines pursuant to “long-arm”
  statutes.270 According to NAAG, these state actions have been met with no successful challenges
  from telemarketers. We note that such “long-arm” statutes may be protected under section
  227(f)(6) which provides that “nothing contained in this subsection shall be construed to prohibit
  an authorized State official from proceeding in State court on the basis of an alleged violation of
  any general civil or criminal statute of such state.”271 Nothing that we do in this order prohibits
  states from enforcing state regulations that are consistent with the TCPA and the rules
  established under this order in state court.

  IV.         COMPANY SPECIFIC DO-NOT-CALL LISTS

         A.           Background

          86.      In the 1992 TCPA Order, the Commission adopted a “company-specific do-not-
  call” approach to protect residential telephone subscriber privacy by requiring telemarketers to
  place consumers on a do-not-call list if the consumer requests not to receive future
  solicitations.272 In the 2002 Notice, the Commission sought comment on whether the company-

  268
      See, e.g., 137 Cong. Rec. S18317-01, at 1 (1991) (remarks of Sen. Pressler) (“The Federal Government needs
  to act now on uniform legislation to protect consumers.”).
  269
     See, e.g., AWS Further Comments at 7 (separate state requirements will confuse customers and increase costs
  and burdens for telemarketers); Intuit Further Comments at 2-4 (Congress intended that more restrictive state laws
  be preempted); Visa Further Comments at 8 (contending that state lists that are inconsistent with federal
  requirements should be preempted).
  270
        NAAG Comments at 12.
  271
        47 U.S.C. § 227(f)(6).
  272
      1992 TCPA Order, 7 FCC Rcd at 8765-66, para. 23. Specifically, the Commission’s rules require that persons
  or entities engaged in telephone solicitations must have a written policy available upon demand for maintaining a
  do-not-call list, must inform and train any personnel engaged in telephone solicitations in the existence and use of
  the list, and must record the request and place the subscriber’s name and telephone number on the do-not-call list
  (continued….)
                                                           51


                                                                                                                PA - 00297
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 300 of 437 Page ID
                                   #:456
                                       Federal Communications Commission                                  FCC 03-153


  specific approach has proven effective in providing consumers with a means to curb unwanted
  telephone solicitations.273 The Commission noted that under the company-specific approach,
  consumers must repeat their request not to be called on a case-by-case basis. Given the apparent
  increase in telemarketing calls, the Commission requested comment on whether this approach
  continues to balance adequately the interests of consumers with those of legitimate
  telemarketers. In particular, the Commission sought comment on whether changes in the
  marketplace now make this approach unreasonably burdensome for consumers, including elderly
  and disabled consumers.274 In addition, the Commission sought comment on whether the
  company-specific approach should be retained if the FTC, either acting alone or in conjunction
  with this Commission, adopts a national do-not-call list. Finally, the Commission sought
  comment on whether to consider any additional modifications to the company-specific list such
  as requiring companies to provide a toll-free number or website to register such requests.275

           87.     In response to the 2002 Notice, the Commission received a number of comments
  relating to the company-specific do-not-call rules. The majority of individual consumers
  addressing these issues contend that the current company-specific approach is inadequate to
  prevent unwanted telephone solicitations.276 In general, they argue that the company-specific
  approach is extremely burdensome to consumers who must repeat their request to every
  telemarketer that calls; such requests are often ignored or, in the case of abandoned calls, there is
  no opportunity to make such a request; and that consumers have no way to verify whether they
  have been placed on such lists.277 In addition, many consumers contend that telemarketers often
  fail to identify themselves or provide written copies of their do-not-call policies as required by
  the Commission’s rules.278 Some consumers note that these limitations make it difficult to
  pursue any private right of action against telemarketers.279 Commenters also indicate that
  telemarketers frequently inform them that it will take as long as two months to process their do-

  (Continued from previous page)
  at the time the request is made. 47 C.F.R. § 64.1200(e)(2)(i)–(iii). In addition, the Commission’s rules require
  that a do-not-call request be honored for a period of ten years from the date of the request. 47 C.F.R. §
  64.1200(e)(2)(vi). In the absence of a specific request by the subscriber to the contrary, a do-not-call request
  applies to the particular business entity making the call or on whose behalf the call is made, and does not apply to
  affiliated entities unless the consumer reasonably would expect them to be included given the identification of the
  caller and the product being advertised. 47 C.F.R. § 64.1200(e)(2)(v).
  273
        2002 Notice, 17 FCC Rcd at 17468-72, paras. 13-20.
  274
        2002 Notice, 17 FCC Rcd at 17469-70, paras. 14-15.
  275
        2002 Notice, 17 FCC Rcd at 17470, para. 17.
  276
        Lyle Bickley Comments; Pete Nico, Jr. Comments.
  277
      See, e.g., James D. Gagnon Comments; Norman C. Hamer Comments; Rosanna Santiago Comments; Elizabeth
  J. Yocam Comments.
  278
      See, e.g., Harley H. Cudney Comments (telemarketers fail to identify themselves); Timothy Walton Comments
  (telemarketers failure to send do-not-call policy when requested).
  279
        Gregory S. Reichenbach Comments.


                                                             52


                                                                                                                PA - 00298
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 301 of 437 Page ID
                                   #:457
                                      Federal Communications Commission                       FCC 03-153


  not-call requests.280 An organization representing persons with disabilities contends that such
  consumers often cannot communicate requests not to be called to telemarketers.281

          88.      Many industry commenters contend that the company-specific approach has been
  effective and that a national do-not-call list is therefore unnecessary. These commenters argue
  that the advantages of the company-specific approach, as identified by the Commission in 1992,
  remain valid today. Specifically, these commenters contend that companies already maintain
  such lists, the company-specific approach allows consumers to halt calls selectively, businesses
  gain useful information about consumer preferences, consumer confidentiality is protected, and
  the costs remain on the telemarketer. A number of industry commenters request that the
  retention period for those consumers requesting not to be called be reduced from ten years.282 In
  general, industry commenters oppose any requirement to establish a toll-free number or website
  for consumers to register and/or verify their do-not-call requests.283 These commenters contend
  that any such requirement would be costly and unnecessary given their compliance with the
  existing rules.

          89.     The FTC concluded that its company-specific do-not-call rules should be retained
  despite the adoption of a national registry.284 Although the FTC found that the company-specific
  list was often ineffective in protecting consumers, the FTC concluded it will work in a
  complementary fashion with a national do-not-call list to effectuate the appropriate balance
  between consumer privacy and enabling sellers to have access to customers. While the FTC has
  decided to exempt telemarketing calls on behalf of charitable organizations from the national
  registry, it concluded that calls by for-profit telemarketers on behalf of charitable organizations
  will now be subject to the company-specific rules.285

         B.          Discussion

                     1.       Efficacy of the Company-Specific Rules

          90.     We conclude that retention of the company-specific do-not-call rules will
  complement the national do-not-call registry by providing consumers with an additional option
  for managing telemarketing calls. We believe that providing consumers with the ability to tailor
  their requests not to be called, either on a case-by-case basis under the company do-not-call
  approach or more broadly under the national registry, will best balance individual privacy rights
  and legitimate telemarketing practices. As a result, those consumers that wish to prohibit

  280
        Thomas M. Pechnik Comments at 2; Wayne Strang Comments at 4.
  281
        See Telecommunications for the Deaf Comments at 2.
  282
        See, e.g., ATA Comments at 97-100; DMA Comments at 16-18; SBC Reply Comments at 6.
  283
    See, e.g, Household Financial Comments at 3; MBA Comments at 6-7; Nextel Comments at 7-9; Qwest
  Comments at 6-7. But see MBNA Comments at 7.
  284
        FTC Order, 68 Fed. Reg. at 4629.
  285
        FTC Order, 67 Fed. Reg. at 4629.


                                                         53


                                                                                                      PA - 00299
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 302 of 437 Page ID
                                   #:458
                                      Federal Communications Commission                               FCC 03-153


  telephone solicitations from only certain marketers will continue to have the option to do so. In
  addition, consumers registered on the national do-not-call registry will have the opportunity to
  request that they not be called by entities that would otherwise fall within the established
  business relationship exemption by using the option to be placed on the company-specific lists.
  This finding is consistent with that of the FTC.

           91.    As discussed above, we agree with those commenters that contend that the
  company-specific do-not-call approach has not proven ideal as a stand-alone method to protect
  consumer privacy. In particular, the increase in telemarketing calls over the last decade now
  places an extraordinary burden on consumers that do not wish to receive telephone solicitations.
  These consumers must respond on a case-by-case basis to request that they not be called. The
  record in this proceeding is replete with examples of consumers that receive numerous unwanted
  telemarketing calls each day.286 In addition, the widespread use of predictive dialers now results
  in many “dead air” or hang-up calls in which consumers do not even have the opportunity to
  make a do-not-call request. Such calls are particularly burdensome for the elderly and disabled
  consumers. We believe, however, that the measures adopted elsewhere in this order will
  enhance the effectiveness of the company-specific list. For example, the adoption of a national
  do-not-call registry alleviates the concerns of those consumers, including elderly and disabled
  consumers that may find a case-by-case do-not-call option particularly burdensome. In addition,
  restrictions on abandoned calls will reduce the number of “dead air” calls. Caller ID
  requirements will improve the ability of consumers to identify and enforce do-not-call rights
  against telemarketers. We also note that although many commenters question the effectiveness of
  the company-specific approach, there is little support in the record to eliminate those rules based
  on the adoption of the national do-not-call list.287 For the reasons stated above, we retain the
  option for consumers to request on a case-by-case basis whether they desire to receive telephone
  solicitations.

                     2.      Amendments to the Company-Specific Rules

          92.    We agree with several industry commenters that the retention period for records
  of those consumers requesting not to be called should be reduced from the current ten-year
  requirement to five years.288 As many commenters note, telephone numbers change hands over
  time and a shorter retention period will help ensure that only those consumers who have
  requested not to be called are retained on the list.289 Both telemarketers and consumers will
  benefit from a list that more accurately reflects those consumers who have requested not to be
  called. The FTC has concluded and several commenters in this proceeding agree that five years

  286
    See, e.g., Nancy J. Barginear Comments; David K. McClain Comments; John A. Rinderle Comments; Ryan
  Tobin Comments.
  287
     But see Nextel Comments at 7 (contending that adoption of a national do-not-call list may render unnecessary
  any detailed company-specific requirements).
  288
        See, e.g., DMA Comments at 16; Electronic Retailing Association Comments at 5-6; Ohio PUC Comments at
  17.
  289
        See, e.g., ABA Comments at 8; AGF Comments at 3; Call Compliance Comments at 7.


                                                         54


                                                                                                            PA - 00300
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 303 of 437 Page ID
                                   #:459
                                       Federal Communications Commission                               FCC 03-153


  is a more reasonable period to retain consumer do-not-call requests.290 We believe a five-year
  retention period reasonably balances any administrative burden imposed on consumers in
  requesting not to be called with the interests of telemarketers in contacting consumers. As noted,
  a shorter retention period increases the accuracy of the database while the national do-not-call
  option mitigates the burden on those consumers who may believe more frequent company-
  specific do-not-call requests are overly burdensome. We believe any shorter retention period, as
  suggested by a few industry commenters, would unduly increase the burdens on consumers who
  would be forced to make more frequent renewals of their company-specific do-not-call requests
  without substantially improving the accuracy of the database. We therefore amend our rules to
  require that a do-not-call request be honored for five years from the time the request is made.291

          93.     We decline at this time to require telemarketers to make available a toll-free
  number or website that would allow consumers to register company-specific do-not-call requests
  or verify that such a request was made with the marketer. We also decline to require
  telemarketers to provide a means of confirmation so that consumers may verify their requests
  have been processed at a later date. Telemarketers should, however, confirm that any such
  request will be recorded at the time the request is made by the consumer. In addition, consumers
  calling to register do-not-call requests in response to prerecorded messages should be processed
  in a timely manner without being placed on hold for unreasonable periods of time. Although we
  believe the additional measures discussed above would improve the ability of consumers,
  including consumers with disabilities, to register do-not-call requests, we agree with those
  commenters that contend that such requirements would be unduly costly to businesses.292 In
  particular, we are concerned with the costs imposed on small businesses. The Commission will,
  however, continue to monitor compliance with our company-specific do-not-call rules and take
  further action as necessary.

         94.     We conclude that telemarketers must honor a company-specific do-not-call
  request within a reasonable time of such request. We disagree, however, with commenters that
  suggest that periods of up to 90 days are a reasonable time required to process do-not-call
  requests.293 Although some administrative time may be necessary to process such requests, this
  process is now largely automated.294 As a result, such requests can often be honored within a
  few days or weeks. Taking into consideration both the large databases of such requests
  maintained by some entities and the limitations on certain small businesses, we conclude that a
  reasonable time to honor such requests must not exceed thirty days from the date such a request


  290
     See, e.g., DMA Comments at 16; Electronic Retailing Association Comments at 5-6; Ohio PUC Comments at
  17-18.
  291
        See amended rule at 47 C.F.R. § 64.1200(d)(6).
  292
        See, e.g., MBA Comments at 6; Nextel Comments at 7-9; Qwest Comments at 6-7.
  293
    See, e.g., Household Financial Services Comments at 3-4 (contending that it takes 90 days to process requests);
  Verizon Comments at 6 (45 days to process request).
  294
        See, e.g., WorldCom Comments at 40.


                                                          55


                                                                                                            PA - 00301
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 304 of 437 Page ID
                                   #:460
                                          Federal Communications Commission                               FCC 03-153


  is made.295 We note that the Commission’s rules require that entities must record company-
  specific do-not-call requests and place the subscriber’s telephone number on the do-not-call list
  at the time the request is made.296 Therefore, telemarketers with the capability to honor such
  company-specific do-not-call requests in less than thirty days must do so.297 We believe this
  determination adequately balances the privacy interests of those consumers that have requested
  not to be called with the interests of the telemarketing industry. Consumers expect their requests
  not to be called to be honored in a timely manner, and thirty days should be the maximum
  administrative time necessary for telemarketers to process that request.

          95.      In addition, we decline to extend the company-specific do-not-call rules to entities
  that solicit contributions on behalf of tax-exempt nonprofit organizations. The TCPA excludes
  calls or messages by tax-exempt nonprofit organizations from the definition of telephone
  solicitation.298 The Commission has clarified that telemarketers who solicit on behalf of tax-
  exempt nonprofit organizations are not subject to the rules governing telephone solicitations.299
  In the 2002 Notice, the Commission declined to seek further comment on this issue.300 We
  acknowledge that this determination creates an inconsistency with the FTC’s conclusion to
  extend its company-specific requirements to entities that solicit contributions on behalf of tax-
  exempt nonprofit organizations. The Commission, however, derives its authority to regulate
  telemarketing from the TCPA. As noted above, that statute excludes tax-exempt nonprofit
  organizations from the definition of telephone solicitation. We therefore decline to extend the
  company-specific requirements to entities that solicit on behalf of tax-exempt nonprofit
  organizations. We note that some tax-exempt nonprofit organizations have determined to honor
  voluntarily specific do-not-call requests. Other organizations may find it advantageous to follow
  this example.

          96.    Finally, to make clear our determination that a company must cease making
  telemarketing calls to a customer with whom it has an established business relationship when
  that customer makes a do-not-call request, we amend the company-specific do-not-call rules to


  295
      Consistent with our existing rules, such request applies to all telemarketing campaigns of the seller and any
  affiliated entities that the consumer reasonably would expect to be included given the identification of the caller
  and the product being advertised. 47 C.F.R. § 64.1200(e)(2)(v). See also AGF Comments at 4 (indicating that a
  reasonable time to process requests is 30 days); MBNA Comments at 7 (reasonable time to process requests is a
  minimum of 30 days).
  296
        47 C.F.R. § 64.1200(e)(2)(iii).
  297
      As noted above, the safe harbor period for compliance with the national do-not-call list is three-months.
  However, given that the national list will contain many more registrants than the individual company-specific lists,
  we believe that it is reasonable to allow some additional time for telemarketers to comply with the national do-not-
  call requests.
  298
        See 47 U.S.C. § 227(a)(3)(C).
  299
        1995 TCPA Reconsideration Order, 10 FCC Rcd at 12397, para. 13.
  300
        2002 Notice, 17 FCC Rcd at 17479, para. 33.


                                                           56


                                                                                                                PA - 00302
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 305 of 437 Page ID
                                   #:461
                                        Federal Communications Commission                               FCC 03-153


  apply to any call for telemarketing purposes.301 We also adopt a provision stating that a
  consumer’s do-not-call request terminates the established business relationship for purposes of
  telemarketing calls even if the consumer continues to do business with the seller.302




  V.         INTERPLAY OF SECTIONS 222 AND 227

             A.       Background

          97.     In the 2002 Notice, the Commission sought comment generally on the interplay
  between sections 222 and 227.303 Section 222, entitled “Privacy of Consumer Information,”
  obligates telecommunications carriers to protect the confidentiality of certain information and to
  protect the customer proprietary network information (CPNI) created by the customer-carrier
  relationship.304 Under the CPNI rules, a customer may allow her carrier to use her CPNI for
  marketing purposes. Depending on the uses the carrier intends to make of the customer’s CPNI,
  the carrier must provide the customer notice of her CPNI rights and a means to effectuate her
  CPNI choice – either “opt-in” or “opt-out” consent.305 The TCPA, on the other hand, governs a

  301
        See amended rule at 47 C.F.R. § 64.1200(d).
  302
        See amended rule at 47 C.F.R. § 64.1200(f)(3)(i).
  303
        2002 Notice, 17 FCC Rcd at 17471-72, paras. 18-19.
  304
      The Act defines CPNI as “(A) information that relates to the quantity, technical configuration, type,
  destination, location, and amount of use of a telecommunications service subscribed to by any customer of a
  telecommunications carrier, and that is made available to the carrier by the customer solely by virtue of the
  carrier-customer relationship; and (B) information contained in the bills pertaining to telephone exchange service
  or telephone toll service received by a customer of a carrier.” 47 U.S.C. § 222(h)(1)(A) and (B) (the 911 Act
  amended the definition of CPNI in section 222(h) to include “location” among a customer’s information that
  carriers are required to protect under the privacy provisions of section 222). CPNI includes personal information
  such as the phone numbers called by a consumer, the length of phone calls, and services purchased by a consumer,
  such as call waiting. See Implementation of the Telecommunications Act of 1996: Telecommunications Carriers’
  Use of Customer Proprietary Network Information and Other Customer Information; Implementation of the Non-
  Accounting Safeguards of Sections 271 and 272 of the Communications Act of 1934, as amended, 2000 Biennial
  Regulatory Review - Review of Policies and Rules Concerning Unauthorized Changes of Consumers’ Long
  Distance Carriers, CC Docket Nos. 96-115, 96-149, and 00-257, Third Report and Order and Third Further
  Notice of Proposed Rulemaking, 17 FCC Rcd 14860 at 14864, para. 7 (2002) (CPNI Third Report and Order).
  305
      Opt-out approval and opt-in approval refer to methods of obtaining customer consent to use, disclose, or permit
  access to customers’ CPNI. The opt-in approval method “requires that the carrier obtain from the customer
  affirmative, express consent allowing the requested CPNI usage, disclosure, or access after the customer is
  provided appropriate notification of the carrier’s request consistent with the requirements” adopted by the
  Commission. 47 C.F.R. § 64.2003(h). Under the opt-out approval method “a customer is deemed to have
  consented to the use, disclosure, or access to the customer’s CPNI if the customer has failed to object thereto
  within the waiting period [adopted by the Commission in 47 C.F.R. § 64.2009(d)(1)] after the customer is
  (continued….)
                                                             57


                                                                                                              PA - 00303
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 306 of 437 Page ID
                                   #:462
                                        Federal Communications Commission                                 FCC 03-153


  particular method – telemarketing – by which carriers (and other companies) market to their
  customers, and those customers’ rights to choose whether or not they wish to receive such
  telemarketing calls. Accordingly, a consumer’s decision to allow her carrier to use her CPNI
  reflects whether she is willing to have her carrier look at her personal usage information in order
  to tailor its marketing306 based on her usage patterns. A consumer’s decision to enroll on the
  national do-not-call list reflects her decision about whether she wishes to receive telemarketing
  calls.

           98.    In the 2002 Notice, the Commission tentatively concluded that a customer’s
  request to be placed on a telecommunications carrier’s do-not-call list limits that carrier’s ability
  to market to that consumer via telephone.307 The Commission reasoned that “[h]onoring a do not
  call request under section 227 does not render a consent under section 222 a nullity, but instead
  merely limits the manner of contact (i.e., marketing over the telephone) consistent with the
  express request of the customer under section 227.”308 Numerous commenters generally
  supported the Commission’s tentative determination that a customer’s section 222 approval to
  use his or her CPNI should not override that customer’s request to be placed on a do-not-call
  list.309 However, some commenters urged the Commission to draw distinctions based on: (1) the
  type of CPNI consent received (opt-in versus opt-out); and/or (2) national and state do-not-call
  lists versus company-specific do-not-call lists.

          99.    In particular, some commenters argued that a customer’s CPNI approval should
  be deemed to override her request to be included on a national (or other general) do-not-call list,
  but should not override a request to be placed on a company-specific do-not-call list.310
  Additionally, some commenters supported an approach where a customer’s CPNI approval, if
  obtained through an opt-out mechanism, would not overcome the customer’s request to be placed
  on a do-not-call list; however, opt-in CPNI approval would be deemed to overcome a customer’s
  inclusion on a do-not-call list.311 A few commenters argued that any CPNI approval should be
  deemed to overcome a customer’s inclusion on a do-not-call registry.312 Finally, one commenter
  (Continued from previous page)
  provided appropriate notification of the carrier’s request for consent consistent with the rules” adopted by the
  Commission. 47 C.F.R. § 64.2003(i).
  306
        Such marketing is not limited to telemarketing and may include direct mail or other marketing.
  307
    2002 Notice, 17 FCC Rcd at 17471-72, para. 19. The Commission noted that the carrier would still be able to
  market to that consumer in other ways (e.g., direct mail, e-mail, etc.). Id.
  308
        2002 Notice, 17 FCC Rcd at 17471-72, para. 19.
  309
    BellSouth Comments at 6; Verizon Comments at 16; Michael C. Worsham Comments at 3; Yellow Pages
  Comments at 6.
  310
        Cingular Comments at 10; Sprint Comments at 15.
  311
        AT&T Wireless Comments at 20-21.
  312
     Concerned Telephone Companies Comments at 1-8; NTCA Comments at 2 (“Offering opt-out consent to the
  consumer’s telecommunications carrier under section 222 indicates an interest in receiving information on new
  services that may be available either now or in the future from the carrier.”).


                                                             58


                                                                                                                PA - 00304
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 307 of 437 Page ID
                                   #:463
                                        Federal Communications Commission                              FCC 03-153


  suggested that the question of the interplay between a customer’s opt-in consent to use her CPNI
  and request to be on a do-not-call list should be judged on a customer-by-customer basis, based
  on which request was made most recently.313

             B.        Discussion

          100. We first note that the fact that a telecommunications carrier has current CPNI
  about a particular consumer indicates that the consumer is a customer of that carrier. In that
  situation, there exists an established business relationship between the customer and the
  carrier.314 The established business relationship is an exception to the national do-not-call
  registry.315 However, based on the evidence in the record and as supported by numerous
  commenters,316 we confirm our tentative conclusion that if a customer places her name on a
  carrier’s do-not-call list, that request must be honored even though the customer may also have
  provided consent to use her CPNI under section 222.317 By doing so, we maximize the
  protections and choices available to consumers, while giving maximum effect to the language of
  both statutes. At the outset, the average consumer seems rather unlikely to appreciate the
  interrelationship of the Commission’s CPNI and do-not-call rules. Allowing CPNI consent to
  trump a do-not-call request would, therefore, thwart most consumers’ reasonable expectations
  about how a company-specific do-not-call list functions. Equally important, permitting a
  consumer’s CPNI consent to supercede a consumer’s express do-not call request might
  undermine the carrier’s do-not-call database as the first source of information about the
  consumer’s telemarketing preferences.

          101. As discussed infra, because we retain the exemption for calls and messages to
  customers with whom the carrier has an established business relationship,318 the determination
  that a customer’s CPNI approval does not trump her inclusion on a do-not-call list should have
  no impact on carriers’ ability to communicate with their customers via telemarketing. 319 Carriers


  313
        NYSCPB Comments at 5.
  314
        See 47 C.F.R. § 64.1200(f)(4). See also infra Section VI.
  315
        See supra para. 42.
  316
    BellSouth Comments at 6; Michael C. Worsham Comments at 3; Verizon Comments at 16; Yellow Pages
  Comments at 6.
  317
      As one commenter stated “under the Commission’s CPNI rules … a customer’s CPNI consent does not equate
  to customer consent to receive telemarketing by that carrier.” AT&T Wireless Comments at 19.
  318
        See infra para. 112.
  319
     We disagree with the Concerned Telephone Companies’ assertion that a customer’s CPNI consent equates to a
  “prior express invitation or permission” to be contacted. See Concerned Telephone Companies Comments at 2.
  As we discuss herein, a customer’s CPNI consent indicates her willingness to have her telephone company use her
  CPNI in order to, among other things, tailor marketing proposals to her. CPNI approval, however, is not a blanket
  approval for any and all marketing a carrier may decide to pursue. A customer’s affirmative decision to enroll on
  a do-not-call list is a much more direct and reliable indicator of a customer’s willingness to receive marketing
  advances via the telephone. Accordingly, we disagree with the Concerned Telephone Companies’ assertion that
  (continued….)
                                                            59


                                                                                                            PA - 00305
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 308 of 437 Page ID
                                   #:464
                                      Federal Communications Commission                                 FCC 03-153


  will be able to contact customers with whom they have an established business relationship via
  the telephone, unless the customer has placed her name on the company’s do-not-call list;
  whether the customer has consented to the use of her CPNI does not impact the carrier’s ability
  to contact the customer via telemarketing.320

           102. We are not persuaded by the arguments of those commenters who urge the
  Commission to find that CPNI consent should trump a customer’s request to be placed on a do-
  not-call list or similarly, that CPNI consent equates to permission to market “without
  restriction.”321 We note that the Concerned Telephone Companies assert that CPNI consent
  equates to “consent to market without restriction based on [customers’] CPNI.”322 The
  Commission finds no support for this assertion in any Commission order or statutory provision
  and, as we discuss herein, we specifically determine that CPNI approval does not equate to
  unlimited consent to market without restriction.

           103. Similarly, a number of commenters argue that a customer’s CPNI authorization
  “covers a number of forms of marketing, including telemarketing.”323 However, such assertions
  ignore the plain fact that CPNI approval deals specifically with a carrier’s use of a customer’s
  personal information, and only indirectly pertains to or arguably “authorizes” marketing to the
  customer. Do-not-call lists, on the other hand, speak directly to customers’ preferences
  regarding telemarketing contacts.324 Accordingly, we are convinced that a customer’s do-not-
  call request demonstrates more directly her willingness (or lack thereof) to receive telemarketing
  calls, as opposed to any indirect inference that can be drawn from her CPNI approval.

        104. Additionally, we disagree with those commenters who claim that allowing CPNI
  approval to trump a consumer’s request to be on a national or state do-not-call list gives

  (Continued from previous page)
  “consent given by a customer under the CPNI rules renders Section 227 constraints inapplicable.” Concerned
  Telephone Companies Comments at 2.
  320
      Some commenters equated obtaining customers’ consent to use the customers’ CPNI with having an
  established business relationship. See Nextel Comments at 16, section entitled “The Commission Should Interpret
  the Established Business Relationship Rules in a Manner Consistent With the Consent Requirements of the CPNI
  Rules.” We concur with those commenters who argue that the carrier’s established business relationship allows
  the carrier to contact those customers via telemarketing who have requested to be on the national do-not-call list.
  However, as we determine herein, the CPNI consent does not overcome or trump a customer’s request to be
  included on the national do-not-call list. See Cingular Comments at 10; Nextel Comments at 17; Sprint Comments
  at 16 (“The view that telecommunications service providers should be allowed to contact their existing customers,
  even if such customers have asked to be placed on a general (non-company specific) DNC list, is consistent with
  the Commission’s view of the importance of ‘established business relationships.’”).
  321
        Concerned Telephone Companies Comments at 2; AT&T Wireless Reply Comments at 26.
  322
        Concerned Telephone Companies Comments at 2 (emphasis added).
  323
        AT&T Wireless Reply Comments at 26-27.
  324
     Yellow Pages Comments at 7 (“Consumers who do not want to receive solicitations via telephone are going to
  request to be placed on the do-not-call list, regardless of whether the consumer has consented to the use of their
  CPNI”).


                                                          60


                                                                                                              PA - 00306
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 309 of 437 Page ID
                                   #:465
                                     Federal Communications Commission                                  FCC 03-153


  consumers greater flexibility.325 As stated above, a carrier’s established business relationship
  with a customer exempts the carrier from honoring the customer’s national do-not-call request.
  However, as stated above, CPNI consent is not deemed to trump a carrier-specific do-not-call list
  request. For similar reasons, we decline to make a distinction based on what type of CPNI
  consent (opt-in versus opt-out) received, as some commenters urge.326

          105. We do not allow carriers to combine the express written consent to allow them to
  contact customers on a do-not-call list with the CPNI notice in the manner that AT&T Wireless
  describes. However, we do allow carriers to combine in the same document CPNI notice with a
  request for express written consent to call customers on a do-not-call list, provided that such
  notices and opportunities for consumer consent are separate and distinct. That is, consumers
  must have distinct choices regarding both whether to allow use of their CPNI and whether to
  allow calls after registering a do-not-call request, but carriers may combine those requests for
  approval in the same notice document. Finally, we find a distinction based on the type of CPNI
  consent unnecessary here, as carriers can avail themselves of the established business
  relationship exception to contact their existing customers, irrespective of the type of CPNI
  consent obtained.

          106. Similarly, we agree with those commenters327 who advise against using a time
  element to determine whether a customer’s do-not-call request takes precedence over the
  customer’s opt-in approval to use her CPNI,328 because adding a time element would
  unnecessarily complicate carrier compliance and allow carriers to game the system. In
  particular, the New York State Consumer Protection Board argues that “enrollment on a national
  do-not-call list should take precedence over the prior implied consent through the ‘opt-out’
  procedure, but that the latest in time should prevail regarding ‘opt-in’ consents.”329 Because we
  determine that carriers can contact consumers with whom they have established business
  relationships, irrespective of those consumers’ CPNI preferences, we find this proposed
  methodology unnecessary in determining whether a customer’s CPNI consent should trump her
  do-not-call request. Additionally, we note that this proposal could be manipulated by carriers to
  overcome consumers’ do-not-call preferences, by allowing carriers to send CPNI notices to
  customers that are intentionally timed to “overcome” previously expressed do-not-call requests.

          107. Finally, although it was not directly raised in the 2002 Notice, some commenters
  raised the issue of whether any type of do-not-call request revokes or limits a carrier’s ability to


  325
        AT&T Wireless Reply Comments at 27.
  326
      AT&T Wireless Comments at 18-19 (contending that under circumstances where “the express opt-in CPNI
  consent includes customer consent to be contacted by telephone, AWS believes the carrier has the permission to
  contact the customer even if that customer has placed her name on either the carrier’s or a national do-not-call
  list.”). See also NYSCPB Comments at 5.
  327
        AT&T Wireless Reply Comments at 27.
  328
        NYSCPB Comments at 5.
  329
        NYSCPB Comments at 5.


                                                          61


                                                                                                              PA - 00307
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 310 of 437 Page ID
                                   #:466
                                       Federal Communications Commission                          FCC 03-153


  use CPNI in a manner other than telemarketing.330 To the degree such affirmation is necessary,
  we agree with those commenters who maintain that a carrier’s ability to use CPNI is not
  impacted by a customer’s inclusion on a do-not-call list, except as noted above.

           108. Constitutional Implications. We disagree with those commenters who argue that
  our decision that a customer’s CPNI approval does not trump her request to be on a do-not-call
  list violates the First Amendment rights of carriers and customers.331 Commenters cite no
  authority to support their arguments, and we do not believe the fact that customers have given
  their approval for carriers to use their CPNI implicates any additional First Amendment issues
  beyond those discussed in Section III.B.4., supra. Accordingly, we find our rules implementing
  the do-not-call registry are consistent with the First Amendment as applied to any consumer,
  including those who have previously given their approval to carriers to use their CPNI, pursuant
  to section 222. Furthermore, we believe that the exception which allows carriers to call
  consumers with whom they necessarily have an established business relationship renders
  commenters’ arguments moot, as carriers necessarily have an established business relationship
  with any customer from whom they solicit CPNI approval.

  VI.         ESTABLISHED BUSINESS RELATIONSHIP

         A.           Background

          109. The TCPA provides that the term “telephone solicitation” does not include a call
  or message to any person with whom the caller has an established business relationship (or
  EBR).332 The Commission determined during its initial TCPA rulemaking that, based on the
  record and legislative history, the TCPA also permits an “established business relationship”
  exemption from the restrictions on artificial or prerecorded message calls to residences.333 In the
  2002 Notice, we sought comment on the exemption generally, and more specifically, on the
  definition of “established business relationship,” and whether any circumstances have developed
  that would justify revisiting these conclusions.334 The current rules define the term “established
  business relationship” to mean:

                      a prior or existing relationship formed by a voluntary two-way
                      communication between a person or entity and a residential
                      subscriber with or without an exchange of consideration, on the basis
                      of an inquiry, application, purchase or transaction by the residential
                      subscriber regarding products or services offered by such person or
                      entity, which relationship has not been previously terminated by


  330
        AT&T Wireless Reply Comments at 26; Verizon Comments at 16; Yellow Pages Comments at 6.
  331
        Concerned Telephone Companies Comments at 3.
  332
        47 U.S.C. § 227(a)(3)(B).
  333
        1992 TCPA Order, 7 FCC Rcd at 8770, para. 34; see also 47 C.F.R. § 64.1200(c)(3).
  334
        2002 Notice, 17 FCC Rcd at 17480, para. 34.


                                                          62


                                                                                                     PA - 00308
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 311 of 437 Page ID
                                   #:467
                                         Federal Communications Commission                               FCC 03-153


                      either party.335

          110. Industry commenters overwhelmingly support retaining the exemption for calls to
  customers with whom companies have an established business relationship,336 and many urge the
  Commission not to narrow the scope of the exemption.337 Many industry members are also
  opposed to any time limitation on the exemption,338 or any modification of the rules that would
  interfere with a company’s ability to market different services and products.339 Most consumer
  groups and state organizations support the exemption, provided the scope of the definition is
  narrowed.340 A few consumers advocated eliminating the exemption for prerecorded
  messages.341 Some consumer advocates disagreed with the assumption that consumers want to
  hear from companies with whom they have an existing relationship. One commenter stated that
  because a consumer might have established a relationship with a company does not necessarily
  mean that he or she wishes to receive telemarketing calls from that company.342 Many
  consumers’ groups argued that the relationship should be ongoing,343 should require a completed

  335
        47 C.F.R. § 64.1200(f)(4).
  336
    See, e.g., MPA Comments at 5, 13; MBNA Comments at 7; NAII Comments at 3; SBC Comments at 10;
  Nextel Comments at 11-13.
  337
        See, e.g., ATA Comments at 101-105; NADA Comments at 2.
  338
     See, e.g., SBC Comments at 12-13; Intuit Comments at 6; DMA Comments at 20-21; ATA Comments at 105.
  But see, e.g., ERA Comments at 11 (definition should cover 24 month period prior to call); AT&T Wireless Reply
  Comments at 18-19 (favoring the FTC’s 18-month duration on the established business relationship); Scholastic
  Comments at 8 (3 years following payment for goods and 6 months following an inquiry); MidFirst Bank
  Comments at 2-3 (suggesting the existing business relationship be terminated no earlier than a period of 12
  months following the last purchase and no earlier than 60 days following the closure of all accounts with a
  company).
  339
    See, e.g., HFS Comments at 6; WorldCom Comments at 14-16; Comcast Comments at 5-7; American Express
  Comments at 3-4.
  340
     See, e.g., NASUCA Comments at 17; John A. Shaw Comments at 4; TOPUC Comments at 5; NYSCPB
  Comments at 7-8 (should not extend to related business entities); Michael C. Worsham Comments at 10 (should
  delete “inquiry, application” from definition, as they do not constitute permission to receive prerecorded
  messages); PUC of Ohio Comments at 15 (should be limited to contact about changes or updates to current
  product or service); NYSCPB—Other Than DNC List Comments at 7-8, 14-17 (should not extend to related
  business entities or include a mere inquiry); NCL Comments at 5 (explaining that under the current definition of
  established business relationship, consumers have to remember the name of every company with whom they have
  ever had any contact in order to determine which can call legally and which cannot).
  341
     Thomas M. Pechnik Comments at 3 (no authority in section 227 for an EBR exemption for artificial or
  prerecorded message calls); Wayne G. Strang Comments at 12 (should revoke EBR exemption for prerecorded
  messages).
  342
     See AARP Comments at 6; see also NCL Comments at 5 (urging the Commission to require telemarketers to
  disclose to their customers that they plan to make telemarketing calls and to provide the opportunity for them to
  opt-out).
  343
        See, e.g., AARP Comments at 5; NASUCA Comments at 17-18.


                                                           63


                                                                                                              PA - 00309
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 312 of 437 Page ID
                                   #:468
                                       Federal Communications Commission                                FCC 03-153


  transaction, such as a purchase or payment,344 and should be limited in duration.345 Of
  commenters who advocated a specific time limit on the EBR, there was less consensus about
  how long the relationship should last following a transaction between the seller and consumer.346

          111. The FTC decided to provide an exemption for “established business
  relationships” from the national “do-not-call” registry, as long as the consumer has not asked to
  be placed on the seller’s company-specific “do-not-call” list. The FTC’s amended Rule limits
  the “established business relationship” exemption to relationships formed by the consumer’s
  purchase, rental or lease of goods or services from, or financial transaction with, the seller within
  eighteen (18) months of the telephone call or, in the case of inquiries or applications, to three (3)
  months from the inquiry or application.347 The FTC explained that this time frame is consistent
  with most state laws that include a time limit,348 and is more in keeping with consumer
  expectations than an open-ended exemption.349 The FTC also determined that affiliates will fall
  within the exemption only if the consumer would reasonably expect them to be included given
  the nature and type of goods or services offered and the identity of the affiliate.350

         B.          Discussion

        112. We conclude that, based on the record, an established business relationship
  exemption is necessary to allow companies to communicate with their existing customers.351
  Companies maintain that the exemption allows them to make new offers to existing customers,


  344
        AARP Comments at 5.
  345
        AARP Comments at 5.
  346
     Some suggest 24 months (MPA Comments at 12-13 and NASUCA Comments at 17); others advocate a 36-
  month period (Scholastic Comments at 8 and Bank of America Comments at 4); some commenters maintain that a
  12-month period would be sufficient (Sprint Comments at 18); other commenters advocated a definition
  comparable to the FTC’s (DIRECTV Further Comments at 2; NTCA Further Comments at 2-3). See also TOPUC
  Comments at 6 (stating that Commission rules should require that the relationship be ongoing. To qualify as
  “ongoing,” the customers must have completed a purchase or transaction with a specific company within 24
  months prior to the call).
  347
        FTC Order, 68 Fed Reg. at 4634; 16 C.F.R. § 310.2(n).
  348
        FTC Order, 68 Fed. Reg. at 4634.
  349
        FTC Order, 68 Fed Reg. at 4592.
  350
        FTC Order, 68 Fed. Reg. at 4593-94.
  351
      The “established business relationship” permits telemarketers to call consumers registered on the national do-
  not-call list and to deliver prerecorded messages to consumers. The “established business relationship,” however,
  is not an exception to the company-specific do-not-call rules. Companies that call their EBR customers must
  maintain company-specific do-not-call lists and record any do-not-call requests as required by amended 47 C.F.R.
  § 64.1200(d). See infra discussion in para. 124. The Commission has also reversed its prior conclusion that an
  “established business relationship” provides the necessary permission to deliver unsolicited facsimile
  advertisements. See infra discussion in para. 188-191.


                                                           64


                                                                                                              PA - 00310
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 313 of 437 Page ID
                                   #:469
                                        Federal Communications Commission                                 FCC 03-153


  such as mortgage refinancing, insurance updates, and subscription renewals.352 They suggest
  that customers benefit from calls that inform them in a timely manner of new products, services
  and pricing plans. American Express contends that its financial advisors have a fiduciary duty to
  their customers, requiring them to contact customers with time-sensitive information.353 We are
  persuaded that eliminating this EBR exemption would possibly interfere with these types of
  business relationships. Moreover, the exemption focuses on the relationship between the sender
  of the message and the consumer, rather than on the content of the message. It appears that
  consumers have come to expect calls from companies with whom they have such a relationship,
  and that, under certain circumstances, they may be willing to accept these calls.354 Finally, we
  believe that while consumers may find prerecorded voice messages intrusive, such messages do
  not necessarily impose the same costs on the recipients as, for example, unsolicited facsimile
  messages.355 Therefore, we retain the exemption for established business relationship calls from
  the ban on prerecorded messages. Telemarketers that claim their prerecorded messages are
  delivered pursuant to an established business relationship must be prepared to provide clear and
  convincing evidence of the existence of such a relationship.

                      1.       Definition of Established Business Relationship

           113. We conclude that the Commission’s current definition of “established business
  relationship” should be revised. We are convinced that consumers are confused and even
  frustrated more often when they receive calls from companies they have not contacted or done
  business with for many years. The legislative history suggests that it was Congress’s view that
  the relationship giving a company the right to call becomes more tenuous over time.356 In
  addition, we believe that this is an area where consistency between the FCC rules and FTC rules
  is critical for both consumers and telemarketers. We conclude that, based on the range of
  suggested time periods that would meet the needs of industry, along with consumers’ reasonable
  expectations of who may call them and when, eighteen (18) months strikes an appropriate
  balance between industry practices and consumers’ privacy interests. Therefore, the
  Commission has modified the definition of established business relationship to mean:


  352
        See, e.g., ATA Comments at 105; Verizon Comments at 13-14.
  353
        American Express Comments at 4.
  354
        See, e.g., Bank of America Comments at 3; ATA Comments at 101.
  355
        See infra discussion on unsolicited facsimile messages, paras. 185-193.
  356
      See H.R. REP. NO. 102-317 at 14 (1991) (“In the Committee’s view, an ‘established business relationship’ . . .
  could be based upon any prior transaction, negotiation, or inquiry between the called party and the business entity
  that has occurred during a reasonable period of time. . . The Committee recognized this relationship so as not to
  foreclose the capacity of businesses to place calls that build upon, follow up, or renew, within a reasonable period
  of time, what had once been [an] ‘existing customer relationship.’”) The House Report also states that “. . . the
  Committee believes the test to be applied must be grounded in the consumer’s expectation of receiving the call.
  Consequently, the test shall consist of a determination of whether the new solicitation occurs within a reasonable
  period of time and the new product or service being promoted is related substantially to the prior relationship.” Id.
  at 14-15.


                                                             65


                                                                                                                PA - 00311
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 314 of 437 Page ID
                                   #:470
                                      Federal Communications Commission                                  FCC 03-153


                  a prior or existing relationship formed by a voluntary two-way
                  communication between a person or entity and a residential subscriber
                  with or without an exchange of consideration, on the basis of the
                  subscriber’s purchase or transaction with the entity within the eighteen
                  (18) months immediately preceding the date of the telephone call or on
                  the basis of the subscriber’s inquiry or application regarding products
                  or services offered by the entity within the three (3) months
                  immediately preceding the date of the call, which relationship has not
                  been previously terminated by either party.357

  The 18-month time period runs from the date of the last payment or transaction with the
  company, making it more likely that a consumer would expect a call from a company with which
  they have recently conducted business. The amended definition permits the relationship, once
  begun, to exist for eighteen (18) months in the case of purchases or transactions and three (3)
  months in the case of inquiries or applications, unless the consumer or the company “terminates”
  it. We emphasize here that the termination of an established business relationship is significant
  only in the context of solicitation calls.358 Therefore, consistent with the language in the
  definition, a company’s prior relationship with a consumer entitles the company to call that
  consumer for eighteen (18) months from the date of the last payment or financial transaction,
  even if the company does not currently provide service to that customer.359 For example, a
  consumer who once had telephone service with a particular carrier or a subscription with a
  particular newspaper could expect to receive a call from those entities in an effort to “winback”
  or “renew” that consumer’s business within eighteen (18) months. In the context of
  telemarketing calls, a consumer’s “prior or existing relationship” continues for eighteen (18)
  months (3 months in the case of inquiries and applications) or until the customer asks to be
  placed on that company’s do-not-call list.360

         114. Inquiries. The Commission asked whether we should clarify the type of
  consumer inquiry that would create an “established business relationship” for purposes of the
  exemption. Some consumers and consumer groups maintain that a consumer who merely
  inquires about a product should not be subjected to subsequent telemarketing calls.361 Industry

  357
        See amended 47 C.F.R. § 64.1200(f)(3).
  358
      We also note that the act of “terminating” an established business relationship will not hinder or thwart
  creditors’ attempts to reach debtors by telephone, to the extent that debt collection calls constitute neither
  telephone solicitations nor include unsolicited advertisements. See 1995 TCPA Reconsideration Order, 10 FCC
  Rcd at 12400, para. 17.
  359
        See amended 47 C.F.R. § 64.1200(f)(3).
  360
     See infra discussion on the interplay between the established business relationship and a do-not-call request,
  para. 124.
  361
     NASUCA Comments at 17; TOPUC Comments at 5-6; NCL Comments at 5 (EBR should be narrowed to
  require a consumer to actually set up an account with a company for the purpose of making recurring or repeated
  purchases); Michael C. Worsham Comments at 10; Stewart Abramson-December 9, 2002 Comments at 4-5;
  NYSCPB-Other Than DNC List Comments at 15.


                                                           66


                                                                                                               PA - 00312
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 315 of 437 Page ID
                                   #:471
                                       Federal Communications Commission                                  FCC 03-153


  commenters, on the other hand, believe that companies should be permitted to call consumers
  who have made inquiries about their products and services, and that consumers have come to
  expect such calls.362 The legislative history suggests that Congress contemplated that an inquiry
  by a consumer could be the basis of an established business relationship,363 but that such an
  inquiry should occur within a reasonable period of time.364 While we do not believe any
  communication would amount to an established business relationship for purposes of
  telemarketing calls, we do not think the definition should be narrowed to only include situations
  where a purchase or transaction is completed.365 The nature of any inquiry must, however, be
  such to create an expectation on the part of the consumer that a particular company will call
  them. As confirmed by several industry commenters, an inquiry regarding a business’s hours or
  location would not establish the necessary relationship as defined in Commission rules.366 By
  making an inquiry or submitting an application regarding a company’s products or services, a
  consumer might reasonably expect a prompt follow-up telephone call regarding the initial
  inquiry or application, not one after an extended period of time. Consistent with the FTC’s
  conclusion, the Commission believes three months should be a reasonable time in which to
  respond to a consumer’s inquiry or application.367 Thus, we amend the definition of “established
  business relationship” to permit telemarketing calls within three (3) months of an inquiry or
  application regarding a product or service offered by the company.

          115. We emphasize here that the definition of “established business relationship”
  requires a voluntary two-way communication between a person or entity and a residential
  subscriber regarding a purchase or transaction made within eighteen (18) months of the date of
  the telemarketing call or regarding an inquiry or application within three (3) months of the date
  of the call. Any seller or telemarketer using the EBR as the basis for a telemarketing call must
  be able to demonstrate, with clear and convincing evidence, that they have an EBR with the
  called party.


  362
        Verizon Comments at 15; FSR Comments at 3-4.
  363
     See H.R. REP. NO. 102-317 at 14-15 (1991) (noting that if an investor had written to a mutual fund or
  responded to an ad requesting additional information, the fund’s manager could make follow-up calls. The Report
  also explains that a loan officer or financial consultant may call a telephone subscriber who had requested a loan.).
  364
        H.R. REP. NO. 102-317 at 14, 15 (1991).
  365
      See, e.g., TOPUC Comments at 5-6, 11 (“there is no reason for a customer who merely inquires about a
  product or service, or answers a survey, to be subject to future telemarketing calls”); NCL Comments at 5
  (definition should be narrowed to include situations in which the consumer has set up an account with a company
  for purposes of making recurring or repeated purchases).
  366
        Verizon Comments at 15; ATA Comments at 104; ABA Comments at 5.
  367
     Most commenters who suggested a time limit on the EBR did not specify that it would apply to inquiries. But
  see Scholastic Comments at 8 (for requests of information, the reasonable amount of time should be at least 6
  months); DIRECTV Reply Comments at 5 (FCC should adopt the same timeframes adopted by the FTC—18
  months for a purchase and 3 months for an inquiry); Intuit Reply Comments at 7 (3-month rule is not practical
  from the perspective of an online service provider and software company; customers may be interested in
  upgrading software or in new products and services several years after the initial purchase).


                                                           67


                                                                                                                PA - 00313
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 316 of 437 Page ID
                                   #:472
                                        Federal Communications Commission                                       FCC 03-153


           116. Different Products and Services. The Commission also invited comment on
  whether to consider modifying the definition of “established business relationship” so that a
  company that has a relationship with a customer based on one type of product or service may not
  call consumers on the do-not-call list to advertise a different service or product.368 Industry
  commenters believe an EBR with a consumer should not be restricted by product or service, but
  rather, should permit them to offer the full range of their services and products.369 Consumer
  advocates who commented on the issue maintain that a company that has a relationship based on
  one service or product should not be allowed to use that relationship to market a different service
  or product.370 The Commission agrees with the majority of industry commenters that the EBR
  should not be limited by product or service. In today’s market, many companies offer a wide
  variety of services and products. Restricting the EBR by product or service could interfere with
  companies’ abilities to market them efficiently. Many telecommunications and cable companies,
  for example, market products and services in packages.371 As long as the company identifies
  itself adequately,372 a consumer should not be surprised to receive a telemarketing call from that
  company, regardless of the product being offered. If the consumer does not want any further
  calls from that company, he or she may request placement on its do-not-call list.

        117. Affiliated Entities. In the 1992 TCPA Order, the Commission found that a
  consumer’s established business relationship with one company may also extend to the


  368
        2002 Notice, 17 FCC Rcd at 17472, para. 20.
  369
      NCTA Comments at 2-5 ( “[I]t is precisely because cable operators now compete with a range of other
  wireline and wireless entities in providing packages of different services and products that it is more important
  than ever—to cable operators and their customers—that operators be able to keep their customers informed of the
  full range of offerings and promotions available to them.”); Comcast Comments at 7-8; Cox Comments at 6-8;
  Yellow Pages Comments at 8; American Express Comments at 3; DMA Comments at 28.
  370
      John A. Shaw Comments at 4; PUC of Ohio Comments at 15 (should limit the contact about changes or
  updates to the current product or service. For example, a lawn care service cannot call to offer vinyl siding); Joe
  Shields Further Comments at 3 (any product or service offered through telemarketing must be substantially related
  to the product that created the relationship).
  371
      See WorldCom Comments at 9 (describing its “Neighborhood” product, which combines a special feature
  package and unlimited local and long distance calling for one price); Cablevision Reply Comments at 3 (noting
  that in addition to telephone and telecom products, the company owns an array of entertainment and retail venues.
   It also faces strong competition from other providers of video programming, and needs to be able to let customers
  for one line of service know about other services).
  372
      As required by the amended rules we adopt today, “[a] person or entity making a call for telemarketing
  purposes must provide the called party with the name of the individual caller, the name of the person or entity on
  whose behalf the call is being made, and a telephone number or address at which the person or entity may be
  contacted.” See 47 C.F.R. § 64.1200(d)(4). The amended rules also require that all artificial or prerecorded
  telephone messages shall, “[a]t the beginning of the message, state clearly the identify of the business, individual,
  or other entity that is responsible for initiating the call. If a business is responsible for initiating the call, the name
  under which the entity is registered to conduct business with the State Corporation Commission (or comparable
  regulatory authority) must be stated, and [d]uring or after the message, state clearly the telephone number (other
  than that of the autodialer or prerecorded message player which placed the call) of such business, other entity, or
  individual. . .” See 47 C.F.R. § 64.1200(b).


                                                               68


                                                                                                                      PA - 00314
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 317 of 437 Page ID
                                   #:473
                                       Federal Communications Commission                                 FCC 03-153


  company’s affiliates and subsidiaries.373 Consumer advocates maintain that the EBR exemption
  should not automatically extend to affiliates of the company with whom a consumer has a
  business relationship.374 Industry members argue that it should apply to affiliates that provide
  reasonably-related products or services.375 The Commission finds that, consistent with the FTC’s
  amended Rule, affiliates fall within the established business relationship exemption only if the
  consumer would reasonably expect them to be included given the nature and type of goods or
  services offered and the identity of the affiliate.376 This definition offers flexibility to companies
  whose subsidiaries or affiliates also make telephone solicitations, but it is based on consumers’
  reasonable expectations of which companies will call them.377 As the ATA and other
  commenters explain, consumers often welcome calls from businesses they know. A call from a
  company with which a consumer has not formed a business relationship directly, or does not
  recognize by name, would likely be a surprise and possibly an annoyance. This determination is
  also consistent with current Commission rules on the applicability of do-not-call requests made
  to affiliated persons or entities. Under those rules, a residential subscriber’s do-not-call request
  will not apply to affiliated entities unless the consumer reasonably would expect them to be
  included given the identification of the caller and the product advertised.378

          118. Other Issues. The Commission clarifies that the established business relationship
  exemption does not permit companies to make calls based on referrals from existing customers
  and clients,379 as the person referred presumably does not have the required business relationship
  with the company that received the referral. An EBR is similarly not formed when a wireless
  subscriber happens to use another carrier’s services through roaming.380 In such a situation, the
  consumer has not made the necessary purchase or inquiry that would constitute an EBR or

  373
        See 1992 TCPA Order, 7 FCC Rcd at 8770-71, para. 34.
  374
        NCL Comments at 5-6; NYSCPB-Other Than DNC List Comments at 7.
  375
      See, e.g., SBC Comments at 11 (This is consistent with sec. 272(g), which allows Bell Operating Companies to
  jointly market services of their long distance affiliates); Visa Comments at 6 (should also apply to co-brand and
  affinity partners); FSR Comments at 4 (Commission should make clear that any member of a corporate family,
  including subsidiaries and affiliates, should be permitted to call as long as customer has EBR with any member).
  376
      Given the numerous types of business relationships, the Commission believes it appropriate to treat the issue of
  a consumer’s “reasonable expectations” in any complaint on a case-by-case basis. See also H.R. REP. NO. 102-
  317 at 15 (noting that contact by an affiliate of the company with whom a consumer has an established business
  relationship may be permissible if the solicitation by the affiliate related to a transaction in progress with the
  consumer or was substantially related to the product or service forming the basis of the business relationship.).
  377
        See, e.g., American Express Comments at 4.
  378
        See 47 C.F.R. § 64.1200(e)(2)(v).
  379
     See New Jersey Ratepayer Further Reply Comments at 3 (providing an exemption for referrals by existing
  customers would provide an open door and the element of consent would still be missing). But see NAIFA
  Comments at 3.
  380
      See AT&T Wireless Comments at 25 (arguing that an established business relationship is formed in such a
  situation).


                                                           69


                                                                                                               PA - 00315
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 318 of 437 Page ID
                                   #:474
                                       Federal Communications Commission                                FCC 03-153


  provided prior express consent to receive telemarketing calls from that company. We recognize
  that companies often hire third party telemarketers to market their services and products. In
  general, those telemarketers may rely on the seller’s EBR to call an individual consumer to
  market the seller’s services and products.381 However, we disagree with Nextel that a
  consumer’s EBR with a third party telemarketer, including a retail store or independent dealer,
  extends to a seller simply because the seller has a contractual relationship with that telemarketer.
   The seller would only be entitled to call a consumer under the EBR exemption based on its own
  EBR with a consumer.382 We also disagree with WorldCom that the EBR should extend to
  marketing partners for purposes of telemarketing joint offers, to the extent the “partner”
  companies have no EBR with the consumer.383

                     2.       Telecommunications Common Carriers

          119. In the 2002 Notice, we asked what effect the established business relationship
  exemption might have on the telecommunications industry, if a national do-not-call list is
  established. According to WorldCom, telephone solicitations are the primary mechanism for,
  and the means by which consumers are accustomed to, purchasing competitive
  telecommunications services.384 WorldCom argues that with the advent of competition in the
  formerly monopolized local telephone markets, and the entry of the Regional Bell Operating
  Companies into the long distance market, carriers need to be able to market effectively their new
  services.385 WorldCom argues that a national do-not-call list that exempts calls to persons with
  whom a company has established business relationships will favor incumbent providers.386
  According to WorldCom, incumbent local exchange carriers maintain most of the local customer
  base, and therefore would be able to telemarket new services to all those customers, regardless of
  whether they were on the national do-not-call registry, because of the established business
  relationship exemption. New competitors, on the other hand, would be restricted from calling
  those same consumers.

  381
        See Verizon Comments at 14-15.
  382
      See Nextel Reply Comments at 15-17. However, if a consumer purchases a seller’s products at a retail store or
  from an independent dealer, such purchase would establish a business relationship with the seller, entitling the
  seller to call that consumer under the EBR exemption.
  383
        See Notice of Ex Parte Presentation from WorldCom to FCC at 8, filed June 16, 2003.
  384
        WorldCom Comments at 7.
  385
     WorldCom Comments at 9 (“telemarketing is the most cost-effective way to introduce new products and
  services to the public, especially local and long distance telecommunications services that customers customize for
  their specific needs” (footnote omitted)).
  386
     WorldCom Comments at 13; see also ATA Reply Comments at 30-32; Winstar Further Comments at 3-4
  (maintaining that the FCC should either exempt telecommunications service providers from the do-not-call rules or
  implement rules that prevent incumbents from using the EBR to preserve their monopoly); CompTel Further Reply
  Comments at 2 (should follow WorldCom’s suggestion and determine that all consumers have an EBR with all
  providers of local service). But see Wayne G. Strang Reply Comments at 16 (suggesting that WorldCom’s
  arguments are exaggerated as even those entities that have an established business relationship with a subscriber
  may not take advantage of the exemption once the subscriber makes a do-not-call request).

                                                           70


                                                                                                              PA - 00316
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 319 of 437 Page ID
                                   #:475
                                     Federal Communications Commission                              FCC 03-153


          120. One approach would be to narrow the “established business relationship” for
  telecommunications carriers, so that a carrier doing business with customers based on one type
  of service may not call those customers registered with the national do-not-call list to advertise a
  different service.387 We find, however, that the record does not support such an approach in the
  context of telemarketing calls. Along with the majority of industry commenters in this
  proceeding, WorldCom maintains that companies “must have flexibility in communicating with
  their customers not only about their current services, but also to discuss available alternative
  services or products. . . .”388 Limiting a common carrier’s “established business relationship” by
  product or service might harm competitors’ efforts to market new goods or services to existing
  customers, and would not be in the public interest.

          121. WorldCom proposes instead that the Commission revise the definition of
  established business relationship so that all providers of a telecommunications service—
  incumbents and new entrants alike—are deemed to have an established business relationship
  with all consumers.389 Alternatively, WorldCom suggests that the definition of an established
  business relationship be revised to exclude a company whose relationship with a consumer is
  based solely on a service for which the company has been a dominant or monopoly provider of
  the service, until such time as competitors for that service have sufficiently penetrated the
  market.390

          122. Although we take seriously WorldCom’s concerns about the potential effects of a
  national do-not-call list on competition in the telecommunications marketplace, we decline to
  expand the definition of “established business relationship” so that common carriers are deemed
  to have relationships with all consumers for purposes of making telemarketing calls. Broadening
  the scope of the established business relationship in such a way would be inconsistent with
  Congress’s mandate “to protect residential telephone subscribers’ privacy rights to avoid
  receiving telephone solicitations to which they object.”391 To permit common carriers to call
  consumers with whom they have no existing relationships and who have expressed a desire not
  to be called by registering with the national do-not-call list, would likely confuse consumers and




  387
     See 2002 Notice, 17 FCC Rcd at 17472, para. 20; see also Shaw Further Reply Comments at 13 (if there is any
  competition problem, the EBR for ILECS should not allow them to sell the customer additional services or
  products).
  388
      WorldCom Comments at 15. See also WorldCom Comments at 15-16 (arguing that limiting calls to those
  related to the customer’s current service does not make sense in a market where products are increasingly
  integrated).
  389
      WorldCom Reply Comments at 11. But see Verizon Further Reply Comments at 2-3 (it would be at odds with
  the plain meaning of EBR to adopt WorldCom’s suggestion that all consumers would have an EBR with
  WorldCom).
  390
        WorldCom Reply Comments at 11.
  391
        See 47 U.S.C. § 227(c)(1).


                                                        71


                                                                                                          PA - 00317
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 320 of 437 Page ID
                                   #:476
                                      Federal Communications Commission                                   FCC 03-153


  interfere with their ability to manage and monitor the telemarketing calls they receive.392

          123. We further note that with the establishment of a national do-not-call registry,
  carriers will still be permitted to contact competitors’ customers who have not placed their
  numbers on the national list. In addition, carriers will be able to call their prior and existing
  customers for 18 months to market new products and services, such as long distance, local, or
  DSL services, as long as those customers have not placed themselves on that carrier’s company-
  specific do-not-call list.393 For the remaining consumers with whom common carriers have no
  established business relationship and who are registered with the do-not-call list, carriers may
  market to them using different advertising methods, such as direct mail. Therefore, we find that
  treating common carriers like other entities that use the telephone to advertise, best furthers the
  goals of the TCPA to protect consumer privacy interests and to avoid interfering with existing
  business relationships.

                     3.       Interplay Between Established Business Relationship and Do-Not-Call
                              Request

          124. In the 2002 Notice, we sought comment on the effect of a do-not-call request on
  an established business relationship.394 We noted the legislative history on this issue, which
  suggests that despite an established business relationship, a company that has been asked by a
  consumer not to call again, must honor that request and avoid further calls to that consumer.395
  Consumer advocates who discussed the interplay between the established business relationship
  and a do-not-call request maintained that a do-not-call request should “trump” an established
  business relationship,396 and that consumers should not be required to terminate business
  relationships in order to stop unwanted telemarketing calls.397 The majority of industry
  392
     We note that of the TCPA-related complaints filed by consumers with the Commission, a substantial number
  have been against common carriers. See Caroline E. Mayer, “Do Not Call’ List Operator AT&T Leads in
  Complaints,” Washingtonpost.com (April 23, 2003) <http://washingtonpost.com/wp-dyn/articles/A17683-
  2003Apr22.html> (describing the number of complaints filed against AT&T and other common carriers for do-
  not-call violations); see also ATA Comments, Appendix 16.
  393
      See supra para. 113 for a discussion regarding termination of the established business relationship for purposes
  of telemarketing calls.
  394
        2002 Notice, 17 FCC Rcd at 17480-81, para. 35.
  395
      See H.R. REP. NO. 102-317 at 15-16 (1991) (“If a subscriber asks a company with whom it has an established
  relationship not to call again, that company has an obligation to honor the request and avoid further contacts.
  Despite the fact that objecting subscribers can be called based on an ‘established business relationship,’ it is the
  strongly held view of the Committee that once a subscriber objects to a business that calls based on an established
  relationship, such business must honor this second objection and implement procedures not to call that twice-
  objecting subscriber again.”).
  396
     See, e.g., Thomas M. Pechnik Comments at 3; Joe W. McDaniel-Fifth December 5, 2002 Comments; City of
  Chicago Comments at 11-12; Philip J. Charvat Comments at 8; Mark A. Hiner Comments; Barbara Crouse
  Comments (receives calls from a newspaper because she is a subscriber, even when she asks to be placed on a do-
  not-call list); Wayne G. Strang Comments at 13; TOPUC Comments at 6.
  397
        Owen O’Neill Comments at 2; City of New Orleans Comments at 10.


                                                           72


                                                                                                                PA - 00318
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 321 of 437 Page ID
                                   #:477
                                        Federal Communications Commission                              FCC 03-153


  commenters also supported the notion that companies should honor requests from individual
  consumers not to be called, regardless of whether there is a business relationship.398 As
  discussed earlier, companies will be permitted to call consumers with whom they have an
  established business relationship for a period of 18 months from the last payment or transaction,
  even when those consumers are registered on the national do-not-call list, as long as a consumer
  has not asked to be placed on the company’s do-not-call list. Once the consumer asks to be
  placed on the company-specific do-not-call list, the company may not call the consumer again
  regardless of whether the consumer continues to do business with the company. This will apply
  to all services and products offered by that company.399 If the consumer continues to do business
  with the telemarketer after asking not to be called (by, for example, continuing to hold a credit
  card, subscribing to a newspaper, or making a subsequent purchase), the consumer cannot be
  deemed to have waived his or her company-specific do-not-call request.400 As described above,
  we amend the company-specific do-not-call rules to apply to “any call for telemarketing
  purposes” to make clear that a company must cease making telemarketing calls to any customer
  who has made a do-not-call request, regardless of whether they have an EBR with that
  customer.401 We also adopt a provision stating that a consumer’s do-not-call request terminates
  the EBR for purposes of telemarketing calls even if the consumer continues to do business with
  the seller.402

  VII.        TAX-EXEMPT NONPROFIT ORGANIZATION EXEMPTION

         A.           Background

          125. The term “telephone solicitation,” as defined in the TCPA, does not include a call
  or message “by a tax-exempt nonprofit organization.”403 The Commission concluded, as part of
  its 1995 Reconsideration Order, that calls placed by an agent of the telemarketer are treated as if


  398
     See, e.g., DialAmerica Comments at 14; AT&T Wireless Comments at 26-27; Verizon Comments at 15; HFS
  Comments at 9; NCTA Comments at 5. But see Bank of America Comments at 6 (a do-not-call request should not
  terminate the relationship, and businesses should be able to continue calling those customers).
  399
     See, e.g., Philip J. Charvat Comments at 8 (If product exceptions to do-not-call requests were allowed, the
  TCPA’s effectiveness would be eviscerated. “A ‘credit card’ offer declined by a consumer with a [do-not-call]
  demand, will be followed by a ‘shopping convenience card’ offer from the same entity”); Stewart Abramson-
  December 9, 2002 Comments at 1 (a do-not-call request should apply to the business generally, not just by
  product or service. Otherwise, it would be very time-consuming for the consumer).
  400
     In some instances, however, a consumer may grant explicit consent to be called during the course of a
  subsequent purchase or transaction.
  401
        See amended rule at 47 C.F.R. § 64.1200(d). See also supra para. 96.
  402
        See amended rule at 47 C.F.R. § 64.1200(f)(3)(i).
  403
      47 U.S.C. § 227(a)(3). In its initial rulemaking in 1992, the Commission concluded that, in the same vein,
  calls by tax-exempt nonprofit organizations also should be exempt from the prohibition on prerecorded messages
  to residences as non-commercial calls. See 1992 TCPA Order, 7 FCC Rcd at 8773-74, para. 40; see also 47
  U.S.C. § 227(a)(3)(C) and 47 C.F.R. § 64.1200(c)(4).


                                                            73


                                                                                                             PA - 00319
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 322 of 437 Page ID
                                   #:478
                                       Federal Communications Commission                                 FCC 03-153


  the telemarketer itself placed the call.404 Therefore, calls made by independent telemarketers on
  behalf of tax-exempt nonprofits also are not subject to the rules governing telephone
  solicitations.405

           126. Over the years, the Commission has received inquiries about calls made jointly by
  nonprofit and for-profit organizations. In the 2002 Notice, we described a scenario in which a
  tax-exempt nonprofit organization calls consumers to sell another company’s magazines and
  receives a portion of the proceeds. We then asked whether such calls should be exempt from the
  restrictions on telephone solicitations and prerecorded messages as calls made by a tax-exempt
  nonprofit organization.406

          127. Tax-exempt nonprofit organizations explained that they rely on the expertise and
  operational efficiencies of professional fundraisers to conduct their fundraising campaigns.
  Therefore, they support the continued exemption for professional fundraisers that call on behalf
  of nonprofit organizations.407 Many commenters, while supportive of the exemption for calls by
  nonprofits, were concerned that it frequently has been used to veil what is in reality a
  commercial venture.408 Some commenters emphasized that “the TCPA nonprofit exemption
  should not function as an artifice for an inherently commercial enterprise.”409 NAAG, for
  example, maintained that calls that serve to benefit for-profit companies (in whole or in part) are
  not calls by or on behalf of nonprofits and should remain subject to the TCPA’s restrictions.410
  The Association of Fundraising Professionals similarly asserted that this type of nonprofit/for-
  profit initiative does not represent a “pure” charitable appeal; that the primary purpose of such a
  transaction is receipt of a product or service by the consumer, not the charitable transfer of


  404
        See 1995 TCPA Reconsideration Order, 10 FCC Rcd at 12397, para. 13.
  405
        See 1995 TCPA Reconsideration Order, 10 FCC Rcd at 12397, para. 13.
  406
        2002 Notice, 17 FCC Rcd at 17479, para. 33.
  407
     NPCC Comments at 12-13; March of Dimes Comments at 2; Special Olympics-Hawaii Comments; NPCC
  Comments at 4 (“An estimated 60 percent to 70 percent of nonprofit and charitable organizations use professional
  fundraisers to deliver their messages to consumers and solicit donations.” (cites omitted)).
  408
    NPCC Comments at 10; Donald R. Davis Comments; Private Citizen Comments at 4; Gregory S. Reichenbach
  Comments.
  409
        NPCC Comments at 10. See also Private Citizen Comments at 4; Gregory S. Reichenbach Comments.
  410
     NAAG Comments at 39 (describing an example of a for-profit sending prerecorded messages “to residential
  phone numbers, promising to reduce interest rates and save consumers money repaying their credit card debt. The
  prerecorded message did not disclose how the savings would be achieved and did not identify any nonprofit
  organization. If a caller responded to the 1-800 number on the message, the caller reached the for-profit call
  center. In the sales pitch that followed, the telemarketer described credit counseling services offered by a
  nonprofit organization. However, the telemarketer solicited “enrollment fees” (between $199-499), payable
  entirely to the for-profit company. . . Consumers interested in nonprofit credit counseling would be referred to a
  nonprofit credit counselor, but only after they paid hundreds of dollars to the for-profit marketing company.”); see
  also Wayne G. Strang Comments at 7; City of New Orleans Comments at 9-10; Donald R. Davis Comments.


                                                           74


                                                                                                               PA - 00320
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 323 of 437 Page ID
                                   #:479
                                       Federal Communications Commission                                    FCC 03-153


  funds.411 One commenter suggested that the test for whether a call is made on behalf of a
  nonprofit organization should be whether payment is made to the tax-exempt nonprofit
  organization.412 DialAmerica, on the other hand, urged the Commission to confirm that the
  exemption also applies when for-profits call, conduct a commercial transaction, and donate a
  percentage of the proceeds to nonprofit charitable organizations.413

         B.           Discussion

           128. We reaffirm the determination that calls made by a for-profit telemarketer hired to
  solicit the purchase of goods or services or donations on behalf of a tax-exempt nonprofit
  organization are exempted from the rules on telephone solicitation.414 In crafting the TCPA,
  Congress sought primarily to protect telephone subscribers from unrestricted commercial
  telemarketing activities, finding that most unwanted telephone solicitations are commercial in
  nature.415 In light of the record before us, the Commission believes that there has been no
  change in circumstances that warrant distinguishing those calls made by a professional
  telemarketer on behalf of a tax-exempt nonprofit organization from those made by the tax-
  exempt nonprofit itself. The Commission recognizes that charitable and other nonprofit entities
  with limited expertise, resources and infrastructure, might find it advantageous to contract out its
  fundraising efforts.416 Consistent with section 227, a tax-exempt nonprofit organization that
  conducts its own fundraising campaign or hires a professional fundraiser to do it, will not be
  subject to the restrictions on telephone solicitations.417 If, however, a for-profit organization is
  delivering its own commercial message as part of a telemarketing campaign (i.e., encouraging
  the purchase or rental of, or investment in, property, goods, or services),418 even if accompanied
  by a donation to a charitable organization or referral to a tax-exempt nonprofit organization,419

  411
        AFP Comments at 3.
  412
        Reese Comments at 10.
  413
    DialAmerica Comments at 13-14. See also DialAmerica Reply Comments at 13 (DialAmerica’s Sponsor
  Magazine Program donates 12.5% of the proceeds to the charity.).
  414
     We again reiterate that calls that do not fall within the definition of “telephone solicitation” as defined in
  section 227(a)(3) will not be precluded by the national do-not-call list. These may include calls regarding surveys,
  market research, and calls involving political and religious discourse. See supra para. 37.
  415
        See H.R. REP. NO. 102-317 at 16-17 (1991).
  416
      See NPCC Comments at 13 (“Nonprofit and charitable organizations rely on the expertise and operational
  efficiencies of professional fundraisers to conduct their fundraising campaigns and disseminate their message. . . .
  Such trained professionals offer significant resources, expertise and operational efficiencies that cannot be
  duplicated by nonprofit and charitable organizations.” (emphasis added; cites omitted))
  417
        These restrictions are found in amended 47 C.F.R. §§ 64.1200(c) and (d).
  418
        See 47 U.S.C. § 227(a)(3) and amended 47 C.F.R. § 64.1200(f)(9).
  419
     Similarly, an affiliate of a tax-exempt nonprofit organization that is itself not a tax-exempt nonprofit is not
  exempt from the TCPA rules when it makes telephone solicitations.


                                                             75


                                                                                                                  PA - 00321
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 324 of 437 Page ID
                                   #:480
                                         Federal Communications Commission                            FCC 03-153


  that call is not by or on behalf of a tax-exempt nonprofit organization.420 Such calls, whether
  made by a live telemarketer or using a prerecorded message, would not be entitled to exempt
  treatment under the TCPA. We emphasize here, as we did in the 2002 Notice, that the statute
  and our rules clearly apply already to messages that are predominantly commercial in nature, and
  that we will not hesitate to consider enforcement action should the provider of an otherwise
  commercial message seek to immunize itself by simply inserting purportedly “non-commercial”
  content into that message. A call to sell debt consolidation services, for example, is a
  commercial call regardless of whether the consumer is also referred to a tax-exempt nonprofit
  organization for counseling services.421 Similarly, a seller that calls to advertise a product and
  states that a portion of the proceeds will go to a charitable cause or to help find missing children
  must still comply with the TCPA rules on commercial calls.

  VIII. AUTOMATED TELEPHONE DIALING EQUIPMENT

         A.            Background

          129. The TCPA and Commission’s rules prohibit calls using an automatic telephone
  dialing system (or “autodialer”) to emergency telephone lines, to the telephone line of a guest
  room of a health care facility, to a paging service, cellular telephone service, specialized mobile
  radio service, or other radio common carrier service, or any service for which the called party is
  charged for the call.422 Section 227 defines automatic telephone dialing system as “equipment
  which has the capacity (A) to store or produce telephone numbers to be called, using a random or
  sequential number generator; and (B) to dial such numbers.”423 In the 2002 Notice, the
  Commission explained that more sophisticated dialing systems, such as predictive dialers and
  answering machine detection software, are now widely used by telemarketers to increase
  productivity. We invited comment on these and other technologies and asked whether they fall
  within the restrictions on “automatic telephone dialing systems.”424

          130. Most industry members that commented on the issue of autodialed calls argue that
  predictive dialers do not fall within the statutory definition of “automatic telephone dialing
  system,” primarily because, they contend, predictive dialers do not dial numbers “randomly or
  sequentially.”425 Rather, they state that predictive dialers store pre-programmed numbers or


  420
        See NPCC Comments at 10; AFP Comments at 3.
  421
     Unlike debt collection calls, a consumer may “terminate” an established business relationship with a company
  offering debt consolidation services by requesting placement on a company-specific do-not-call list. See supra
  note 358.
  422
        47 U.S.C. § 227(b)(1)(A)(i)-(iii); 47 C.F.R. § 64.1200(a)(1)(i)-(iii).
  423
        47 U.S.C. § 227(a)(1); see also, 47 C.F.R. § 64.1200(f)(1).
  424
        2002 Notice, 17 FCC Rcd at 17473-74, paras. 23-24.
  425
     See, e.g., Mastercard Comments at 6; Verizon Comments at 23; HFS Comments at 7; Discover Comments at 8;
  CBA Comments at 7-8; Bank of America Comments at 5; ATA Comments at 113-114. But see American General
  Finance Comments at 1 (urging the Commission to clarify the definitions of “automatic telephone dialing system”
  (continued….)
                                                               76


                                                                                                           PA - 00322
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 325 of 437 Page ID
                                   #:481
                                      Federal Communications Commission                                   FCC 03-153


  receive numbers from a computer database and then dial those numbers in a manner that
  maximizes efficiencies for call centers.426 Most consumers and consumer groups maintain that
  predictive dialers are autodialers; that to distinguish technologies on the basis of whether they
  dial randomly or use a database of numbers would create a distinction without a difference.427
  They argue that for the recipient of the call, there is no difference whether the number is dialed
  at random or from a database of numbers.428 A few commenters contend that even when a
  database of numbers is used, the numbers can be dialed in sequence.429 In addition, LCC urges
  the Commission to clarify that modems used for non-telemarketing purposes are excluded from
  the definition of “automatic telephone dialing system.”430

         B.          Discussion

                     1.      Predictive Dialers

           131. Automated Telephone Dialing Equipment. The record demonstrates that a
  predictive dialer is equipment that dials numbers and, when certain computer software is
  attached, also assists telemarketers in predicting when a sales agent will be available to take
  calls.431 The hardware, when paired with certain software, has the capacity to store or produce
  numbers and dial those numbers at random, in sequential order, or from a database of numbers.432
   As commenters point out, in most cases, telemarketers program the numbers to be called into
  the equipment, and the dialer calls them at a rate to ensure that when a consumer answers the
  phone, a sales person is available to take the call.433 The principal feature of predictive dialing
  (Continued from previous page)
  and “autodialer,” which focus on equipment that has the capacity to generate random number and sequential
  dialing patterns, rather than on whether the equipment is actually used in that fashion).
  426
        See, e.g., Mastercard Comments at 6; HFS Comments at 7; Verizon Comments at 23; Discover Comments at 8.
  427
    See, e.g., EPIC Comments at 12; City of Chicago Comments at 9-11; Stewart Abramson Comments at 1-2;
  Michael C. Worsham Comments at 6.
  428
     See, e.g., Thomas M. Pechnik Comments at 4; Stewart Abramson Comments at 2 (FCC should not have to
  identify specific technologies covered by definition as technologies are always changing). But see Wayne G.
  Strang Comments at 6 (should ask Congress to change the definition to cover all devices capable of automatically
  dialing calls).
  429
        See Thomas M. Pechnik Comments at 5; Michael C. Worsham Comments at 5.
  430
     See LCC Comments at 7. LCC explains that, on behalf of certain clients, it installs terrestrial repeaters across
  the country, which receive satellite signals and retransmit the signals into areas that the signals would not
  otherwise reach. The repeaters contain an on-board modem, which may be programmed to call the client’s
  number in the event a malfunction occurs. If the modem is programmed incorrectly, it may dial a number other
  than the number of the client. See LCC Comments at 2-3.
  431
        See, e.g., HFS Comments at 7; ATA Comments at 110; ABA Comments at 3.
  432
      See ATA Comments at 113, n. 108; DMA Comments at 21 (“Some dialers are capable of being programmed
  for sequential or random dialing; some are not.”).
  433
        Mastercard Comments at 6.


                                                           77


                                                                                                                PA - 00323
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 326 of 437 Page ID
                                   #:482
                                      Federal Communications Commission                                  FCC 03-153


  software is a timing function, not number storage or generation. Household Financial Services
  states that these machines are not conceptually different from dialing machines without the
  predictive computer program attached.434

          132. The TCPA defines an “automatic telephone dialing system” as “equipment which
  has the capacity (A) to store or produce telephone numbers to be called, using a random or
  sequential number generator; and (B) to dial such numbers.”435 The statutory definition
  contemplates autodialing equipment that either stores or produces numbers. It also provides that,
  in order to be considered an “automatic telephone dialing system,” the equipment need only have
  the “capacity to store or produce telephone numbers (emphasis added). . ..” It is clear from the
  statutory language and the legislative history that Congress anticipated that the FCC, under its
  TCPA rulemaking authority, might need to consider changes in technologies.436 In the past,
  telemarketers may have used dialing equipment to create and dial 10-digit telephone numbers
  arbitrarily. As one commenter points out, the evolution of the teleservices industry has
  progressed to the point where using lists of numbers is far more cost effective.437 The basic
  function of such equipment, however, has not changed—the capacity to dial numbers without
  human intervention. We fully expect automated dialing technology to continue to develop.

         133. The legislative history also suggests that through the TCPA, Congress was
  attempting to alleviate a particular problem—an increasing number of automated and
  prerecorded calls to certain categories of numbers.438 The TCPA does not ban the use of
  technologies to dial telephone numbers. It merely prohibits such technologies from dialing
  emergency numbers, health care facilities, telephone numbers assigned to wireless services, and
  any other numbers for which the consumer is charged for the call.439 Such practices were
  determined to threaten public safety and inappropriately shift marketing costs from sellers to



  434
        HFS Comments at 7.
  435
        47 U.S.C. § 227(a)(1).
  436
     See 137 Cong. Rec. S18784 (1991) (statement of Sen. Hollings) (“The FCC is given the flexibility to consider
  what rules should apply to future technologies as well as existing technologies.”). See also Southern Co. v. FCC,
  293 F.3d 1338, 1346 (11th Cir. 2002) (“While the FCC is correct that the principle of nondiscrimination is the
  primary purpose of the 1996 Telecommunications Act, we must construe statutes in such a way to ‘give effect, if
  possible, to every clause and word of a statute’.”) (quoting Williams v. Taylor, 529 U.S. 362, 404 (2000) (internal
  quotation marks omitted)).
  437
        ATA Comments at 113.
  438
        NASUCA Comments at 4-5.
  439
      One commenter suggests that databases of emergency and cellular numbers are commercially available which
  can be used to exclude emergency numbers, health care facilities and wireless numbers from an automated dialer’s
  calling list. See ECN Comments at 3. The Commission is not persuaded that any such databases would include
  all numbers covered by the prohibition at 47 U.S.C. § 227(b)(1)(A), or that such databases are sufficiently
  accurate. Assuming, though, that predictive dialers can be programmed to avoid calling such numbers, there
  would be no reason to then exclude the dialing equipment from the TCPA’s prohibition.


                                                           78


                                                                                                               PA - 00324
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 327 of 437 Page ID
                                   #:483
                                        Federal Communications Commission                                     FCC 03-153


  consumers.440 Coupled with the fact that autodialers can dial thousands of numbers in a short
  period of time, calls to these specified categories of numbers are particularly troublesome.
  Therefore, to exclude from these restrictions equipment that use predictive dialing software from
  the definition of “automated telephone dialing equipment” simply because it relies on a given set
  of numbers would lead to an unintended result. Calls to emergency numbers, health care
  facilities, and wireless numbers would be permissible when the dialing equipment is paired with
  predictive dialing software and a database of numbers, but prohibited when the equipment
  operates independently of such lists and software packages. We believe the purpose of the
  requirement that equipment have the “capacity to store or produce telephone numbers to be
  called” is to ensure that the prohibition on autodialed calls not be circumvented.441 Therefore,
  the Commission finds that a predictive dialer falls within the meaning and statutory definition of
  “automatic telephone dialing equipment” and the intent of Congress.442

          134. Predictive Dialers as Customer Premises Equipment. A few commenters
  maintain that predictive dialers are Customer Premises Equipment (CPE)443 over which the
  Communications Act gives the FCC exclusive jurisdiction.444 The ATA and DMA urge the
  Commission to assert exclusive authority over CPE and, in the process, preempt state laws
  governing predictive dialers. They contend that, in the absence of a single national policy on
  predictive dialer use, telemarketers will be subject to the possibility of conflicting state
  standards.445 In the past, CPE was regulated as a common carrier service based on the
  Commission’s jurisdiction and statutory responsibilities over carrier-provided equipment.446

  440
     See S. REP. NO. 102-178 at 5 reprinted in 1991 U.S.C.C.A.N. 1968, 1972-73 (1991) (“The Committee believes
  that Federal legislation is necessary to protect the public from automated telephone calls. These calls can be an
  invasion of privacy, an impediment to interstate commerce, and a disruption to essential public safety services.”).
  441
        See 47 U.S.C. § 227(a)(1).
  442
     Because the statutory definition does not turn on whether the call is made for marketing purposes, we also
  conclude that it applies to modems that have the “capacity (A) to store or produce telephone numbers to be called,
  using a random or sequential number generator; and (B) to dial such numbers.” See 47 U.S.C. § 227(a)(1).
  443
      Customer Premises Equipment is defined in the Communications Act as “equipment employed on the premises
  of a person (other than a carrier) to originate, route, or terminate telecommunications.” See 47 U.S.C. § 153(14).
  444
    See ATA Comments at 120; ATA Further Comments at 11-12; DMA Reply Comments at 17; WorldCom
  Comments at 41 (asserting that predictive dialers are customer premises equipment).
  445
      See ATA Comments at 120-122 (noting that the Commission also has authority to forebear from adopting a
  specific rule governing predictive dialers to promote marketplace flexibility). See also DMA Comments at 17
  (“Predictive dialers are customer premises equipment (“CPE”), and thus beyond the states’ power to regulate
  pursuant to the Communications Act of 1934 and longstanding Commission rules and orders. These policies
  apply because predictive dialers are used interchangeably and inseparably for both inter- and intrastate
  communications, and are not susceptible to a segregated regulatory framework that would govern inter- and
  intrastate uses separately.”); DMA Further Comments at 4.
  446
      See Amendment of Section 64.702 of the Commission’s Rules and Regulations (Second Computer Inquiry),
  Docket No. 20828, 77 FCC2d 384, Final Decision (1980) (Computer II). In the Computer II Order, the
  Commission explained that “ In conferring jurisdiction upon this agency over ‘all instrumentalities . . . incidental
  to . . . transmission,’ the intent was ‘. . . to give the FCC ability to regulate any charge or practice associated with a
  (continued….)
                                                              79


                                                                                                                    PA - 00325
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 328 of 437 Page ID
                                   #:484
                                      Federal Communications Commission                                    FCC 03-153


  The Commission long ago deregulated CPE, finding that the CPE market was becoming
  increasingly competitive, and that in order to increase further the options that consumers had in
  obtaining equipment, it would require common carriers to separate the provision of CPE from
  the provision of telecommunications services.447 As part of its review of CPE regulations, the
  Commission pointed out that it had never regarded the provision of terminal equipment in
  isolation as an activity subject to Title II regulation.448 While the Commission recognized that
  such equipment is within the FCC’s authority over wire and radio communications,449 it found
  that the equipment, by itself, is not a “communication” service, and therefore there was no
  mandate that it be regulated.450 None of the commenters who argue this point describe a change
  in circumstances that would warrant reevaluating the Commission’s earlier determination and
  risk disturbing the competitive balance the Commission deemed appropriate in 1980.451 In
  addition, it is not the equipment itself that states are considering regulating; it is the use of such
  equipment that has caught the attention of some state legislatures.452 We believe it is preferable
  at this time to regulate the use of predictive dialers under the TCPA’s specific authority to
  regulate telemarketing practices. Therefore, we decline to preempt state laws governing the use
  of predictive dialers and abandoned calls or to regulate predictive dialers as CPE.
  (Continued from previous page)
  common carrier service in order to insure that the carrier operated for the public benefit.’” See Computer II, 77
  FCC2d at 450, para. 170.
  447
     Computer II, 77 FCC2d at 442-43, para. 149; see also In the Matter of Policy and Rules Concerning the
  Interstate, Interexchange Marketplace, Report and Order, CC Docket Nos. 96-91 and 98-183, 16 FCC Rcd 7418,
  7422, para. 5 (March 30, 2001).
  448
      Computer II, 77 FCC2d at 451, para. 172. The Commission explained that “[e]quipment manufacturers,
  distributors, and even regulated carriers routinely offer terminal equipment for sale or lease on an untariffed
  basis.”
  449
      See Computer II, 77 FCC2d at 451-52, paras. 172-173. (“[S]uch activities are not necessarily beyond the
  jurisdiction of the Commission to the extent they are encompassed within the definition of wire or radio
  communications in Section 3(a) of the Act. The definitions of wire and radio communications in Section 3(a) and
  (b) are far-reaching and include ‘all instrumentalities, facilities, apparatus, and services incidental to such
  transmission.’” Indeed we explicitly find that all terminal equipment used with interstate communications
  services are within the Act’s definition of wire and radio communications. However, the fact that the provision of
  incidental ‘instrumentalities,’ etc. is within the subject matter jurisdiction of the Act does not mandate regulation
  of the ‘instrumentalities.’”) (footnotes omitted).
  450
        Computer II, 77 FCC2d at 451-452, para. 173.
  451
      The Commission earlier stated that “[a]ny regulation by tariff or otherwise of terminal equipment must be
  demonstrated to be reasonably ancillary to the effective performance of the Commission’s responsibilities under
  Title II or ‘imperative for the achievement of an agency’s ultimate purposes.’”) Computer II, 77 FCC Rcd at 451-
  52, para. 173.
  452
      See Private Citizen Comments at 7 (“California will be implementing a 1% abandonment rate soon.”); HFS at
  7 (“California adopted legislation requiring a maximum for abandoned calls, but the regulatory body charged with
  setting the maximum has, to our knowledge, been unable to establish a maximum yet.”). Oklahoma bans the use
  of automatic or predictive dialing devices that abandon more than 5% of calls answered per day per telemarketing
  campaign. See Okla. Stat. tit. 15, §755.1 (2002). Virginia failed to pass legislation proposing to regulate the use
  of predictive dialers. See S.B. 918, 2003 Gen. Assem. (Va. 2003).


                                                            80


                                                                                                                    PA - 00326
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 329 of 437 Page ID
                                   #:485
                                       Federal Communications Commission                                FCC 03-153


                      2.       “War Dialing”

           135. In the 2002 Notice, the Commission sought comment on the practice of using
  autodialers to dial large blocks of telephone numbers in order to identify lines that belong to
  telephone facsimile machines. Of those commenters who weighed in on “war dialing,”453 there
  was unanimous support for a ban on the practice.454 Commenters explained that ringing a
  telephone for the purpose of determining whether the number is associated with a fax or voice
  line is an invasion of consumers’ privacy interests and should be prohibited. Moreover, they
  asserted there is no free speech issue when the caller has no intention of speaking with the called
  party.455 The TCPA prohibits the transmission of unsolicited facsimile advertisements absent the
  consent of the recipient. The Commission agrees that because the purpose of “war dialing” is to
  identify those numbers associated with facsimile machines, the practice serves few, if any,
  legitimate business interests and is an intrusive invasion of consumers’ privacy. Therefore, the
  Commission today adopts a rule that prohibits the practice of using any technology to dial any
  telephone number for the purpose of determining whether the line is a fax or voice line.456

  IX.         ARTIFICIAL OR PRERECORDED VOICE MESSAGES

         A.           Background

          136. As described above, the TCPA and Commission rules prohibit telephone calls to
  residences using an artificial or prerecorded voice to deliver a message without the prior express
  consent of the called party, unless the call is for emergency purposes or is specifically
  exempted.457 The TCPA permits the Commission to exempt from this provision calls which are
  non-commercial and commercial calls which do not adversely affect the privacy rights of the
  called party and which do not transmit an unsolicited advertisement.458 In its 1992 proceeding,
  the Commission determined to exempt calls that are non-commercial and commercial calls that
  do not contain an unsolicited advertisement, noting that messages that do not seek to sell a
  product or service do not tread heavily upon the consumer interests implicated by section 227.459


  453
     In this context, war dialing uses automated equipment to dial telephone numbers, generally sequentially, and
  software to determine whether each number is associated with a fax line or voice line.
  454
     See Thomas M. Pechnik Comments at 6; PRC Comments at 4-5; Michael C. Worsham Comments at 5; Carl
  Paulson Comments; Wayne G. Strang Reply Comments at 21.
  455
        See, e.g., Thomas M. Pechnik Comments at 5; Wayne G. Strang Reply Comments at 21.
  456
        See amended rule at 47 C.F.R. § 64.1200(a)(7).
  457
        47 U.S.C. § 227(b)(1)(B); 47 C.F.R. § 64.1200(a)(2).
  458
        47 U.S.C. § 227(b)(2)(B).
  459
      See 1992 NPRM, 7 FCC Rcd at 2737, para. 11. Among the examples of calls that do not include the
  transmission of any unsolicited advertisement, the Commission cited calls from a business that wishes to advise its
  employees of a late opening time due to weather; or calls from a nationwide organization that wishes to remind
  members of an upcoming meeting or change in schedule; or calls from a catalogue or delivery company to
  confirm the arrival, shipment, or delivery date of a product to a customer. We reiterate that such calls also would
  (continued….)
                                                               81


                                                                                                              PA - 00327
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 330 of 437 Page ID
                                   #:486
                                        Federal Communications Commission                              FCC 03-153


   The Commission also concluded that a solicitation to someone with whom a prior business
  relationship exists does not adversely affect subscriber privacy interests, and adopted an
  exemption for prerecorded messages delivered to consumers with whom a company has an
  established business relationship.460 Finally, the Commission concluded that tax-exempt
  nonprofit organizations should be exempt from the prohibition on prerecorded message calls to
  residences as non-commercial calls.461 In the 2002 Notice, the Commission sought comment on
  artificial or prerecorded messages containing offers for free goods or services and messages
  purporting to provide “information only” about products or services. We also invited comment
  on calls seeking people to help sell or market a business’ products. We asked whether such
  messages should be viewed as advertisements under the rules.

          137. The record reveals that the practice of sending prerecorded messages to
  residential telephone lines is widespread. 462 Consumers are frustrated by such messages, which
  often fill up the tapes of their answering machines,463 fail to identify adequately the company
  delivering the message, and provide no option for requesting that the company not call again.464
  When consumers attempt to place their numbers on a do-not-call list in response to a prerecorded
  message, they often reach busy signals,465 additional prerecorded messages, or are told that do-
  not-call requests are not processed at that number.466 Consumers also indicate that they have
  been told by telemarketers that “free” offers and informational messages are not subject to the
  prerecorded message prohibition, as they do not ask the called party to purchase any product or
  service.467

          138. The majority of consumers and consumer groups contend that messages offering
  “free” goods or services or those that claim to provide information-only are designed with the
  ultimate goal of soliciting consumers to buy products and services and are therefore prohibited

  (Continued from previous page)
  typically be covered by the exemption for an established business relationship. See amended 47 C.F.R. §
  64.1200(f)(3).
  460
        1992 TCPA Order, 7 FCC Rcd at 8770-71, para. 34.
  461
        1992 TCPA Order, 7 FCC Rcd at 8773-74, para. 40.
  462
     NAAG Comments at 33 (“The telephone records subpoenaed for one autodialing telemarketer revealed the
  business was using 47 lines to leave messages that lasted less than 30 seconds. Considering that calls could be
  placed over at least a 14-hour period, the equipment could leave more than half a million calls per week.”); Wayne
  G. Strang Comments at 5; Mathemaesthetics Comments at 7; Philip J. Charvat Comments at 5.
  463
    Michael Sprinker Comments; Dale Carson Comments; Judith Hanes Comments; Jean Armstrong Comments;
  NACAA Comments at 2-3.
  464
    See, e.g., NACAA Comments at 2-3; Tom Burch Comments; James D. Gagnon Comments; Neil J. Nitzberg
  Comments at 1; John Cox Comments; NYSCPB – Other Than DNC List Comments at 2.
  465
        Debra Denson-Royal Oak Comments.
  466
        Dennis C. Brown December 6, 2002 Comments at 4; David Purk Comments.
  467
        See, e.g., NCL Comments at 5.


                                                           82


                                                                                                             PA - 00328
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 331 of 437 Page ID
                                   #:487
                                       Federal Communications Commission                              FCC 03-153


  without the prior express consent of the called party.468 These messages, they argue, are
  intended to generate future sales, and the fact that no sale occurs during the call is irrelevant to
  their intrusiveness.469 Industry members provided very few examples of prerecorded messages
  used to deliver advertisements. Instead, they described the benefits of communicating with
  existing customers through prerecorded messages. Commenters specifically cautioned the
  Commission against restricting “dual purpose” calls which, they contend, provide both a
  convenient customer service and cost effective marketing tool.470 One company explained that it
  uses prerecorded messages to notify its customers about delinquent bills or changes in service,
  and to simultaneously inform them of alternative services and products.471 Another commenter
  described messages sent by a mortgage broker alerting homeowners to lower interest rates and
  offering refinancing options.472

         B.          Discussion

                     1.       Offers for Free Goods or Services; Information-Only Messages

          139. Congress found that “residential telephone subscribers consider automated or
  prerecorded telephone calls . . . to be a nuisance and an invasion of privacy.”473 It also found that
  “[b]anning such automated or prerecorded telephone calls to the home, except when the
  receiving party consents to receiving the call or when such calls are necessary in an emergency
  situation affecting the health and safety of the consumer, is the only effective means of
  protecting telephone consumers from this nuisance and privacy invasion.”474 Congress
  determined that such prerecorded messages cause greater harm to consumers’ privacy than
  telephone solicitations by live telemarketers. The record reveals that consumers feel powerless
  to stop prerecorded messages largely because they are often delivered to answering machines
  and because they do not always provide a means to request placement on a do-not-call list.

  468
     NCL Comments at 5; Thomas Pechnik Comments at 8; TOPUC Comments at 4-5; Michael C. Worsham
  Comments at 9; City of New Orleans Comments at 8; J. Melville Capps Comments at 6-7; NAAG Comments at
  37; NYSCPB Comments at 12; S. Abramson Comments at 4; NACAA Comments at 4; Wayne G. Strang
  Comments at 16; Philip J. Charvat Comments at 7; EPIC Comments at 13.
  469
      See, e.g., NAAG Comments at 36-37; TOPUC Comments at 5; J. Melville Capps Comments at 6; NYSCPB
  Comments at 12. See also NAAG at 33, n. 108 (describing a prerecorded message received by many state
  attorneys general offices which invited the called party to call an 800 number to participate in Disney’s 100th
  Anniversary celebration by visiting south Florida for a cost of $99 per person for three days); NAAG at 37
  (describing another message that advertised a “revolutionary new product” and asked consumers to attend a local
  meeting to learn how to make a six-figure income. At the meeting, consumers are encouraged to purchase new
  products for resale.)
  470
        Wells Fargo Comments at 2; HFS Comments at 8; AT&T Wireless Comments at 27-28.
  471
        Wells Fargo Comments at 2; see also AT&T Wireless Comments at 27-28.
  472
        Joe Shields Reply Comments at 6-7.
  473
        TCPA, Section 2(10), reprinted in 7 FCC Rcd at 2744.
  474
        TCPA, Section 2(12), reprinted in 7 FCC Rcd at 2744-45.


                                                          83


                                                                                                           PA - 00329
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 332 of 437 Page ID
                                   #:488
                                        Federal Communications Commission                              FCC 03-153


          140. Additionally, the term “unsolicited advertisement” means “any material
  advertising the commercial availability or quality of any property, goods, or services which is
  transmitted to any person without that person’s prior express invitation or permission.”475 The
  TCPA’s definition does not require a sale to be made during the call in order for the message to
  be considered an advertisement. Offers for free goods or services that are part of an overall
  marketing campaign to sell property, goods, or services constitute “advertising the commercial
  availability or quality of any property, goods, or services.”476 Therefore, the Commission finds
  that prerecorded messages containing free offers and information about goods and services that
  are commercially available are prohibited to residential telephone subscribers, if not otherwise
  exempted.477

          141. In addition, we amend the prerecorded message rule at 47 C.F.R. § 64.1200(c)(2)
  so that the prohibition expressly applies to messages that constitute “telephone solicitations,” as
  well as to those that include or introduce an “unsolicited advertisement.”478 We agree with those
  commenters who suggest that application of the prerecorded message rule should turn, not on the
  caller’s characterization of the call, but on the purpose of the message.479 Amending the rule to
  apply to messages that constitute “telephone solicitations,” is consistent with the goals of the
  TCPA480 and addresses the concerns raised by commenters about purported “free offers.”481 In
  addition, we believe the amended rule will afford consumers a greater measure of protection
  from unlawful prerecorded messages and better inform the business community about the
  general prohibition on such messages.482

             142.     The so-called “dual purpose” calls described in the record—calls from mortgage

  475
        47 U.S.C. § 227(a)(4); 47 C.F.R. § 64.1200(f)(5).
  476
        See 47 U.S.C. § 227(a)(4).
  477
     Therefore, a prerecorded message that contains language describing a new product, a vacation destination, or a
  company that will be in “your area” to perform home repairs, and asks the consumer to call a toll-free number to
  “learn more,” is an “unsolicited advertisement” under the TCPA if sent without the called party’s express
  invitation or permission. See 47 U.S.C. § 227(a)(4). However, as long as the message is limited to identification
  information only, such as name and telephone number, it will not be considered an “unsolicited advertisement”
  under our rules. See FTC Further Comments at 32. But see Joe Shields Further Comments at 4-5 (arguing that all
  prerecorded messages that introduce a business are by definition an advertisement).
  478
     The current rule exempts from the prohibition any call that is made for a commercial purpose but does not
  include the transmission of any unsolicited advertisement. See 47 C.F.R. § 64.1200(c)(2). We amend the rule to
  exempt a call that is made for a commercial purpose but does not include or introduce an unsolicited
  advertisement or constitute a telephone solicitation. See amended rule at 47 C.F.R. § 64.1200(a)(2)(iii).
  479
        See, e.g., NAAG Comments at 43.
  480
        See TCPA, Section 2(12) and (13), reprinted in 7 FCC Rcd at 2744-45.
  481
      See, e.g., Michael Worsham Comments at 9; Stewart Abramson Comments; City of New Orleans Comments at
  8; J. Melville Capps Comments at 6.
  482
        See 2002 Notice, 17 FCC Rcd at 17478, para. 31.


                                                            84


                                                                                                             PA - 00330
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 333 of 437 Page ID
                                   #:489
                                         Federal Communications Commission                 FCC 03-153


  brokers to their clients notifying them of lower interest rates, calls from phone companies to
  customers regarding new calling plans, or calls from credit card companies offering overdraft
  protection to existing customers—would, in most instances, constitute “unsolicited
  advertisements,” regardless of the customer service element to the call.483 The Commission
  explained in the 2002 Notice that such messages may inquire about a customer’s satisfaction
  with a product already purchased, but are motivated in part by the desire to ultimately sell
  additional goods or services. If the call is intended to offer property, goods, or services for sale
  either during the call, or in the future (such as in response to a message that provides a toll-free
  number), that call is an advertisement. Similarly, a message that seeks people to help sell or
  market a business’ products, constitutes an advertisement if the individuals called are
  encouraged to purchase, rent, or invest in property, goods, or services, during or after the call.
  However, the Commission points out that, if the message is delivered by a company that has an
  established business relationship with the recipient, it would be permitted under our rules. We
  also note that absent an established business relationship, the telemarketer must first obtain the
  prior express consent of the called party in order to lawfully initiate the call. Purporting to
  obtain consent during the call, such as requesting that a consumer “press 1” to receive further
  information, does not constitute the prior consent necessary to deliver the message in the first
  place, as the request to “press 1” is part of the telemarketing call.

                      2.       Identification Requirements

          143. The TCPA rules require that all artificial or prerecorded messages delivered by an
  automatic telephone dialing system identify the business, individual, or other entity initiating the
  call, and the telephone number or address of such business, individual or other entity.484
  Additionally, the Commission’s rules contain identification requirements that apply without
  limitation to “any telephone solicitation to a residential telephone subscriber.”485 The term
  “telephone solicitation” is defined to mean “the initiation of a telephone call or message for the
  purpose of encouraging the purchase or rental of . . . property, goods, or services . . .” (emphasis
  added).486 We sought comment, however, on whether we should modify our rules to state
  expressly that the identification requirements apply to otherwise lawful artificial or prerecorded
  messages, as well as to live solicitation calls.487

          144. The vast majority of consumer and industry commenters support modifying the
  rules to provide expressly that telemarketers must comply with the identification requirements
  when delivering prerecorded messages.488 Some consumers urge the Commission to require

  483
        Wayne G. Strang Reply Comments at 6-7.
  484
        See 47 C.F.R. § 64.1200(d).
  485
        47 C.F.R. § 64.1200(e)(2)(iv).
  486
        47 C.F.R. § 64.1200(f)(3).
  487
        2002 Notice, 17 FCC Rcd at 17476-77, para. 28.
  488
      AT&T Wireless Comments at 23; ARDA Comments at 9; ABA Comments at 4; Stewart Abramson Comments
  at 3; NCL Comments at 4; Carl Paulson Comments.


                                                         85


                                                                                                PA - 00331
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 334 of 437 Page ID
                                   #:490
                                      Federal Communications Commission                                   FCC 03-153


  specifically that companies provide the name of the company under which it is registered to do
  business.489 They explain that a company will often use a “d/b/a” (“doing business as”) or
  “alias” in the text of the prerecorded message, making it difficult to identify the company
  calling. The Commission recognizes that adequate identification information is vital so that
  consumers can determine the purpose of the call, possibly make a do-not-call request, and
  monitor compliance with the TCPA rules.490 Therefore, we are amending our rules to expressly
  require that all prerecorded messages, whether delivered by automated dialing equipment or not,
  identify the name of the business, individual or other entity that is responsible for initiating the
  call, along with the telephone number of such business, other entity, or individual.491 With
  respect to the caller’s name, the prerecorded message must contain, at a minimum, the legal
  name under which the business, individual or entity calling is registered to operate. The
  Commission recognizes that some businesses use “d/b/as” or aliases for marketing purposes.
  The rule does not prohibit the use of such additional information, provided the legal name of the
  business is also stated. The rule also requires that the telephone number stated in the message be
  one that a consumer can use during normal business hours to ask not to be called again.492 If the
  number provided in the message is that of a telemarketer hired to deliver the message, the
  company on whose behalf the message is sent is nevertheless liable for failing to honor any do-
  not-call request. This is consistent with the rules on live solicitation calls by telemarketers.493 If
  a consumer asks not to be called again, the telemarketer must record the do-not-call request, and
  the company on whose behalf the call was made must honor that request.

                      3.      Radio Station and Television Broadcaster Calls

          145. The TCPA prohibits the delivery of prerecorded messages to residential telephone
  lines without the prior express consent of the called party.494 Commission rules exempt from the
  prohibition calls that are made for a commercial purpose but do not include any unsolicited
  advertisement.495 The Commission sought comment on prerecorded messages sent by radio

  489
        City of New Orleans Comments at 8; NCL Comments at 4; PRC Comments at 5-6.
  490
        See, e.g., Carl Paulson Comments; City of New Orleans Comments at 7-8; Joe Shields Reply Comments at 6-7.
  491
        See amended 47 C.F.R. § 64.1200(b).
  492
      This would be 9 a.m. – 5 p.m., Monday through Friday, during the particular telemarketing campaign. A seller
  or telemarketer’s telephone number must permit consumers to make their do-not-call requests in a timely manner.
  Therefore, the seller or telemarketer must staff the “do-not-call number” sufficiently or use an automated system
  for processing requests in such a way that consumers are not placed on hold or forced to wait for an agent to
  answer the connection for an unreasonable length of time. We also reiterate the Commission’s determination in
  its 1995 Reconsideration Order that any number provided for identification purposes may not be a number that
  requires the recipient of a solicitation to incur more than nominal costs for making a do-not-call request (i.e., for
  which charges exceed costs for transmission of local or ordinary station-to-station long distance calls). See 1995
  Reconsideration Order, 10 FCC Rcd at 12409, para. 38. See also amended 47 C.F.R. § 64.1200(b)(2).
  493
        See amended 47 C.F.R. § 64.1200(d)(3).
  494
        47 U.S.C. § 227(b)(1)(B).
  495
        47 C.F.R. § 64.1200(c)(2).


                                                            86


                                                                                                                PA - 00332
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 335 of 437 Page ID
                                   #:491
                                         Federal Communications Commission                             FCC 03-153


  stations or television broadcasters that encourage telephone subscribers to tune in at a particular
  time for a chance to win a prize or similar opportunity.496 We asked whether the Commission
  should specifically address these kinds of calls, and if so, how. The record reveals that such calls
  by radio stations and television broadcasters do not at this time warrant the adoption of new
  rules. Few commenters in this proceeding described either receiving such messages or that they
  were particularly problematic.497 The few commenters who addressed the issue were split on
  whether such messages fall within the TCPA’s definition of “unsolicited advertisement” and are
  thus subject to the restrictions on their delivery.498 We conclude that if the purpose of the
  message is merely to invite a consumer to listen to or view a broadcast, such message is
  permitted under the current rules as a commercial call that “does not include the transmission of
  any unsolicited advertisement” and under the amended rules as “a commercial call that does not
  include or introduce an unsolicited advertisement or constitute a telephone solicitation.”499 The
  Commission reiterates, however, that messages that are part of an overall marketing campaign to
  encourage the purchase of goods or services or that describe the commercial availability or
  quality of any goods or services, are “advertisements” as defined by the TCPA. Messages need
  not contain a solicitation of a sale during the call to constitute an advertisement.

  X.          ABANDONED CALLS

         A.            Background

          146. In the 2002 Notice, the Commission noted that various technologies are widely
  used by telemarketers to contact greater numbers of consumers more efficiently.500 We
  explained that the use of one such technology—predictive dialing software—may result in a
  significant number of abandoned calls.501 Predictive dialers initiate phone calls while
  telemarketers are talking to other consumers and frequently disconnect those calls when a

  496
        2002 Notice, 17 FCC Rcd at 17478-79, para. 32.
  497
      NYSCPB states that they have not received complaints on these types of messages by radio and television
  stations. See NYSCPB Comments at 13.
  498
      Thomas Pechnik Comments at 9 (prerecorded messages sent by radio stations are commercial ads covered by
  the TCPA); Hershovitz Comments at 3-4 (such messages clearly prohibited under the TCPA); NAB Comments at
  3 (broadcaster audience invitation calls do not promote the commercial availability or quality of property, goods
  or services and are therefore exempted under TCPA rules); TBT Comments at 1 (invitation to listen to a radio
  station is not a solicitation as defined by FCC); Michael C. Worsham Comments at 9 (true purpose of call is not
  charitable or political); Wayne G. Strang Reply Comments at 13-14 (calls made to increase listener/viewer shares
  are commercial in nature, even though no sale was made or was intended to be made); Shaw Further Comments at
  4 (calls to invite a consumer to listen to a radio station are regulated by the TCPA and may not be made to
  numbers on the do-not-call list).
  499
     See amended 47 C.F.R. § 64.1200(a)(2)(iii). However, messages that encourage consumers to listen to or
  watch programming, including programming that is retransmitted broadcast programming for which consumers
  must pay (e.g., cable, digital satellite, etc.), would be considered advertisements for purposes of our rules.
  500
        2002 Notice, 17 FCC Rcd at 17473-74, para. 24.
  501
        See supra note 31 for a description of a “predictive dialer.”


                                                               87


                                                                                                            PA - 00333
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 336 of 437 Page ID
                                   #:492
                                       Federal Communications Commission                                   FCC 03-153


  telemarketer is unavailable to take the next call. In attempting to “predict” the average time it
  takes for a consumer to answer the phone and when a telemarketer will be free to take the next
  call, predictive dialers may either “hang-up” on consumers or keep the consumer on hold until
  connecting the call to a sales representative, resulting in what has been referred to as “dead
  air.”502 Predictive dialers reduce the amount of down time for sales agents, as consumers are
  more likely to be on the line when the telemarketer completes a call. Each telemarketing
  company can set its predictive dialer software for a predetermined abandonment rate.503 The
  higher the abandonment rate, the higher the number of hang-up calls. The Commission asked
  what approaches we might take to minimize the harm that results from the use of predictive
  dialers.504 We invited comment specifically on the possibility of setting a maximum rate on the
  number of abandoned calls.505

          147. The record shows that the use of predictive dialers has, in fact, become more
  prevalent in the telemarketing industry.506 The record also reveals that predictive dialers are
  responsible for the vast majority of abandoned telemarketing calls—both hang-ups and “dead
  air” calls. Individual consumers report receiving between three and ten hang-up calls each
  day.507 Consumers often feel harassed or aggravated by “dead air” calls.508 Many describe the
  burdens these calls impose on individuals with disabilities, who often struggle to answer the
  telephone.509 Hang-ups and “dead air” calls also can be frightening for the elderly.510 Consumers
  complain that they do not have an opportunity to request placement on a company’s do-not-call


  502
      “Dead air” may also be the result of Answering Machine Detection (AMD) software which is used to
  determine whether the call has reached a live person or an answering machine. AMD may be programmed to
  have a certain amount of time in which to determine whether an answering machine or live person has answered
  the call. During this time, the consumer may experience “dead air” until either the dialer transfers the called party
  to a sales agent or disconnects the call. See ECN Comments at 3-4; Alek Szlam Comments at 4.
  503
        See 2002 Notice, 17 FCC Rcd at 17465, para. 7, n.38.
  504
        See 2002 Notice, 17 FCC Rcd at 17475, para. 26.
  505
        2002 Notice, 17 FCC Rcd at 17475-76, para. 26.
  506
     See, e.g., NACAA Comments at 3; Pacesetter Comments at 5; WorldCom Comments at 41. We note that the
  vast majority of commenters that engage in telemarketing described their use of predictive dialers.
  507
        See, e.g., F. Jenny Holder Comments at 1; Caroline Henriques Comments.
  508
      See, e.g., NCL Comments at 4 (“It is the equivalent of sending 3 door-to-door salespeople to a neighborhood
  with twenty homes, using a remote technology to knock on all the doors at once, and leaving seventeen
  homeowners standing at their doors wondering who was there.”); NACAA Comments at 3-4; TOPUC Comments
  at 3; NAAG Comments at 34; Edwin Bailey Hathaway Comments at 1; Stewart Abramson Comments at 1; Kent
  Rausch Comments (worries that when his children answer the phone, there is a predator on the other end of the
  line).
  509
     See, e.g., Thomas Callahan Comments; Vivian Sinclair Comments; Carmen Brown Comments (caretaker of
  husband with MS); Henry Jackson Comments.
  510
        See, e.g., Edwin Bailey Hathaway Comments; Karen M. Meyer Comments; AARP Comments at 2.


                                                            88


                                                                                                                PA - 00334
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 337 of 437 Page ID
                                   #:493
                                        Federal Communications Commission                              FCC 03-153


  list when predictive dialers disconnect calls.511 Abandoned calls can also interfere with Internet
  usage or simply tie-up telephone lines for people telecommuting or operating businesses out of
  the home.512 Many consumer groups contend that the only way to effectively alleviate these
  harms is to implement a zero abandonment rate on calls delivered by predictive dialers, or one as
  close to zero as possible.513 Other consumer advocates support a ban on predictive dialers
  altogether.514

          148. Telemarketers acknowledge that use of predictive dialers results in a certain
  percentage of dropped calls.515 But they contend that predictive dialers are a valuable tool for
  increasing productivity and lowering costs for telemarketers and, ultimately, for consumers.516
  Some industry members oppose restrictions on the use of predictive dialers, maintaining that the
  industry has “natural incentives” to keep abandonment rates low to avoid alienating
  consumers.517 Others contend that a set rate would not account for the needs of various
  telemarketing campaigns.518 While many telemarketers maintain that a maximum abandonment
  rate would eliminate the benefits that result from the use of predictive dialers,519 most would
  nevertheless support a call abandonment rate of 5 percent.520 A few commenters, including the
  DMA, would not oppose a 3 percent maximum rate.521 One industry commenter, who supported
  a set abandonment rate on predictive dialers, stated that if non-telemarketing entities continue to
  dial without restriction, consumers will be encouraged to join do-not-call lists.522


  511
     See, e.g., NACAA Comments at 3; Thomas Pechnik Comments at 2; Stewart Abramson Comments at 1;
  Katherine S. Raulston Comments at 1.
  512
        TOPUC Comments at 3.
  513
    See, e.g., NAAG Comments at 34-35 (a 0% abandonment rate is the appropriate standard); NASUCA
  Comments at 3; TOPUC Comments at 3; AARP Comments at 2; Michael C. Worsham Comments at 6.
  514
        See, e.g., Mathemaesthetics Comments at 6; NCL Comments at 4; Private Citizen Comments at 7.
  515
        ATA Comments at 109.
  516
    Pacesetter Comments at 5; Teleperformance Comments at 2; ATA Comments at 109; MBNA Comments at 7;
  NAA Comments at 15-16; Allstate Comments at 2.
  517
        ATA Comments at 109.
  518
        SER Comments at 2; MPA Comments at 21.
  519
        SBC Reply Comments at 4; Sytel Reply Comments at 4; DMA Reply Comments at 19.
  520
     Cendant Comments at 3; CBA Comments at 8; Bank of America Comments at 5; ABA Comments at 3;
  DialAmerica Comments at 10; ITC Further Comments at 4.
  521
     Sytel Comments at 7; DMA Comments at 31; Nextel Further Comments at 11 (stating that any Commission
  regulation of call abandonment rates should be no more restrictive than the maximum three percent rate
  established by the FTC).
  522
        Sytel Reply Comments at 2, 4.


                                                          89


                                                                                                          PA - 00335
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 338 of 437 Page ID
                                   #:494
                                       Federal Communications Commission                                    FCC 03-153


          149. In its telemarketing proceeding, the FTC determined that a total ban on
  abandoned calls would amount to a ban on predictive dialers, and would not strike the proper
  balance between addressing an abusive practice and allowing for a technology that reduces costs
  for telemarketers.523 The FTC’s amended Rule prohibits abandoned calls,524 but provides in a
  “safe harbor” that a seller or telemarketer will not be deemed to have violated the TSR if the
  seller or telemarketer can show that its conduct conforms to certain specified standards,
  including a call abandonment rate of no more than three (3) percent, measured on a per day per
  campaign basis.525

        B.          Discussion

           150. Given the arguments raised on both sides of this issue as well as the FTC’s
  approach to the problem, the Commission has determined to adopt a rule to reduce the number of
  abandoned calls consumers receive.526 Under the new rules, telemarketers must ensure that any
  technology used to dial telephone numbers abandons no more than three (3) percent of calls
  answered by a person, measured over a 30-day period. A call will be considered abandoned if it
  is not transferred to a live sales agent within two (2) seconds of the recipient’s completed

  523
     See FTC Order, 68 Fed. Reg. at 4642. The FTC found that a three (3) percent abandonment rate was “feasible,
  realistic” and “fully capable” of being achieved. Id. at 4643. See also FTC Further Comments at 33-38.
  524
     Section 310.4(b)(1)(iv) of the amended TSR defines a prohibited abandoned outbound call as one in which the
  recipient of the call answers the call, and the telemarketer does not connect the call to a sales representative within
  two seconds of the person’s completed greeting. FTC Order, 68 Fed. Reg. at 4642. The FTC notes that this
  definition of abandoned call covers “dead air” and “hang-up” calls, in which the telemarketer hangs up on a called
  consumer without connecting that consumer to a sales representative. Id.
  525
      Under FTC Rule 310.4(b)(4), a seller or telemarketer will not be liable for violating 310.4(b)(1)(iv) if: (i) the
  seller or telemarketer employs technology that ensures abandonment of no more than three (3) percent of all calls
  answered by a person, measured per day per calling campaign; (ii) the seller or telemarketer, for each
  telemarketing call placed, allows the telephone to ring for at least fifteen (15) seconds or four (4) rings before
  disconnecting an unanswered call; (iii) whenever a sales representative is not available to speak with the person
  answering the call within two (2) seconds after the person’s completed greeting, the seller or telemarketer
  promptly plays a recorded message that states the name and telephone number of the seller on whose behalf the
  call was placed; and (iv) the seller or telemarketer, in accordance with 310.5(b)-(d), retains records establishing
  compliance with 310.4(b)(4)(i)-(iii). FTC Order, 68 Fed. Reg. at 4643-45.

  The FTC’s rules on call abandonment were to go into effect on March 31, 2003. In response to petitions filed by
  the DMA and ATA, the FTC determined to stay the date by which it would require compliance with the
  abandoned call rules until October 1, 2003. The FTC concluded that “staying these provisions will provide ample
  time for all telemarketers who use predictive dialers to obtain, install, and test the necessary hardware or software,
  and should alleviate concerns that predictive dialer manufacturers might not have adequate supplies of the
  necessary products” by the March 31 deadline. See Letter from Donald S. Clark, Secretary, FTC, to Robert Corn-
  Revere, Ronald G. London and Paul A. Werner III, Counsel for the ATA, March 14, 2003 (available at
  <http://www.ftc.gov/os/2003/03/030314ataletter.htm>). See also Telemarketing Sales Rule (Federal Trade
  Comm’n, Stay of Compliance Date), 68 Fed. Reg. 16414 (April. 4, 2003).
  526
     See 2002 Notice, 17 FCC Rcd at 17475-76, para. 26 (seeking comment on what approaches we might take to
  minimize any harm that results from the use of predictive dialers and on alternative approaches to the problems
  associated with abandoned calls).


                                                             90


                                                                                                                  PA - 00336
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 339 of 437 Page ID
                                   #:495
                                       Federal Communications Commission                                FCC 03-153


  greeting. When a call is abandoned within the three (3) percent maximum allowed, a
  telemarketer must deliver a prerecorded identification message containing only the
  telemarketer’s name, telephone number, and notification that the call is for “telemarketing
  purposes.” To allow time for a consumer to answer the phone, the telemarketer must allow the
  phone to ring for fifteen seconds or four rings before disconnecting any unanswered call.
  Finally, telemarketers using predictive dialers must maintain records that provide clear and
  convincing evidence that the dialers used comply with the three (3) percent call abandonment
  rate, “ring time” and two-second-transfer rule.

                      1.      Maximum Rate on Abandoned Calls

          151. The Commission believes that establishing a maximum call abandonment rate is
  the best option to reduce effectively the number of hang-ups and “dead air” calls consumers
  experience. We recognize that industry generally advocates a five percent abandonment rate,
  claiming that a rate lower than five percent would reduce efficiencies the technology provides.527
  However, the Commission is not convinced that a five percent rate will lead to a reasonable
  reduction in the number of abandoned calls. The DMA’s current guideline, cited by many
  commenters, calls for an abandonment rate of no higher than five percent.528 And several
  telemarketers maintain that they now utilize an abandonment rate of five percent or lower in
  their calling campaigns.529 Consumers nevertheless report receiving as many as 20 dropped calls
  per day that interrupt dinners, interfere with home business operations, and sometimes frighten
  the elderly and parents with young children.530 A rule that is consistent with the FTC’s will
  effectively create a national standard with which telemarketers must comply and should lead to
  fewer abandoned calls, while permitting telemarketers to continue to benefit from such
  technology. It is also responsive to Congress’ mandate in the Do-Not-Call Act to maximize
  consistency with the FTC’s rules.

         152. The three percent abandonment rate will be measured over a 30-day period, a
  standard supported by several industry commenters.531 Industry members maintain that
  measuring the abandonment rate on a per day basis would severely curtail the efficiencies gained
  from the use of predictive dialers, and may be overly burdensome to smaller telemarketers. A
  per day measurement, they argue, would not account for short-term fluctuations in marketing

  527
    However, some industry commenters indicate that a 3 percent rate still obtains productivity benefits. See, e.g,
  WorldCom Comments at 44.
  528
        See <http://www.the-dma.org/guidelines/dotherightthing.pdf.>
  529
     See, e.g., Sprint Comments at 6 (uses 5%); CMOR Comments at 6 (uses a 1% rate); WorldCom Comments at
  44 (uses 3-5%); see also ATA Reply Comments at 70 (many telemarketers from all industries use a 5% limit on
  abandoned calls); Technion Comments at 5 (uses 5% abandonment rate).
  530
        See, e.g., Edwin Bailey Hathaway Comments; Stewart Abramson Comments at 1; Kent Rausch Comments.
  531
      Reese Comments at 7; ERA Comments at 16; MPA Comments at 20; DMA Reply Comments at 19-20;
  DialAmerica Reply Comments at 3-4 (noting that California allows compliance with its abandoned call rules over
  a 30-day period); DialAmerica Further Reply Comments at 5 (stating that it can achieve an average abandonment
  rate of 5% or less when the measuring period spans a month).


                                                           91


                                                                                                             PA - 00337
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 340 of 437 Page ID
                                   #:496
                                           Federal Communications Commission                         FCC 03-153


  campaigns.532 They further argue that the impact of abandoned calls on consumers depends more
  on the aggregate number of contacts made by a telemarketer over time and not on the number in
  any given day.533 The Commission believes that a three (3) percent abandonment rate measured
  over a 30-day period will ensure that consumers consistently receive fewer disconnected calls,
  and that telemarketers are permitted to manage their calling campaigns effectively under the new
  rules on abandoned calls. Although we recognize that this rate of measurement differs from the
  FTC’s rule, we believe a rate measured over a longer period of time will allow for variations in
  telemarketing campaigns such as calling times, number of operators available, number of
  telephone lines used by the call centers, and other similar factors.534 The record also suggests
  that an abandonment rate measured over a 30-day period will allow telemarketers to more easily
  comply with the recordkeeping requirements associated with the use of predictive dialers.535

                      2.       Two-Second-Transfer Rule

          153. The record confirms that many consumers are angered by the “dead air” they
  often face when answering the telephone. Running to the telephone only to be met by silence
  can be frustrating and even frightening, if the caller cannot be identified.536 To address the
  problem of “dead air” produced by dialing technologies, the Commission has determined that a
  call will be considered abandoned if the telemarketer fails to connect the call to a sales
  representative within two (2) seconds of the person’s completed greeting.537 Calls disconnected
  because they were never answered (within the required 15 seconds or 4 rings) or because they
  received busy signals will not be considered abandoned.538 This requirement is consistent with
  the FTC’s rule.539

          154. Answering Machine Detection. Opposition from industry to the two-second-
  transfer requirement appears to be based largely on its implications for use of Answering



  532
     WorldCom Reply Comments at 20; WorldCom Further Comments at 8 (advocating that the abandonment rate
  be measured over a six-month period); Teleperformance Further Comments at 4; see also MPA Comments at 21.
  533
        See, e.g., Reese Comments at 7; WorldCom Reply Comments at 20.
  534
     See ERA Comments at 16; Stonebridge Further Comments at 6 (three percent abandonment rate imposes an
  unnecessary burden on telemarketers, which should be alleviated by eliminating any reference to a per-day
  measure); Teleperformance Further Comments at 3.
  535
        See WorldCom Reply Comments at 19-20; Reese Comments at 7.
  536
        See, e.g., Katherine S. Raulston Comments; Edwin Bailey Hathaway Comments; NAAG Comments at 34.
  537
        See supra discussion on the use of prerecorded messages, paras. 136-144.
  538
      Calls that reach voicemail or an answering machine will not be considered “answered” by the called party.
  Therefore, a call that is disconnected upon reaching an answering machine will not be considered an abandoned
  call.
  539
        See 16 C.F.R. § 310.4(b)(1)(iv).


                                                            92


                                                                                                           PA - 00338
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 341 of 437 Page ID
                                   #:497
                                       Federal Communications Commission                                     FCC 03-153


  Machine Detection (AMD).540 Some industry members explain that AMD is used by
  telemarketers to detect answering machines, and thereby avoid leaving messages on them.541
  The ATA and DMA maintain that if telemarketers are required to connect to a sales agent or
  message within 1-2 seconds, a large percentage of calls reaching answering machines will be
  transferred to sales agents, thereby reducing the efficiencies gained from AMD.542 According to
  these commenters, 1-2 seconds is often insufficient for AMD to determine accurately if the call
  has reached an answering machine.543 Other commenters explain that AMD is used instead by
  telemarketers to transmit prerecorded messages to answering machines; in such circumstances,
  calls that reach live persons are disconnected.544 It is unclear from the record how prevalent the
  use of AMD is in the telemarketing industry. One commenter stated that the elimination of
  AMD would put “consumer-oriented” telemarketing firms out of business.545 However, other
  industry members acknowledge that AMD contributes significantly to the amount of “dead air”
  consumers experience,546 and one large telemarketing firm maintains that AMD should be
  banned completely.547 The Commission believes that the record does not warrant a ban on the
  use of AMD. Instead, if the AMD technology is deployed in such a way that the delay in
  transfer time to a sales agent is limited to two seconds, then its continued use should not


  540
     See, e.g., MBNA Comments at 7-8; ATA at 112. But see Reese Comments at 6 (“Abandons should not be
  defined so as to include any measure of ‘time to transfer,’ as these timings are not available in currently installed
  dialers.”).
  541
        Technion Comments at 5.
  542
     ATA Comments at 117 (suggesting a 4-second transfer requirement); DMA Reply Comments at 19 (“AMD
  serves perfectly legitimate business purposes causing negligible harm to consumers, but current technology simply
  will not ensure that ‘dead air’ lasts less than five seconds.”).
  543
      But see Alek Szlam Comments at 5 (stating that “[o]ne possible solution is to require the threshold in the AMD
  to be set to err on the side of connecting vs. disconnecting. If the dialer cannot determine within the first second
  whether it is a live call or answering machine, it will assume that it is a live call and connect it to an agent. On the
  agent side, when they are passed a call that turns out to be an answering machine, they should have the ability to
  quickly terminate the call or to push a button to play a message. This approach will reduce the amount of dead air,
  while not significantly impacting the productivity of the call center agent.”). See also Sytel Comments at 5 (“We
  believe that the loss of productivity (measured in terms of talk time per agent hour) that results when answering
  machines are connected to agents in call centers is not significant when set against the improvement in call quality
  that results from having live calls connected to agents immediately i.e. not exposing consumers to ‘dead air’ whilst
  detection is done by the switch.”).
  544
      See DialAmerica Comments at 10; ABA Comments at 4; Hershovitz Comments at 9. We reiterate that under
  the TCPA, it is unlawful to initiate any telephone call to any residential line using a prerecorded message without
  the prior express of the called party, absent an emergency or an exemption by Commission rule or order. Delivery
  of a message to an answering machine does not render the call lawful. See 47 U.S.C. § 227(b)(1)(B).
  545
    Reese Comments at 9; see also Convergys Comments at 7 (“Elimination of the use of AMD would cause
  Convergys to re-revaluate its participation in the industry.”)
  546
        Sytel Comments at 3-4; Alek Szlam Comments at 4.
  547
        DialAmerica Comments at 10.


                                                             93


                                                                                                                   PA - 00339
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 342 of 437 Page ID
                                   #:498
                                       Federal Communications Commission                                  FCC 03-153


  adversely affect consumers’ privacy interests.548

                      3.      Prerecorded Message for Identification

           155. As noted above, the FTC’s “safe harbor” provisions require that, when a sales
  agent is unavailable to speak to a person answering the phone, marketers deliver a prerecorded
  message that states the name and telephone number of the seller on whose behalf the call was
  made.549 The Commission has similarly determined that when a telemarketer abandons a call
  under the three (3) percent rate allowed, the telemarketer must deliver a prerecorded message
  containing the name of the business, individual or other entity initiating the call, as well as the
  telephone number of such business, individual or other entity. The message must also state that
  the call is for “telemarketing purposes.”550 We recognize that many consumers are frustrated
  with prerecorded messages.551 However, the record also reveals that consumers are frightened
  and angered by “dead air” calls and repeated hang-ups. A prerecorded message, limited to
  identification information only, should mitigate the harms that result from “dead air,” as
  consumers will know who is calling them.552 And, they will more easily be able to make a do-
  not-call request of a company by calling the number provided in the message. We note that such
  messages sent in excess of the three (3) percent allowed under the call abandonment rate, will be
  considered abandoned calls, unless otherwise permitted by our rules. The content of the message
  must be limited to name and telephone number, along with a notice to the called party that the
  call is for “telemarketing purposes.” The message may not be used to deliver an unsolicited
  advertisement.553 We caution that additional information in the prerecorded message constituting
  an unsolicited advertisement would be a violation of our rules, if not otherwise permitted under
  47 C.F.R. § 64.1200(a)(2).554


  548
      See Sytel Comments at 3-5. The Commission notes that in addition to requiring the delivery of a prerecorded
  identification message when a call is abandoned, Commission rules also permit prerecorded messages in limited
  circumstances, including when a company has an established business relationship with a consumer. See 47
  U.S.C. § 227(b)(1)(B) and 47 C.F.R. § 64.1200(a)(2).
  549
        See FTC’s amended TSR at 16 C.F.R. § 310.4(b)(4)(iii); see also FTC Order, 68 Fed. Reg. at 4644.
  550
      By requiring such notice, we believe consumers will be less likely to return the call simply to learn the purpose
  of the call and possibly incur unnecessary charges.
  551
        See supra para. 137. See also Wayne G. Strang Further Comments at 5-6.
  552
     See, e.g., NASUCA Further Reply Comments at 8-9 (because the FTC’s identification requirements mitigate
  the nuisance aspects of abandoned calls, the FCC should make an exception for prerecorded messages that are
  used to comply with the FTC’s safe harbor provision).
  553
     As long as the message is limited to identification information only, it will not be considered an “unsolicited
  advertisement” under our rules. See FTC Further Comments at 32. But see Joe Shields Further Comments at 4-5
  (arguing that all prerecorded messages that introduce a business are by definition an advertisement).
  554
     See supra discussion on prerecorded messages, paras. 136-144. Contrary to the claims of some parties, even
  an incidental reference to a product or service could transform the identification message into a prohibited
  unsolicited advertisement. See Nextel Further Comments at 14-15.


                                                            94


                                                                                                                PA - 00340
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 343 of 437 Page ID
                                   #:499
                                       Federal Communications Commission                                   FCC 03-153


                      4.       Established Business Relationship

           156. While the TCPA prohibits telephone calls to residential phone lines using an
  artificial or prerecorded voice to deliver a message without the prior express consent of the
  called party, the Commission determined that the TCPA permits an exemption for established
  business relationship calls from the restriction on artificial or prerecorded message calls to
  residences.555 As discussed in detail above, the record reveals that an established business
  relationship exemption is necessary to allow companies to contact their existing customers.556
  Companies currently use prerecorded messages, for example, to notify their customers about
  new calling plans, new mortgage rates, and seasonal services such as chimney sweeping and
  lawn care.557 Therefore, prerecorded messages sent by companies to customers with whom they
  have an established business relationship will not be considered “abandoned” under the revised
  rules, if they are delivered within two (2) seconds of the person’s completed greeting. Similarly,
  any messages initiated with the called party’s prior express consent and delivered within two (2)
  seconds of the called person’s completed greeting are not “abandoned” calls under the new
  rules.558 Such messages must identify the business, individual or entity making the call and
  contain a telephone number that a consumer may call to request placement on a do-not-call list.
  We recognize that the established business relationship exception to the prohibition on
  prerecorded messages conflicts with the FTC’s amended rule.559 However, for the reasons
  described above, we believe the current exception is necessary to avoid interfering with ongoing
  business relationships.

                      5.       Ring Duration

          157. The Commission also adopts a requirement that telemarketers allow the phone to
  ring for 15 seconds or four (4) rings before disconnecting any unanswered call. This standard is
  consistent with that of the FTC, similar to current DMA guidelines,560 and used by some
  telemarketers already.561 One industry commenter asserted that telemarketers often set the
  predictive dialers to ring for a very short period of time before disconnecting the call; in such
  cases, the predictive dialer does not record the call as having been abandoned.562 The practice of

  555
        See 1992 TCPA Order, 7 FCC Rcd at 8770-71, para. 34.
  556
      But see FTC Further Comments at 40-41 (“The FCC may need to eliminate the established business
  relationship exemption with respect to prerecorded message calls, especially if, as the FTC urges, it includes in its
  revised TCPA regulations provisions addressing the practice of call abandonment and creating a safe harbor.”)
  557
        See, e.g., NAAG Comments at 39; Joe Shields Reply Comments at 6-7.
  558
        See amended 47 C.F.R. § 64.1200(a)(6)(i).
  559
     See FTC Further Comments at 40-41 (under the FTC’s amended rules, such prerecorded messages would be
  prohibited as abandoned calls).
  560
        DMA Comments, Exhibit 1 (Guidelines for Ethical Business Practice) at 23.
  561
        WorldCom Reply Comments at 20-21.
  562
        Sytel Comments at 3.


                                                            95


                                                                                                                PA - 00341
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 344 of 437 Page ID
                                   #:500
                                      Federal Communications Commission                                   FCC 03-153


  ringing and then disconnecting the call before the consumer has an opportunity to answer the
  phone is intrusive of consumer privacy and serves only to increase efficiencies for telemarketers.
   Moreover, in discussing the interplay between the FTC’s rules with the Commission’s rules,
  very few commenters opposed the “ring time” requirement adopted by the FTC,563 or raised any
  particular concerns about how it might work in the TCPA framework. Therefore, given the
  substantial interest in protecting consumers’ privacy interests, as well as Congress’s direction to
  maximize consistency with the FTC’s rules, we have determined to adopt the 15 second or four
  (4) ring requirement.

           158. Finally, consistent with the FTC’s rules, the Commission has determined that
  telemarketers must maintain records establishing that the technology used to dial numbers
  complies with the three (3) percent call abandonment rate, “ring time,” and two-second rule on
  connecting to a live sales agent. Telemarketers must provide such records in order to
  demonstrate compliance with the call abandonment rules. Only by adopting a recordkeeping
  requirement will the Commission be able to adequately enforce the rules on the use of predictive
  dialers.

           159. The TCPA seeks primarily to protect subscribers from unrestricted commercial
  telemarketing calls, and therefore exempts calls or messages by tax-exempt nonprofit
  organizations from the definition of telephone solicitation.564 Therefore, the Commission has
  determined not to extend the call abandonment rules to tax-exempt nonprofit organizations in the
  absence of further guidance from Congress.565 However, the call abandonment rules will apply
  to all other companies engaged in telemarketing, and the existence of an established business
  relationship between the telemarketer and consumer will not be an exception to these rules. For
  these entities, the call abandonment rules will become effective on October 1, 2003. We decline
  to establish an effective date beyond October 1, 2003, which is consistent with the date that
  telemarketers must comply with the FTC’s call abandonment rules.566 This should permit
  telemarketers to make any modifications to their autodialing equipment or purchase any new
  software to enable them to comply with the three (3) percent call abandonment rate, the
  prerecorded message requirement and the two-second-transfer rule.

  XI.         WIRELESS TELEPHONE NUMBERS

         A.          Background

              160.   In the 2002 Notice, the Commission noted that the TCPA permits the Commission

  563
     WorldCom indicated that such recommendation should not be implemented, yet stated that its dialers are
  programmed to disconnect the call if there is no answer after 4 ring cycles, which provides sufficient time for a
  consumer to reach the phone. See WorldCom Reply Comments at 20-21.
  564
        See 1992 TCPA Order, 7 FCC Rcd at 8773-74, para. 40.
  565
     Because this will result in an inconsistency with the FTC’s rules, we will discuss the call abandonment rules in
  the report due to Congress within 45 days after the promulgation of final rules. See Do-Not-Call Act, Section 4.
  566
     See Notices of Ex Parte Presentations from WorldCom to FCC, filed May 23, 2003 and June 16, 2003
  (advocating a 9.5-month implementation period for the call abandonment rules).


                                                           96


                                                                                                                PA - 00342
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 345 of 437 Page ID
                                   #:501
                                       Federal Communications Commission                                FCC 03-153


  to exempt from the restrictions on autodialer or prerecorded message calls, “calls to a telephone
  number assigned to a cellular telephone service that are not charged to the called party, subject to
  such conditions as the Commission may prescribe as necessary in the interest of the privacy
  rights [the TCPA] is intended to protect.”567 In the 1992 TCPA Order, the Commission
  concluded that calls made by cellular carriers to their subscribers for which the subscribers were
  not charged do not fall within the prohibitions on autodialers or prerecorded messages.568 We
  sought comment on the extent to which telemarketing to wireless consumers exists today and if
  so, the nature and frequency of such solicitations.569 We asked whether there are other types of
  calls to wireless telephone numbers that are not charged to the called party, and whether such
  calls also should not fall within the prohibitions on autodialers or prerecorded messages.570 We
  also sought comment on any developments anticipated in the near future that may affect
  telemarketing to wireless phone numbers. Specifically, we asked how telemarketers will identify
  wireless numbers in order to comply with the TCPA when consumers are able to port numbers
  from their wireline phones to wireless phones,571 or receive numbers from a thousands-block572
  that was part of a central office code previously assigned to a wireline carrier.573 The
  Commission further sought comment on whether the Commission’s rules should be modified to
  facilitate telemarketers’ efforts to comply with the TCPA.

          161. Local Number Portability and Pooling. The Commission’s local number
  portability (LNP) decisions date back to 1996, with the Commission granting a number of
  extensions to the effective date for wireless carriers, providing the industry and other interested
  parties with extensive advance notice of the impending implementation of wireless LNP. The
  Commission determined in the Number Portability First Report and Order that LECs and certain
  CMRS providers operating in the 100 largest MSAs must offer local number portability,
  according to a phased deployment schedule.574 This requirement was subsequently limited by
  the Number Portability First Order on Reconsideration, in which the Commission concluded

  567
        2002 Notice, 17 FCC Rcd at 17485, para. 45 (footnote omitted); see also 47 U.S.C. § 227(b)(2)(C).
  568
        1992 TCPA Order, 7 FCC Rcd at 8775, para. 45.
  569
        2002 Notice, 17 FCC Rcd at 17485, para. 43.
  570
        2002 Notice, 17 FCC Rcd at 17485, para. 45
  571
     Wireless carriers will begin providing local number portability (LNP) on November 24, 2003. LNP “means
  the ability of users of telecommunications services to retain, at the same location, existing telecommunications
  numbers without impairment of quality, reliability, or convenience when switching from one telecommunications
  carrier to another.” 47 U.S.C. § 153(30). See also 47 C.F.R. § 52.21(k).
  572
      Wireless carriers began participating in thousands-block number pooling (pooling) on November 24, 2002.
  Thousands-block number pooling is a process by which the 10,000 numbers in a central office code (NXX) are
  separated into to sequential blocks of 1,000 numbers each (thousands-blocks), and allocated separately within a
  rate center. See 47 C.F.R. § 52.20(a).
  573
        2002 Notice, 17 FCC Rcd at 17485-86, para. 46.
  574
     Telephone Number Portability, CC Docket No. 95-116, First Report and Order and Further Notice of Proposed
  Rulemaking, 11 FCC Rcd 8352, 8393, para. 77 (1996) (Number Portability First Report and Order).


                                                            97


                                                                                                             PA - 00343
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 346 of 437 Page ID
                                   #:502
                                    Federal Communications Commission                                FCC 03-153


  that LECs and covered CMRS providers were required only to deploy LNP within switches for
  which another carrier has made a specific request for the provision of LNP.575 CMRS carriers
  are required to implement LNP on November 24, 2003, for switches in the top 100 MSAs
  requested by February 24, 2003.576 After November 24, 2003, CMRS carriers have 30 to 180
  days from the request date to implement number portability for switches in the top 100 MSAs
  not previously requested and for switches outside the top 100 MSAs.577

          162. In the Numbering Resource Optimization First Report and Order, the
  Commission established national thousands-block number pooling (pooling) as an LNP-based
  numbering resource optimization measure designed to help slow the pace of area code and North
  American Numbering Plan (NANP) exhaust.578 This measure involves breaking up the 10,000
  numbers in an NXX into ten sequential blocks of 1,000 numbers each, and allocating each
  thousands-block to a different service provider, and possibly a different switch, within the same
  rate center. The Commission mandated participation in national pooling by all carriers that are
  required to be LNP-capable, because it believed that LNP capability was required before a
  carrier could participate in thousands-block number pooling.579 In the Numbering Resource
  Optimization Fourth Report and Order, the Commission determined that thousands-block
  number pooling need not be linked to a carrier’s ability to provide LNP because a carrier can
  participate in pooling once it deploys the location routing number architecture.580 The
  Commission, therefore, concluded that all carriers, except those specifically exempted, are
  required to participate in thousands-block number pooling in accordance with the national
  rollout schedule,581 regardless of whether they are required to provide LNP, including covered


  575
     Telephone Number Portability, CC Docket No. 95-116, First Memorandum Opinion and Order on
  Reconsideration, 12 FCC Rcd 7236, 7272-3, paras. 59-60 (1997) (Number Portability First Order on
  Reconsideration).
  576
     Verizon Wireless’s Petition for Partial Forbearance from the Commercial Mobile Radio Services Number
  Portability Obligation, WT Docket No. 01-184, and Telephone Number Portability, CC Docket No. 95-116,
  Memorandum Opinion and Order, 17 FCC Rcd 14972, 14981, para. 23 affirmed CTIA v. FCC, No. 02-1264, 2003
  WL 21293569 (D.C. Cir. June 6, 2003).
  577
        Id. at 14985-86.
  578
     Numbering Resource Optimization, CC Docket No. 99-200, First Report and Order and Further Notice of
  Proposed Rulemaking, 15 FCC Rcd 7574 (2000) (Numbering Resource Optimization First Report and Order).
  579
     Numbering Resource Optimization, CC Docket No. 99-200, Third Order on Reconsideration in CC Docket No.
  99-200, Third Further Notice of Proposed Rulemaking in CC Docket No. 99-200, and Second Further Notice of
  Proposed Rulemaking in CC Docket No. 95-116. 17 FCC Rcd 4784 at 4787, para. 9 (2002).
  580
     Numbering Resource Optimization Implementation of the Local Competition Provisions of the
  Telecommunications Act of 1996, Telephone Number Portability, CC Docket Nos. 99-200, 96-98, and 95-116,
  Fourth Report and Order and Fourth Further Notice of Proposed Rulemaking, FCC 03-126 (rel. June 18, 2003),
  para. 11 (Numbering Resource Optimization Fourth Report and Order).
  581
    Numbering Resource Optimization Fourth Report and Order. See also Numbering Resource Optimization, CC
  Docket No. 99-200, Order, 17 FCC Rcd 7347 (2002) (Pooling Rollout Schedule).


                                                       98


                                                                                                        PA - 00344
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 347 of 437 Page ID
                                   #:503
                                      Federal Communications Commission                                   FCC 03-153


  CMRS providers.582

           163. Telemarketing to Wireless Numbers. The record suggests that while consumers
  receive telemarketing calls on their wireless phones, it is not a widespread practice at this time.583
  However, some industry members believe that telemarketing calls to wireless numbers are likely
  to increase,584 particularly as growing numbers of consumers use wireless phones as their
  primary phones.585 One commenter pointed out that the record in this proceeding demonstrates
  that telemarketers would like to solicit consumers on their wireless phones.586 Although the
  record does not reflect the full panoply of methods telemarketers currently use to avoid calling
  wireless telephone numbers, the record provides a sampling of such methods.587 For example,
  the Direct Marketing Association’s (DMA) Telephone Preference Service allows consumers to
  opt-out of national telemarketing lists, allowing consumers to register their wireless phone
  numbers in order to ensure that they do not receive telemarketing calls on their wireless
  phones.588 Additionally, the DMA has created the “Wireless Telephone Suppression Service.”589
   A number of commenters contended that telemarketing to wireless phones is not a significant
  problem, indicating that the industries’ voluntary efforts have been successful.590 Commenters
  also state that the wireless and telemarketing industries have been actively working together to
  ensure that telemarketing does not become a problem for wireless customers.591

  582
     See Verizon Wireless Petition for Partial Forbearance from the Commercial Mobile Radio Services Number
  Portability Obligation, WT Docket No. 01-184, and Telephone Number Portability, CC Docket No. 95-116,
  Memorandum Opinion and Order, 17 FCC Rcd 14972, affirmed CTIA v. FCC, No. 02-1264, 2003 WL 21293569
  (D.C. Cir. June 6, 2003).
  583
     But see April Jordan Comments at 1; Mark A. Hiner Comments at 2; Rhett Riviere Comments (all three of
  whom received marketing calls on their cell phones); AT&T Wireless Comments at 29 (“little telemarketing is
  directed to wireless subscribers . . . [although] such activity likely will increase.”).
  584
     See, e.g., CTIA Comments at 5 (“having built it, [they] will come”); AT&T Wireless Comments at 29
  (reported receiving some complaints from customers regarding calls to wireless phones).
  585
      ARDA Comments at 12; BellSouth Comments at 6-7. But see Nextel Comments at 21-22 (whose report
  indicates that only 3 percent of wireless service subscribers have used their mobile phones to displace traditional
  residential landline service).
  586
        AT&T Wireless Reply Comments at 21.
  587
        Cingular Wireless Comments at 5; DMA Comments at 35; NeuStar Comments at 2.
  588
        See <http://www.dmaconsumers.org/cgi/offtelephonedave> (accessed June 2, 2003).
  589
     Cingular Wireless Comments at 5. This service provides a list of 280 million phone numbers that are currently
  used or have been set aside for CMRS carriers. Id.
  590
     American Bankers Association Comments at 5; AT&T Wireless Comments at 29; American Teleservices
  Association Reply at 78; Cingular Wireless Comments at 4; AT&T Wireless Reply at 21. One commenter,
  however, state that calls to wireless phones are an existing and growing problem. CTIA Comments at 5. See also
  AT&T Wireless Reply at 21 (“…it is likely that telemarketing to wireless phones will increase…”).
  591
        Cingular Wireless Comments at 4-5.


                                                            99


                                                                                                                PA - 00345
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 348 of 437 Page ID
                                   #:504
                                        Federal Communications Commission                              FCC 03-153


          164. Most consumer groups maintain that all telemarketing calls to wireless numbers
  should be prohibited, regardless of whether they are made using an autodialer, prerecorded
  message, or live sales agent.592 The vast majority of consumer advocates contend that
  telemarketing calls to cell phones are as intrusive of consumers’ privacy interests as calls to
  landline phones.593 Some believe they are more so, as consumers carry their cell phones on their
  persons, to work, and while driving.594 Some also contend the prohibition should apply whether
  the consumer incurs a per-minute charge or a reduction from a “bucket” of minutes purchased at
  a fixed rate.595 A few industry commenters agree that wireless subscribers should be protected
  from telemarketing calls to their wireless numbers.596 Other industry members contend that
  wireless phones should be treated like wireline phones, in part because of the difficulty in
  distinguishing between wireline and wireless numbers.597 American General Finance argues that
  the incremental cost of receiving a cell phone call is not significantly different from the cost of
  receiving a non-cellular call.598 Some commenters suggest permitting calls to wireless numbers
  when there is an established business relationship,599 when the calls are made for survey research
  purposes,600 or when consumers have provided their cell phone numbers to the calling entity.601
  The ATA urges the Commission to find that calls to cellular telephones are not “charged to the
  called party” as contemplated by the TCPA’s restriction on autodialed calls.602


  592
     See, e.g., NASUCA Comments at 19 (suggesting that telemarketing calls to wireless phones be prohibited
  unless expressly authorized by the subscriber); NCL Comments at 6-7; TOPUC Comments at 7; NAAG
  Comments at 35-36.
  593
        See, e.g., J. Melville Capps Comments; City of New Orleans Comments at 12.
  594
      See J. Melville Capps Comments; J. Shaw Comments at 5; NCL Comments at 6-7; City of Chicago Comments
  at 13; NAAG Comments at 35-36; EPIC Comments at 13 ( arguing that many consider their wireless phone more
  personal than their wireline phone).
  595
      See NAAG Comments at 35; CTIA Comments at 4-5 (arguing that the depletion of one’s minutes by unwanted
  telemarketing calls is a cost. Telemarketers have no way of knowing what rate plan a consumer has.).
  596
     See Sprint Comments at 10; Verizon Wireless Reply Comments at 7 (noting that statutory prohibition on
  autodialing and artificial messages to wireless service is absolute).
  597
    ATA Comments at 126-128; ATA Reply Comments at 77-80; CBA Comments at 9 (arguing that premature
  amendments to the rules could stifle the evolution of mobile commerce).
  598
        AGF Comments at 2.
  599
        See, e.g., AGF Comments at 1.
  600
     CMOR Comments at 7 (if calls to cell phones are not permitted, the quality of survey research will be harmed).
   But see John Shaw Reply Comments at 13 (if survey calls are exempted from the TCPA, many sham surveys
  could result as telemarketers try to circumvent the regulations).
  601
        HFS Comments at 10; BellSouth Comments at 6-7; Bank of America Comments at 6; AGF Comments at 1.
  602
     ATA Comments at 130-134. See also HFS Comments at 10 (urging the Commission to permit even those calls
  to wireless numbers made by autodialers and prerecorded messages).


                                                         100


                                                                                                             PA - 00346
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 349 of 437 Page ID
                                   #:505
                                          Federal Communications Commission                             FCC 03-153


         B.           Discussion

                      1.        Telemarketing Calls to Wireless Numbers

          165. We affirm that under the TCPA, it is unlawful to make any call using an
  automatic telephone dialing system or an artificial or prerecorded message to any wireless
  telephone number.603 Both the statute and our rules604 prohibit these calls, with limited
  exceptions, “to any telephone number assigned to a paging service, cellular telephone service,
  specialized mobile radio service, or other common carrier service, or any service for which the
  called party is charged.”605 This encompasses both voice calls and text calls to wireless numbers
  including, for example, short message service (SMS) calls, provided the call is made to a
  telephone number assigned to such service.606 Congress found that automated or prerecorded
  telephone calls were a greater nuisance and invasion of privacy than live solicitation calls.607
  Moreover, such calls can be costly and inconvenient.608 The Commission has long recognized,
  and the record in this proceeding supports the same conclusion, that wireless customers are
  charged for incoming calls whether they pay in advance or after the minutes are used.609
  Wireless subscribers who purchase a large “bucket” of minutes at a fixed rate nevertheless are
  charged for those minutes, and for any minutes that exceed the “bucket” allowance. This
  “bucket” could be exceeded more quickly if consumers receive numerous unwanted
  telemarketing calls.610 Moreover, as several commenters point out, telemarketers have no way to
  determine how consumers are charged for their wireless service.


  603
     See 47 U.S.C. § 227(b)(1), which provides that it is “unlawful for any person within the United States to make
  any call (other than a call made for emergency purposes or made with the prior express consent of the called
  party) using any automatic telephone dialing system or an artificial or prerecorded voice . . . to any telephone
  number assigned to a paging service, cellular telephone service, specialized mobile radio service, or other radio
  common carrier service, or any service for which the called party is charged for the call.”
  604
        47 C.F.R. § 64.1200(a)(1)(iii).
  605
        47 U.S.C. § 227(b)(1)(A)(iii).
  606
     SMS, for example, “provides the ability for users to send and receive text messages to and from mobile
  handsets with maximum message length ranging from 120 to 500 characters.” Section 6002(B) of the Omnibus
  Budget Reconciliation Act of 1993, 17 FCC Rcd 12985, 13051 (2002).
  607
      TCPA, Section 2(10), reprinted in 7 FCC Rcd at 2744. The TCPA prohibits the initiation of any telephone call
  to any residential telephone line using an artificial or prerecorded voice to deliver a message without the prior
  express consent of the called party, unless the call is for emergency purposes or is exempted by Commission rule
  or order. See 47 U.S.C. § 227(b)(1)(B).
  608
        See, e.g., Verizon Wireless Comments at 11; J. Shaw Comments at 5; NAAG Comments at 40-41.
  609
        See, e.g., AT&T Wireless Comments at 24.
  610
     Consistent with our determination in 1992, calls made by cellular carriers to their subscribers, for which
  subscribers are not charged in any way for the call (either on a per minute, per call, or as a reduction in their
  “bucket” of minutes) are not prohibited under the TCPA. See Verizon Wireless Comments at 11 (noting that for
  “bucket” plans, exceeding the bucket allowance is not unusual).


                                                          101


                                                                                                              PA - 00347
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 350 of 437 Page ID
                                   #:506
                                        Federal Communications Commission                                  FCC 03-153


          166. Although the same economic and safety concerns apply to all telephone
  solicitation calls received by wireless subscribers, the Commission has determined not to
  prohibit all live telephone solicitations to wireless numbers.611 The national do-not-call database
  will allow for the registration of wireless telephone numbers for those subscribers who wish to
  avoid live telemarketing calls to their wireless phones. Wireless subscribers thus have a simple
  means of preventing most live telemarketing calls if they so desire.612 Moreover, relying on the
  do-not-call database to control live telephone solicitations recognizes that prohibiting such calls
  to wireless numbers may unduly restrict telemarketers’ ability to contact those consumers who
  do not object to receiving telemarketing calls613 and use their wireless phones as either their
  primary or only phone.614

          167. The Commission’s rules provide that companies making telephone solicitations to
  residential telephone subscribers must comply with time of day restrictions and must institute
  procedures for maintaining do-not-call lists.615 For the reasons described above,616 we conclude
  that these rules apply to calls made to wireless telephone numbers. We believe that wireless
  subscribers should be afforded the same protections as wireline subscribers.617

                      2.       Wireless Number Portability and Pooling

          168. Based on the evidence in the record, we find that it is not necessary to add rules to
  implement the TCPA as a result of the introduction of wireless LNP and thousands-block
  number pooling. The TCPA rules prohibiting telemarketers from placing autodialed and
  prerecorded message calls to wireless numbers have been in place for twelve years.618 Further,
  the Commission’s pooling requirements have been in place for several years and the porting
  requirements have been in place for over five years. Accordingly, telemarketers have received
  sufficient notice of these requirements in order to develop business practices that will allow them
  to continue to comply with the TCPA.

  611
     We note, however, that the TCPA already prohibits live solicitation calls to wireless numbers using an
  autodialer. See 47 U.S.C. § 227(b)(1).
  612
      Registration on the do-not-call database will not prevent calls from entities that have an established business
  relationship with a wireless subscriber. Wireless subscribers who receive such live calls can easily make a
  company-specific do-not-call request. Moreover, we note that the record reveals that telemarketing to wireless
  numbers is not widespread at this time.
  613
        See Bell South Comments at 6-7; ARDA Comments at 12.
  614
     A USA Today/CNN/Gallop poll found that almost one in five mobile telephony users regard their wireless
  phone as their primary phone. 2002 CMRS Competition Report, Section II.A.1.e, citing Michelle Kessler, 18%
  See Cellphones as Their Main Phone, USA Today, Feb. 1, 2002.
  615
        See 47 C.F.R. § 64.1200(e).
  616
        See supra paras. 33-36. See also 47 U.S.C. § 227(b)(1)(A)(iii).
  617
        See, e.g., Citigroup Comments at 6; Cingular Wireless Comments at 6-7; John Shaw Reply Comments at 14.
  618
        See supra paras. 160-163.


                                                            102


                                                                                                                 PA - 00348
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 351 of 437 Page ID
                                   #:507
                                        Federal Communications Commission                        FCC 03-153


           169. Additionally, telemarketers have taken measures in the past to identify wireless
  numbers, and there is no indication that these measures would not continue to be effective for
  identifying wireless numbers affected by pooling and porting. As noted above, the industry
  currently makes use of a variety of tools to enable it to avoid making prohibited calls. As
  discussed in detail supra,619 the record provides a sampling of methods, including the DMA’s
  “Wireless Telephone Suppression Service,” that telemarketers use to avoid making prohibited
  calls to wireless numbers.620

          170. LNP and pooling do not make it impossible for telemarketers to comply with the
  TCPA. The record demonstrates that information is available from a variety of sources to assist
  telemarketers in determining which numbers are assigned to wireless carriers. For example,
  NeuStar as the North American Numbering Plan Administrator, the National Pooling
  Administrator, and the LNP Administrator makes information available that can assist
  telemarketers in identifying numbers assigned to wireless carriers. Also, other commercial
  enterprises such as Telcordia, the owner-operator of the Local Exchange Routing Guide (LERG)
  maintain information that can assist telemarketers in identifying numbers assigned to wireless
  carriers. We acknowledge that beginning November 24, 2003, numbers previously used for
  wireline service could be ported to wireless service providers and that telemarketers will need to
  take the steps necessary to identify these numbers. We also note that there are various solutions
  that will enable telemarketers to identify wireless numbers in a pooling and number portability
  environment. We decline to mandate a specific solution, but rather rely on the telemarketing
  industry to select solutions that best fit telemarketers’ needs. The record demonstrates that
  telemarketers have found adequate methods in the past to comply with the TCPA’s prohibition
  on telephone calls using an autodialer or an artificial or prerecorded voice message to any
  telephone number assigned to a cellular telephone service, a paging service, or any service for
  which the called party is charged for the call. We expect telemarketers to continue to make use
  of the tools available in the marketplace in order to ensure continued compliance with the
  TCPA.621

          171. Moreover, the record indicates that telemarketing to wireless phones is not a
  significant problem, indicating that the industries’ voluntary efforts have been successful.622
  Commenters further declare that the wireless and telemarketing industries have been actively
  working together to ensure that telemarketing does not become a problem for wireless
  customers.

         172. Finally, we reject proposals to create a good faith exception for inadvertent
  autodialed or prerecorded calls to wireless numbers and proposals to create implied consent

  619
        See supra para. 163.
  620
     Cingular Wireless Comments at 5; DMA Comments at 35; Letters from Neustar to FCC, filed January 23,
  2003 and May 5, 2003.
  621
        See Letter from Neustar to FCC, filed June 4, 2003.
  622
    ABA Comments at 5; AT&T Wireless Comments at 29; Cingular Wireless Comments at 4; ATA Reply
  Comments at 78; AT&T Wireless Reply Comments at 21.


                                                              103


                                                                                                      PA - 00349
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 352 of 437 Page ID
                                   #:508
                                      Federal Communications Commission                             FCC 03-153


  because we find that there are adequate solutions in the marketplace to enable telemarketers to
  identify wireless numbers.623

  XII.        CALLER IDENTIFICATION

         A.          Background

          173. In the 1992 TCPA Order, the Commission considered whether to require
  telemarketers to use a special area code or telephone number prefix that would allow consumers
  to block unwanted telephone solicitations using a caller identification (caller ID) service. Based
  on cost and the “technological uncertainties associated with implementation,” the Commission
  declined to adopt any type of network technologies to accomplish the objectives of the TCPA.624

          174. In the 2002 Notice, the Commission sought comment on whether network
  technologies have been developed over the last decade that may allow consumers to avoid
  receiving unwanted telephone solicitations. The Commission sought comment specifically on
  whether to require telemarketers to transmit the name and telephone number of the calling party,
  when possible, or prohibit them from blocking or altering the transmission of such
  information.625 Comments filed by consumers, state utility commissions, and wireless service
  providers generally support a requirement that telemarketers transmit caller identification
  information.626 Consumers are frustrated by the failure of many telemarketers to transmit caller
  ID information, which, under certain circumstances, makes it difficult for consumers to enforce
  the TCPA.627 Commenters also noted that the increased use of predictive dialers has led to a
  corresponding increase in the number of hang-ups. Caller ID information would allow
  consumers, they contend, to identify those telemarketers responsible for hang-up calls.628 Some

  623
      See ATA Comments at 134-36; BMO Financial Group Comments at 6; Sprint Comments at 21; ATA Reply
  Comments at 82. Commenters also suggest other exceptions, such as where a subscriber uses wireless as his sole
  telephone service, AGF Comments at 1, or where the subscriber provides his wireless number as a contact number
  to a business. Id. See also Bank of America Comments at 6; CBA Comments at 9; BellSouth Comments at 6-7.
  624
        See 1992 TCPA Order, 7 FCC Rcd at 8762, para. 17.
  625
        2002 Notice, 17 FCC Rcd at 17473, para 22.
  626
      Thomas Pechnik Comments at 4; TOPUC Comments at 3; Wayne G. Strang Comments at 15; Michael C.
  Worsham Comments at 4; Samuel E. Whitley Comments at 2; HFS Comments at 6; CTIA Comments at 7; Michael
  J. Blitch Comments at 5; AT&T Wireless Comments at 23; ARDA Comments at 9; Louis J Hoppman Jr.
  Comments; PUC of Ohio Comments at 19; TN AG Comments at 13; DialAmerica Comments at 11-12; Stewart
  Abramson Comments at 3; Thomas F. Kirby Comments; David Griffith Comments; Ghita & Stephan Strain
  Comments.
  627
    See, e.g., Brad Totten Comments at 3; DC Hunter Comments; James D. Gagnon Comments; Brian Klug
  Comments; Thomas Pechnik Comments at 4; NCL Comments at 3; EPIC Comments at 12; Verizon Reply
  Comments at 12.
  628
     See, e.g., F. Jenny Holder Comments at 1; Thomas Callahan Comments; Michael C. Worsham Comments at 2;
  NCL Comments at 4; Gregory S. Reichenbach Comments; TOPUC Comments at 6-7; EPIC Comments at 12;
  Stewart Abramson Comments at 3; Thomas Pechnik Comments at 4; AGF Comments at 4; Joe Shields Comments at
  7.


                                                        104


                                                                                                         PA - 00350
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 353 of 437 Page ID
                                   #:509
                                     Federal Communications Commission                                  FCC 03-153


  commenters stated that the inability to identify callers has led them to purchase other tools, such
  as the “telezapper,” to try to stop unwanted solicitation calls.629 Most commenters that addressed
  these issues support a prohibition against the blocking of caller ID information.630 Several
  parties stated that the Commission should prohibit blocking independent of any caller ID
  mandate.631 It was also suggested that the Commission could prohibit tampering with data or
  providing false data.632

           175. Some industry members suggest that the transmission of caller ID information
  may not be technically possible in all circumstances.633 They also maintain that a caller ID
  requirement could be costly for telemarketers.634 One particular concern raised by parties
  opposed to a caller ID mandate is the technical feasibility of transmitting caller ID information
  when using private branch exchanges (PBX). WorldCom maintains that, in situations where
  telemarketers use a PBX that connects to their telephone company through typical T-1 trunks,
  Calling Party Number (CPN) cannot be transmitted.635 WorldCom contends that Integrated
  Services Digital Network (ISDN) T-1 trunks may be capable of transmitting CPN, but that
  typical T-1 trunks do not have this capability.636 DialAmerica notes that it has been delivering
  CPN for over two years using regular T-1 trunk groups provisioned by AT&T.637 DialAmerica
  transmits an outgoing number which is captured by caller ID equipment. If a consumer chooses
  to call that number, the local exchange carrier (LEC) forwards the call to DialAmerica’s


  629
    OPC-DC Comments at 6; Janice G. Farkosh Comments; Leslie Price Comments; Josephine K. Presley
  Comments.
  630
        See, e.g., Verizon Comments at 18; PRC Comments at 5; NYSCPB Comments at 9; PUC of Ohio Comments at
  19.
  631
     OPC-DC Comments at 6; Owen O’Neill Comments at 1; TOPUC Comments at 3; Technion Comments at 6-7;
  Verizon Comments at 18; PUC of Ohio Comments at 19, NASUCA Comments at 3; Thomas Pechnik Comments at
  4. But see NAA Comments at 17; Nextel Comments at 17-18; Comcast Comments at 14; Teleperformance
  Comments at 3; ABA Comments at 3 (should restrict caller ID blocking, but not require the transmission of caller
  ID).
  632
        Stewart Abramson Comments at 3.
  633
     Teleperformance Comments at 3; WorldCom Comments at 45; DMA Reply Comments at 30; Mastercard
  Comments at 7; Nextel Comments at 17-18; SER Comments at 2; Sprint Comments at 7; ECN Comments at 9
  (asserting that telemarketers will provide caller ID when technologically feasible, and thus, the Commission need
  not adopt a caller ID requirement).
  634
      Teleperformance Comments at 3; WorldCom Comments at 45; DMA Reply Comments at 30; Nextel Comments
  at 18; SER Comments at 2; Sprint Comments at 7-8.
  635
        WorldCom Reply Comments at 23.
  636
     WorldCom Reply Comments at 23. We note that both typical T-1 and ISDN trunks contain 24 channels.
  ISDN trunks dedicate one channel specifically to data transmission, while typical T-1 lines dedicate all 24
  channels to voice transmission.
  637
        DialAmerica Comments, Attachment A at 1.


                                                         105


                                                                                                             PA - 00351
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 354 of 437 Page ID
                                   #:510
                                      Federal Communications Commission                                   FCC 03-153


  customer service center.638 DialAmerica asserts that ISDN T-1 trunks are available from all
  carriers and enable a user to control whether CPN is delivered and what telephone number is
  displayed.639 WorldCom notes that even if we accept DialAmerica’s assertion that ISDN trunks
  are universally available, carriers would have to upgrade network switches to accommodate
  additional digital switch ports necessitated by telemarketers’ shift to ISDN-PRI trunks.640

         176. Telemarketers also raised technical concerns that the ability to transmit caller ID
  information is dependent on the deployment of Signaling System 7 (SS7).641 They argue that
  SS7 is not nationally deployed and thus the capability to transmit caller ID is not available
  throughout the country.642 Moreover, they maintain that Commission rules exempt PBX and
  Centrex systems from existing caller ID requirements because some of them cannot transmit
  CPN,643 and not all carriers are able or permitted to transmit CPN, if they lack blocking
  capability.644 The DMA and WorldCom expressed concern that regardless of whether the
  telemarketer is able to transmit CPN, consumers will expect it, and may incorrectly believe a
  company has violated the rules.645

          177. Several parties argue that even if a telemarketer can transmit CPN information,
  how to transmit a number that is useful to consumers remains a challenge.646 Comments were
  mixed on what information actually needed to be transmitted for purposes of caller ID. Several
  parties opined that the name of the telemarketing operator would be adequate identification.647
  Others asserted that the name of the company on whose behalf the call was being made should
  be provided.648 Emergency Communications Network argued that a company’s website
  information should be a permitted as a substitute for the name and phone number.649


  638
        DialAmerica Comments, Attachment A at 2.
  639
        DialAmerica Comments, Attachment A at 1.
  640
        WorldCom Reply Comments at 24.
  641
      “Signaling System 7” (SS7) refers to a carrier to carrier out-of-band signaling network used for call routing,
  billing and management. See 47 C.F.R. § 64.1600(f).
  642
        DMA Reply Comments at 30.
  643
        See 47 C.F.R. § 64.1601(d).
  644
     DMA Reply Comments at 29-30. But see NASUCA Comments at 9; Verizon Comments at 18 (indicating that
  caller ID is technically viable because CPN is transmitted to the LECs).
  645
        DMA Reply Comments at 30; WorldCom Reply Comments at 26.
  646
        See, e.g., DMA Reply Comments at 30.
  647
        Jeff Mitchell Comments at 1; Martin C. Kaplan Comments at 2; City of New Orleans Comments at 8.
  648
        Jeff Mitchell Comments at 1; NCL Comments at 4; Xpedite Systems Comments at 12; PRC Comments at 5.
  649
        ECN Comments at 4.


                                                           106


                                                                                                                PA - 00352
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 355 of 437 Page ID
                                   #:511
                                      Federal Communications Commission                                  FCC 03-153


          178. The FTC’s amended TSR mandates transmission of caller ID information and
  prohibits any seller or telemarketer from “failing to transmit or cause to be transmitted the
  telephone number, and when made available by the telemarketer’s carrier, the name of the
  telemarketer, to any caller identification service in use by a recipient of a telemarketing call.”650
  Under the FTC’s rule, telemarketers may transmit any number associated with the telemarketer
  that allows the called consumer to identify the caller.651 The FTC concluded that transmission of
  caller ID would provide increased accountability and was technically feasible at minimal costs to
  telemarketers. The DMA stated that it was concerned that technical issues were not adequately
  taken into account during the FTC’s proceeding. The DMA requested that the FCC initiate a
  comprehensive review of the technical feasibility of caller ID.652

         B.          Discussion

          179. The Commission has determined to require all sellers and telemarketers to
  transmit caller ID information, regardless of their calling systems. In addition, any person or
  entity engaging in telemarketing is prohibited from blocking the transmission of caller ID
  information. Caller ID information must include either ANI or CPN and, when available by the
  telemarketer’s carrier, the name of the telemarketer. If the information required is not passed
  through to the consumer, through no fault of the telemarketer originating the call, then the
  telemarketer will not be held liable for failure to comply with the rules.653 In such a
  circumstance, the telemarketer must provide clear and convincing evidence that the caller ID
  information could not be transmitted. However, the Commission concurs with the FTC that
  caller ID information can be transmitted cost effectively for the vast majority of calls made by
  telemarketers.654 Caller ID allows consumers to screen out unwanted calls and to identify
  companies that they wish to ask not to call again. Knowing the identity of the caller is also
  helpful to consumers who feel frightened or threatened by hang-up and “dead air” calls.655 We
  disagree with those commenters who argue that caller ID information only benefits those
  consumers who subscribe to caller ID services.656 Consumers can also use the *69 feature to

  650
        FTC Order, 68 Fed. Reg. at 4623.
  651
        FTC Order, 68 Fed. Reg. at 4625.
  652
     DMA Reply Comments at 30. The DMA notes that the FCC has the requisite experience to evaluate technical
  feasibility and a more comprehensive view of the larger issues of how a caller ID requirement might fit into the
  regulation of the communications network as a whole. See DMA Reply Comments at 29.
  653
     See WorldCom Reply Comments at 26 (arguing that requiring caller ID could create an expectation in the
  minds of consumers that they should always receive the information and that such a regulation creates a situation
  where companies will be unfairly accused of breaking the law, and as a consequence, face undue litigation and
  harm to their reputations).
  654
      See Nextel Further Comments at 16 (stating that most telemarketers are currently capable of transmitting caller
  ID using their existing equipment, and that the FCC should adopt an approach similar to the FTC’s, if it chooses
  to regulate the transmission of caller ID for telemarketing calls).
  655
        Cynthia Stichnoth Comments; Stewart Abramson Comments at 1.
  656
        See, e.g., Sprint Comments at 7-8, CBA Comments at 8.


                                                          107


                                                                                                              PA - 00353
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 356 of 437 Page ID
                                   #:512
                                       Federal Communications Commission                                     FCC 03-153


  obtain caller ID information transmitted by a telemarketer.657 Caller ID also should increase
  accountability and provide an important resource for the FCC and FTC in pursuing enforcement
  actions against TCPA and TSR violators.658

           180. We conclude that while SS7 capability is not universally available, the vast
  majority of the United States has access to SS7 infrastructure. The SS7 network contains
  functionality to transmit both the CPN and the charge number.659 Under the Commission’s rules,
  with certain limited exceptions, common carriers using SS7 and offering or subscribing to any
  service based on SS7 functionality are required to transmit the CPN associated with an interstate
  call to connecting carriers.660 Regardless of whether SS7 is available, a LEC at the originating
  end of a call must receive and be able to transmit the Automated Number Identification (ANI) to
  the connecting carrier,661 as the ANI is the number transmitted through the network that
  identifies the calling party for billing purposes. Thus, we determine that telemarketers must
  ensure that either CPN or ANI is made available for all telemarketing calls in order to satisfy
  their caller ID requirements. Whenever possible, CPN is the preferred number and should be
  transmitted.662 Consistent with the FTC’s rules, CPN can include any number associated with
  the telemarketer or party on whose behalf the call is made, that allows the consumer to identify
  the caller.663 This includes a number assigned to the telemarketer by its carrier, the specific
  number from which a sales representative placed a call, the number for the party on whose behalf
  the telemarketer is making the call, or the seller’s customer service number. Any number
  supplied must permit an individual to make a do-not-call request during regular business hours
  for the duration of the telemarketing campaign.664


  657
      The *69 feature, available through many subscribers’ telephone service providers, provides either: (1)
  information regarding the last incoming call, and the option to dial the caller back, or (2) the ability to return the
  last incoming call. Call information, however, would not be available for an incoming call, if the caller failed to
  transmit caller ID information or blocked such information.
  658
        See FTC Order, 68 Fed. Reg. at 4623-24.
  659
      “Charge number” is defined in 47 C.F.R. §64.1600(d) and refers to the delivery of the calling party’s billing
  number by a local exchange carrier for billing or routing purposes, and to the subsequent delivery of such number
  to end users.
  660
        See 47 C.F.R. §§ 64.1600, 64.1601.
  661
      The term “ANI” refers to the delivery of the calling party’s billing number by a local exchange carrier to any
  interconnecting carrier for billing or routing purposes, and to the subsequent delivery to end users. See 47 C.F.R.
  § 64.1600(b). ANI is generally inferred by the switch. Each line termination on the telco switch corresponds to a
  different phone number for ANI.
  662
     Provision of Caller ID information does not obviate the requirement for a caller to verbally supply
  identification information during a call. See 47 C.F.R. § 64.1200(e)(iv).
  663
        See FTC Order, 68 Fed. Reg. at 4623-28.
  664
      This would mean 9:00 a.m. – 5:00 p.m. Monday through Friday. A seller or telemarketer calling on behalf of a
  seller must be able to record do-not-call requests at the number transmitted to consumers as caller ID. Therefore,
  if the person answering the calls at this number is not the sales representative who made the call or an employee of
  (continued….)
                                                            108


                                                                                                                   PA - 00354
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 357 of 437 Page ID
                                   #:513
                                      Federal Communications Commission                                    FCC 03-153


           181. As discussed above, some commenters state that it is not technically feasible for
  telemarketers to transmit caller ID information when using a PBX and typical T-1 trunks.665 As
  noted by NASUCA, the Commission’s rules exempt from the current caller ID rules, PBX and
  Centrex systems which lack the capability to pass CPN information. Regardless of whether a
  call is made using a typical T-1 trunk or an ISDN trunk, ANI is transmitted to the Local
  Exchange Carrier for billing purposes.666 With both PBX and Centrex systems, the carrier can
  determine the billing number from the physical line being used to make a call, even if the billing
  number is not transmitted along that line to the carrier. We are cognizant of the fact that with
  PBX and Centrex systems, the billing number could be associated with multiple outgoing lines.
  Nevertheless, telemarketers using PBX or Centrex systems are required under the new rules not
  to block ANI, at a minimum, for caller ID purposes.

         182. We recognize that ISDN technology is preferred, as it presents the opportunity to
  transmit both CPN and ANI. However, in situations where existing technology permits only the
  transmission of the ANI or charge number, then the ANI or charge number will satisfy the
  Commission’s rules, provided it allows a consumer to make a do-not-call request during regular
  business hours.667 By allowing transmission of ANI or charge number to satisfy the caller ID
  requirement, we believe that carriers need not incur significant costs to upgrade T-1 and ISDN
  switches.668 For these same reasons, we also believe that mandating caller ID will not create a
  competitive advantage towards particular carriers.669 As typical T-1 technology is upgraded to
  ISDN technology, we expect that telemarketers will increasingly be able to transmit the preferred
  CPN instead of ANI or charge number.

         183. Finally, the record strongly supports a prohibition on blocking caller ID
  information.670 Both NCL and NASUCA state that there is no valid reason why a telemarketer
  should be allowed to intentionally block the transmission of caller ID.671 We conclude that the
  (Continued from previous page)
  the seller or telemarketer who made the call, or if the telemarketer is using an automated system to answer the
  calls, the seller is nevertheless responsible for ensuring that any do-not-call request is recorded and the consumer’s
  name, if provided, and telephone number are placed on the seller’s do-not-call list at the time the request is made.
  See also supra note 492.
  665
        See supra para. 175.
  666
     See Telcordia Notes on the Networks – Notes Design and Configuration, Telcordia Technologies Special
  Report SR-2275, Issue 4, October 2000, pp. 4-30. See also, Administration of the North American Numbering
  Plan, Carrier Identification Codes (CICs), CC Docket No. 92-237, Second Report and Order, 12 FCC Rcd 8024
  (1997).
  667
     We note that a telemarketer using a service that prevents the transmission of the required caller ID information
  will be in violation of the Commission’s caller ID rules.
  668
        See WorldCom Reply Comments at 26.
  669
        See, e.g., Discover Comments at 7; DMA Reply Comments at 30.
  670
    See, e.g., TOPUC Comments at 3; Verizon Comments at 18; Owen O’Neill Comments at 1; Rob McNeal
  Comments; Jeff Mitchell Comments at 1.
  671
        NASUCA Comments at 8-9; NCL Comments at 3.


                                                           109


                                                                                                                 PA - 00355
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 358 of 437 Page ID
                                   #:514
                                       Federal Communications Commission                                    FCC 03-153


  caller ID requirements for commercial telephone solicitation calls do not implicate the privacy
  concerns associated with blocking capability for individuals.672 We recognize that absent a
  prohibition on blocking, a party could transmit CPN in accordance with the new rules and
  simultaneously transmit a request to block transmission of caller ID information. Thus, the
  Commission has determined to prohibit any request by a telemarketer to block caller ID
  information or ANI.

          184. As explained above, the TCPA seeks primarily to protect subscribers from
  unrestricted commercial telemarketing calls. Therefore, the Commission has determined not to
  extend the caller ID requirements to tax-exempt nonprofit organizations. However, the caller ID
  rules will apply to all other companies engaged in telemarketing, and the existence of an
  established business relationship between the telemarketer and the consumer shall not be an
  exception to these rules. For all covered entities, the effective date of the caller ID requirements
  will be January 29, 2004.673 This will provide telemarketers a reasonable period of time to obtain
  or update any equipment or systems to enable them to transmit caller ID information. We
  decline to extend the effective date beyond January 29, 2004, which is consistent with the date
  on which telemarketers are required to comply with the FTC’s caller ID provision.674

  XIII. UNSOLICITED FACSIMILE ADVERTISEMENTS

         A.           Background

          185. The TCPA prohibits the use of any telephone facsimile machine, computer or
  other device to send an “unsolicited advertisement” to a telephone facsimile machine.675 An
  unsolicited advertisement is defined as “any material advertising the commercial availability or
  quality of any property, goods, or services which is transmitted to any person without that
  person’s prior express invitation or permission.”676 The TCPA also requires those sending any
  messages via telephone facsimile machines to identify themselves to message recipients.677 In

  672
        See 47 C.F.R. § 64.1601(b).
  673
     See new rule at 47 C.F.R. § 64.1601(e). See also FTC Further Comments (explaining that the goals of
  regulatory consistency will be promoted if the FCC adopts caller ID requirements analogous to Amended TSR 16
  C.F.R. § 310.4(a)(7)).
  674
     See Notices of Ex Parte Presentations from WorldCom to FCC, filed May 23, 2003 and June 16, 2003
  (advocating a 13-month implementation period for the caller ID rules). See also FTC Further Comments
  (explaining that the goals of regulatory consistency will be promoted if the FCC adopts caller ID requirements
  analogous to Amended TSR 16 C.F.R. § 310.4(a)(7)).
  675
     47 U.S.C. § 227(b)(1)(C). The United States Court of Appeals for the Eighth Circuit recently upheld the
  TCPA’s provision on unsolicited faxes as satisfying the constitutional test for regulation of commercial speech.
  See Missouri ex rel Nixon v. American Blast Fax, Inc., 323 F.3d 649 (8th Cir. 2003) (petition for rehearing
  pending).
  676
        47 C.F.R. § 64.1200(f)(5).
  677
     Specifically, the TCPA provides that the facsimile include “in a margin at the top or bottom of each transmitted
  page of the message or on the first page of the transmission, the date and time it is sent and an identification of the
  business, other entity, or individual sending the message and the telephone number of the sending machine or of
  (continued….)
                                                            110


                                                                                                                  PA - 00356
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 359 of 437 Page ID
                                   #:515
                                      Federal Communications Commission                                 FCC 03-153


  the 1992 TCPA Order, the Commission stated that “the TCPA leaves the Commission without
  discretion to create exemptions from or limit the effects of the prohibition.”678 It noted, however,
  that facsimile transmission from persons or entities that have an established business relationship
  with the recipient can be deemed to be invited or permitted by the recipient.679 The Commission
  sought comment on the effectiveness of these regulations and on any developing technologies,
  such as computerized fax servers, that might warrant revisiting the rules on unsolicited faxes.680
  We specifically asked about the need to clarify what constitutes prior express invitation or
  permission for purposes of sending an unsolicited fax.681

           186. The record indicates that some consumers feel “besieged” by unsolicited faxes;682
  others explain that advertisers continue to send faxes despite asking to be removed from senders’
  fax lists.683 Consumers emphasize that the burden of receiving unsolicited faxes is not just
  limited to the cost of paper and toner, but includes the time spent reading and disposing of faxes,
  the time the machine is printing an advertisement and is not operational for other purposes, and
  the intrusiveness of faxes transmitted at inconvenient times, including in the middle of the
  night.684 Some of the consumer advocates maintain that the current rules are ineffective685 and
  urge the Commission to take tougher measures to stop unwanted faxes by stricter enforcement
  measures,686 including higher penalties. A few home-based businesses and other companies
  maintain that facsimile advertisements interfere with receipt of faxes connected to their own
  business, and that the time spent collecting and sorting these faxes increases their labor costs.687
  (Continued from previous page)
  such business, other entity, or individual.” 47 U.S.C. § 227(d)(1)(B). The Commission determined that the
  sender of a facsimile message is the creator of the content of the message. See 1997 Reconsideration Order, 12
  FCC Rcd at 4613, para. 6.
  678
        1992 TCPA Order, 7 FCC Rcd at 8779, para. 54, n. 87.
  679
        1992 TCPA Order, 7 FCC Rcd at 8779, para. 54, n. 87.
  680
        2002 Notice, 17 FCC Rcd at 17482, para. 37
  681
     2002 Notice, 17 FCC Rcd at 17482-83, para. 38. The Commission sought comment specifically on the
  Commission’s determination that a prior business relationship between a fax sender and recipient establishes the
  requisite consent to receive telephone facsimile advertisement transmissions. See 2002 Notice, 17 FCC Rcd at
  17483, para. 39.
  682
     Chris Hernandez Comments; Damien Blevins Comments; Peter LeCody Comments; Joe Shields Comments at
  6; Mathemaesthetics Comments at 2.
  683
        Anthony Oppenheim Comments; W. Allen Wilkens, Jr. Comments.
  684
        J. Greg Coontz Comments at 15-17.
  685
        NCL Comments at 6.
  686
        Dennis C. Brown Comments at 13; City of New Orleans Comments at 11.
  687
     Jim Carter Comments; JC Homola Comments; Autoflex Comments at 1-2; Rob McNeal Comments
  (unsolicited faxes costs company tens of thousands of dollars each year in materials and employee time); see also
  NCL Comments at 6 (“[P]eople who work out of their homes are especially harmed by unsolicited faxes, which
  use up their paper and toner and tie up their machines.”); Mathemaesthetics Reply Comments at 7 (“[U]nsolicited
  (continued….)
                                                         111


                                                                                                             PA - 00357
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 360 of 437 Page ID
                                   #:516
                                       Federal Communications Commission                                  FCC 03-153


  Industry members maintain that faxing is a cost-effective way to reach customers,688 and that the
  current exemption for established business relationships works well,689 particularly for small
  businesses for whom faxing is a cheaper way to advertise.690

         B.          Discussion

                     1.       Prior Express Invitation or Permission

          187. The Commission has determined that the TCPA requires a person or entity to
  obtain the prior express invitation or permission of the recipient before transmitting an
  unsolicited fax advertisement. This express invitation or permission must be in writing and
  include the recipient’s signature.691 The recipient must clearly indicate that he or she consents to
  receiving such faxed advertisements from the company to which permission is given, and
  provide the individual or business’s fax number to which faxes may be sent.

          188. Established Business Relationship. The TCPA does not act as a total ban on fax
  advertising. Persons and businesses that wish to advertise using faxes may, under the TCPA, do
  so with the express permission of the recipients. In the 2002 Notice, we sought comment on
  whether an established business relationship between a fax sender and recipient establishes the
  requisite consent to receive telephone facsimile advertisements.692 The majority of industry
  commenters support the finding that facsimile transmissions from persons or entities that have an
  established business relationship with the recipient can be deemed to be invited or permitted by
  the recipient.693 These commenters maintain that eliminating the EBR exemption for facsimile
  advertisements would interfere with ongoing business relationships, raise business costs, and

  (Continued from previous page)
  [fax] ads caused my business fax machine to become prematurely empty, which rendered wholly useless the
  equipment my small business crucially depends on for its revenue. When a customer of mine a short time later
  attempted to fax a purchase order for over $3,000 worth of my company’s product, my empty fax machine was
  not able to capture this transaction for a significant period of time…” (emphasis in original)).
  688
     ABM Comments at 4 (Members have found that targeted fax communication is cost-effective way to seek
  renewal “request” forms from existing subscribers, and to communicate with subscribers about industry trade
  shows.).
  689
    MPA Comments at 22; Nextel Comments at 25; NADA Comments at 2; Scholastic Comments at 13; Reed
  Comments at 2-3.
  690
        NADA Comments at 2; NFIB Comments at 3.
  691
     The term “signature” in the amended rule shall include an electronic or digital form of signature, to the extent
  that such form of signature is recognized as a valid signature under applicable federal law or state contract law.
  See, e.g., Cendant Comments at 6.
  692
        2002 Notice, 17 FCC Rcd at 17483, para. 39.
  693
    ABM Comments at 9; DIRECTV Comments at 9-19; Hunton & Williams Comments at 5-6; Lorman Further
  Comments at 7 (noting that parties with an established business relationship expect to be in communications with
  companies with which they do business, and that any company that transmits ads by fax should be required to
  maintain a company-specific do-not-fax list).


                                                           112


                                                                                                                PA - 00358
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 361 of 437 Page ID
                                   #:517
                                      Federal Communications Commission                                 FCC 03-153


  limit the flow of valuable information to consumers.694 They urge the Commission to amend the
  rules to expressly provide for the EBR exemption.695 Conversely, the majority of consumer
  advocates argue that the TCPA requires companies to obtain express permission from
  consumers—even their existing customers—before transmitting a fax to a consumer.696 Some
  consumer advocates maintain that the Commission erred in its 1992 determination that a
  consumer, by virtue of an established business relationship, has given his or her express
  invitation or permission to receive faxes from that company.697 They urge the Commission to
  eliminate the EBR exemption, noting that Congress initially included in the TCPA an EBR
  exemption for faxes, but removed it from the final version of the statute.698

          189. We now reverse our prior conclusion that an established business relationship
  provides companies with the necessary express permission to send faxes to their customers. As
  of the effective date of these rules, the EBR will no longer be sufficient to show that an
  individual or business has given their express permission to receive unsolicited facsimile
  advertisements.699 The record in this proceeding reveals consumers and businesses receive faxes
  they believe they have neither solicited nor given their permission to receive. Recipients of
  these faxed advertisements assume the cost of the paper used, the cost associated with the use of

  694
        Nextel Reply Comments at 6.
  695
     See Xpedite Reply Comments at 6; ABM Comments at 4-5; Nextel Comments at 25; DIRECTV Comments at
  9-10; Lorman Further Comments at 8.
  696
      Biggerstaff Reply Comments at 22 (noting that express permission can easily be requested from existing
  customers, as paperwork is exchanged between merchants and their customers regularly); NAAG Comments at 31
  (stating that treating express consent on a case-by-case basis can be costly and time-consuming, as consent is the
  main defense asserted by fax advertisers. NAAG suggests that the Commission adopt a concrete definition of
  “express,” meaning definite, explicit or direct, and not left to inference).
  697
      NAAG Comments at 31-32 (arguing that creating an established business relationship exception runs contrary
  to the clear wording of the statute. “The TCPA defines ‘unsolicited advertisement’ as an advertisement sent to a
  person ‘without that person’s prior express invitation or permission.’ A business relationship exemption would
  rely on implied invitation or permission which is contrary to the clear wording of the statute.” (emphasis in
  original; footnotes omitted)); Mark R. Lee Comments; Biggerstaff Comments at 3; John Holcomb Comments at 4;
  Kondos & Kondos Comments at 3-4; Marc A. Wites Comments; Wayne G. Strang Comments at 12; Michael C.
  Worsham Comments at 13; Wayne G. Strang Reply Comments at 16. But see NYSCPB Comments at 18
  (recommends retaining the EBR as permission to receive faxes).
  698
      See Kondos & Kondos Comments at 1-2 and Exhibit A (noting that three versions of the House predecessor
  bill to the TCPA included an EBR exemption for unsolicited fax ads. “Not only is an EBR not a defense to
  unsolicited fax advertising under the TCPA, the U.S. Congress specifically included such a defense in numerous
  predecessor TCPA bills and then excluded it in the law which overwhelmingly passed in 1991.” Kondos &
  Kondos Comments at 2); John Holcomb Comments at 4; Biggerstaff Comments at 3.
  699
      See 1992 TCPA Order, 7 FCC Rcd at 8779, para. 54, n. 87 (finding that facsimile transmissions from persons
  or entities that have an established business relationship with the recipient can be deemed to be invited or
  permitted by the recipient). See also 47 C.F.R. 64.1200(f)(4) for the definition of an “established business
  relationship.” We emphasize that, prior to the effectuation of rules contained herein, companies that transmitted
  facsimile advertisements to customers with whom they had established business relationships were in compliance
  with the Commission’s existing rules.


                                                         113


                                                                                                             PA - 00359
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 362 of 437 Page ID
                                   #:518
                                       Federal Communications Commission                                FCC 03-153


  the facsimile machine, and the costs associated with the time spent receiving a facsimile
  advertisement during which the machine cannot be used by its owner to send or receive other
  facsimile transmissions.700

          190. The legislative history indicates that one of Congress’ primary concerns was to
  protect the public from bearing the costs of unwanted advertising. Certain practices were treated
  differently because they impose costs on consumers. For example, under the TCPA, calls to
  wireless phones and numbers for which the called party is charged are prohibited in the absence
  of an emergency or without the prior express consent of the called party.701 Because of the cost
  shifting involved with fax advertising, Congress similarly prohibited unsolicited faxes without
  the prior express permission of the recipient.702 Unlike the do-not-call list for telemarketing
  calls, Congress provided no mechanism for opting out of unwanted facsimile advertisements.
  Such an opt-out list would require the recipient to possibly bear the cost of the initial facsimile
  and inappropriately place the burden on the recipient to contact the sender and request inclusion
  on a “do-not-fax” list.703

          191. Instead, Congress determined that companies that wish to fax unsolicited
  advertisements to customers must obtain their express permission to do so before transmitting
  any faxes to them.704 Advertisers may obtain consent for their faxes through such means as
  direct mail, websites, and interaction with customers in their stores. Under the new rules, the
  permission to send fax advertisements must be provided in writing, include the recipient’s
  signature and facsimile number, and cannot be in the form of a “negative option.”705 For
  example, a company that requests a fax number on an application form could include a clear
  statement indicating that, by providing such fax number, the individual or business agrees to
  receive facsimile advertisements from that company. Such statement, if accompanied by the
  recipient’s signature, will constitute the necessary prior express permission to send facsimile
  advertisements to that individual or business. We believe that even small businesses may easily
  obtain permission from existing customers who agree to receive faxed advertising, when
  customers patronize their stores or provide their contact information. The Commission believes
  that given the cost shifting and interference caused by unsolicited faxes, the interest in protecting

  700
        NCL Comments at 6; Michael J. Blitch Comments at 7; Autoflex Comments at 1-2.
  701
        See 47 U.S.C. § 227(b)(1).
  702
        47 U.S.C. §§ 227(b)(1)(C) and (a)(4).
  703
      See, e.g., Blocklist.com Comments (operates a national do-not-fax list); Davide Di Labio Comments (should be
  a national fax list for those opposed to faxes); William B. Hayes Comments (no-fax lists are an alternative
  solution); Paul Aratow Comments (do-not-fax lists do not work); W. Allen Wilkins Comments (after responding
  to a “remove your fax number,” receives more faxes).
  704
        See 47 U.S.C. §§ 227(b)(1)(C) and (a)(4).
  705
     A facsimile advertisement containing a telephone number and an instruction to call if the recipient no longer
  wishes to receive such faxes, would constitute a “negative option.” This option (in which the sender presumes
  consent unless advised otherwise) would impose costs on facsimile recipients unless or until the recipient were
  able to ask that such transmissions be stopped.


                                                          114


                                                                                                              PA - 00360
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 363 of 437 Page ID
                                   #:519
                                      Federal Communications Commission                                 FCC 03-153


  those who would otherwise be forced to bear the burdens of unwanted faxes outweighs the
  interests of companies that wish to advertise via fax.

          192. Membership in a Trade Association. In its 1995 Reconsideration Order, the
  Commission determined that mere distribution or publication of a telephone facsimile number is
  not the equivalent of prior express permission to receive faxed advertisements.706 The
  Commission also found that given the variety of circumstances in which such numbers may be
  distributed (business cards, advertisements, directory listings, trade journals, or by membership
  in an association), it was appropriate to treat the issue of consent in any complaint regarding
  unsolicited facsimile advertisements on a case-by-case basis.707 In the 2002 Notice, we sought
  comment specifically on the issue of membership in a trade association or similar group and
  asked whether publication of one’s fax number in an organization’s directory constitutes an
  invitation or permission to receive an unsolicited fax.708 The American Business Media argued
  that those willing to make fax numbers available in directories released to the public do so with
  an expectation that such fax numbers will be used for advertising.709 Consumer advocates,
  however, contend that publicly listing a fax number is not a broad invitation to send commercial
  faxes.710 TOPUC asserted that businesses often publish their fax numbers for the convenience of
  their customers, clients and other trade association members, not for the benefit of
  telemarketers.711

          193. The Commission agrees that fax numbers are published and distributed for a
  variety of reasons, all of which are usually connected to the fax machine owner’s business or
  other personal and private interests. The record shows that they are not distributed for other
  companies’ advertising purposes. Thus, a company wishing to fax ads to consumers whose
  numbers are listed in a trade publication or directory must first obtain the express permission of
  those consumers. Express permission to receive a faxed ad requires that the consumer
  understand that by providing a fax number, he or she is agreeing to receive faxed advertisements.
   We believe the burden on companies to obtain express permission is warranted when balanced
  against the need to protect consumers and businesses from bearing the advertising costs of those

  706
        1995 Reconsideration Order, 10 FCC Rcd at 12408-09, para. 37.
  707
        1995 Reconsideration Order, 10 FCC Rcd at 12408-09, para. 37.
  708
        2002 Notice, 17 FCC Rcd at 17482-83, para. 38.
  709
      ABM Comments at 8; see also Brunswick Comments at 8-10; DIRECTV Comments at 11 (generally,
  publication of a fax number should constitute permission, but consumers should be able to control the
  circumstances under which they will receive faxes. For example, a trade association could note in its directory
  that faxes are not to be used for advertising purposes).
  710
        See, e.g., NCL Comments at 6; NAAG Comments at 31; TOPUC Comments at 6; John Holcomb Comments at
  4.
  711
     TOPUC Comments at 6; see also Mathemaesthetics Reply Comments at 7 (operators of a trade show ignored
  request not to use fax number for advertising and began transmitting multi-page fax ads for services my business
  has no interest in). But see NADA Comments at 3 (in deciding to become a member of a trade association, the
  member voluntarily seeks the benefit of the association’s services).


                                                          115


                                                                                                              PA - 00361
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 364 of 437 Page ID
                                   #:520
                                       Federal Communications Commission                                 FCC 03-153


  companies. Finally, the Commission affirms that facsimile requests for permission to transmit
  faxed ads, including toll-free opt-out numbers, impose unacceptable costs on the recipients. This
  kind of “negative option” is contrary to the statutory requirement for prior express permission or
  invitation.712

                      2.      Fax Broadcasters

          194.     The Commission explained in the 2002 Notice that some fax broadcasters, who
  transmit other entities’ advertisements to a large number of telephone facsimile machines for a
  fee, maintain lists of facsimile numbers that they use to direct their clients’ advertisements.713
  We noted that this practice, among others, indicates a fax broadcaster’s close involvement in
  sending unlawful fax advertisements and may subject such entities to enforcement action under
  the TCPA and our existing rules. We then sought comment on whether the Commission should
  address specifically in the rules the activities of fax broadcasters.714 Companies and
  organizations whose members hire fax broadcasters to transmit their messages argue that the fax
  broadcaster should be liable for violations of the TCPA’s faxing prohibition.715 AIADA
  maintains this should be the case, even if the fax broadcaster uses the list of fax numbers
  provided by the company doing the advertising.716 Nextel argues that liability ought to lie with
  the party controlling the destination of the fax; that fax broadcasters who actively compile and
  market databases of fax numbers are the major perpetrators of TCPA fax violations.717 Nextel
  specifically urges the Commission to find that companies whose products are advertised by
  independent retailers should not be liable for TCPA violations when they have no knowledge of
  such activities.718 Fax broadcasters disagree that they should be liable for unlawful faxes,
  maintaining that many of them do not exercise any editorial control or discretion over the
  content of the messages,719 and do not provide the list of fax numbers to which the ads are


  712
     1995 Reconsideration Order, 10 FCC Rcd at 12408-09, para. 37; see also Hunton & Williams Comments at 7
  (recommends at opt-out mechanism for unsolicited faxes).
  713
        2002 Notice, 17 FCC Rcd at 17483-84, para. 40.
  714
        2002 Notice , 17 FCC Rcd at 17483-84, para. 40.
  715
        AIADA Comments at 2; Nextel Comments at 40.
  716
        AIADA Comments at 2.
  717
      Nextel Comments at 38; see also NAAG Comments at 32 (stating that fax broadcasters that maintain their own
  databases of fax numbers are the subject of the vast majority of consumer complaints and state enforcement
  actions, and that fax broadcasters who determine the content of the advertisement or its destination should be held
  liable for unsolicited faxes).
  718
     Nextel Comments at 25, 38-40; see also DIRECTV Comments at 3, 9 (asking whether DIRECTV or its
  independent contractors have the established business relationship with a consumer).
  719
     Xpedite Comments at 5-7; Globecomm Comments at 4-5; ADVAL Reply Comments at 3 (fax broadcasters
  never see the list of recipients or the faxed document, which is often uploaded directly through the Internet);
  Xpedite Reply Comments at 3, 8.


                                                          116


                                                                                                              PA - 00362
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 365 of 437 Page ID
                                   #:521
                                         Federal Communications Commission                           FCC 03-153


  transmitted.720 Many industry as well as consumer commenters agree that only those fax
  broadcasters who are closely involved in the transmission of the fax should be subject to
  liability.721 Reed asserts that liability should rest with the entity on whose behalf a fax is sent;
  that fax broadcasters are not in a position to know firsthand whether, for example, an established
  business relationship exists between the company and consumer.722

          195. The Commission’s rulings clearly indicate that a fax broadcaster’s exemption
  from liability is based on the type of activities it undertakes, and only exists “[i]n the absence of
  ‘a high degree of involvement or actual notice of an illegal use and failure to take steps to
  prevent such transmissions.’”723 The Commission believes that, based on the record and our own
  enforcement experience, addressing the activities of fax broadcasters will better inform both
  consumers and businesses about the prohibition on unsolicited fax advertising. The Commission
  has determined to amend the rules to explicitly state that a fax broadcaster will be liable for an
  unsolicited fax if there is a high degree of involvement or actual notice on the part of the
  broadcaster. The new rules provide that if the fax broadcaster supplies the fax numbers used to
  transmit the advertisement, the fax broadcaster will be liable for any unsolicited advertisement
  faxed to consumers and businesses without their prior express invitation or permission. We
  agree, however, that if the company whose products are advertised has supplied the list of fax
  numbers, that company is in the best position to ensure that recipients have consented to receive
  the faxes and should be liable for violations of the prohibition. Therefore, the fax broadcaster
  will not be responsible for the ads, in the absence of any other close involvement, such as
  determining the content of the faxed message.724 In such circumstances where both the fax
  broadcaster and advertiser demonstrate a high degree of involvement, they may be held jointly
  and severally liable for violations of the unsolicited facsimile provisions. In adopting this rule,
  the Commission focuses on the nature of an entity’s activity rather than on any label that the
  entity may claim. We believe the rule will better inform the business community about the
  prohibition on unsolicited fax advertising and the liability that attaches to such faxing. And, it
  will better serve consumers who are often confused about which party is responsible for
  unlawful fax advertising. For the same reasons, the new rules define “facsimile broadcaster” to
  mean a person or entity that transmits messages to telephone facsimile machines on behalf of
  another person or entity for a fee.725

             196.     Some commenters ask the Commission to clarify the extent of common carriers’

  720
        ADVAL Reply Comments at 3; Xpedite Reply Comments at 3.
  721
     Xpedite Comments at 3-4; NAAG Comments at 32-33; NCL Comments at 6; ADVAL Comments at 3 (“Fax
  carriers should not be penalized for traffic sent by third parties.”).
  722
        Reed Comments at 6.
  723
     1992 TCPA Order, 7 FCC Rcd at 8780, para. 54 (quoting Use of Common Carriers, 2 FCC Rcd 2819, 2820
  (1987)).
  724
     A high degree of involvement might be demonstrated by a fax broadcaster’s role in reviewing and assessing
  the content of a facsimile message.
  725
        See 47 C.F.R. § 64.1200(f)(4).


                                                        117


                                                                                                          PA - 00363
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 366 of 437 Page ID
                                   #:522
                                        Federal Communications Commission                                  FCC 03-153


  liability for the transmission of unsolicited faxes.726 Cox specifically urges the Commission to
  distinguish the obligations of fax broadcasters from “traditional common carriers.”727 As noted
  above, the Commission has stated that “[i]n the absence of ‘a high degree of involvement or
  actual notice of an illegal use and failure to take steps to prevent such transmissions,’ common
  carriers will not be held liable for the transmission of a prohibited facsimile message.”728 We
  reiterate here that if a common carrier is merely providing the network over which a subscriber
  (a fax broadcaster or other individual, business, or entity) sends an unsolicited facsimile
  message, that common carrier will not be liable for the facsimile.

           197. Nextel urges the Commission to clarify that section 217 of the Communications
  Act does not impose a higher level of liability on common carriers than on other entities for
  violations of the TCPA.729 Section 217 provides that “ [i]n construing and enforcing the
  provisions of this Act, the act, omission, or failure of any officer, agent, or other person acting
  for or employed by any common carrier or user, acting within the scope of his employment, shall
  in every case be also deemed to be the act, omission, or failure of such carrier or user as well as
  that of the person.”730 The Commission declines to address the scope of section 217 in this
  rulemaking, which was not raised in the 2002 Notice or in subsequent notices in this proceeding.

                      3.       Fax Servers

          198. The TCPA makes it unlawful for any person to use any telephone facsimile
  machine, computer, or other device to send an unsolicited advertisement to a telephone facsimile
  machine.731 The TCPA defines the term “telephone facsimile machine” to mean “equipment
  which has the capacity (A) to transcribe text or images, or both, from paper into an electronic
  signal and to transmit that signal over a regular telephone line, or (B) to transcribe text or images
  (or both) from an electronic signal received over a regular telephone line onto paper.”732 The
  Commission sought comment on any developing technologies, such as computerized fax servers,
  that might warrant revisiting these rules.733

         199. Commenters who addressed this issue were divided on whether fax servers should
  be subject to the unsolicited facsimile provisions. Some industry representatives urged the
  Commission to clarify that the TCPA does not prohibit the transmission of unsolicited fax
  726
        Cox Comments at 12-19.
  727
        Cox Comments at 13.
  728
     1992 TCPA Order, 7 FCC Rcd at 8780, para. 54 (quoting Use of Common Carriers, 2 FCC Rcd 2819, 2820
  (1987)).
  729
        Nextel Comments at 40-41.
  730
        47 U.S.C. § 217.
  731
        47 U.S.C. § 227(b)(1)(C).
  732
        47 U.S.C. § 227(a)(2); this definition was incorporated in § 64.1200(f)(2) of the Commission’s rules.
  733
        2002 Notice, 17 FCC Rcd at 17482, para. 37.


                                                            118


                                                                                                                PA - 00364
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 367 of 437 Page ID
                                   #:523
                                        Federal Communications Commission                              FCC 03-153


  advertisements to fax servers and personal computers because these transmissions are not sent to
  a “telephone facsimile machine,” as defined in the statute.734 Nextel maintains that such faxes do
  not implicate the harms Congress sought to redress in the TCPA, as they are not reduced to paper
  and can be deleted from one’s inbox without being opened or examined.735 Other commenters
  disagree, noting that there are other costs associated with faxes sent to computers and fax
  servers.736 They note that the TPCA only requires that the equipment have the capacity to
  transcribe text or messages onto paper,737 and that computer fax servers and personal computers
  have that capacity.

         200. We conclude that faxes sent to personal computers equipped with, or attached to,
  modems and to computerized fax servers are subject to the TCPA’s prohibition on unsolicited
  faxes. However, we clarify that the prohibition does not extend to facsimile messages sent as
  email over the Internet. The record confirms that a conventional stand-alone telephone facsimile
  machine is just one device used for this purpose; that developing technologies permit one to send
  and receive facsimile messages in a myriad of ways. Today, a modem attached to a personal
  computer allows one to transmit and receive electronic documents as faxes. “Fax servers”
  enable multiple desktops to send and receive faxes from the same or shared telephony lines.738

          201. The TCPA’s definition of “telephone facsimile machine” broadly applies to any
  equipment that has the capacity to send or receive text or images. The purpose of the
  requirement that a “telephone facsimile machine” have the “capacity to transcribe text or
  images” is to ensure that the prohibition on unsolicited faxing not be circumvented. Congress
  could not have intended to allow easy circumvention of its prohibition when faxes are
  (intentionally or not) transmitted to personal computers and fax servers, rather than to traditional
  stand-alone facsimile machines. As the House Report accompanying the TCPA explained,
  “facsimile machines are designed to accept, process and print all messages which arrive over
  their dedicated lines. The fax advertiser takes advantage of this basic design by sending
  advertisements to available fax numbers, knowing that it will be received and printed by the
  recipient’s machine.”739 However, Congress also took account of the “interference,
  734
        See Nextel Comments at 31-32.
  735
        Nextel Reply Comments at 4-5.
  736
     Michael C. Worsham Comments at 20; James Suggs Comments at 1. Commenters also note that some
  commercial facsimile services transmit faxes to the recipients as email attachments. We emphasize that any rules
  the Commission adopts with respect to unsolicited facsimile advertisements would not extend to facsimile
  messages transmitted as email over the Internet. See definition of telephone facsimile machine at 47 U.S.C. §
  227(a)(2).
  737
        Autoflex Comments at 2; J. Greg Coontz Reply Comments at 11-15, 16-17.
  738
      See Kauffman Comments at 3. Although fax boards alone do not have the capability to transcribe text onto or
  from paper, the Commission nevertheless determined that fax modem boards, which enable personal computers to
  transmit messages to or receive messages from conventional facsimile machines or other computer fax boards, are
  the functional equivalent of telephone facsimile machines. See 1995 Reconsideration Order, 10 FCC Rcd at
  12404-06, paras. 28-30.
  739
        H.R. REP. NO. 102-317 at 10 (1991).


                                                         119


                                                                                                            PA - 00365
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 368 of 437 Page ID
                                   #:524
                                       Federal Communications Commission                                FCC 03-153


  interruptions, and expense” resulting from junk faxes, emphasizing in the same Report that “[i]n
  addition to the costs associated with the fax advertisements, when a facsimile machine is
  receiving a fax, it may require several minutes or more to process and print the advertisement.
  During that time, the fax machine is unable to process actual business communications.”740

          202. Facsimile messages sent to a computer or fax server may shift the advertising
  costs of paper and toner to the recipient, if they are printed. They may also tie up lines and
  printers so that the recipients’ requested faxes are not timely received.741 Such faxes may
  increase labor costs for businesses, whose employees must monitor faxes to determine which
  ones are junk faxes and which are related to their company’s business. Finally, because a sender
  of a facsimile message has no way to determine whether it is being sent to a number associated
  with a stand-alone fax machine or to one associated with a personal computer or fax server, it
  would make little sense to apply different rules based on the device that ultimately received it.

                      4.      Identification Requirements

          203. The TCPA and Commission rules require that any message sent via a telephone
  facsimile machine contain the date and time it is sent and an identification of the business, other
  entity, or individual sending the message and the telephone number of the sending machine or of
  such business, other entity, or individual.742 In the 2002 Notice, the Commission asked whether
  these rules have been effective at protecting consumers’ rights to enforce the TCPA.743 The
  Commission determined in its 1997 Reconsideration Order that a facsimile broadcast service
  must ensure that the identifying information of the entity on whose behalf the provider sent
  messages appear on facsimile messages. In its discussion, the Commission clarified that the
  sender of a facsimile message is the creator of the content of the message, finding that Section
  227(d)(1) of the TCPA mandates that a facsimile include the identification of the business, other
  entity, or individual creating or originating a facsimile message, and not the entity that transmits
  the message.744 The Commission believes that if a fax broadcaster is responsible for the content
  of the message or for determining the destination of the message (i.e., supplying the list of
  facsimile numbers to which the faxes are sent), it should be identified on the facsimile, along
  with the entity whose products are advertised.745 Therefore, we amend the rules to require any

  740
        H.R. REP. NO. 102-317 at 25 (1991).
  741
      See Covington & Burling v. International Marketing & Research, Inc. et al., No. XX-XXXXXXX (D.C. Sup. Ct.
  (April 16, 2003) (finding a fax broadcaster liable under the TCPA for transmitting unsolicited fax advertisements
  to a law firm’s fax server).
  742
        47 U.S.C. § 227(d)(1)(B); 47 C.F.R. § 68.318(d).
  743
        2002 Notice, 17 FCC Rcd at 17483-84, paras. 37 and 40.
  744
        1997 Reconsideration Order, 12 FCC Rcd at 4612-13, para. 6.
  745
      See NAAG Comments at 32-33 (stating that only requiring the advertiser’s identify has been a hindrance in
  enforcing the TCPA. It has been the states’ experience that fax broadcasters, who maintain their own databases
  and send others’ advertisements to these fax numbers, frequently omit their identifying information as the sender
  in order to avoid detection and enforcement action.).


                                                           120


                                                                                                              PA - 00366
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 369 of 437 Page ID
                                   #:525
                                        Federal Communications Commission                            FCC 03-153


  fax broadcaster that demonstrates a high degree of involvement in the transmission of such
  facsimile message to be identified on the facsimile, along with the identification of the sender.746
   This will permit consumers to hold fax broadcasters accountable for unlawful fax
  advertisements when there is a high degree of involvement on the part of the fax broadcaster.747
  Commenters suggested the Commission clarify what constitutes an adequate identification
  header.748 Consistent with our amended identification rules for telemarketing calls, senders of
  fax advertisements will be required under the new rules to use the name under which they are
  officially registered to conduct business.749 Use of a “d/b/a” (“doing business as”) or other more
  widely recognized name is permissible; however, the official identification of the business, as
  filed with state corporate registration offices or comparable regulatory entities, must be included,
  at a minimum.

  XIV. PRIVATE RIGHT OF ACTION

         A.           Background

           204. The TCPA is a unique statute in that it provides consumers with two private rights
  of action for violations of the TCPA rules. One provision permits a consumer to file suit
  immediately in state court if a caller violates the TCPA’s prohibitions on the use of automatic
  dialing systems, artificial or prerecorded voice messages, and unsolicited facsimile
  advertisements.750 A separate private right of action permits a consumer to file suit in state court
  if he or she has received more than one telephone call within any 12-month period by or on
  behalf of the same company in violation of the guidelines for making telephone solicitations.751
  Based on inquiries received about the private right of action, the Commission asked whether we
  should clarify whether a consumer may file suit after receiving one call from a telemarketer who,
  for example, fails to properly identify himself or makes a call outside the time of day
  restrictions.752

        205.     Industry commenters argue that the statutory language is clear; that only a person
  who has received more than one telephone call that violates the telephone solicitation rules


  746
        See amended rule at 47 C.F.R. § 68.318(d).
  747
        See supra discussion, paras. 194-195.
  748
     Michael C. Worsham Comments at 11-12; NCL Comments at 6; Michael J. Blitch Comments at 7 (both seller
  and fax broadcaster should be identified); NAAG at 33 (should require identifying information of fax
  broadcaster). But see Xpedite Reply Comments at 8 (requiring a fax broadcaster’s identifying information could
  confuse consumers as to who created the message. Uninvolved fax broadcasters should not be required to identify
  themselves on faxes.).
  749
        See supra discussion on identification requirements for telemarketers, para. 144.
  750
        47 U.S.C. § 227(b)(3).
  751
        47 U.S.C. § 227(c)(5).
  752
        2002 Notice, 17 FCC Rcd at 17486-87, para. 47.


                                                             121


                                                                                                          PA - 00367
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 370 of 437 Page ID
                                   #:526
                                     Federal Communications Commission                                FCC 03-153


  within any 12-month period may file suit under the TCPA’s private right of action.753
  Consumers and consumer advocates were split on the issue. Some maintained that a consumer
  should be permitted to pursue a private right of action for a telemarketer’s first offense;754 others
  acknowledged that the statute does not permit a cause of action for the first time a telemarketer
  violates the telephone solicitation rules.755 Several industry commenters point out that they have
  been named as defendants in class action lawsuits under the TCPA in state courts.756 They urge
  the Commission to determine that the TCPA’s private right of action does not contemplate or
  permit class action lawsuits.757 Some consumer commenters and plaintiffs’ attorneys who have
  filed class action suits argue that foreclosing class actions would severely handicap the
  effectiveness of the TCPA and consumers’ ability to enforce its provisions. They also contend
  that the FCC is not authorized to interfere with state courts’ certification of class actions.758

         B.           Discussion

          206. The Commission declines to make any determination about the specific contours
  of the TCPA’s private right of action. Congress provided consumers with a private right of
  action, “if otherwise permitted by the laws or rules of court of a State.”759 This language
  suggests that Congress contemplated that such legal action was a matter for consumers to pursue
  in appropriate state courts, subject to those courts’ rules. The Commission believes it is for
  Congress, not the Commission, to either clarify or limit this right of action.

  XV.         INFORMAL COMPLAINT RULES

        207. In the 2002 Notice, the Commission noted that it had released another Notice of
  Proposed Rulemaking in February of 2002, seeking comment on whether to extend the informal
  complaint rules to entities other than common carriers.760 We sought comment in this proceeding

  753
    Mastercard Comments at 7; BMO Financial Comments at 4; Bank of America Comments at 6; DialAmerica
  Comments at 14; AT&T Wireless Reply Comments at 27-28.
  754
    Martin C. Kaplan Comments at 2 (acknowledging that “[u]p to one call per year is permitted . . . should be
  amended to total prohibition”); April Jordon Comments at 2; Wayne G. Strang Reply Comments at 16; NCL
  Comments at 7.
  755
     NYSCPB Comments at 19; Michael C. Worsham Comments at 15 (Commission should clarify that once
  threshold of two calls received within one year is met all violations in any calls are actionable).
  756
        See DIRECTV Comments at 3-4; Nextel Comments at 39.
  757
    See, e.g., AIA Comments at 2; AIADA Comments at 2; Kauffman Comments at 8; DIRECTV Reply
  Comments at 7; ABM Comments at 2.
  758
     See Hershovitz Reply Comments at 1, 8-9; Wayne G. Strang Reply Comments at 4; see also City of New
  Orleans Comments at 11; Joe Shields Reply Comments at 9.
  759
        47 U.S.C. § 227(c)(5).
  760
     2002 Notice, 17 FCC Rcd at 17486-87, para. 47. See generally Establishment of Rules Governing Procedures
  to Be Followed When Informal Complaints Are Filed by Consumers Against Entities Regulated by the
  Commission; Amendment of Subpart E of Chapter 1 of the Commission’s Rules Governing Procedures to Be
  (continued….)
                                                         122


                                                                                                            PA - 00368
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 371 of 437 Page ID
                                   #:527
                                      Federal Communications Commission                         FCC 03-153


  on whether the Commission should amend these informal complaint rules to apply to
  telemarketers. We will review this issue as part of the Informal Complaints proceeding. All
  comments filed in this proceeding that address the applicability of the informal complaint rules
  to telemarketers will be incorporated into CI Docket No. 02-32.

  XVI. TIME OF DAY RESTRICTIONS

          208. Commission rules restrict telephone solicitations between the hours of 8:00 a.m.
  and 9:00 p.m. local time at the called party’s location.761 As part of our review of the TCPA
  rules, we sought comment on how effective these time restrictions have been at limiting
  objectionable solicitation calls.762 The Commission also asked whether more restrictive calling
  times could work in conjunction with a national registry to better protect consumers from
  telephone solicitations to which they object.

           209. Industry members that commented on the calling time restrictions unanimously
  asserted that the current calling times should be retained.763 Some explained that any restrictions
  on calls made during the early evening hours, in particular, would interfere with telemarketers’
  ability to reach their customers.764 Consumers, on the other hand, urged the Commission to
  adopt tighter restrictions on the times that telemarketers may call them. Some object to calls at
  the end of the day and during the dinner hour;765 others prefer that telemarketers not be able to
  begin calling until later in the morning.766 Some suggest the calling times should parallel local
  noise ordinances.767 EPIC advocated allowing consumers to specify the hours they wish to
  receive calls.768

             210.     The Commission declines to revise the restrictions on calling times. Instead, we


  (Continued from previous page)
  Followed When Informal Complaints Are Filed Against Common Carriers; 2000 Biennial Review, Memorandum
  Opinion and Order and Notice of Proposed Rulemaking, CI Docket No. 02-32, CC Docket Nos. 94-93, 00-175, 17
  FCC Rcd 3919 (2002).
  761
        47 C.F.R. § 64.1200(e)(1).
  762
        2002 Notice, 17 FCC Rcd at 17481-82, para. 36.
  763
      See, e.g., ATA Comments at 105; BMO Financial Comments at 5; HFS Comments at 9; Technion Comments
  at 7; AT&T Wireless Comments at 28.
  764
        Teleperformance Comments at 2; ATA Comments at 106.
  765
    See, e.g., Melva L. Taylor Comments at 1; Michael C. Worsham Comments at 11; Robert Jaglowski
  Comments; Linda M. Deakl Comments; Richard M. Bryant Comments.
  766
     J. Melville Capps Comments; Mandy Burkart Comments; Jeff Bryson Comments; John Shaw Comments at 7
  (due to the number of nighttime workers, time of day restrictions should begin at 9 am).
  767
        PUC of Ohio Comments at 22-23; James Wood Comments.
  768
        EPIC Comments at 13.


                                                         123


                                                                                                     PA - 00369
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 372 of 437 Page ID
                                   #:528
                                       Federal Communications Commission                                 FCC 03-153


  retain the current calling times, which are consistent with the FTC’s rules.769 We believe the
  current calling times strike the appropriate balance between protecting consumer privacy and not
  unduly burdening industry in their efforts to conduct legitimate telemarketing. We also believe
  that Commission rules that diverge from the FTC’s calling restrictions will lead to confusion for
  consumers. Moreover, consumers who want to block unwanted calls during certain times will
  now have the option of placing their telephone numbers on the national do-not-call registry.
  They will have the additional option of giving express verifiable authorization to only those
  companies they wish to hear from. The Commission declines at this time to require companies
  to adhere to consumers’ calling preferences, including “acceptable” calling times.770 We believe
  that the costs of monitoring calling times for individual consumers could be substantial for many
  companies, particularly small businesses. The Commission may revisit this option in the future.

  XVII. ENFORCEMENT PRIORITIES

          211. TCPA enforcement has been a Commission priority over the past several years,771
  and we intend that it remain so. In guiding our future enforcement plans, we recognize that the
  FTC’s recent rule changes expand that agency’s regulation of telemarketing activities and
  require coordination to ensure consistent and non-redundant federal enforcement in this area.
  Most notably, the FTC’s adoption of a nationwide do-not-call registry, the related Do-Not-Call
  Act, and finally our adoption here of requirements that maximize consistency with those adopted
  by the FTC create an overlap in federal regulations governing major telemarketing activities.772
  We hereby direct Commission staff to negotiate with FTC staff a Memorandum of
  Understanding between the respective staffs to achieve an efficient and effective enforcement
  strategy that will promote compliance with federal telemarketing regulations, consistent with the
  guidelines set forth below.

          212. The FCC’s jurisdiction over telemarketing is significantly broader than the
  FTC’s. First, as noted above, the FTC does not have authority over telemarketing calls made by
  in-house employees of common carriers, banks, credit unions, savings and loans, insurance
  companies, and airlines. In addition, the FTC’s telemarketing rules pertain only to interstate
  transmissions. In contrast, the FCC’s telemarketing rules apply without exception to any entity
  engaged in any of the telemarketing activities targeted by the TCPA and the Commission’s
  related rules, including those that involve purely intrastate activities.773 Given the substantial
  gaps in the FTC’s authority over the full range of telemarketing activities, we contemplate that
  our enforcement staff will focus particularly on those activities and entities that fall outside the
  769
     See 16 C.F.R. § 310.4(c); see also FTC Further Comments at 47-50 (stating that the FCC should retain its
  existing calling time restrictions and maintain the consistency that both agencies have sought on this issue).
  770
     The Commission encourages any seller or telemarketer to comply with consumers’ requests not to be called
  during certain times of the day.
  771
        See <http://www.fcc.gov/eb/News_Releases/DOC-230145A1.html>.
  772
     There are other overlapping regulations such as provisions governing abandoned calls, transmission of caller
  ID, and time-of-day restrictions. See supra paras. 146-159, 173-184, 208-210.
  773
        47 U.S.C. § 152(b). See supra paras. 9 and 16.


                                                          124


                                                                                                               PA - 00370
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 373 of 437 Page ID
                                   #:529
                                          Federal Communications Commission                                FCC 03-153


  FTC’s reach – airlines, banks, credit unions, savings and loans, insurance companies, and
  common carriers, as well as intrastate transmissions by any entity.

           213. Nevertheless, we do not contemplate Commission enforcement that targets only
  those activities, entities, or transmissions that are outside the FTC’s jurisdiction. The TCPA
  creates a statutory expectation for FCC enforcement in the telemarketing area.774 Moreover, the
  TCPA’s detailed standards pertaining to do-not-call matters evince Congressional intent that the
  FCC assume a prominent role in federal regulation of this aspect of telemarketing, a mandate
  that is not altered by the Do-Not-Call Act. Accordingly, even with the FTC’s new do-not-call
  regulations, including its administration of a national do-not-call registry, we emphasize that the
  Commission must stand ready to enforce each of our telemarketing rules in appropriate cases.
  For reasons of efficiency and fairness, our staff will work closely with the FTC to avoid
  unnecessarily duplicative enforcement actions.

          214. In determining enforcement priorities under the new telemarketing rules, we
  contemplate that the Enforcement Bureau will continue its policy of reviewing FCC and FTC
  consumer complaint data and conferring with appropriate state and federal agencies to detect
  both egregious violations and patterns of violations, and will act accordingly.775 The
  Enforcement Bureau has in place effective procedures to review aggregate complaint
  information to determine the general areas that merit enforcement actions, and to identify both
  particular violators and the individual consumers who may be able to assist the staff in pursuing
  enforcement actions against such violators.776 Enforcement action could include, for example,
  forfeiture proceedings under section 503(b),777 cease and desist proceedings under section
  312(c), injunctions under section 401, and revocation of common carrier section 214 operating
  authority.

  XVIII. OTHER ISSUES

         A.           Access to TCPA Inquiries and Complaints

          215. The Commission stated that the 2002 Notice was “prompted, in part, by the
  increasing number and variety of inquiries and complaints involving our rules on telemarketing


  774
        See 47 U.S.C. § 227(f)(3), (7).
  775
     Review of the FTC do-not-call database will be particularly important so that our enforcement staff can easily
  determine the date of any do-not-call request and the date that a company last downloaded information from the
  database.
  776
     In the course of its investigations, the Enforcement Bureau will follow up with individual complainants as
  appropriate. In light of the state court private right of action under the TCPA and the fact that many TCPA
  complaints are not against common carriers, consistent with existing practice, the staff will not necessarily contact
  each individual TCPA complainant. Compare 47 U.S.C. § 208.
  777
     Before initiating a forfeiture proceeding against most entities that do not hold an FCC authorization, the
  violator must have received a Commission citation and then engaged in an additional violation. 47 U.S.C. §
  503(b)(5).


                                                           125


                                                                                                                PA - 00371
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 374 of 437 Page ID
                                   #:530
                                        Federal Communications Commission                                FCC 03-153


  and unsolicited fax advertisements.”778 A few commenters maintain that the Commission should
  not consider final rules until parties have had an opportunity to analyze the consumer complaints
  referenced in the 2002 Notice.779 Other commenters contend that the number of complaints
  received by the Commission does not necessarily demonstrate a problem that demands
  government intervention.780 The ATA filed a Freedom of Information Act (FOIA) request with
  the Commission on October 16, 2002, seeking access to the TCPA-related informal
  complaints.781 The FOIA generally provides that any person has a right to obtain access to
  federal agency records, subject to enumerated exemptions from disclosure.782 The FOIA
  requirements do not apply to records that contain “personnel and medical files and similar files
  the disclosure of which would constitute a clearly unwarranted invasion of personal privacy.”783
  Many of the complaints sought by the ATA contain personal private information. In addition,
  the complaints are part of a system of records subject to the Privacy Act.784 For these reasons,
  the Commission agreed to release the complaints on a rolling basis only after personal
  information was redacted.785 In response to ATA’s FOIA request, the Commission has thus far

  778
        See 2002 Notice, 17 FCC Rcd at 17466, para. 8.
  779
      See, e.g., ATA Comments at 41-43 (stating that “[a]s a general matter, access to the [complaints] is necessary
  to ensure that ‘interested parties have a meaningful opportunity to participate . . . and that the Court has an
  adequate record from which to determine whether the agency properly performed its functions.’”); MBNA
  Comments at 10 (requesting “an opportunity to review the complaints to determine the nature of the specific
  practices complained of, and the extent to which such practices reasonably require new TCPA rules . . .”).
  780
        See, e.g., ABM Comments at 7; SBC Comments at 7-8, 17; BellSouth Comments at 4.
  781
     The ATA’s FOIA request was for copies of the over 11,000 complaints about telemarketing practices received
  during the period January 2000 through December 2001. The request also asked for copies of all similar
  complaints about telemarketing practices the FCC has received since January 1, 2002; copies of the over 1,500
  inquiries about predictive dialing received from June 2000 to December 2001; and any non-publicly released FCC
  responses to the above-referenced complaints. See Motion For Extension of Time filed by the ATA, CG Docket
  No. 02-278, Tab 1, Electronic FOIA Request from Ronnie London. On November 14, 2002, following a meeting
  with the ATA regarding its FOIA request, CGB confirmed in a letter to ATA counsel that it would take a number
  of months and considerable staff resources in order to provide the over 11,000 documents covered by the request.
   See Letter from K. Dane Snowden, FCC, to Ronnie London, Counsel to ATA, November 14, 2002.
  782
        See 5 U.S.C. § 552.
  783
        5 U.S.C. § 552(b)(6); see also 47 C.F.R. §§ 0.441 et seq.
  784
        5 U.S.C. § 552(a); 47 C.F.R. §§ 0.551 et seq.
  785
      We explained that informal complaints often contain personally identifiable information such as addresses,
  phone numbers, social security numbers, and personal financial information. The ATA subsequently filed an
  Application for Review of the Freedom of Information Action, requesting that the Commission “overturn the
  staff’s classification of the telemarketing complaints and predictive dialing inquiries as ‘not routinely available’
  documents” and immediately release them for public consideration. See Review of Freedom of Information Action
  filed by the ATA at 5, CG Docket No. 02-278, December 6, 2002. (In the alternative, ATA requested that “the
  Commission require the staff to significantly accelerate its release of the redacted documents in time for
  consideration of them in the notice and comment period, and to substantially reduce or waive the charge
  associated with producing the requested documents.”) On December 23, 2002, the ATA filed a Motion for
  Expedited Review of its Application for Review of the Freedom of Information Act Action to “ensure that ATA and
  (continued….)
                                                            126


                                                                                                               PA - 00372
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 375 of 437 Page ID
                                   #:531
                                         Federal Communications Commission                                   FCC 03-153


  provided approximately 2,420 redacted complaints.786

          216. We agree with commenters that the increasing number of inquiries and
  complaints about telemarketing practices should not form the basis upon which we revise or
  adopt new rules under the TCPA.787 Rather, such information can be considered in determining
  whether to seek comment on the effectiveness of any of its rules.788 We note that, even in the
  absence of any such complaints, the Commission is required by the Do-Not-Call Act to complete
  the TCPA rulemaking commenced last year. We disagree with commenters who suggest that
  parties must have access to all of the complaints referenced in the NPRM in order to be able to
  have a meaningful opportunity to participate in this proceeding.789 It is not the existence of the
  complaints, or the number of complaints, that led the Commission to institute this proceeding to
  consider revision of its TCPA rules. Rather, our TCPA rules have been in place for more than
  ten years. We opened this proceeding to determine “whether the Commission’s rules need to be
  revised in order to more effectively carry out Congress’s directives in the TCPA.”790 In any
  event, since September 2002, consumers, industry, and state governments have filed over 6,000
  comments in this proceeding, during which time the Commission extended the comment periods
  twice and released a Further Notice in order to ensure that parties had ample opportunity to
  comment on possible FCC action. The substantial record compiled in this proceeding, along
  with the Commission’s own enforcement experience, provides the basis for the actions we take
  here today.

         B.           Reports to Congress

              217.    The Do-Not-Call Act requires the Commission to transmit reports to Congress

  (Continued from previous page)
  other parties participating in the . . . proceeding are afforded timely access to critical documents central to the
  issues raised. . .by the [2002 Notice].” See Motion for Expedited Review at 1.
  786
      As directed by the ATA, the Commission stopped processing the FOIA on January 27, 2003. The comment
  period in this proceeding was subsequently extended following the release of a Further Notice, and the ATA wrote
  to the Commission asking that the FOIA processing continue. However, the ATA did not represent that it would
  pay the additional FOIA fees that would accrue from the processing, and CGB wrote to the ATA for further
  directions. The ATA then paid for complaint records provided through January 27, 2003, and asked the
  Commission to continue processing the request. CGB has provided the ATA with a total of 2,420 redacted
  complaints thus far.
  787
      See, e.g., ATA Comments at 36 (noting that “the Commission’s tally of complaints, inquiries and website visits
  fails to demonstrate a significant problem . . . the existence of a complaint does not amount to a violation of the
  rules.”)
  788
      Other considerations included: the Commission’s own enforcement experience; the amount of time that had
  passed since the Commission undertook a broad review of the TCPA rules, during which time telemarketing
  practices have changed significantly; and the actions by the FTC to consider changes to its telemarketing rules,
  including the establishment of a national do-not-call registry. See 2002 Notice, 17 FCC Rcd at 17464-68, para. 7-
  11.
  789
        See, e.g., ATA Comments at 41.
  790
        2002 Notice, 17 FCC Rcd at 17461, para. 1.


                                                            127


                                                                                                                   PA - 00373
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 376 of 437 Page ID
                                   #:532
                                       Federal Communications Commission                  FCC 03-153


  within 45 days after the promulgation of final rules in this proceeding, and annually thereafter.791
  By this Order, the Commission delegates its authority to the Chief, Consumer & Governmental
  Affairs Bureau, to issue all such reports.

  XIX. PROCEDURAL ISSUES

         A.           Regulatory Flexibility Act Analysis

       218. Pursuant to the Regulatory Flexibility Act of 1980, as amended,792 the
  Commission’s Final Regulatory Flexibility Analysis in this Order is attached as Appendix B.

         B.           Paperwork Reduction Act Analysis

          219. This Order contains modified information collections subject to the Paperwork
  Reduction Act of 1995 (PRA), Public Law 104-13. It will be submitted to the Office of
  Management and Budget (OMB) for review under § 3507(d) of the PRA. OMB, the general
  public, and other Federal agencies are invited to comment on the modified information
  collections contained in this proceeding.

         C.           Late-Filed Comments

         220. We note that there were comments filed late in this proceeding. In the interest of
  having as complete and accurate a record as possible, we will accept late-filed comments and
  waive the requirements of 47 C.F.R. § 1.46(b).

         D.           Materials in Accessible Formats

          221. To request materials in accessible formats for people with disabilities (braille,
  large print, electronic files, audio format), send an email to fcc504@fcc.gov or call the
  Consumer & Governmental Affairs Bureau at (202) 418-0531 (voice), (202) 418-7365 (TTY).
  This Report and Order can also be downloaded in Text and ASCII formats at:
  http://www.fcc.gov/cgb/policy/telemarketing.html.

  XX.         ORDERING CLAUSES

          222. Accordingly, IT IS ORDERED that, pursuant to the authority contained in
  Sections 1-4, 222, 227, and 303(r) of the Communications Act of 1934, as amended; 47 U.S.C.
  §§ 151-154, 222 and 227; and 47 C.F.R. § 64.1200 of the Commission’s rules, and the Do-Not-
  Call Implementation Act, Pub. L. No. 108-10, 117 Stat. 557, the Report and Order in CG Docket
  No. 02-278 IS ADOPTED, and Parts 64 and 68 of the Commission’s rules, 47 C.F.R. Parts
  64.1200, 64.1601, and 68.318, are amended as set forth in Appendix A. The requirements of this
  Report and Order shall become effective 30 days after publication of a summary thereof in the
  Federal Register, with the following exceptions. As discussed herein, the national do-not-call
  rules at 47 C.F.R. § 64.1200(c)(2) will go into effect on October 1, 2003; the call abandonment

  791
        See Do-Not-Call Act, Sec. 4.
  792
        See 5 U.S.C. § 604.


                                                     128


                                                                                               PA - 00374
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 377 of 437 Page ID
                                   #:533
                               Federal Communications Commission                      FCC 03-153


  rules at 47 C.F.R. §§ 64.1200(a)(5) and (6) will become effective on October 1, 2003; and the
  caller ID requirements at 47 C.F.R. § 64.1601(e) will go into effect on January 29, 2004. The
  amendments to the rules in § 64.1200 that contain information collection requirements under the
  PRA are not effective until approved by OMB. The Commission will publish a document in the
  Federal Register announcing the effective date of these rules.

          223. IT IS FURTHER ORDERED that the comments addressing the applicability of
  the informal complaint rules to telemarketers ARE INCORPORATED into CI Docket 02-32.

          224. IT IS FURTHER ORDERED that the Commission’s Consumer & Governmental
  Affairs Bureau shall have authority to issue any reports to Congress as required by the Do-Not-
  Call Implementation Act.

          225. IT IS FURTHER ORDERED that the Commission’s Consumer & Governmental
  Affairs Bureau, Reference Information Center, SHALL SEND a copy of this Report and Order,
  including the Final Regulatory Flexibility Analysis, to the Chief Counsel for Advocacy of the
  Small Business Administration.

                                       FEDERAL COMMUNICATIONS COMMISSION



                                       Marlene H. Dortch
                                       Secretary




                                                129


                                                                                           PA - 00375
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 378 of 437 Page ID
                                   #:534
                                 Federal Communications Commission                          FCC 03-153


                                               Appendix A

                                               Final Rules

  Part 64 of the Code of Federal Regulations is amended as follows:

  PART 64 – MISCELLANEOUS RULES RELATING TO COMMON CARRIERS

  1. Authority: 47 U.S.C. § 227.

  *****
  2. Subpart L is amended by revising the Subpart Heading to read as follows:

         Subpart L – Restrictions on Telemarketing and Telephone Solicitation

  *****
  3. Section 64.1200 is revised to read as follows:

  § 64.1200      Delivery restrictions.

  (a) No person or entity may:

  (1) Initiate any telephone call (other than a call made for emergency purposes or made with the
  prior express consent of the called party) using an automatic telephone dialing system or an
  artificial or prerecorded voice,

  (i) To any emergency telephone line, including any 911 line and any emergency line of a
  hospital, medical physician or service office, health care facility, poison control center, or fire
  protection or law enforcement agency;

  (ii) To the telephone line of any guest room or patient room of a hospital, health care facility,
  elderly home, or similar establishment; or

  (iii) To any telephone number assigned to a paging service, cellular telephone service,
  specialized mobile radio service, or other radio common carrier service, or any service for which
  the called party is charged for the call;

  (2) Initiate any telephone call to any residential line using an artificial or prerecorded voice to
  deliver a message without the prior express consent of the called party, unless the call:

  (i) Is made for emergency purposes,

  (ii) Is not made for a commercial purpose,

  (iii) Is made for a commercial purpose but does not include or introduce an unsolicited
  advertisement or constitute a telephone solicitation,

                                                   130


                                                                                                 PA - 00376
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 379 of 437 Page ID
                                   #:535
                                 Federal Communications Commission                         FCC 03-153


  (iv) Is made to any person with whom the caller has an established business relationship at the
  time the call is made, or

  (v) Is made by or on behalf of a tax-exempt nonprofit organization.

  (3) Use a telephone facsimile machine, computer, or other device to send an unsolicited
  advertisement to a telephone facsimile machine.

  (i) For purposes of paragraph (a)(3) of this section, a facsimile advertisement is not “unsolicited”
  if the recipient has granted the sender prior express invitation or permission to deliver the
  advertisement, as evidenced by a signed, written statement that includes the facsimile number to
  which any advertisements may be sent and clearly indicates the recipient’s consent to receive
  such facsimile advertisements from the sender.

  (ii) A facsimile broadcaster will be liable for violations of paragraph (a)(3) of this section if it
  demonstrates a high degree of involvement in, or actual notice of, the unlawful activity and fails
  to take steps to prevent such facsimile transmissions.

  (4) Use an automatic telephone dialing system in such a way that two or more telephone lines of
  a multi-line business are engaged simultaneously.

  (5) Disconnect an unanswered telemarketing call prior to at least 15 seconds or four (4) rings.

  (6) Abandon more than three percent of all telemarketing calls that are answered live by a
  person, measured over a 30-day period. A call is “abandoned” if it is not connected to a live
  sales representative within two (2) seconds of the called person’s completed greeting. Whenever
  a sales representative is not available to speak with the person answering the call, that person
  must receive, within two (2) seconds after the called person’s completed greeting, a prerecorded
  identification message that states only the name and telephone number of the business, entity, or
  individual on whose behalf the call was placed, and that the call was for “telemarketing
  purposes.” The telephone number so provided must permit any individual to make a do-not-call
  request during regular business hours for the duration of the telemarketing campaign. The
  telephone number may not be a 900 number or any other number for which charges exceed local
  or long distance transmission charges. The seller or telemarketer must maintain records
  establishing compliance with paragraph (a)(6) of this section.

  (i) A call for telemarketing purposes that delivers an artificial or prerecorded voice message to a
  residential telephone line that is assigned to a person who either has granted prior express
  consent for the call to be made or has an established business relationship with the caller shall
  not be considered an abandoned call if the message begins within two (2) seconds of the called
  person’s completed greeting.

  (ii) Calls made by or on behalf of tax-exempt nonprofit organizations are not covered by
  paragraph (a)(6) of this section.

  (7) Use any technology to dial any telephone number for the purpose of determining whether the
  line is a facsimile or voice line.
                                                131


                                                                                               PA - 00377
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 380 of 437 Page ID
                                   #:536
                                  Federal Communications Commission                           FCC 03-153



  (b) All artificial or prerecorded telephone messages shall:

  (1) At the beginning of the message, state clearly the identity of the business, individual, or other
  entity that is responsible for initiating the call. If a business is responsible for initiating the call,
  the name under which the entity is registered to conduct business with the State Corporation
  Commission (or comparable regulatory authority) must be stated, and

  (2) During or after the message, state clearly the telephone number (other than that of the
  autodialer or prerecorded message player that placed the call) of such business, other entity, or
  individual. The telephone number provided may not be a 900 number or any other number for
  which charges exceed local or long distance transmission charges. For telemarketing messages
  to residential telephone subscribers, such telephone number must permit any individual to make
  a do-not-call request during regular business hours for the duration of the telemarketing
  campaign.

  (c) No person or entity shall initiate any telephone solicitation, as defined in paragraph (f)(9) of
  this section, to:

  (1) Any residential telephone subscriber before the hour of 8 a.m. or after 9 p.m. (local time at
  the called party’s location), or

  (2) A residential telephone subscriber who has registered his or her telephone number on the
  national do-not-call registry of persons who do not wish to receive telephone solicitations that is
  maintained by the federal government. Such do-not-call registrations must be honored for a
  period of 5 years. Any person or entity making telephone solicitations (or on whose behalf
  telephone solicitations are made) will not be liable for violating this requirement if:

  (i) it can demonstrate that the violation is the result of error and that as part of its routine
  business practice, it meets the following standards:

  (A) Written procedures. It has established and implemented written procedures to comply with
  the national do-not-call rules;
  (B) Training of personnel. It has trained its personnel, and any entity assisting in its
  compliance, in procedures established pursuant to the national do-not-call rules;
  (C) Recording. It has maintained and recorded a list of telephone numbers that the seller may
  not contact;
  (D) Accessing the national do-not-call database. It uses a process to prevent telephone
  solicitations to any telephone number on any list established pursuant to the do-not-call rules,
  employing a version of the national do-not-call registry obtained from the administrator of the
  registry no more than three months prior to the date any call is made, and maintains records
  documenting this process; and
  (E) Purchasing the national do-not-call database. It uses a process to ensure that it does not sell,
  rent, lease, purchase or use the national do-not-call database, or any part thereof, for any purpose
  except compliance with this section and any such state or federal law to prevent telephone
  solicitations to telephone numbers registered on the national database. It purchases access to the
  relevant do-not-call data from the administrator of the national database and does not participate
                                                  132


                                                                                                     PA - 00378
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 381 of 437 Page ID
                                   #:537
                                 Federal Communications Commission                         FCC 03-153


  in any arrangement to share the cost of accessing the national database, including any
  arrangement with telemarketers who may not divide the costs to access the national database
  among various client sellers; or

  (ii) It has obtained the subscriber’s prior express invitation or permission. Such permission must
  be evidenced by a signed, written agreement between the consumer and seller which states that
  the consumer agrees to be contacted by this seller and includes the telephone number to which
  the calls may be placed; or

  (iii) The telemarketer making the call has a personal relationship with the recipient of the call.

  (d) No person or entity shall initiate any call for telemarketing purposes to a residential
  telephone subscriber unless such person or entity has instituted procedures for maintaining a list
  of persons who request not to receive telemarketing calls made by or on behalf of that person or
  entity. The procedures instituted must meet the following minimum standards:

  (1) Written policy. Persons or entities making calls for telemarketing purposes must have a
  written policy, available upon demand, for maintaining a do-not-call list.

  (2) Training of personnel engaged in telemarketing. Personnel engaged in any aspect of
  telemarketing must be informed and trained in the existence and use of the do-not-call list.

  (3) Recording, disclosure of do-not-call requests. If a person or entity making a call for
  telemarketing purposes (or on whose behalf such a call is made) receives a request from a
  residential telephone subscriber not to receive calls from that person or entity, the person or
  entity must record the request and place the subscriber’s name, if provided, and telephone
  number on the do-not-call list at the time the request is made. Persons or entities making calls
  for telemarketing purposes (or on whose behalf such calls are made) must honor a residential
  subscriber’s do-not-call request within a reasonable time from the date such request is made.
  This period may not exceed thirty days from the date of such request. If such requests are
  recorded or maintained by a party other than the person or entity on whose behalf the
  telemarketing call is made, the person or entity on whose behalf the telemarketing call is made
  will be liable for any failures to honor the do-not-call request. A person or entity making a call
  for telemarketing purposes must obtain a consumer’s prior express permission to share or
  forward the consumer’s request not to be called to a party other than the person or entity on
  whose behalf a telemarketing call is made or an affiliated entity.

  (4) Identification of sellers and telemarketers. A person or entity making a call for telemarketing
  purposes must provide the called party with the name of the individual caller, the name of the
  person or entity on whose behalf the call is being made, and a telephone number or address at
  which the person or entity may be contacted. The telephone number provided may not be a 900
  number or any other number for which charges exceed local or long distance transmission
  charges.

  (5) Affiliated persons or entities. In the absence of a specific request by the subscriber to the
  contrary, a residential subscriber’s do-not-call request shall apply to the particular business
  entity making the call (or on whose behalf a call is made), and will not apply to affiliated entities
                                                   133


                                                                                                PA - 00379
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 382 of 437 Page ID
                                   #:538
                                 Federal Communications Commission                          FCC 03-153


  unless the consumer reasonably would expect them to be included given the identification of the
  caller and the product being advertised.

  (6) Maintenance of do-not-call lists. A person or entity making calls for telemarketing purposes
  must maintain a record of a caller’s request not to receive further telemarketing calls. A do-not-
  call request must be honored for 5 years from the time the request is made.

  (7) Tax-exempt nonprofit organizations are not required to comply with 64.1200(d).

  (e) The rules set forth in sections 64.1200(c) and 64.1200(d) are applicable to any person or
  entity making telephone solicitations or telemarketing calls to wireless telephone numbers to the
  extent described in the Commission’s Report and Order, CG Docket No. 02-278, FCC 03-153,
  “Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991.”

  (f) As used in this section:

  (1) The terms automatic telephone dialing system and autodialer mean equipment which has the
  capacity to store or produce telephone numbers to be called using a random or sequential number
  generator and to dial such numbers.

  (2) The term emergency purposes means calls made necessary in any situation affecting the
  health and safety of consumers.

  (3) The term established business relationship means a prior or existing relationship formed by a
  voluntary two-way communication between a person or entity and a residential subscriber with
  or without an exchange of consideration, on the basis of the subscriber’s purchase or transaction
  with the entity within the eighteen (18) months immediately preceding the date of the telephone
  call or on the basis of the subscriber’s inquiry or application regarding products or services
  offered by the entity within the three months immediately preceding the date of the call, which
  relationship has not been previously terminated by either party.

  (i) The subscriber’s seller-specific do-not-call request, as set forth in paragraph (d)(3) of this
  section, terminates an established business relationship for purposes of telemarketing and
  telephone solicitation even if the subscriber continues to do business with the seller.

  (ii) The subscriber’s established business relationship with a particular business entity does not
  extend to affiliated entities unless the subscriber would reasonably expect them to be included
  given the nature and type of goods or services offered by the affiliate and the identity of the
  affiliate.

  (4) The term facsimile broadcaster means a person or entity that transmits messages to telephone
  facsimile machines on behalf of another person or entity for a fee.

  (5) The term seller means the person or entity on whose behalf a telephone call or message is
  initiated for the purpose of encouraging the purchase or rental of, or investment in, property,
  goods, or services, which is transmitted to any person.

                                                   134


                                                                                                PA - 00380
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 383 of 437 Page ID
                                   #:539
                                Federal Communications Commission                         FCC 03-153


  (6) The term telemarketer means the person or entity that initiates a telephone call or message
  for the purpose of encouraging the purchase or rental of, or investment in, property, goods, or
  services, which is transmitted to any person.

  (7) The term telemarketing means the initiation of a telephone call or message for the purpose of
  encouraging the purchase or rental of, or investment in, property, goods, or services, which is
  transmitted to any person.

  (8) The term telephone facsimile machine means equipment which has the capacity to transcribe
  text or images, or both, from paper into an electronic signal and to transmit that signal over a
  regular telephone line, or to transcribe text or images (or both) from an electronic signal received
  over a regular telephone line onto paper.

  (9) The term telephone solicitation means the initiation of a telephone call or message for the
  purpose of encouraging the purchase or rental of, or investment in, property, goods, or services,
  which is transmitted to any person, but such term does not include a call or message:

  (i) To any person with that person’s prior express invitation or permission.

  (ii) To any person with whom the caller has an established business relationship; or

  (iii) By or on behalf of a tax-exempt nonprofit organization.

  (10) The term unsolicited advertisement means any material advertising the commercial
  availability or quality of any property, goods, or services which is transmitted to any person
  without that person’s prior express invitation or permission.

  (11) The term personal relationship means any family member, friend, or acquaintance of the
  telemarketer making the call.

  (g) Beginning January 1, 2004, common carriers shall:

  (1) When providing local exchange service, provide an annual notice, via an insert in the
  subscriber’s bill, of the right to give or revoke a notification of an objection to receiving
  telephone solicitations pursuant to the national do-not-call database maintained by the federal
  government and the methods by which such rights may be exercised by the subscriber. The
  notice must be clear and conspicuous and include, at a minimum, the Internet address and toll-
  free number that residential telephone subscribers may use to register on the national database.

  (2) When providing service to any person or entity for the purpose of making telephone
  solicitations, make a one-time notification to such person or entity of the national do-not-call
  requirements, including, at a minimum, citation to 47 C.F.R. § 64.1200 and 16 C.F.R. Part 310.
  Failure to receive such notification will not serve as a defense to any person or entity making
  telephone solicitations from violations of this section.

  (h) The administrator of the national do-not-call registry that is maintained by the federal
  government shall make the telephone numbers in the database available to the States so that a
                                                 135


                                                                                              PA - 00381
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 384 of 437 Page ID
                                   #:540
                                Federal Communications Commission                        FCC 03-153


  State may use the telephone numbers that relate to such State as part of any database, list or
  listing system maintained by such State for the regulation of telephone solicitations.



  § 64.1601      Delivery requirements and privacy restrictions.

  4. Section 64.1601 is amended by adding paragraph (e) to read as follows:

  *****
  (e) Any person or entity that engages in telemarketing, as defined in section 64.1200(f)(7) must
  transmit caller identification information.

  (i) For purposes of this paragraph, caller identification information must include either CPN or
  ANI, and, when available by the telemarketer’s carrier, the name of the telemarketer. It shall not
  be a violation of this paragraph to substitute (for the name and phone number used in, or billed
  for, making the call) the name of the seller on behalf of which the telemarketing call is placed
  and the seller’s customer service telephone number. The telephone number so provided must
  permit any individual to make a do-not-call request during regular business hours.

  (ii) Any person or entity that engages in telemarketing is prohibited from blocking the
  transmission of caller identification information.

  (iii) Tax-exempt nonprofit organizations are not required to comply with this paragraph.


  § 68.318       Additional limitations.

  5. Section 68.318 is amended by revising (d) to read as follows:

  *****
  (d) Telephone facsimile machines; Identification of the sender of the message. It shall be
  unlawful for person within the United States to use a computer or other electronic device to send
  any message via a telephone facsimile machine unless such person clearly marks, in a margin at
  the top or bottom of each transmitted page of the message or on the first page of the
  transmission, the date and time it is sent and an identification of the business, other entity, or
  individual sending the message and the telephone number of the sending machine or of such
  business, other entity, or individual. If a facsimile broadcaster demonstrates a high degree of
  involvement in the sender’s facsimile messages, such as supplying the numbers to which a
  message is sent, that broadcaster’s name, under which it is registered to conduct business with
  the State Corporation Commission (or comparable regulatory authority), must be identified on
  the facsimile, along with the sender’s name. Telephone facsimile machines manufactured on and
  after December 20, 1992, must clearly mark such identifying information on each transmitted
  page.

  *****

                                                  136


                                                                                              PA - 00382
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 385 of 437 Page ID
                                   #:541
                                       Federal Communications Commission                             FCC 03-153


                                                      Appendix B

                              FINAL REGULATORY FLEXIBILITY ANALYSIS

              1. As required by the Regulatory Flexibility Act of 1980, as amended (RFA),793 an
  Initial Regulatory Flexibility Analysis (IRFA) was incorporated in the Notice of Proposed
  Rulemaking and Memorandum Opinion and Order794 (2002 Notice) released by the Federal
  Communications Commission (Commission) on September 18, 2002. The Commission sought
  written public comments on the proposals contained in the 2002 Notice, including comments on
  the IRFA. On March 25, 2003, the Commission released a Further Notice of Proposed
  Rulemaking (Further Notice), seeking comments on the requirements contained in the Do-Not-
  Call Implementation Act (Do-Not-Call Act),795 which was signed into law on March 11, 2003.796
   None of the comments filed in this proceeding were specifically identified as comments
  addressing the IRFA; however, comments that address the impact of the proposed rules and
  policies on small entities are discussed below. This present Final Regulatory Flexibility
  Analysis (FRFA) conforms to the RFA.797

         A.           Need for, and Objectives of, the Order

          2.     Since 1992, when the Commission adopted rules pursuant to the Telephone
  Consumer Protection Act (TCPA),798 telemarketing practices have changed significantly. New
  technologies have emerged that allow telemarketers to better target potential customers and
  make marketing using telephones and facsimile machines more cost-effective. At the same time,
  these new telemarketing techniques have heightened public concern about the effect
  telemarketing has on consumer privacy. A growing number of states have passed, or are
  considering, legislation to establish statewide do-not-call lists, and the Federal Trade
  Commission (FTC) has decided to establish a national do-not-call registry.799 Congress provided
  in the TCPA that “individuals’ privacy rights, public safety interests, and commercial freedoms

  793
     See 5 U.S.C. § 603. The RFA, see 5 U.S.C. §§ 601-612, has been amended by the Small Business Regulatory
  Enforcement Fairness Act of 1996 (SBREFA), Pub. L. No. 104-121, Title II, 110 Stat. 857 (1996).
  794
     Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice of Proposed
  Rulemaking (NPRM) and Memorandum Opinion and Order (MO&O), 17 FCC Rcd 17459, CG Docket No. 02-
  278 and CC Docket No. 92-90. In the MO&O, the Commission closed and terminated CC Docket No. 92-90 and
  opened a new docket to address the issues raised in this proceeding.
  795
     Do-Not-Call Implementation Act, Pub. L. No. 108-10, 117 Stat. 557 (2003), to be codified at 15 U.S.C. §
  1601.
  796
     Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
  Further Notice of Proposed Rulemaking, 68 Fed. Reg. 16250 (March 25, 2003).
  797
        See 5 U.S.C. § 604.
  798
     Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394 (1991), codified at 47
  U.S.C. § 227. The TCPA amended Title II of the Communications Act of 1934, 47 U.S.C. §§ 201 et seq.
  799
        See Telemarketing Sales Rule, 68 Fed. Reg. 4580 (Jan. 29, 2003).


                                                           137


                                                                                                           PA - 00383
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 386 of 437 Page ID
                                   #:542
                                       Federal Communications Commission                 FCC 03-153


  of speech and trade must be balanced in a way that protects the privacy of individuals and
  permits legitimate telemarketing practices.”800

             3.  The 2002 Notice sought comments on whether to revise or clarify Commission
  rules governing unwanted telephone solicitations, the use of automatic telephone dialing
  systems, prerecorded or artificial voice messages, telephone facsimile machines, the
  effectiveness of company-specific do-not-call lists, and the appropriateness of establishing a
  national do-not-call list. In addition, in the IRFA, the Commission sought comments on the
  effect the proposed policies and rules would have on small business entities.801

           4.      In this Report and Order (Order) the Commission revises the current TCPA rules
  and adopts new rules to provide consumers with additional options for avoiding unwanted
  telephone solicitations. We establish a national do-not-call registry for consumers who wish to
  avoid most unwanted telemarketing calls. This national do-not-call registry will supplement the
  current company-specific do-not-call rules, which will continue to permit consumers to request
  that particular companies not call them. The Commission also adopts a new provision to permit
  consumers registered with the national do-not-call list to provide permission to call to specific
  companies by an express written agreement. The TCPA rules exempt from the “do-not-call”
  requirements nonprofit organizations and companies with whom consumers have an established
  business relationship. The definition of “established business relationship” has been amended so
  that it is limited to 18 months from any purchase or financial transaction with the company and
  to three months from any inquiry or application from the consumer. Any company that is asked
  by a consumer, including an existing customer, not to call again must honor that request for five
  years. We retain the current calling time restrictions of 8:00 a.m. until 9:00 p.m.

             5.   To address the use of predictive dialers, we have determined that a telemarketer
  must abandon no more than three percent of calls answered by a person, must deliver a
  prerecorded identification message when abandoning a call, and must allow the telephone to ring
  for 15 seconds or four rings before disconnecting an unanswered call. The new rules also
  require all companies conducting telemarketing to transmit caller identification information
  when available, and they prohibit companies from blocking such information. The Commission
  has revised its earlier determination that an established business relationship constitutes express
  invitation or permission to receive an unsolicited facsimile advertisement. We find that the
  permission to send fax ads must be in writing, include the recipient’s signature, and clearly
  indicate the recipient’s consent to receive such ads. In addition, we have clarified when fax
  broadcasters are liable for the transmission of unlawful fax advertisements.

         6.      We believe the rules the Commission adopts in the Order strike an appropriate
  balance between maximizing consumer privacy protections and avoiding imposing undue
  burdens on telemarketers. In addition, the Commission must comply with the Do-Not-Call Act,
  which requires the Commission to file an annual report to the House Committee on Energy and
  Commerce and the Senate Committee on Commerce, Science and Transportation. This report is

  800
        See TCPA, Section 2(9), reprinted in 7 FCC Rcd 2736 at 2744.
  801
        2002 Notice, 17 FCC Rcd at 17497-501, paras. 70-80.


                                                          138


                                                                                               PA - 00384
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 387 of 437 Page ID
                                   #:543
                                          Federal Communications Commission                   FCC 03-153


  to include: (1) an analysis of the effectiveness of the registry; (2) the number of consumers
  included on the registry; (3) the number of persons accessing the registry and the fees collected
  for such access; (4) a description of coordination with state do-not-call registries; and, lastly, (5)
  a description of coordination of the registry with the Commission’s enforcement efforts.802

         B.            Summary of Significant Issues Raised by Public Comments in Response to
                       the IRFA

          7.      There were no comments filed in direct response to the IRFA. Some commenters,
  however, raised issues and questions about the impact the proposed rules and policies would
  have on small entities. Telemarketers maintained that “telemarketing is used to introduce
  consumers to novel and competitive products and services,”803 often offered by small
  businesses.804 Some commenters insisted that business-to-business telemarketing is essential for
  small businesses.805 They indicated that they rely on fax broadcasting as a cost-effective form of
  advertising.806 On the other hand, other small businesses have requested that the Commission
  allow their telephone numbers to be included on any national do-not-call list807 and urged the
  Commission to adopt rules protecting them from unsolicited faxes.808 The rules adopted herein
  reflect not only the difficult balancing of individuals’ privacy rights against the protections
  afforded commercial speech, but the difficult balancing of the interests of small businesses that
  rely on telemarketing against those that are harmed by unwanted telephone calls and facsimile
  transmissions. The amended rules should reduce burdens on both consumers and businesses,
  including small businesses.

              8.  National Do-Not-Call List. As discussed more extensively in the Order,809 some
  commenters opposed the adoption of a national do-not-call registry, stating that company-
  specific do-not-call lists adequately protect consumer privacy.810 Other commenters supported
  the establishment of a national do-not-call registry, arguing that “further regulation is needed
  because the current system does little or nothing to protect privacy in the home.”811 NFIB
  “believes that significant burdens are being placed upon businesses of all sizes in order to

  802
        See Do-Not-Call Act, Sec. 4(b).
  803
        WorldCom Reply Comments at 2.
  804
        NEMA Comments at 8; PLP Comments at 1.
  805
        See e.g., Yellow Pages Comments at 2.
  806
        NADA Comments at 2-3.
  807
        John Shaw Reply Comments at 10; Mathemaesthetics Comments at 6; Gail Berk Comments.
  808
        John Holcomb Comments at 1; Jim Carter Comments.
  809
        Order, paras. 21, 88.
  810
        See e.g., MBNA Comments at 4.
  811
        See e.g., Privacy Rights at 2.


                                                        139


                                                                                                 PA - 00385
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 388 of 437 Page ID
                                   #:544
                                        Federal Communications Commission                             FCC 03-153


  comply with the regulations. . ., but that small businesses bear the brunt of those burdens.”812
  NFIB suggested that women, minorities and small businesses will be affected disproportionately
  by any new restrictions.813 And, some commenters maintained that businesses, including small
  businesses, will suffer a reduction in telemarketing sales as a result of the establishment of a
  national do-not-call list.814 SBSC, while opposed to a national do-not-call list, nevertheless
  offered a recommendation that would make such a list less onerous for small businesses. SBSC
  suggested exempting local calls that might result in a face-to-face transaction from the do-not-
  call list requirements.815 NAIFA also encouraged exempting calls which result in face-to-face
  meetings and recommended an exemption for those businesses that make a de minimus number
  of calls.816

             9.   The Commission received comments arguing that a national do-not-call list
  “would be cumbersome”817 and too expensive for small businesses to use.818 DSA specifically
  indicated that a national do-not-call list would increase businesses’ start-up costs if they were
  required to purchase the list.819 In addition, MBA maintained that many small lenders use
  referrals from existing customers, not large lists, to attract new business. Such referrals, MBA
  suggested, will be difficult to scrub against a national do-not-call list.820 Some commenters
  suggested that an option to help reduce the cost of a national do-not-call list for small businesses
  would be to offer smaller pieces of the list to small businesses.821

          10.     Yellow Pages urged the Commission to continue to exempt business-to-business
  calls from a national do-not-call list, because small businesses benefit tremendously by
  advertising in yellow pages and on-line.822 However, other commenters requested that small
  businesses be allowed to include their telephone numbers on the national do-not-call list.823 One

  812
        NFIB Comments at 1. See also, PLP Comments at 4; NEMA Comments at 8.
  813
        MBNA Comments at 3; MBNA Reply at 7.
  814
        MBNA Comments at 3.
  815
        SBSC Comments at 2-3. See also, PLP Comments at 4-5; MBA Reply at 5-6; Farmers Comments at 1.
  816
        NAIFA Comments at 3-4. See also, DSA Comments at 6-7 and Vector Comments at 8-10.
  817
        NAMB Comments at 2; NRF Comments at 9-10.
  818
        MBA Comments at 3.
  819
        DSA Comments at 4-5. See also, NAA Comments at 10-11.
  820
     MBA Comments at 3. See also, MPA Comments at 10-11 (“small businesses will be daunted by or unable to
  afford the computer processing time and expense involved in ‘scrubbing’ their relatively small marketing lists
  against a [national list]”); see also NRF Comments at 9.
  821
        Strang Reply Comments at 12. See also Joe W. McDaniel-First Dec 4, 2002 Comments.
  822
        Yellow Pages Comments at 2-4.
  823
        Mathemaesthetics Comments at 6.


                                                        140


                                                                                                           PA - 00386
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 389 of 437 Page ID
                                   #:545
                                      Federal Communications Commission                   FCC 03-153


  small business commenter stated that “. . . telemarketing . . . interferes with business operations,
  especially small business operations . . . .”824 Another commenter argued that “people that work
  from home . . . should not have to be bothered with telemarketing calls that would impact their
  job performance and potentially their ability to make a living.”825 Finally, some have assured the
  Commission that a national do-not-call list would be manageable and feasible to maintain.826
  NCS, for example, maintained that even extremely small telemarketers could gain access to the
  do-not-call list at a reasonable cost using the Internet.827

         11.     Website or Toll-Free Number to Access Company-Specific Lists and to Confirm
  Requests. The Commission sought comment on whether to consider any modifications that
  would allow consumers greater flexibility to register on company-specific do-not-call lists.828
  We specifically asked whether companies should be required to provide a toll-free number
  and/or website that consumers can access to register their names on do-not-call lists.829 Some
  commenters argued that it would be costly if small, local businesses were required to design and
  maintain websites or provide toll-free numbers for consumers to make do-not-call requests.830 In
  addition, they maintained that businesses should not be required to confirm registration of a
  consumer’s name on a company’s do-not-call list.831 Confirmations by mail, they stated, would
  be expensive for a business and probably perceived by the consumer as “junk mail.”832

             12. Established Business Relationship. One issue raised by commenters as
  particularly burdensome for small business was monitoring existing business relationships and
  do-not-call requests. NFIB stated that members have found requests by existing customers to
  cease contacting them “unwieldy and difficult . . . to translate as a business practice.”833 “An
  individual who continues to interact with a [sic] these small businesses following a ‘do not
  contact’ request does not sever the business relationship de facto. . .” 834 According to NFIB, it
  should be the right of the business to continue to call that customer. They argued that it should
  be the responsibility of the customer to terminate the relationship with that business

  824
        Mathemaesthetics Comments at 6.
  825
        David T. Piekarski Comments (Docket No. 03-62) at 1-2.
  826
        NCS Comments at 4-5. See also, Mathemaesthetics Comments at 7-8.
  827
        NCS Comments at 5.
  828
        2002 Notice, 17 FCC Rcd at 17470-71, para. 17.
  829
        2002 Notice, 17 FCC Rcd at 17470-71, para. 17.
  830
        MBA Comments at 6.
  831
        MBA Comments at 6-7.
  832
        MBA Comments at 6-7.
  833
        NFIB Comments at 2.
  834
        NFIB Comments at 2.


                                                         141


                                                                                               PA - 00387
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 390 of 437 Page ID
                                   #:546
                                       Federal Communications Commission                       FCC 03-153


  affirmatively.835

          13.     NADA indicated that there has been no significant change that would warrant a
  revision of the established business relationship exemption.836 In fact, NADA stated that
  “narrowing the exemption would unnecessarily deprive small businesses of a cost-effective
  marketing opportunity.”837 According to NADA, small businesses must maximize their
  marketing resources and the best way to do so is to direct their marketing efforts toward their
  existing customers.838

             14.  While no commenter specifically addressed the effect of time limits on small
  businesses, several entities discussed time limits for the established business relationship rule in
  general.839 DMA indicated the difficulty in establishing a “clock” that “will apply across all the
  industries that use the phone to relate to their customers.”840 DMA continued by stating
  “[d]ifferent business models require different periods of time.”841 This concept was supported by
  Nextel, “the FTC’s eighteen-month limit on its EBR rule would be inappropriate for the
  telecommunications industry” and would “dramatically increase administrative burdens and
  costs for all businesses as they would be forced to monitor and record every customer inquiry
  and purchasing pattern to ensure compliance with the FCC’s rules.”842

             15. Unsolicited Facsimile Advertising and “War Dialing”. Privacy Rights
  commented that the practice of dialing large blocks of numbers to identify facsimile lines, i.e.,
  “war dialing,” should be prohibited, especially because such calls cannot be characterized as
  telemarketing.843 It argued that “this practice is particularly troubling for small business owners
  who often work out of home offices” because it deprives the small business owner of the use of
  the equipment, creates an annoyance and interrupts business calls.844

             16. NFIB advocated on behalf of its small business members that “the ability to fax
  information to their established customers is an essential commercial tool.”845 Any customer
  835
        NFIB Comments at 2.
  836
        NADA Comments at 2.
  837
        NADA Comments at 2.
  838
        NADA Comments at 2.
  839
        See, e.g., NASUCA Comments at 17-18; DMA Comments at 20-21; Nextel Reply Comments at 11-13.
  840
        DMA Comments at 20.
  841
        DMA Comments at 20.
  842
        Nextel Reply Comments 12-13.
  843
        Privacy Rights Comments at 4-5.
  844
        Privacy Rights Comments at 4-5.
  845
        NFIB Comments at 3-4. See also, NADA Comments at 2-3.


                                                      142


                                                                                                      PA - 00388
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 391 of 437 Page ID
                                   #:547
                                       Federal Communications Commission                                FCC 03-153


  who provides contact information when patronizing a business is providing express permission
  to be contacted by that business, including via facsimile advertising.846 In addition, NFIB
  indicated that businesses engaged in facsimile advertising should not be required to identify
  themselves, and that customers should be required to notify the business that they do not wish to
  receive such faxes.847 NADA agreed that the Commission should “preserve its determination
  that a prior business relationship between a fax sender and recipient establishes the requisite
  consent to receive fax advertisements.”848 According to NADA, changing these rules would
  deprive small businesses of a marketing tool upon which they have come to rely.849

             17.  Other commenters disagreed, explaining that numerous small businesses are
  burdened by the intrusion of ringing telephones and fax machines,850 the receipt of
  advertisements in which they are not interested,851 the depletion of toner and paper,852 and the
  time spent dealing with these unwanted faxes.853 A few home-based businesses and other
  companies maintain that facsimile advertisements interfere with the receipt of faxes connected to
  their own business, and that the time spent collecting and sorting these faxes increases their labor
  costs.854 In fact, NFIB has received complaints from its own members “who . . . failed to realize
  that their membership entitles them to the receipt of such information via fax.”855

          18.     Caller ID Requirements. In response to the Commission’s proposal to require
  telemarketers to transmit caller ID or prohibit the blocking of such information, NYSCPB
  favored prohibiting the intentional blocking of caller ID information, but acknowledged that
  requiring the transmission of caller ID may be inappropriate for smaller firms.856 NYSCPB
  846
        NFIB Comments at 3-4.
  847
        NFIB Comments at 3-4. But see, Mathemaesthetics Comments at 2-5.
  848
        NADA Comments at 2.
  849
        NADA Comments at 2.
  850
        Mathemaesthetics Comments at 2.
  851
        Jeff Bryson Comments; Carolyn Capps Comments at 2.
  852
        Michael C. Addison Comments.
  853
        John Holcomb Comments at 1.
  854
      Jim Carter Comments; JC Homola Comments; Autoflex Comments at 1-2; Rob McNeal Comments
  (unsolicited faxes costs company tens of thousands of dollars each year in materials and employee time); see also
  NCL Comments at 6 (“[P]eople who work out of their homes are especially harmed by unsolicited faxes, which
  use up their paper and toner and tie up their machines.”); Mathemaesthetics Reply Comments at 7 (“[U]nsolicited
  [fax] ads caused my business fax machine to become prematurely empty, which rendered wholly useless the
  equipment my small business crucially depends on for its revenue. When a customer of mine a short time later
  attempted to fax a purchase order for over $3,000 worth of my company’s product, my empty fax machine was
  not able to capture this transaction for a significant period of time … .” (emphasis in original)).
  855
        NFIB Comments at 2 (emphasis added).
  856
        NYSCPB-Other Than National DNC List Comments at 9-10.


                                                         143


                                                                                                             PA - 00389
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 392 of 437 Page ID
                                   #:548
                                      Federal Communications Commission                                 FCC 03-153


  stated that “[w]hile mandatory transmission of caller ID information would undoubtedly
  facilitate do-not-call enforcement . . . we would not want to impose onerous burdens on smaller,
  less technically sophisticated firms . . . .”857 In addition, NYSCPB suggested that smaller
  businesses that lack the capability to transmit caller ID be exempt from providing caller ID
  information until the business installs new equipment with caller ID capabilities.858

         C.           Description and Estimate of the Number of Small Entities to Which the
                      Rules Will Apply

              19.The RFA directs agencies to provide a description of, and where feasible, an
  estimate of the number of small entities that may be affected by the rules adopted herein.859 The
  RFA generally defines the term “small entity” as having the same meaning as the terms “small
  business,” “small organization,” and “small governmental jurisdiction.”860 In addition, the term
  “small business” has the same meaning as the term “small business concern” under the Small
  Business Act.861 Under the Small Business Act, a “small business concern” is one that: 1) is
  independently owned and operated; 2) is not dominant in its field of operation; and 3) satisfies
  any additional criteria established by the Small Business Administration (SBA).862

           20.     The Commission’s rules on telephone solicitation and the use of autodialers,
  artificial or prerecorded messages and telephone facsimile machines apply to a wide range of
  entities, including all entities that use the telephone or facsimile machine to advertise.863 That is,
  our action affects the myriad of businesses throughout the nation that use telemarketing to
  advertise. For instance, funeral homes, mortgage brokers, automobile dealers, newspapers and
  telecommunications companies could all be affected. Thus, we expect that the rules adopted in
  this proceeding could have a significant economic impact on a substantial number of small
  entities.

          21.    Nationwide, there are a total of 22.4 million small businesses, according to SBA
  data.864 And, as of 1992, nationwide there were approximately 275,801 small organizations [not-

  857
        NYSCPB-Other Than National DNC List Comments at 9.
  858
        NYSCPB-Other Than National DNC List Comments at 10.
  859
        5 U.S.C. § 604(a)(3).
  860
        5 U.S.C. § 601(6).
  861
      5 U.S.C. § 601(3) (incorporating by reference the definition of “small-business concern” in the Small Business
  Act, 15 U.S.C. § 632). Pursuant to 5 U.S.C. § 601(3), the statutory definition of a small business applies “unless
  an agency, after consultation with the Office of Advocacy of the Small Business Administration and after
  opportunity for public comments, establishes one or more definitions of such term which are appropriate to the
  activities of the agency and publishes such definition(s) in the Federal Register.”
  862
        15 U.S.C. § 632.
  863
        47 C.F.R. § 64.1200.
  864
        See SBA, Programs and Services, SBA Pamphlet No. CO-0028, at page 40 (July 2002).


                                                          144


                                                                                                              PA - 00390
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 393 of 437 Page ID
                                   #:549
                                          Federal Communications Commission                           FCC 03-153


  for-profit].865

           22.    Again, we note that our action affects an exhaustive list of business types and
  varieties. We will mention with particularity the intermediary groups that engage in this activity.
   SBA has determined that “telemarketing bureaus” with $6 million or less in annual receipts
  qualify as small businesses.866 For 1997, there were 1,727 firms in the “telemarketing bureau”
  category, total, which operated for the entire year.867 Of this total, 1,536 reported annual receipts
  of less than $5 million, and an additional 77 reported receipts of $5 million to $9,999,999.
  Therefore, the majority of such firms can be considered to be small businesses.

         D.           Description of Projected Reporting, Recordkeeping, and Other Compliance
                      Requirements for Small Entities

          23.     The rules contained herein require significant recordkeeping requirements on the
  part of businesses, including small business entities. First, while the national do-not-call list will
  be developed and maintained by the FTC, all businesses that engage in telemarketing will be
  responsible for obtaining the list of telephone numbers on the national do-not-call list and
  scrubbing their calling lists to avoid calling those numbers.868 They must also continue to be
  responsible for maintaining their own company-specific do-not-call lists; however, this is not a
  new requirement, but a continuation of the Commission’s existing rules. The Commission has
  reduced the period of time that businesses must retain company-specific do-not-call requests
  from 10 years to five years. In addition, for those businesses, including small businesses, that
  wish to call consumers under the “established business relationship” exemption, they must
  continue to maintain customer lists in the normal course of business. Because of the time limits
  associated with this rule, businesses will need to monitor and record consumer contacts to assure
  that they are complying with the 18-month and three-month provisions in the rule. Businesses
  that want to call consumers with whom they have no relationship, but who are listed on the
  national do-not-call list, must obtain a consumer’s express permission to call. This permission
  must be evidenced by a signed, written agreement.

              24.Second, all businesses that use autodialers, including predictive dialers, to sell
  goods or services, will be required to maintain records documenting compliance with the call
  abandonment rules.869 Such records should demonstrate the telemarketers’ compliance with a
  call abandonment rate of no less than three percent measured over a 30-day period, with the two-
  second-transfer rule, and with the ring duration requirement.

  865
     1992 Economic Census, U.S. Bureau of the Census, Table 6 (special tabulation of data under contract to Office
  of Advocacy of the U.S. Small Business Administration).
  866
        See 13 C.F.R. § 121.201, NAICS code 561422.
  867
    U.S. Census Bureau, 1997 Economic Census, Subject Series: “Administrative and Support and Waste
  Management and Remediation Services, Receipts Size of Firms Subject to Federal Income Tax: 1997,” Table 4,
  NAICS code 561422 (issued Oct. 2000).
  868
        Order, paras 16-85.
  869
        Order, paras. 129-134, 146-159.

                                                        145


                                                                                                           PA - 00391
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 394 of 437 Page ID
                                   #:550
                                       Federal Communications Commission                  FCC 03-153


              25.Third, with the exception of tax-exempt nonprofit organizations, all businesses
  that engage in telemarketing will be required to transmit caller ID information.870

              26.Fourth, businesses that advertise by fax will be required to maintain records
  demonstrating that recipients have provided express permission to send fax advertisements.
  Such permission must be given in writing, and businesses must document that they have
  obtained the required permission.871

         E.           Steps Taken to Minimize the Significant Economic Impact on Small Entities,
                      and Significant Alternatives Considered

         27.      The RFA requires an agency to describe any significant alternatives that it has
  considered in developing its approach, which may include the following four alternatives
  (among others): “(1) the establishment of differing compliance or reporting requirements or
  timetables that take into account the resources available to small entities; (2) the clarification,
  consolidation, or simplification of compliance or reporting requirements under the rule for such
  small entities; (3) the use of performance rather than design standards; and (4) an exemption
  from coverage of the rule, or any part thereof, for such small entities.”872

           28.    There were five specific areas in which the Commission considered alternatives
  for small businesses. These areas were: (1) establishing a National Do-Not-Call List ((a)
  providing a portion of the national do-not-call list (five area codes) for free, (b) providing
  businesses with 30 days to process do-not-call requests, and (c) reducing the do-not-call record
  retention rate from 10 years to five years); (2) maintaining the current established business rule
  exemption and adopting the FTC’s time limits of 18 months and three months; (3) establishing a
  call abandonment rate of three percent, rather than zero percent, and measuring the rate over a
  30-day period, rather than on a per day basis; (4) continuing to prohibit facsimile advertising to
  residential and business numbers; and (5) declining to require businesses to maintain a website
  or toll-free number for do-not-call requests or confirmation of such requests by consumers. As
  mentioned, supra, in Section B of the FRFA, small businesses presented arguments on both sides
  of each of these issues.

              29.  National Do-Not-Call List. This Order establishes a national do-not-call list for
  those residential telephone subscribers who wish to avoid most unwanted telephone
  solicitations.873 Although many businesses, including small businesses, objected to a national
  do-not-call registry,874 the Commission determined that a national do-not-call list was necessary
  to carry out the directives in the TCPA. We agreed with those commenters who maintained that
  the company-specific approach to concerns about unwanted telephone solicitations does not
  870
        Order, paras. 173-184.
  871
        Order, paras. 185-203.
  872
        5 U.S.C. § 603(c)(1)-(c)(4).
  873
        Order, paras. 25-41.
  874
        See e.g., MBNA Comments at 4.


                                                     146


                                                                                               PA - 00392
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 395 of 437 Page ID
                                   #:551
                                       Federal Communications Commission                      FCC 03-153


  alone adequately protect individuals’ privacy interests.875 We declined to exempt local
  solicitations and small businesses from the national do-not-call list.876 Given the numerous
  entities that solicit by telephone, and the technological tools that allow even small entities to
  make a significant number of solicitation calls, we believe that to do so would undermine the
  effectiveness of the national do-not-call rules in protecting consumer privacy. In addition, we
  declined to permit businesses to register their numbers on the national do-not-call registry,
  despite the requests of numerous small business owners to do so.877 The TCPA expressly
  contemplates that a national do-not-call database includes residential telephone subscribers’
  numbers. Although business numbers will not be included in the national do-not-call database, a
  business could nevertheless request that its number be added to a company’s do-not-call list.

             30. The Commission considered the costs to small businesses of purchasing the
  national do-not-call list. In an attempt to minimize the cost for small businesses, we have
  considered an alternative and determined that businesses will be allowed to obtain up to five area
  codes free of charge.878 Since many small businesses telemarket within a local area, providing
  five area codes at no cost should help to reduce or eliminate the costs of purchasing the national
  registry for small businesses.879 Furthermore, as suggested by NCS, small businesses should be
  able to gain access to the national list in an efficient, cost-effective manner via the Internet.880

             31.  As discussed extensively in the Order, many businesses, including small business
  entities, requested specific exemptions from the requirements of a national do-not-call list.881 In
  order to minimize potential confusion for both consumers and businesses alike, we declined to
  create specific exemptions for small businesses.882 We believe the exemptions adopted for calls
  made to consumers with whom a seller has an established business relationship and those that
  have provided express agreement to be called provide businesses with a reasonable opportunity
  to conduct their business while protecting consumer privacy interests.

             32.  The Commission also considered modifying for small businesses the time frames
  for (1) processing consumers’ do-not-call requests; (2) retaining consumer do-not-call records;
  and (3) scrubbing calling lists against the national do-not-call registry. In doing so, we



  875
        See e.g., Privacy Rights Comments at 2.
  876
        Order, paras. 46-49, 54.
  877
        See e.g., Mathemaesthetics Comments at 6.
  878
        Order, para. 54.
  879
        See e.g., MBA Reply at 3; NAA Comments at 3; SBSC Comments at 2; PLP Comments at 5.
  880
        NCS Comments at 4-5.
  881
    See e.g., NAA Comments at 12-14 (exempt newspapers); NAIFA Comments at 3 (exempt referral calls); SBSC
  Comments at 2 (exempt local calls); MBA Comments at 5 (exempt calls to set up face-to-face meetings).
  882
        Order, paras. 46-54.


                                                       147


                                                                                                   PA - 00393
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 396 of 437 Page ID
                                   #:552
                                      Federal Communications Commission                        FCC 03-153


  recognized the limitations on small businesses of processing requests in a timely manner.883
  Therefore, we determined to require that both large and small businesses must honor do-not-call
  requests within 30 days from the date such a request is made, instead of requiring that businesses
  honor requests in less time.884 Although some commenters suggested periods of up to 60 to 90
  days to process do-not-call requests, we determined that such an inconsistency in the rules would
  lead to confusion for consumers. Consumers might not easily recognize that the telemarketer
  calling represented a small business and that they must then allow a longer period of time for
  their do-not-call requests to be processed.

             33.  The Commission also determined to reduce the retention period of do-not-call
  records from 10 years to five years.885 This modification should benefit businesses that are
  concerned about telephone numbers that change hands over time. They argue that a shorter
  retention requirement will result in do-not-call lists that more accurately reflect those consumers
  who have requested not to be called. Finally, we considered allowing small businesses
  additional time to scrub their customer call lists against the national do-not-call database. The
  FTC’s rules require telemarketers to scrub their lists every 90 days. For the sake of consistency,
  and to avoid confusion on the part of consumers and businesses, the Commission determined to
  require all businesses to access the national registry and scrub their calling lists of numbers in
  the registry every 90 days.

          34.     Established Business Relationship. We have modified the current definition of
  “established business relationship”886 so that it is limited in duration to 18 months from any
  purchase or transaction and three months from any inquiry or application. The revised definition
  is consistent with the definition adopted by the FTC.887 We concluded that regulating the
  duration of an established business relationship is necessary to minimize confusion and
  frustration for consumers who receive calls from companies they have not contacted or
  patronized for many years. There was little consensus among industry members about how long
  an established business relationship should last following a transaction between the consumer
  and seller.888 We believe the 18-month timeframe strikes an appropriate balance between
  industry practices and consumer privacy interests. Although businesses, including small
  businesses must monitor the length of relationships with their customers to determine whether
  they can lawfully call a customer, we believe that a rule consistent with the FTC’s will benefit
  businesses by creating one uniform standard with which businesses must comply.

             35.      Call Abandonment. In the 2002 Notice, the Commission requested information

  883
        Order, para. 94.
  884
        Order, para. 94.
  885
        Order, para. 92.
  886
        Order, para. 113.
  887
        See FTC Order, 68 Fed. Reg. 4580 at 4591-94.
  888
    See, e.g., Bank of America Comments at 4 (36 months); MPA Comments at 12-13 (24 months); Sprint
  Comments at 18 (12 months).


                                                       148


                                                                                                      PA - 00394
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 397 of 437 Page ID
                                   #:553
                                      Federal Communications Commission                     FCC 03-153


  on the use of predictive dialers and the harms that result when predictive dialers abandon calls.889
   In response, some small businesses urged the Commission to adopt a maximum rate of zero on
  abandoned calls. They described their frustration over hang-up calls that interrupt their work
  and with answering the phone “only to find complete silence on the other end.”890 Most industry
  members encouraged the Commission to adopt an abandonment rate of no less than five percent,
  claiming that this rate “minimizes abandoned calls, while still allowing for the substantial
  benefits achieved by predictive dialers.”891 The Commission has determined that a three percent
  maximum rate on abandoned calls balances the interests of businesses that derive economic
  benefits from predictive dialers and consumers who find intrusive those calls delivered by
  predictive dialers.892 We believe that this alternative, a rate of three percent, will also benefit
  small businesses that are affected by interruptions from hang-ups and “dead air” calls.

           36.    The three percent rate will be measured over a 30-day period, rather than on a per
  day basis. Industry members maintained that a per day measurement would not account for
  short-term fluctuations in marketing campaigns893 and may be overly burdensome to smaller
  telemarketers. We believe that measuring the three percent rate over a longer period of time will
  still reduce the overall number of abandoned calls, yet permit telemarketers to manage individual
  calling campaigns effectively. It will also permit telemarketers to more easily comply with the
  recordkeeping requirements associated with the use of predictive dialers.

          37.    Unsolicited Facsimile Advertising. The record reveals that facsimile advertising
  can both benefit and harm small businesses with limited resources. The small businesses and
  organizations that rely upon faxing as a cost-effective way to advertise insist that the
  Commission allow facsimile advertising to continue.894 Other small businesses contend that
  facsimile advertising interferes with their daily operations, increases labor costs, and wastes
  resources such as paper and toner.895 The Commission has reversed its prior conclusion that an
  established business relationship provides companies with the necessary express permission to
  send faxes to their customers.896 Under the amended rules, a business may advertise by fax with
  the prior express permission of the fax recipient, which must be in writing.897 Businesses may
  obtain such written permission through direct mail, websites, or during interaction with
  customers in their stores. This alternative will benefit those small businesses, which are

  889
        2002 Notice, 17 FCC Rcd at 17475-76, para. 26.
  890
        Mathemaesthetics Comments at 6.
  891
        WorldCom Reply at 18-19.
  892
        Order, paras. 150-152.
  893
        See, e.g., WorldCom Further Comments at 8; Teleperformance Further Comments at 4.
  894
        NFIB Comments at 3-4.
  895
        John Holcomb Comments at 1; Mathemaesthetics Comments at 2-3.
  896
        Order, para. 189.
  897
        Order, para. 191.


                                                         149


                                                                                               PA - 00395
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 398 of 437 Page ID
                                   #:554
                                       Federal Communications Commission                 FCC 03-153


  inundated with unwanted fax advertisements.

           38.    Website or Toll-Free Number to Access Company-Specific Lists and to Confirm
  Requests. Lastly, the Commission has determined not to require businesses to provide a website
  or toll-free number for consumers to request placement on company-specific do-not-call lists or
  to respond affirmatively to do-not-call requests or otherwise provide some means of
  confirmation that consumers have been added to a company’s do-not-call list.898 Several
  commenters indicated that such requirements would be costly to small businesses.899 Although
  we believe these measures would improve the ability of consumers to register do-not-call
  requests, we agree that such requirements would be potentially costly to businesses, particularly
  small businesses. Instead, we believe that the national do-not-call registry will provide
  consumers with a viable alternative if they are concerned that their company-specific do-not-call
  requests are not being honored. In addition, consumers may pursue a private right of action if
  there is a violation of the do-not-call rules. This alternative should reduce, for small businesses
  who engage in telemarketing, both the potential cost and resource burdens of maintaining
  company-specific lists.

             39. REPORT TO CONGRESS: The Commission will send a copy of the Order,
  including this FRFA, in a report to be sent to Congress pursuant to the Congressional Review
  Act.900 In addition, the Commission will send a copy of the Order, including this FRFA, to the
  Chief Counsel for Advocacy of the SBA. A copy of the Order and FRFA (or summaries thereof)
  will also be published in the Federal Register.901




  898
        Order, para. 93.
  899
        MBA Comments at 6-7.
  900
        See 5 U.S.C. § 801(a)(1)(A).
  901
        See 5 U.S.C. § 604(b).


                                                     150


                                                                                              PA - 00396
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 399 of 437 Page ID
                                   #:555
                               Federal Communications Commission                     FCC 03-153


                                           Appendix C

                                        Comments Filed

  Due to the significant number of comments filed by individual consumers in this proceeding, we
  have listed below only those comments received from industry, consumer advocacy groups and
  governmental entities. All individual consumer comments, including those cited in the Report
  and Order, are available for inspection on the Commission’s Electronic Comment Filing System
  (ECFS).


  ACI Telecentrics Incorporated (5-2-03)                                  ACI
  Allstate Life Insurance Company (Lisa Behzad; 12-9-02)                  Allstate
  Americall Group, Inc. (11-26-02)                                        Americall
  American Association of Blood Banks (Marlene H. Dortch; 12-6-02)        AABB
  American Association of Retired Persons (AARP; 1-31-03)                 AARP
  American Bankers Association (12-9-02)                                  ABA
  American Business Media (11-22-02)                                      ABM
  American Express Company (12-5-02)                                      American Express
  American General Finance, Inc. (12-10-02)                               AGF
  American Insurance Association (11-21-02)                               AIA
  American International Automobile Dealers Association (12-9-02)         AIADA
  American Red Cross (12-9-02)                                            Red Cross
  American Resort Development Association (11-15-02)                      ARDA
  American Teleservices Association (12-9-02) (12-23-02)                  ATA
  America’s Blood Centers (Jeanne Dariotis; 12-5-02)                              ABC
  Ameriquest Mortgage Company (12-9-02)                                   Ameriquest
  Association for Communications Technology Professionals in
      Higher Education (ACUTA, Inc.) and Association of College
      and University Housing Officers-International (ACUHO-I)
      (ACUTA and ACUHO-I; 12-9-02)                                        ACUTA
  Association for Competitive Technology (12-9-02)                        ACT
  Association of Fundraising Professionals (11-27-02)                            AFP
  AT&T Wireless Services, Inc. (12-9-02)                                  AT&T Wireless
  Autoflex Leasing (11-18-02)                                             Autoflex
  Avinta Communications, Inc. (Abraham Y. Chen; 11-18-02)                 Avinta
  Bank of America (12-3-02)                                               Bank of America
  BellSouth Corporation (12-9-02)                                         BellSouth
  Blocklist.com (12-9-02)                                                 Blocklist.com
  BMO Financial Group (12-9-02)                                           BMO Financial
  The Broadcast Team (12-6-02)                                            TBT
  Brunswick Corporation (12-9-02)                                         Brunswick
  Californians Against Telephone Solicitation (Robert Arkow; 12-9-02)     CATS
  Call Compliance, Inc. (12-9-02)                                         Call Compliance
  Castel, Inc. (2-28-03)                                                  Castel
  Cellular Telecommunications & Internet Association (12-9-02)            CTIA
  Cendant Corporation (11-22-02)                                          Cendant
                                               151


                                                                                         PA - 00397
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 400 of 437 Page ID
                                   #:556
                              Federal Communications Commission                   FCC 03-153


  Center for Democracy & Technology (12-9-02)                           CDT
  Cherry Communications (11-21-02)                                      Cherry
  Cingular Wireless LLC (12-9-02)                                       Cingular
  Citigroup, Inc. (12-12-02)                                            Citigroup
  City of Chicago (11-22-02)                                            City of Chicago
  CMOR (12-9-02)                                                        CMOR
  CNN.com (4-22-03)                                                     CNN
  Colorado Public Utilities Commission (12-3-02)                        CO PUC
  Comcast Cable Communications, Inc. (12-9-02)                          Comcast
  Concerned Telephone Companies (12-9-02)                               CTC
  Consumer Bankers Association (12-9-02)                                CBA
  Consumer Choice Coalition (12-2-02)                                   Coalition
  Consumer Disability Telecommunications
      Advisory Committee (12-24-02)                                     CDTAC
  Consumer Mortgage Coalition (12-19-02)                                CMC
  Convergys Corporation (12-9-02)                                       Convergys
  Copilevitz and Canter, LLC (William E. Raney; 12-9-02)                Copilevitz & Canter
  Cox Enterprises, Inc. (12-9-02)                                       Cox
  DialAmerica Marketing, Inc. (12-10-02)                                DialAmerica
  Direct Marketing Association (12-9-02)                                DMA
  Direct Selling Association (12-9-02)                                  DSA
  DIRECTV, Inc. (12-9-02)                                               DIRECTV
  Discover Bank (12-9-02)                                               Discover
  Electronic Privacy Information Center; Consumer Task Force for
      Automotive Issues; Remar Sutton; Consumer Action; Privacy
      Rights Clearinghouse; Consumer Federation of America;
      International Union, UAW; Free Congress Foundation; Junkbusters
      Corp.; Consumer Project on Technology; Computer Professionals
      for Social Responsibility; and Private Citizens, Inc. (12-9-02)   EPIC
  Electronic Retailing Association (12-9-02)                            ERA
  Emergency Communications Network, Inc. (12-6-02)                      ECN
  Farmers Insurance Group (11-22-02)                                    Farmers
  Financial Services Roundtable (12-12-02)                              FSR
  Florida Department of Agriculture and Consumer Services (1-8-03)      FL DACS
  Fund for Public Interest Research, Inc. (Jon Scarlett; 12-6-02)       Fund for Public Interest
  Globecomm Systems, Inc. (12-9-02)                                     Globecomm
  Hilton Head Hospitality Resort Services (1-31-03)                     Hilton Head
  Household Automotive Finance Corporation; OFL-A Receivables
      Corp.; and Household Automotive Credit Corporation (12-9-02)      Household Automotive
  Household Bank (SB), N.A. (12-9-02)                                   Household Bank
  Household Finance Corp. (House Hold Finance Corporation; 12-12-02)    Household Finance
  Household Financial Services, Inc. (12-10-02)                         HFS
  Hunton & Williams (11-22-02)                                          Hunton & Williams
  IBM Corporate Market Intelligence (2-4-03)                            IBM
  Intellidyn Corporation (Kathie Fleischer; 12-4-02)                    Intellidyn
  Interactive Teleservices Corporation (Barbara Bricker; 4-10-03)
      (Duane L. Billingslea; 4-11-03)                                   ITC
                                                  152


                                                                                       PA - 00398
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 401 of 437 Page ID
                                   #:557
                             Federal Communications Commission                   FCC 03-153


  Intrado Inc. (11-22-02)                                               Intrado
  Intuit, Inc. (12-9-02)                                                Intuit
  Katz & Korin (Robert J. Schuckit; 10-5-02)                            Katz & Korin
  Kauffman Group Inc. (11-25-02)                                        Kauffman
  Kondos & Kondos Law Offices (11-14-02)                                Kondos & Kondos
  LCC International, Inc. (12-9-02)                                     LCC
  The Leukemia & Lymphoma Society (George Dahlman;
      1-31-03 and 5-2-03)                                               L&LS
  LSSi Corp. (12-9-02)                                                  LSSi
  Magazine Publishers of America (12-9-02)                              MPA
  March of Dimes (11-22-02)                                             March of Dimes
  MasterCard International Incorporated (12-9-02)                       Mastercard
  Mathemaesthetics, Inc. (11-22-02) (see also Douglas M. McKenna)       Mathemaesthetics
  MBNA America Bank, N.A. (12-9-02) (Revised 12-10-02)                  MBNA
  Metris Companies, Inc. (12-6-02)                                      Metris
  Meyer Associates, Inc. ([Thoams] Caprio; 4-24-03)                     Meyer
  MidFirst Bank (1-9-03)                                                MidFirst
  Mortgage Bankers Association of America (12-9-02)                     MBA
  Mortgage Investors Corporation, Inc. (12-9-02)                        Mortgage Investors
  Mothers Against Drunk Driving (1-30-03) (Wendy J. Hamilton; 5-1-03)   MADD
  Moultrie Independent Telephone Company (12-9-02)                      Moultrie
  National Association of Attorneys General (12-9-02)                   NAAG
  National Association of Broadcasters (12-9-02)                        NAB
  National Association of Consumer Agency Administrators
      (Kathleen Thuner, President; 11-22-02)                            NACAA
  National Association of Independent Insurers (12-10-02)               NAII
  National Association of Insurance & Financial Advisors (11-22-02)     NAIFA
  National Association of Mortgage Brokers (12-9-02)
      (see also Armand Cosenza)                                         NAMB
  National Association of Regulatory Utility Commissioners (11-22-02)   NARUC
  National Association of State Utility Consumer Advocates
      (NASUCA; 12-9-02)                                                 NASUCA
  National Automobile Dealers Association (12-10-02)                    NADA
  National Cable & Telecommunications Association (12-9-02)             NCTA
  National Consumers League (12-6-02)                                   NCL
  National Energy Marketers Association (11-22-02)                      NEM
  National Federation of Independent Business (1-9-03)                  NFIB
  National Public Radio, Inc. (12-9-02)                                       NPR
  National Retail Federation (12-9-02)                                  NRF
  National Telecommunications Cooperative Association (11-22-02)        NTCA
  NCS Pearson, Inc. (12-9-02)                                           NCS
  NeuStar, Inc. (12-9-02)                                               NeuStar
  New Orleans, Utility, Cable & Telecommunications Committee
      of the City Council (11-18-02)                                    City of New Orleans
  Newsletter & Electronic Publishers Association (12-9-02)              NEPA
  Newspaper Association of America (12-9-02)                            NAA
  New York State Consumer Protection Board (11-22-02) (3 comments)      NYSCPB
                                                153


                                                                                      PA - 00399
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 402 of 437 Page ID
                                   #:558
                             Federal Communications Commission                   FCC 03-153


  Nextel Communications, Inc. (12-9-02)                                Nextel
  Nielsen Media Research, Inc. (1-31-03)                               Nielsen
  North Dakota Public Service Commission (12-2-02)                     ND PSC
  Not-For-Profit and Charitable Coalition (11-22-02)                   NPCC
  Office of the People’s Counsel for the District of Columbia
      (Elizabeth A. Noel; 12-9-02)                                     OPC-DC
  Ohio, Public Utilities Commission (12-9-02)                          PUC of Ohio
  Oregon Telecommunications Association (12-3-02)                      OTA
  Pacesetter Corporation (11-20-02)                                    Pacesetter
  Personal Legal Plans, Inc. (12-16-02)                                        PLP
  Progressive Casualty Insurance Company (11-18-02)                    Progressive Casualty
  Privacilla.org (12-9-02)                                             Privacilla.org
  Privacy Rights Clearinghouse (Beth Givens; 12-5-02)                  PRC
  Private Citizen, Inc. (12-9-02)                                      Private Citizen
  Process Handler et al. For Hire, Inc. (5-14-03)                      Process Handler
  Progressive Business Publications (Edward M. Satell; 4-28-03)        Progressive Business
  Qwest Services Corporation (12-9-02)                                 Qwest
  R & D Lawn & Tree Services (11-18-02)                                R&D
  Reed Elsevier, Inc. (12-9-02)                                        Reed
  Reese Brothers, Inc. (12-9-02)                                       Reese
  Response Catalyst (Doug Hibbeler; 12-9-02)                           Response Catalyst
  Royal Sonesta Hotel (4-7-03)                                         Royal Sonesta
  SBC Communications, Inc. (12-9-02)                                   SBC
  Scholastic, Inc. (12-9-02)                                           Scholastic
  The Seattle Times Company (12-9-02)                                  Seattle Times
  SER Solutions, Inc. (11-19-02)                                       SER
  Small Business Survival Committee (1-31-03)                          SBSC
  Special Olympics Florida (Laurie Moyson; 5-8-03)                     Special Olympics FL
  Special Olympics Hawaii (Nancy Bottelo; 1-30-03)                     Special Olympics HI
  Special Olympics Kansas (5-1-03)                                     Special Olympics KS
  Special Olympics New Jersey (Suzanne Schwanda; 1-31-03)              Special Olympics NJ
  Special Olympics New Mexico (Randy Mascorella; 4-30-03)              Special Olympics NM
  Special Olympics New York (5-2-03)                                   Special Olympics NY
  Special Olympics Ohio (Federal Communications Commission; 1-31-03)   Special Olympics OH
  Special Olympics Virginia (5-2-03)                                   Special Olympics VA
  Special Olympics Wisconsin (Dennis H. Alldridge; 1-30-03)            Special Olympics WI
  Sprint (12-9-02)                                                     Sprint
  Student Parent Support Services Corp. (3-19-03)                      Student Support
  Suggs & Associates, P.C. (James [M.Suggs]; 12-4-02)                  Suggs
  Sytel Limited (12-9-02)                                              Sytel
  Technion Communications Corp. (11-19-02)                             Technion
  Telatron Marketing Group, Inc. (12-9-02)                             Telatron
  Telecommunications for the Deaf (11-15-02)                           TDI
  Teleperformance USA (Julie Loppe-Peyrin; 12-6-02)
      (Timothy J. Casey; 12-6-02)                                      Teleperformance
  Telestar Marketing, L.P. (11-19-02)                                  Telestar
  Tennessee Regulatory Authority and the
                                                  154


                                                                                    PA - 00400
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 403 of 437 Page ID
                                   #:559
                             Federal Communications Commission           FCC 03-153


     Tennesse Attorney General (12-9-02)                         TN AG
  Texas, Office of Public Utility Counsel (12-9-02)              TOPUC
  Texas, Public Utility Commission (12-3-02)                     Texas PUC
  TSI Telecommunications Services, Inc. (11-7-02)                TSI
  U. S. Chamber of Commerce (12-26-02)                           Chamber of Commerce
  Vector Marketing Corporation (12-9-02)                         Vector
  Ver-A-Fast (12-10-02) (see also Bob Bensman; 11-19-02)         Ver-A-Fast
  VeriSign, Inc. (f/n/a Illuminet, Inc.) (3-31-03)               VeriSign
  Verizon (12-10-02)                                             Verizon
  Verizon Wireless (12-9-02)                                     Verizon Wireless
  Visa U.S.A. Inc. (12-9-02)                                     Visa
  Wells Fargo & Company (11-5-02)                                Wells Fargo
  Winnebago Cooperative Telephone Association (1-30-03)          Winnebago
  Worldcom, Inc. (12-9-02)                                       Worldcom
  Xpedite Systems, Inc. (12-9-02)                                Xpedite
  Yellow Pages Integrated Media Association (12-9-02)            Yellow Pages




                                             155


                                                                             PA - 00401
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 404 of 437 Page ID
                                   #:560
                              Federal Communications Commission                 FCC 03-153


                                    Reply Comments Filed

  Adval Communications, Inc. (1-31-03)                                 ADVAL
  American Teleservices Association (1-31-03) (3-5-03, correction)     ATA
  Ameriquest Mortgage Company (1-31-03)                                Ameriquest
  AT&T Wireless Services, Inc. (1-31-03)                               AT&T Wireless
  BellSouth Corporation (1-31-03)                                      BellSouth
  Cablevision Systems Corporation (1-31-03)                            Cablevision
  Cavalier Telephone, LLC (1-31-03)                                    Cavalier
  CMOR (1-31-03)                                                       CMOR
  Coontz, J. Greg (1-8-03)
  DialAmerica Marketing, Inc. (1-31-03)                                DialAmerica
  Direct Marketing Association (1-31-03)                               DMA
  DIRECTV, Inc. (1-31-03)                                              DIRECTV
  Hershovitz, Marc B., Michael Jablonski, Ned Blumenthal
      and C. Ronald Ellington (1-8-03) (3 comments)                    Hershovitz
  The International Softswitch Consortium (1-31-03)                    ISC
  Intuit, Inc. (1-31-03)                                               Intuit
  LSSi Corp. (Lissi Corp; 1-31-03)                                     LSSi
  Mathemaesthetics, Inc. (1-8-03) (see also Douglas McKenna; 1-6-03)   Mathemaesthetics
  MBNA America Bank, N.A. (1-31-03)                                    MBNA
  Mortgage Bankers Association of America
      (Stephen A. O’Conner; 1-31-03)                                   MBA
  National Association of Broadcasters (1-31-03)                       NAB
  National Association of State Utility Consumer
      Advocates (NASUCA; 1-31-03)                                      NASUCA
  National Public Radio, Inc. (1-31-03)                                       NPR
  NCS Pearson, Inc. (1-31-03)                                          NCS
  The Newspaper Association of America (1-21-03)                       NAA
  Nextel Communications, Inc. (1-31-03)                                Nextel
  Office of the People’s Counsel for the District of Columbia
      (Elizabeth A. Noël, People’s Counsel; 1-31-03)                   OPC-DC
  Private Citizen, Inc. (1-9-03)                                       Private Citizen
  RoperASW (1-30-03)                                                   RoperASW
  SBC Communications, Inc. (1-31-03)                                   SBC
  Sytel Limited (2-3-03)                                               Sytel
  Teleperformance USA (4-30-03)                                        Teleperformance
  Vector Marketing Corporation (1-31-03)                               Vector
  Verizon (1-31-03)                                                    Verizon
  Verizon Wireless (1-31-03)                                           Verizon Wireless
  Visa (1-31-03)                                                       Visa
  VoltDelta (Brad Schorer; 12-9-02)                                    VoltDelta
  Worldcom, Inc. (1-31-03)                                             Worldcom
  Xpedite Systems, Inc. (1-31-03)                                      Xpedite
  Yellow Pages Integrated Media Association (1-31-03)                  Yellow Pages


                                              156


                                                                                     PA - 00402
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 405 of 437 Page ID
                                   #:561
                             Federal Communications Commission                   FCC 03-153


                                  Further Comments Filed

  Active Periodicals, Inc. (5-5-03)                                    Active Periodicals
  Allstate Life Insurance Company (5-5-03)                             Allstate
  American Association of Retired Persons (AARP; 5-19-03)              AARP
  American Council of Life Insurers (5-5-03)                           ACLI
  American Teleservices Association (5-5-03)                           ATA
  America’s Community Bankers (5-8-03)                                 ACB
  Ameriquest Mortgage Company (5-5-03)                                 Ameriquest
  Bank of America Corporation (Kathryn D. Kohler; 5-2-03)              Bank of America
  Bank One Corporation (5-5-03)                                        Bank One
  Cendant Corporation (5-5-03)                                                 Cendant
  Citigroup Inc. (5-19-03)                                             Citigroup
  City of Chicago (5-1-03)                                             City of Chicago
  Chrusch, Michael J., Esq. (5-5-03)
  Consumer Council of America (5-5-03)                                 CCA
  Direct Marketing Association (5-5-03)                                DMA
  DIRECTV, Inc. (5-5-03)                                               DIRECTV
  Electronic Retailing Association (5-5-03)                            ERA
  Federal Trade Commission (5-12-03)                                   FTC
  Household Bank (SB), N.A. (5-2-03)                                   Household
  InfoCision Management Corporation (5-5-03)                           InfoCision
  Interactive Teleservices Corporation                                 ITC
  Intuit Inc. (5-5-03)                                                 Intuit
  Lorman Education Services (5-5-03)                                   Lorman
  MBNA America Bank, N.A. (5-5-03)                                     MBNA
  Metris Companies Inc. (5-5-03)                                       Metris
  Miller Isar, Inc. (5-2-03)                                           Miller Isar
  Mortgage Bankers Association of America (Kurt Pfotenhauer; 5-5-03)   MBA
  National Association of Independent Insurers
      (National Association of Independent Insures [sic]; 5-5-03)      NAII
  National Association of Realtors
      (National Association of Realtor; 5-5-03)                        NAR
  National Association of State Utility Consumer Advocates
      (NASUCA; 5-5-03)                                                 NASUCA
  National Association of Insurance and Financial Advisors (5-2-03)    NAIFA
  National Telecommunications Cooperative Association (NTCA; 5-5-03)   NTCA
  Newspaper Association of America (5-5-03)                            NAA
  New Jersey State Division of the Ratepayer Advocate (5-5-03)         New Jersey Ratepayer
  Nextel Communications, Inc. (5-5-03)                                 Nextel
  Scholastic Inc. (5-5-03)                                             Scholastic
  Securities Industry Association (James Y. Chin; 5-5-03)              SIA
  Software & Information Industry Association (5-5-03)                 SIIA
  Sprint Corporation (5-5-03)                                          Sprint
  Stonebridge Life Insurance Companies (5-5-03)                        Stonebridge
  Teleperformance USA (4-29-03)                                        Teleperformance
  Tennessee Regulatory Authority (5-5-03)                              TN RA
                                                157


                                                                                      PA - 00403
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 406 of 437 Page ID
                                   #:562
                              Federal Communications Commission            FCC 03-153


  Vector Marketing Corporation
     (Vector – Marketing Corporation; 4-29-03)                    Vector
  Verizon (5-5-03)                                                Verizon
  Winstar Communications, LLC (5-5-03)                            Winstar
  Worldcom, Inc. (5-5-03)                                         Worldcom
  Yellow Pages Integrated Media Association (5-5-03)              Yellow Pages




                                              158


                                                                                 PA - 00404
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 407 of 437 Page ID
                                   #:563
                             Federal Communications Commission             FCC 03-153


                               Further Reply Comments Filed

  American Council of Life Insurers (5-19-03)                     ACLI
  American Teleservices Association (5-19-03)                     ATA
  America’s Community Bankers (5-8-03)                            ACB
  Ameriquest Mortgage Company (5-5-03)                            Ameriquest
  Competitive Telecommunications Association (5-19-03)            Competitive Telecom
  DialAmerica Marketing, Inc. (5-19-03)                           DMA
  Indiana Attorney General Steve Carter (5-19-03)                 Indiana AG
  National Association of State Utility Consumer Advocates
      (NASUCA; 5-19-03)                                           NASUCA
  New Jersey State Division of the Ratepayer Advocate (5-19-03)   New Jersey Ratepayer
  Primerica Financial Services, Inc. (5-19-03)                    Primerica
  SBC Communications, Inc. (SBC Communications Inc.; 5-19-03)     SBC
  Verizon (5-5-03)                                                Verizon




                                             159


                                                                               PA - 00405
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 408 of 437 Page ID
                                   #:564
                                Federal Communications Commission                       FCC 03-153


                               SEPARATE STATEMENT OF
                             CHAIRMAN MICHAEL K. POWELL

  Re:    Rules and Regulations Implementing the Telephone Consumer Protection Act of
         1991; CG Docket No. 02-278

         Our decision today is the most sweeping consumer protection measure ever adopted by
  the FCC. No longer will consumers be forced to endure unwanted telephone calls and faxes.
  Under the Telephone Consumer Protection Act (TCPA) and our revised rules, consumers are
  empowered to choose.

          The TCPA is about tools. It gives consumers the tools they need to build a high and
  strong fence around their homes to protect them from unsolicited telephone calls and faxes. It
  also allows other consumers to have a lower fence or no fence at all, if they wish to take
  advantage of these commercial messages. Our decision makes the American consumer’s toolbox
  more complete by creating a national do not call list and strengthening and modifying our other
  longstanding protections under the TCPA. Our goal: to maximize consumers’ ability to control
  the messages they receive on their personal phones and faxes.

           Since the enactment of the TCPA a decade ago, the rapid growth of technology has led to
  a five-fold increase in marketing contacts via telephone. An increased number of telemarketing
  calls, the proliferation of predictive dialers, and the incomplete protections of less-
  comprehensive do not call lists have combined to necessitate the Commission’s new approach.
  Consumers want more control over their telephones – today we give it to them.

          In addition to the national do not call list, our decision contains a number of other
  important provisions. First, although telemarketing calls made pursuant to an existing business
  relationship are exempt under the TCPA, the Commission today significantly narrows the scope
  of that exemption to better protect consumers. Consumers may eliminate even these commercial
  calls upon request. Second, we tighten the limitations on our existing do not call rules and
  impose additional requirements on predictive dialers, pre-recorded messages, and calls to
  wireless phones. We also require telephone solicitations to provide caller identification. Finally
  we adopt stricter rules to control unsolicited fax advertising. Taken together and combined with
  vigilant enforcement, our rules provide consumers with the tools they need to craft the
  commercial relationships they want.

          Consistent with the instructions in the recently enacted Do Not Call Implementation Act,
  our order maximizes consistency and complements the FTC’s recently amended rules. I look
  forward to working with the FTC, under the fine leadership of Chairman Muris, to harmonize
  our rules and move forward with nation-wide implementation of the federal Do-Not-Call
  Registry.




                                                 160


                                                                                            PA - 00406
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 409 of 437 Page ID
                                   #:565
                                Federal Communications Commission                         FCC 03-153


                             SEPARATE STATEMENT OF
                       COMMISSIONER KATHLEEN Q. ABERNATHY

  Re: Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
  Docket No. 02-278, Report and Order

          Today’s decision to establish a national do-not-call list is directly responsive to consumer
  frustration with telemarketing overload. Consumers are fed up with the barrage of telemarketing
  calls that intrude on their privacy, and they crave the ability to just say no. Congress also has
  made clear the importance of giving consumers a more effective means of blocking unwanted
  calls. Congress authorized establishment of a national do-not-call registry in the Telephone
  Consumer Protection Act of 1991, and earlier this year, it enacted the Do-Not-Call
  Implementation Act. This legislation authorizes funding for the Federal Trade Commission’s
  national registry and directs this Commission to “maximize consistency” with the FTC’s
  Telemarketing Sales Rule. Today’s action responds to this congressional direction by providing
  a convenient, one-stop solution that will enable consumers to place their phone numbers on a
  unified national do-not-call list at no charge.

         At the same time, I remain mindful that telemarketing can serve a valuable function by
  providing information to consumers about goods and services. Many consumers appreciate
  learning about ways to save money, obtain better service, or otherwise take advantage of
  commercial opportunities. Moreover, telemarketers enjoy protection under the First
  Amendment, which requires that any restrictions on commercial speech advance a substantial
  governmental interest and be no more extensive than necessary. Accordingly, I am pleased that
  we have crafted rules that balance the competing interests at stake.

          In particular, we have preserved and in some cases modified the exemptions for calls to
  consumers with whom the marketer has an established business relationship, calls to consumers
  who have expressly consented to being called, and calls by tax-exempt nonprofit organizations
  (or by independent telemarketers calling on their behalf). Consumers should understand that, as
  a result of these statutory exemptions, placing a phone number on the national do-not-call list
  will not necessarily mean that you will receive no telemarketing calls. But the small number of
  calls received should be more consistent with consumers’ expectations of privacy, and
  consumers can prohibit any further contact through company-specific do-not-call lists.

          I am also pleased that the Commission has established a narrow exemption from the
  national do-not-call list to permit marketers to contact people with whom they have a personal
  relationship. I believe the record shows that Congress was concerned about anonymous calls
  using autodialers; it did not intend to put the Avon Lady out of business. Consumers generally
  expect and welcome calls from family, friends, and acquaintances who want to promote products
  and services. Restricting such calls therefore would impose a more extensive burden on speech
  than is necessary to achieve Congress’s goals.




                                                  161


                                                                                              PA - 00407
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 410 of 437 Page ID
                                   #:566
                                Federal Communications Commission                      FCC 03-153



           In addition, the Order appropriately clarifies the interplay between federal and state
  telemarketing restrictions. While I support empowering consumers to block unwanted calls,
  telemarketers should not have to comply with multiple, inconsistent rules. Indeed, Congress
  clearly called on this Commission and the FTC to establish a uniform federal regime. Thus, the
  Order appropriately clarifies that, while states may enforce the federal rules and may adopt more
  restrictive rules for intrastate calls, states generally may not regulate interstate calls.

         In sum, I am pleased to support this Order, because it provides effective mechanisms for
  consumers to restrict unwanted telemarketing calls, while balancing the legitimate interests that
  companies and individuals have in communicating with customers and potential customers. I
  expect companies to comply with our new rules, and I look forward to working together with the
  FTC and state attorneys general to ensure that consumers receive the privacy protection they
  want and deserve.




                                                162


                                                                                            PA - 00408
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 411 of 437 Page ID
                                   #:567
                                 Federal Communications Commission                        FCC 03-153


                                SEPARATE STATEMENT OF
                             COMMISSIONER MICHAEL J. COPPS

  Re:    Rules and Regulations Implementing the Telephone Consumer Protection Act of
         1991 (CG Docket No. 02-278), Report and Order

          Few rights are so fundamental as the right to privacy in our daily lives, yet few are under
  such frontal assault. Our dinners are disrupted by unwanted phone calls. Our computer accounts
  are besieged with bothersome spam. Our mailboxes are swollen with advertisements for
  products, goods and services. We conduct our whole lives against the white noise of commercial
  solicitation. These intrusions exhaust us, irritate us and threaten our cherished right to be left
  alone.

          Today we have an opportunity to do something about it. We have an opportunity to
  reinforce our homes against the constant invasion of commercialism and the endless nuisance of
  unwanted telemarketing calls. At the direction of Congress and through coordinated action with
  the Federal Trade Commission, we now return a measure of privacy control to citizens. We
  establish a national Do-Not-Call registry that permits each of us to choose limits on the
  telemarketing calls we receive. We do this in a way that balances the First Amendment rights of
  marketers with the right of each individual and every household to determine the scope of
  permissible intrusion. This decision represents a positive step for all of us, not only as
  consumers, but as citizens. I am pleased to support it.

          I am especially pleased that the rules we adopt are in harmony with those put in place by
  our allies in this exercise at the Federal Trade Commission. This is consistent with Congress’
  direction that we “maximize consistency” with the rules adopted by our fellow agency. This
  makes for a user-friendly registry.

          To ensure that the Do-Not-Call list achieves the protective power and prominence that
  Congress intended, both agencies must now work together—and with our partners in the states—
  to enforce the national program we establish here today. When the Do-Not-Call list is open for
  business, we will share the duty of vigilant enforcement. We worked hard here to balance the
  rights and privileges of personal contacts and relationships with the right to be left alone. I think
  we achieve good balance, but I never underestimate the inventiveness of some in skirting or
  abusing rules, and these individuals and enterprises should understand that such actions will not
  go unnoticed or unpunished.

          We all owe a debt of gratitude to the many people at our Consumer and Governmental
  Affairs Bureau who worked hard to draft and coordinate and bring this item before the
  Commission and who will continue to labor on behalf of the American people to implement the
  rules and make the national registry a success. I also want to commend my colleagues for the
  productive discussions we have had on this item in recent days. The result is a little more
  privacy in our not-so-private society.




                                                  163


                                                                                               PA - 00409
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 412 of 437 Page ID
                                   #:568
                                Federal Communications Commission                        FCC 03-153


                             SEPARATE STATEMENT OF
                        COMMISSIONER JONATHAN S. ADELSTEIN

  Re: Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991 (CG
  Docket 02-278).

          I am pleased to support this item. By adopting a National Do-Not-Call List, we arm
  American consumers with a powerful tool to protect their privacy. This is one of the most
  significant things that the FCC has ever done for American families. It will benefit consumers
  on a daily basis and in a very personal way. It’s certainly the thing that people will notice as
  much as anything else we have done. We’re restoring peace and quiet around the dinner table
  for everyone who asks for it, and plenty will ask, myself included. The public has sent a
  resounding directive telling us that uninvited telephone solicitations are not merely a distraction
  but are driving customers away from their phones. Consumers have also made clear that our
  prior rules – without a national Do-Not-Call List – do not work to their satisfaction. And
  Congress has made its wishes clear by adopting the Do-Not-Call Act which authorized the
  establishment of the national list. My hope is that our actions here will allow the American
  public to once again view their phones as a useful connection to the world rather than a source of
  nightly harassment.

          At the same time, we balance the interests of consumer privacy alongside the commercial
  speech interests of those businesses who use the telephone to offer goods and services and the
  interests of those consumers willing to receive such offers. The record bears out that many
  consumers find telephone solicitations valuable. According to industry estimates, outbound
  telemarketing generates between 300 and 600 billion dollars in annual revenues. So, I am
  sensitive to the potential impact of these rules on the businesses that rely on telephones to reach
  their customers. I have particular concern about the local telephone industry, where the practical
  effect of our established business relationship exemption may have an uneven impact on
  competitors. Nonetheless, Congress has captured the will of the people – certainly, as reflected
  in our record – when it directed us to “maximize the consistency” of our rules with the newly-
  adopted FTC national list. Congress did not explicitly provide for particular treatment of the
  local telephone industry in the Do-Not-Call Act, but I believe that this area warrants our special
  attention and monitoring.

          So that our rules are no more extensive than necessary and because American consumers
  each hold different views about the value of telephone solicitations, we adopt a suite of options
  from which customers can choose the approach that best serves their needs. Under our rules,
  customers may sign up for the new national Do-Not-Call List or, alternatively, may continue to
  receive telemarketing calls and sign up for the company-specific lists when they no longer wish
  to hear from a particular company. When customers sign up for the national list, they still have
  the ability to grant express permission to receive calls from particular companies. So our rules
  are flexible enough to allow consumers to choose the best option for them.

         We have a special obligation to remain vigilant in our implementation of these rules.
  Congress has asked us to report to it annually. I look forward to those reports with the optimism
  that we have adopted measures that will put American consumers back in control of their
  phones.
                                                  164


                                                                                              PA - 00410
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 413 of 437 Page ID
                                   #:569




                                 EXHIBIT “C”
                                                                       PA - 00411
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 414 of 437 Page ID
                                    #:570
                              


                                +,!-    .,/    %-01*-%       0,2/%     2-. 3-        %/,0

                                0--0%   .4,5    ,




                                                               
                                                            
                                                           
                                                                  




                                                              0! *        
                                                            



                               
                              
                             
                       ! 

                "     
                #$    
                  
                   %!% &
                       
                &      
                     
                '     
              &      
                    
                     (
                  ) *    

                                   



                                                                                                     PA - 00412
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 415 of 437 Page ID
                                    #:571
                              


               6     

                       
                7 '        .   
                      8 +7  "


                  (*             
                      )

                           
                 9      7 #97$ 
                  :;;<     % 7      8 =
                 9    ( ) >

                 &     9        & 
                        *   ?@   & "

                    ?@      AA    77  AA' 
                        #$            
                         '    B  #.$     77
                    CD / %  :D#$#E$         ' 
                           *          
                        AA    77  '    
                       AA         #   $ F F
                    F

                    *                 
                        9          
                             *       
                    GH  '           E;     
                                   
                                    
                     I                
                                  
                                    #- "        $)

                    % 9  0  61 JK  EC< 6 9  L :@ :;;< 60 


                            



                                                                                                PA - 00413
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 416 of 437 Page ID
                                    #:572
                              


                      0   CCE

                    & 8    M   8      
                (   )           
                 .    "

                   E  9   &         '  
                                      8 *  
                        

                   :  97                & 
                        "             
                                

                   <  9                
                        6'         
                             7        
                         

              =               97
                           
                7  7             
                  

                                8
                         
              8                 
                    '           
                     *7           
                                       



                          !  "    " #  $ !  
                %  !   %      &  ! "" ' (            
                       %    %     ""    ") !  %   
               " '    * # #        "   $  
              !   "  +    +       ' (     


                             



                                                                                                 PA - 00414
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 417 of 437 Page ID
                                    #:573
                              


              " $ %    +  " *       "  ,  ' 
              # *     ,         +       
               -   #     $  ") #       " *  "  !
               . !   -   $  ' "     * ,   " #
                 "/ /   %        !      %  
                   $     0&         -  
               '

              1      223'  !  #' 4 %                         
                 $5      !' "      %  "$                      " 
              +    ." "   %     223'




                                            

                                         0M     L 2     ,  %7 1    
                                            ,N %       ,  %7
                                          I      9.7     
                                         &     0!   0M     M    
                                               +          
                                                      
                                                          92 90
                                          +*




                       E6:D6:;E@ E;":?":< !




              -& O

                             
              9  F



              4 



                                         



                                                                                                            PA - 00415
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 418 of 437 Page ID
                                    #:574
                              




              - F



              =



                F




                   %       




                                       



                 




                                                                                                                                         

                                  4          6"                                                  7& 6" 



            "




      

        #<@$     0! *     #<;$       9. #::$   + #::$     #EK$   %  #E<$    



                                                                



                                                                                                                                    PA - 00416
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 419 of 437 Page ID
                                    #:575
                              


       

      0M        #C:$   %  % #EC$   0 + #?$   %  %  #D$   2 4  #J$    




               P ,0*, %3%-!% Q 44 0*5+% 0-%-01-2 Q 0-2 ,/0 0*13 ,4*3




                                                         



                                                                                                                             PA - 00417
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 420 of 437 Page ID
                                   #:576




                                 EXHIBIT “D”
                                                                       PA - 00418
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 421 of 437 Page ID
                                   #:577        
                    


                                 *+,-      %+.    /-01("-/       $0+2."/     2-3$-      /.$$+0

                                 "%0--0/     4+5     "+6%"




                                                                  
                                                                    
                                                                           
      




                                                               %0,( "$%" 
                                                               ,    



                                  
                               
                                 !""
                #      #       
                  "$%      &   

                              

              '%     
                          (
                  )

              (       
                        
                         
                 "$%    
                      !""  


                                 



                                                                                                       PA - 00419
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 422 of 437 Page ID
                                   #:578        
                    


                    7889"$%
                  

                    :;         
                         "$%"                      
                     <                   
                          "$%       
                         (          
                                           
                                      
                      /               
                                     "  
                                       
                                         

                            =     =     >>   
                                    
                                / ?@./"77@A BACB

                                 ! "   # 
                                 $$"  !    %! &&
                          '          
                                      
                          >>   A%B        
                           =      D AB  
                      / ?@./"77@A BACB

                    /    

              (                            
                                         
              &              $                 
                                C8        
              +                    
                            
                   (            
                               !""


                                  



                                                                                                      PA - 00420
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 423 of 437 Page ID
                                   #:579        
                    


                               
                 "$%!"""!$       
                        "$%             
                               
                    ,            
                                  
                "$%                 



                       !  "    " #  $ !  
                %  !   %      &  ! "" ' (       
                      %    %     ""    ") !  %   
               " '    * # #         "   $  
              !   "  +    +       ' (     
              " $ %    +  " *       "  ,  ' 
              # *     ,         +       
               -   #         $  ") #       " *  "  !
               . !   -   $  ' "     * ,   " #
                 "/ /   %        !      %  
                   $     0&         -  
               '

              1      223'  !  #' 4 %       
                 $5      !' "         %  "$   " 
              +    ." "    %     223'




                                         

                                         0E  %  F2   +  /   1  $   
                                         " "  +G /       +  /   
                                            H     "!$   
                                                   %0,  0E      E   
                                              *         
                                                            
                                                           !2"$%!"0%
                                          *($%%




                                      



                                                                                                              PA - 00421
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 424 of 437 Page ID
                                   #:580        
                    

              !  6  I



              4 6 



              - I



                



              " I




                   /   J    




                                  



                                     




                                                                                                  

                             4          6"                          7& 6" 



     " 




                          



                                                                                              PA - 00422
      Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 425 of 437 Page ID
                                   #:581        
                    


         

      "  A9KB     %0,( A98B    "!$A77B   *   A77B     "   ACLB   /     AC9B      % 



       

      0E  %  A?7B     /  /   AC?B   0 *  A:B   /  / A@B    2  4    A;B      %%




              M+6%0(+/3/-,/N%440(5*/0-/-01-2N0-%2+.0$0(1%"3$+4("3




                                                       



                                                                                                                                 PA - 00423
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 426 of 437 Page ID
                                   #:582




                                 EXHIBIT “E”
                                                                       PA - 00424
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 427 of 437 Page ID
                                   #:583




                                                                       PA - 00425
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 428 of 437 Page ID
                                   #:584




                                                                       PA - 00426
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 429 of 437 Page ID
                                   #:585




                                                                       PA - 00427
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 430 of 437 Page ID
                                   #:586




                                                                       PA - 00428
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 431 of 437 Page ID
                                   #:587




                                                                       PA - 00429
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 432 of 437 Page ID
                                   #:588




                                                                       PA - 00430
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 433 of 437 Page ID
                                   #:589




                                                                       PA - 00431
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 434 of 437 Page ID
                                   #:590




                                                                       PA - 00432
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 435 of 437 Page ID
                                   #:591




                                                                       PA - 00433
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 436 of 437 Page ID
                                   #:592




                                                                       PA - 00434
Case 8:16-cv-02149-DOC-JCG Document 11-2 Filed 12/08/16 Page 437 of 437 Page ID
                                   #:593




                                                                       PA - 00435
